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                             EXHIBIT 1



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                       EXPERT REBUTTAL REPORT

                            CITY OF POMONA
                                  VS.
                          SQM NORTH AMERICA

                COUNTY OF LOS ANGELES, CALIFORNIA




                                Prepared for

                  LEWIS BRISBOIS BISGAARD & SMITH
                              701 B Street
                          San Diego, CA 92101




                                 Prepared by

                     W. Richard Laton, Ph.D., P.Hg., P.G.
                            Earth Forensics, Inc.




                             November 14, 2011



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 List of Exhibits
 Exhibit A       Curriculum Vitae
 Exhibit B       Bibliography
 Exhibit C       Data and Other Documents Considered
 Exhibit D       Environmental Data Resources Inc. Report 3170148.1s
 Exhibit E       Rialto-Colton Groundwater Basin Conceptual Site Model




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 1.0 INTRODUCTION

 I have been retained by defendant, SQM North America (SQMNA) to review and provide comments on
 opinions rendered by Dr. Wheatcraft (October 12, 2011); Dr. Sundstrom (October 12, 2011); Dr. Sturchio
 (October 12, 2011); and Mr. Randall Brady (October 12, 2011). The general scope of services rendered
 by these individual was the evaluation of the distribution of perchlorate contaminated groundwater in and
 around the wellfield in Pomona, California.

 Pomona is located on the eastern edge of Los Angeles County (Figure 1), and the western edge of the
 Chino Basin (Figures 2 and 3). One primary wellfield, the “Main Pomona Wellfield”, produces the
 majority of the water for the City. A second wellfield is located in the northern portion of the City.

 The opinions in this report are given to a reasonable degree of scientific certainty and are based on my
 knowledge, skill, experience, training, education, multiple site visits, and on the facts and data described
 in this report. My opinions are based on the data that were available to me at the time these opinions were
 rendered. Should additional information become available; I reserve the right to supplement my opinions.
 In addition to references identified, the undersigned is relying on the other expert reports, documents, and
 testimony submitted in this matter.


 2.0 QUALIFICATIONS

 I am a Registered Professional Geologist and Hydrogeologist in California, and Professional Geologist in
 Arizona, Florida, Indiana, Minnesota, Oregon, Texas and Washington. I am a Certified Professional
 Geologist with the American Institute of Professional Geologist. My educational background relating to
 this case is as follows: 1997 – Ph.D. in Hydrogeology, Western Michigan University; 1992 – M.S. in
 Environmental Earth Science, Western Michigan University; 1989 – B.S. in Earth Science, St. Cloud
 State University, Minnesota.

 My certifications are as follows: California Professional Hydrogeologist (CHG-958), California
 Professional Geologist (PG-7098); Arizona Professional Geologist (PG-42253); Florida Professional
 Geologist (PG-2618), Indiana Professional Geologist (LPG-2191); Minnesota Professional Geologist
 (PG-44868); Oregon Professional Geologist (G2153); Texas Professional Geologist (PG-10018);
 Washington Professional Geologist (PG-2517); AIPG-Certified Professional Geologist (CPG-10544);
 OSHA 40-Hour Hazwoper Supervisor, active.

 I am currently an Associate Professor of Hydrogeology in the Department of Geological Sciences,
 California State University, Fullerton, California. This is a continuation of a career that includes years of
 teaching, consulting, litigation support and management experience. I possess extensive knowledge in the
 areas of hydrogeology, soil and water contamination, water quality, hydrology and surface water,
 wetlands, coastal monitoring-geomorphology, field sampling techniques and well hydraulics as well as
 environmental remote sensing/geographical information system (GIS). My teaching includes topics
 regarding hydrogeology, water quality, environmental sampling, groundwater modeling, well hydraulics,




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 remediation technologies, oceanography, and basic geology. I also have expertise in natural hazards
 assessment and mapping.

 I have provided consulting services for a variety of companies and agencies. I have worked as a
 consultant since 1990 on a wide variety of issues and cases including proper site investigation techniques,
 hydrogeology, hydrology, geology, and soil and aquifer contamination problems. I have published
 several articles in peer-reviewed journals and conducted over 60 presentations in symposia and published
 proceedings. Professional publications, abstracts, presentations and posters I have authored over the past
 20 years are listed on my Curriculum Vitae in Exhibit A. I also have been qualified as an expert witness
 on issues concerning hydrogeology, hydrology, geology and soil contamination, aquifer contamination,
 and the quality of groundwater including drinking water. A list of all cases I have been qualified to testify
 on in the past ten years is included in Section 10 and Exhibit A. I currently serve on the board of
 directors of the National Ground Water Association, and am a long time member of the Groundwater
 Resources Association of California (GRAC), American Institute of Professional Geologists (AIPG), and
 American Geophysical Union.


 3.0 COMMENTS ON THE EXPERT REPORT OF DR. STEPHEN W. WHEATCRAFT

 Dr. Wheatcraft, the President of Wheatcraft and Associates, Ltd. and Professor Emeritus of Hydrologic
 Sciences at the University of Nevada, Reno, prepared an expert report (Wheatcraft, 2011) on behalf of the
 City of Pomona regarding 1) the source area for perchlorate contamination which has been detected in
 groundwater from the City of Pomona’s anion exchange plant (“AEP”) wells including a group of 15
 Pomona production wells located within the Chino Basin (hereafter referred as Main Pomona Wellfield –
 see Figures 4 and 5); and (2) the travel times of perchlorate in the vadose (unsaturated) and saturated
 zones within that source area, in order to understand (a) the length of the latency period between historic
 releases of perchlorate at the surface and perchlorate impacts observed in the wells since 2007 [when the
 Maximum Contaminant Level (MCL) for perchlorate of 6 micrograms per liter (g/L) was promulgated)
 and (b) approximately how long the contamination will persist in the wells into the future at levels in
 excess of the MCL. My responses and comment to pertinent opinions expressed by Dr. Wheatcraft are
 presented below.


 3.1 Response to Wheatcraft Opinion 3

         The zone of influence for Pomona’s AEP wells – the geographical area on the
         surface where releases of contaminants are likely to impact the wells forms an
         oval around the wells. Based on expert analyses of available historical aerial
         photographs undertaken at my direction, the zone of influence encompasses, and
         was indeed dominated by, citrus groves from the 1930s (when the earliest
         photographs were taken) into the 1950s. Using a well‐established method for
         tracing the path water takes as it moves through the ground based upon
         computerized groundwater models, known as particle tracking, I determined that



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         a substantial number of the citrus groves identified in the aerial photos are likely
         points of origin for the perchlorate that is present in Pomona’s AEP wells.

 Dr. Wheatcraft’s opinions are not only erroneous but extremely biased and inconsistent with “state of the
 art” practices used by environmental professionals to evaluate a contaminant source. There are two
 factual issues of concern: 1) Dr. Wheatcraft states that the “zone of influence is dominated by citrus
 groves..”, when in fact, based upon his own interpretation of the data (included in his expert report –
 Figure 3), Dr. Wheatcraft clearly shows that 43 percent of the area within the zone of influence contains
 residential, industrial, and commercial properties. Dr. Wheatcraft failed to mention the Pomona Industrial
 Corridor which is a dominant feature and potential area for multiple sources of perchlorate – in fact wells
 within this corridor have the highest levels of perchlorate in the Pomona area (Figure 6); 2) The second
 issue is one of complete bias, and lack of use of scientific and professional principals to evaluate the
 potential sources of perchlorates contamination. Instead he focused entirely on a single pre-selected
 source for his analyses and basis of opinions. Each of these problematic issues is described in more detail
 below.


 3.1.1 Citrus Tree Domination
 According to Dr. Wheatcraft’s own map (Wheatcraft, 2011 - Figure 3), which represents maximum citrus
 coverage, residential and industrial properties comprise nearly 43 percent of Wheatcraft’s so called “zone
 of influence”. Dr. Wheatcraft completely ignores approximately 43 percent of the area within the zone of
 influence, which, in my opinion are the more likely sources of perchlorate. These sources are not only
 closer, but in fact are centered around the Main Pomona Wellfield. These other potential sources of
 perchlorate include aerospace, metal finishing, heat treating, and Pomona’s own Advanced Ion-Exchange
 Plant (AEP). These potential sources are explained in additional detail in the following sections.


 3.1.2 Lack of Scientific and Professional Techniques
 Dr. Wheatcraft’s report states that “My assignment in this case was to use standard, reliable scientific
 methods and my expertise to determine: 1) the source area for perchlorate contamination which has been
 detected in groundwater from the City of Pomona’s anion exchange plant….”. Dr. Wheatcraft follows
 with a statement that “An initial review of the literature and available information yielded a single, pre-
 existing independent study regarding potential sources of the perchlorate contamination in Pomona’s and
 (and other nearby) Chino Basin wells…”.

 These statements are contrary to standard scientific and professional protocols for evaluation of a
 scientific theory or contaminant source(s). Any legitimate scientific or professional investigation would
 necessitate evaluating all potential sources and to evaluate multiple lines of evidence. Dr. Wheatcraft only
 considers a single line of evidence (reported as prepared by Sturchio, 2008), authored by a fellow plaintiff
 team member. A standard process for performing an analysis of contaminant source would be to prepare
 a Site Conceptual Model (SCM), which necessitates a complete understanding of the environment and all
 sources which have reasonable potential to cause the contamination.




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 The California Department of Toxic Substance Control has established guidelines for site investigation,
 including the preparation of SCM’s in its document titled “Guidelines for Hydrogeologic
 Characterization at Hazardous Substances Release Sites, Volume 1: Field Investigation Manual” dated
 July 1995. The Table below lists the minimum steps that should be included in any SCM, and a checklist
 that illustrates those that were completed or not completed by Wheatcraft, and similarly performed by
 EEC under the direction of myself.



                                                                                         Wheatcraft

      Initial Elements of a Site Conceptual Model                                       Yes    No

      Description of the historic and current Site conditions including property use.

      Evaluation of potential chemicals of concern (COCs) that may be present at
      the Site based upon historic property usage and occupancy.

      Evaluation of potential source areas and release mechanisms based upon past                     1
      property use.

      Evaluation of the locations and types of chemical and/or petroleum releases
      at the Site and at offsite locations within approximately one mile radius of                    1

      the Site.

      Evaluation of past and present commercial and industrial activities that have
      a potential to release chemicals of concern within the project area and that
      may be a contributor to, or responsible for, the chemicals of concern present
      beneath the Site.

      Description of the local and regional geology and hydrogeology.
                                                                                                  1
      Evaluation of potential exposure, transport, and migration pathways.

      Assess the locations of sensitive receptors within approximately one mile
      radius of the site.

      Evaluation of data gaps and recommendations for additional assessment to
      effectively delineate the plume and/or determine the source of contaminants
      identified beneath the Site.
      1
          = included ony one of serveral possible sources/pathways



 Under my direction, EEC conducted the critical tasks contained within a typical SCM for this study area.
 Based upon this work effort identified additional potential sources of perchlorate, including many that are
 located in or adjacent to the wellfield. Dr. Wheatcraft fails to take into account other sources that could
 have the same isotopic signature, such as industrial sources, discharge from Pomona’s AEP plant, and
 pre-1931 Chilean fertilizer. Some of the most readily recognizable potential sources that Dr. Wheatcraft’s
 report did not consider are: 1) The Pomona Industrial Corridor and other industrialized areas within



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 northern Pomona, which included aerospace, aerospace support industries, and other heavy industries
 which operated since the 1930’s; 2) Brine lines that collect high total dissolved solid (TDS) wastes from
 the Inland Empire (including the City of Pomona), transporting these wastes through cement and/or clay
 pipes through the Pomona area, including through the Main Pomona Wellfield area; 3) importation of
 Colorado River Water and it’s use for recharge; 4) Railroad easements where herbicides and flare were
 utilized and 5) natural atmospheric deposition. Instead Dr. Wheatcraft concentrated solely on the citrus
 orchards and the application of sodium nitrate fertilizer as the only source of perchlorate.

 The following pages outline the extensive list of other potential sources which Dr. Wheatcraft failed to
 incorporate in his analysis and report.

 3.1.2.1 Industrial Corridor
 The Main Pomona Wellfield is located in a historically industrial corridor, hereafter named “Pomona
 Industrial Corridor” (Figure 7). This industrial corridor extends approximately 5.5 miles east-west and
 2.5 miles north-south, and forms the shape of a “T”. The width of the corridor is approximately 0.5 miles.
 A second wellfield, hereafter referred as the “Northern Pomona Wellfield”, is located north of Interstate
 10 and south of an industrial area which parallels Arrow Highway.

 The Pomona Industrial Corridor is bound to the north by Mission Street, to the south by Holt Avenue, to
 the west by Corona Expressway (SR-71), and to the east by Central Ave. As mentioned earlier, the Main
 Pomona Wellfield is located in the heart of the corridor where the north-south and east-west portions
 meet. This wellfield portion of the corridor is also the one of the oldest sections of the Corridor, as the
 earliest railroads were constructed through this section, and remain there today. The industries described
 in this section perform industrial activities that have been documented by the State and Federal
 Environmental Protection Agency (EPA) as using or producing perchlorate containing materials or
 products. Within the Pomona Industrial Corridor, forty two industrial facilities have been identified, as
 shown on Figure 8. An Environmental Data Resources (EDR) database search was conducted for the
 Main Pomona Wellfield area. The EDR report is provided as Exhibit D. The EDR database search
 demonstrates that hundreds of properties have been listed on various local, state, and federal
 environmental databases as producing, using, or storing hazardous materials, or discharge the hazardous
 materials to the environment within 2 miles of the Main Pomona Wellfield Figure 9 shows the EDR
 radius map. The following discussion presents a summary of select industries, which by virtue of their
 presence and historical operations could be considered as potential perchlorate source(s) to the City’s
 groundwater.

 Aerospace
 One of the main aerospace industries previously located in the Pomona area was the former Naval
 Industrial Reserve Ordnance Plant (NIROP) facility, located at 1675 West Mission Boulevard in Pomona,
 CA. Although the NIROP facility is mapped within the Spadra Basin, its close proximity to the Spadra-
 Chino Basin groundwater divide makes it a potential candidate for source of perchlorate contamination in
 the Pomona area.

 The Spadra-Chino Basin groundwater divide is not a stationary boundary and migrates east to west and
 west to east based upon hydrogeologic conditions in the Chino basin. Figure 10 presents a generalized
 hydrostratophic profile of the Spadra/Chino Basin divide. Plate 12 of CA DWR (1970) shows that the
 divide in 1933 was located further east due to elevated groundwater levels in the Chino Basin, resulting in



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  groundwater from the Chino Basin to flow west into the Spadra Basin, (Figure 11). Figure 11 also shows
  the location of the Chino/Spadra Basin groundwater divide in 1960 near the same location as currently
  exhibited in Wildermuth, 2009. When water levels in the Chino Basin are depressed, the divide shifts to
  the west, allowing groundwater to flow from the Spadra Basin into the Chino Basin. Figures 12 and 13
  present groundwater elevation contours showing that the groundwater divide has migrated toward the
  former NIROP facility; therefore allowing contaminants released by any industry as far away as the
  NIROP and General Dynamics facilities to be potentially drawn into the Main Pomona Wellfield. These
  contours were developed using groundwater elevation data obtained from the Los Angeles County
  Department of Public Works (LACDPW) Water Resource Division.

  The 160-acre former NIROP property was purchased by the Navy from the City in 1951 for the purpose
  of constructing a guided missile plant for the U.S. Navy (RWQCB, 2007; URS, 1993). The property was
  improved with 45 buildings that were constructed between the years 1951 and 1988 (URS, 1993). The
  property was owned by the U.S. Navy; however the missile production plant was initially operated by
  Convair. Shortly after startup of the plant, Convair merged with General Dynamics (GD) in April 1954
  (Pattillo, 1998). Hughes Missile Systems Company took over operation of the facility in August 1992.
  The facility was closed in 1994 and returned to the U.S. Navy in 1995 (Commonwealth Land Title
  Company, 1997).

  The NIROP/General Dynamics plant manufactured and tested guided missiles for various military units
  including the U.S. Army., U.S. Marine Corps, and the U.S. Navy. These included the Tartar, Terrier,
  Redeye, Standard and Mauler Missiles (The Wall Street Journal, 1961; Frank, 1964). Activities
  associated with the operations at the site included metal machining and finishing; heat treating; plating;
  painting; photo processing; chemical storage; wastewater treatment; research and development; and
  testing of missiles (Woodward Clyde, 1994). Components used in missile production at the NIROP
  facility contained perchlorate (RWQCB, 2003), including patents awarded to GD for the Pomona facility.

  The California Regional Water Quality Control Board (RWQCB) was the oversight agency for the
  NIROP site assessment and remediation activities at the site until 1994, when it was transferred to the
  Department of Toxic Substances Control (DTSC). In 1995, 1996, and 1997, three removal actions were
  conducted under DTSC oversight by U.S. Navy contractors. These removal actions were conducted and
  completed at the following locations:

          1) Trenching Area of Department 62;
          2) Wastewater Treatment Plant; and
          3) Surface Process Area of Department 52.

  Heavy metals (copper, chromium; hexavalent chromium; nickel; lead; and cadmium), VOCs and semi-
  volatile organic compounds (SVOCs), including ethylbenzene, styrene, toluene, 1,1,1-trichloroethane,
  m,p-xylenes, o-xylene, methylene chloride; and phenol were sampled and found. As discussed more fully
  in Section 10, many of these contaminants also are coincidently found under the Pomona wellfield. The
  total volume of contaminated soil removed during the three removals from beneath Buildings 2, 4, 7, 27,
  38/39, and 48 and the former salvage yard was 1,640 tons (DTSC, 1998).

  Even though the groundwater investigation and soil removal met facility-specific cleanup goals and the
  site received a no Further Action (DTSC, 1998), the remedial excavations were conducted pre-1997 and



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  prior to the time that perchlorate became regulated. As a result, the contaminated soil and groundwater
  were never tested for perchlorate (RWQCB, 2007). Based on the nature of operations at the
  NIROP/General Dynamics facility and follow-up research, perchlorate containing materials were used
  and/or present at the site. The failure of the City, Dr. Wheatcraft, and other plaintiff experts to evaluate
  this obvious potential source demonstrates that the City of Pomona has performed an inadequate degree
  of due-diligence that would be expected as standard environmental practice.

  In a letter dated December 11, 2006, the U.S. Navy stated that the rocket fuels containing perchlorate
  were not manufactured, stored, or tested at the NIROP facility (US Navy, 2006). However, the evidence
  indicates otherwise: 1) a patent was awarded to General Dynamics Pomona for a decoy round
  countermeasure system that utilized perchlorate as the propellant; 2) the storage of perchlorate at the
  nearby Broco treatment-storage-and-disposal facility (TSDF) in Rialto which has a history of perchlorate
  contamination; and 3) based on an interview with a recently identified engineer that worked at the
  General Dynamics facility for 38 years. The interview with the General Dynamics engineer, Mr. Gustavo
  Goldshine, was conducted by Mr. Larry Troxel of Verdict Resource. Mr. Goldshine stated that test firing
  of rocket boosters were conducted at Building 4u, on the western portion of the General Dynamics facility
  (Goldshine, 2011).

  The Pomona Industrial Corridor has many independent support shops that were likely subcontractors to
  General Dynamics, Lockheed, and Marquardt/Associated Missiles. Among the industries that may have
  used perchlorate are heat treating, metal finishing, plating, and chemical distributors. These are included
  in the following discussions.

  Metal Finishing and Plating
  At least twelve metal finishing and/or plating operations are located within the Pomona Industrial
  Corridor. The use of perchloric acid (a known source of perchlorate) in some metal plating and finishing
  processes, especially those involving “black oxide coating” and “pickling”, which is a chemical process
  that removes oxide or scale from steel and other metals is well documented (US DOD, 1985; Hagstrom,
  2006; ITRC, 2005).

  Though in a different area, environmental testing of shallow soil and groundwater at a metal plating
  facility in Santa Ana, California, contained extremely high concentrations of perchlorate, hexavalent
  chromium, chromium, cadmium, copper, nickel, and chlorinated VOCs. The source of these
  concentrations was attributed to the former plating tanks and/or historical tank cleaning and plating
  solution disposal practices. Records did not indicate that perchlorate was used at the site (Stantec, 2009)
  despite high perchlorate concentrations in soil and groundwater. Perchlorate concentrations in soil and
  groundwater was noted to follow the same distribution patterns of the hexavalent chromium (generally)
  and was likely associated with salts that were historically used at the site.

  The previous example is of significant importance since many metal finishing and plating facilities were
  located within the Pomona Industrial Corridor and the Main Pomona Wellfield. A table summarizing the
  metal finishing facilities is provided below.




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                                          Metal Finishing Facilities
                                 Facility Name                           Address
                 Superior Plating Co.                          389 N. East End Avenue
                 Kenneth Jeffers Plating/Thompson Plating      1044 E. 2nd Street
                 Manuel Alvarez                                1055 E. 3rd Street
                                                               957 E. Mission Boulevard
                                                               963 E. Mission Boulevard
                 Pacific Polishing & Chrome
                                                               860 E. Second Street
                                                               257 San Lorenzo Street
                 Real Plating                                  1245 W. 2nd Street
                 Best Polishing & Chrome                       1055 ½ Pico Street
                 AMF / Holly Art                               1883 Mt. Vernon Ave.
                 San Antonio Polishing                         1442 E. 3rd Street
                 RG Metal Polishing                            1605 E. Mission Blvd.
                 Atlas Polishing                               1202 Price Street
                 Pride Plating Co.                             1140 Price Street
                 Technical Anodize                             1140 Price Street


  The above facilities are located in or immediately adjacent to the Pomona Industrial Corridor and are
  significant potential sources of hazardous substance usage; yet the City did not consider any as possible
  contributors to the perchlorate found in groundwater; nor did they conduct any investigation. The failure
  of the City and Dr. Wheatcraft to evaluate this obvious potential source demonstrates that the City of
  Pomona and the plaintiff’s expert has performed inadequate due-diligence that would be expected in the
  environmental practice.

  Pulp and Paper
  Historically, sodium hypochlorite has been extensively used in the pulp and paper industries as a
  bleaching agent (Trumpolt et al., 2005; USEPA, 2002). Sodium hypochlorite is known to be unstable and
  will readily breakdown to chlorate, which further oxidizes to perchlorate. According to the American
  Water Works Association (AWWA) website, perchlorate contamination occurred in more than 90 percent
  of sodium hypochlorite samples from production facilities across North America. Although the use of
  sodium hypochlorite as a bleaching agent in pulp and paper industries has been phased out in recent years,
  the historic use of sodium hypochlorite could be a significant source of perchlorate in the environment
  (MADEP, 2006; Greiner et al., 2008).

  Sodium chlorate is now the preferred bleaching agent for pulp and paper industry. More than 95 percent
  of the sodium chlorate used worldwide is for pulp and paper bleaching. Sodium chlorate is known to
  contain perchlorate and could therefore be a source of perchlorate in the environment (Trumpolt et al.,
  2005; MADEP, 2006).

  Based on a review of historical records, at least two pulp and paper related industries: Tidi Products and
  Fernstrom Paper (California Fruit Wrapping) were located within the Pomona Industrial Corridor. Their
  operations date back to the 1920s and 1950s, respectively. Specific information was not available on the
  nature and use of the exact type of bleaching agent used at these two facilities. In the absence of any
  definitive environmental investigation data available related to these facilities, the City and Dr.
  Wheatcraft should have considered these facilities as potential sources of the perchlorate found in



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  groundwater and conducted further investigation. The failure of the Dr. Wheatcraft and the City to
  evaluate this obvious potential source demonstrates that the City of Pomona has performed inadequate
  due-diligence that would be expected in the environmental practice.

  Dodson Brothers Oil Company (Superfund Site)
  Dodson Brothers Oil Company site (Dodson site) is located at 10810 Monte Vista Avenue in Montclair,
  California, which is at the eastern portion of the Pomona Industrial Corridor and within the zone of
  influencer of both the Pomona wellfield and Chino wellfield (Chino Wells 3, 10, and 12). Based on
  information documented in the Site Screening Assessment report prepared by DTSC (DTSC, 2006), Floyd
  and Betty Dodson operated a waste oil recycling facility at the address from 1975 until 1982. In addition
  to the waste oils, the Dodson facility accepted waste fuels, spent solvents, and other wastes.

  Based on a regulatory file review it was revealed that the wastes were placed in a 10,000-gallon
  underground storage tank (UST) and eight aboveground storage tanks (ASTs, 2,000 to 12,000 gallons in
  size) and three unlined surface impoundments (DTSC, 2006). The Montclair Fire Department learned of
  the unregulated waste management practices at the Dodson site in March 1982 when a spark ignited the
  highly volatile mixture of wastes in an aboveground storage tank. Shortly after the incident, Mr. Dodson
  buried the UST and surface impoundments with soil and abandoned the site.

  The California Department of Health Services (now DTSC) conducted a Preliminary Assessment of the
  Dodson site in June 1984 (CA DHS, 1984). In June 1991, Ecology and Environment, Inc. (E&E)
  conducted a site investigation which showed that subsurface soil contained elevated concentrations of
  VOCs, SVOCs, polychlorinated biphenyls (PCBs), and metals. No onsite groundwater monitoring wells
  were installed or sampled, presumably for cost purposes. Based on offsite groundwater sampling results,
  it was concluded that groundwater was not affected by the contamination from the Dodson site.
  However, no documentation was located on the well construction, depth, and other details; therefore, it is
  unknown if the results obtained from these wells would represent conditions attributed to the Dodson
  facility. A follow up site investigation conducted by Bechtel Environmental, Inc., (BEl), working on
  behalf of USEPA, re-confirmed the soil contamination at the Dodson site.

  According to the 1991 CERCLA Screening Document, several generators were identified who had
  disposed of waste at the Dodson site including: General Dynamics in Pomona, General Electric in
  Ontario, Oil and Solvent Process Company in Azusa, Cherry Textron Aerospace Fasteners in Santa Ana,
  and Mobile Chemical in Santa Ana. EPA further identified Behr Processing Company, Lockheed-Martin,
  Mobil Oil Corporation, and Detrex Corporation as potential responsible parties (PRPs) for the Dodson
  site based on waste discharge records. Lockheed Corporation has been the defendant in numerous
  lawsuits involving perchlorate contamination in the Redlands area, yet its disposal at Dodson was not
  investigated.

  In 1995, a consortium of individual previous owners and a small development company commenced a
  voluntary response action, which included removal of the UST. A limited soil excavation beneath the
  UST was supposedly conducted by the PRPs before they declared financial insolvency. According to Mr.
  Johmar Kessler, the current property owner of the Dodson site, some additional soil removal took place at
  the Dodson site in 1996 by Mobil Oil Company. However, Mr. Kessler was unable to provide any
  documentation to that effect. Since 1996, no further environmental corrective action has taken place at
  the Dodson site.



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  Evidence of perchlorate contamination from the Dodson site was not documented because the
  assessments were conducted prior to 1997. Given that aerospace related companies with a strong
  potential of perchlorate containing waste generation shipped waste to the Dodson facility, there is the
  potential that the Dodson facility is a potential source of perchlorate contamination from unregulated,
  mismanaged, unsafe, and criminal waste management practices. In my opinion, the Dodson facility
  should be considered to be a potential source of perchlorate contribution to the environment and was not
  considered by Dr. Wheatcraft or the City.

  US Rockets
  US Rockets, LLC (US Rockets) is a hobby rocket manufacturer with two locations within the Pomona
  Industrial Corridor, including one located within several hundred feet of several City productions wells
  containing elevated perchlorate. USEPA has identified a third location outside of the Chino Basin, in
  Claremont, CA, which may be the residential home of the US Rockets owner. US Rockets has been
  identified by the USEPA as one of two companies in the Pomona–Chino Basin that have received more
  than 500 pounds of perchlorate in any one single year from the Kerr McGee production facility in
  Henderson, Nevada. A correspondence from the law firm of Covington & Burling, representing Kerr-
  McGee Chemical confirmed the delivery of perchlorate to US Rockets in a letter dated April 17, 1998
  (The Law Firm of Covington & Burling, 1998). The other company, Dynamic Propellant Technologies,
  LLC (Dynamic Propellant), has the same corporate ownership and appears to be closely tied to US
  Rockets.

  US Rockets and Dynamic Propellant are the only two companies that the USEPA has identified in the
  entire Pomona-Chino Basin that are classified as “Perchlorate Manufacturers/Users”, yet there has
  apparently been no investigation of this entity to date. The US Rockets facilities are shown on Plate 1 and
  Figure 14. Plate 1 is a reproduction of a USEPA figure showing perchlorate occurrence and use in
  Southern California. Figure 14 is an enlargement of the West Chino Basin Area, with the inclusion of
  additional US Rockets locations as identified during the course of this investigation.

  US Rockets produced high-end model rocket kits and rocket engines, unlike the small rocket engines that
  can be purchased at typical retail stores. Based upon personal communication with Mr. Jerry Irvine, the
  owner of US Rockets, they also produced items for the US military (EEC, 2011a).

  Based upon research conducted by EEC, US Rockets appears to have begun operations in the 1980’s and
  continues to present. Based upon conversations with Mr. Jerry Irvine, and independent research by EEC,
  US Rockets operated out of two locations in Pomona: 195 San Lorenzo, within the Pomona Industrial
  Corridor and adjacent to the Main Pomona Wellfield; and 4601 Brooks Street, also located within
  Pomona’s Industrial Corridor (EEC, 2011a). The Brooks Street address is located within the area that
  captures and transports stormwater to the Brooks Basin. The Brooks Basin is a groundwater recharge
  basin owned by the Chino Basin Water Conservation District, directly upgradient of the Main Pomona
  Wellfield. Based upon a conversation between Mr. Irvine and EEC, US Rockets may have operated a
  third location, also located within Pomona’s Industrial Corridor, at the intersection of Mission and
  Ramona.

  The well documented purchase, use, and manufacturing of perchlorate by US Rockets combined with its
  proximity to the Pomona’s wellfield should have elevated this company to the top status for further
  investigation and evaluation of a potential release(s). The failure of Dr. Wheatcraft and the City to


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  evaluate this obvious potential source demonstrates that the Dr. Wheatcraft and the City of Pomona have
  performed inadequate due-diligence that would be expected in the environmental practice.

  Dynamic Propellant Technologies, LLC (Dynamic Propellant)
  Dynamic Propellant is an amateur rocket motor manufacturer formerly located at 4748 Mission Street,
  Montclair, California, within the Pomona Industrial Corridor. Dynamic Propellant has been identified by
  the USEPA as one of two companies in the Pomona – Chino Basin that have received more than 500
  pounds of perchlorate in any one single year from the Kerr-McGee production facility in Henderson,
  Nevada. The other company, US Rockets has the same corporate ownership and appears to be closely
  tied to Dynamic Propellant. A correspondence from the law firm of Covington & Burling, representing
  Kerr-McGee Chemical confirmed the delivery of perchlorate to Dynamic Propellant in a letter dated April
  17, 1998 (The Law Firm of Covington & Burling, 1998).

  As previously mentioned US Rockets and Dynamic Propellant are the only two companies that the
  USEPA has identified in the entire Pomona-Chino Valley that are classified as “Perchlorate
  Manufacturers/Users”, yet there has apparently been no investigation of these entity to date. The
  Dynamic Propellant facility is shown on Plate 1 and Figure 14.

  Based upon research conducted by EEC, Dynamic Propellant appears to have begun operations in the
  1980’s and continues to present. Other names that may be associated with Dynamic Propellant appear to
  be “Powertech”, “California Model Rockets”, “California Rocketry”, “California Rocketry Publishing”,
  “Composite Distribution”, “Experimental Rocketry Magazine”, and “Toy Rockets” (SNOAR, 1991). As
  previously stated, Dynamic Propellant is located at 4748 Mission Street, Montclair, California within the
  Pomona Industrial Corridor. Dynamic Propellant may have also operated at a second location, also
  located within Pomona Industrial Corridor, at the intersection of Mission and Ramona (Figure 14).

  The well documented purchase, use, and manufacturing of perchlorate by Dynamic Propellant should
  have elevated this company to the top status for further investigation and evaluation of a potential
  release(s). The neglect of the City and Dr. Wheatcraft to evaluate this obvious potential source
  demonstrates that they both have performed inadequate due-diligence that would be expected in the
  environmental practice.

  3.1.2.2 Other Industrial Area
  A second industrial area of known contaminant impact to the City’s wellfield is in North Pomona along
  Arrow Highway, just east the Pomona Fairgrounds. Similar industries to those described in Section
  3.1.2.1, exist in this area. Major industries included Xerox, BAE/Lockheed, and Marquardt Aircraft
  Company/Associated Metals. Xerox has a well-documented chlorinated solvent and hexavalent
  chromium plume and has detected perchlorate in the groundwater beneath the site (RWQCB, 2011; Haley
  & Aldrich, 2007). A memorandum from Mr. Richard Hansen, Chief of Watermaster Services for the
  Three Valley Water District, dated January 26, 2011 states that “Xerox’s operations at the site included
  the use of organic solvents, inorganic solutions containing heavy metals, and mineral salts”. He further
  states that Xerox reached a settlement with the City of Pomona in 1992 to fund a VOC treatment facility
  at the City’s P-3 well site.

  The BAE/Lockheed site has had a documented history of chlorinated solvent contamination. No
  documentation was found indicating that assessment activities have been conducted at the Marquardt



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  facility. Neither Dr. Wheatcraft nor the City investigated these facilities for perchlorate despite their
  historic activities.

  3.1.2.3 Regional Industrial Brine Lines
  Research conducted as part of my evaluation has indicated that facilities that discharge to the brine lines
  in and around the Pomona area are likely significant contributors to perchlorate contamination in
  groundwater. The most significant likely contributor is the City of Pomona itself, as the City’s anion
  exchange plant (AEP) has been documented to discharge between 115,000 and 210,000 gallons of
  perchlorate-laden wastewater (containing 500 µg/L perchlorate) daily. The following section provides
  background concerning the brine line and the multiple sources that have discharged into it.

  Research conducted as part of my evaluation has indicated that regional industrial brine lines run through
  Pomona that collect industrial wastewater from numerous facilities that would have used and potentially
  discharged perchlorate. One significant contributor is the City’s anion exchange plant (AEP), which has
  been documented to discharge between 115,000 and 210,000 gallons of perchlorate-laden wastewater
  (500 µg/L) daily. Because the regional brine lines are highly suspect, this section includes a brief history
  of the brine lines in and around the City to which Pomona and other industrial users discharge.

  Background Information on the Regional Brine Lines
  Two major industrial brine lines are located near the Pomona wellfield; both are part of the Inland Empire
  Utility Agency (IEUA) Non-Reclaimable Wastewater System (NRWS) (Figure 15). The one along
  Pomona’s southern border is known as the Chino Basin Wastewater Line. The one traversing the
  northern section of the City is known as the Edison-Etiwanda Brine Line. The industrial brine lines are
  large sewer trunk lines that collect and convey wastewater containing high levels of dissolved salts,
  primarily from permitted industrial users and from public water treatment plants. The lines transport the
  wastewater out of the landlocked interior basin for treatment in the City of Carson and subsequent
  discharge to the Pacific Ocean. Transport of these industrial waters out of the basin is necessary to
  protect groundwater aquifers throughout the Inland Empire and Los Angeles basin from degradation due
  to salt buildup, as this water would otherwise be discharged back to local groundwater aquifers, and/or to
  allow water reclamation.

  In the Chino Basin, the northern brine line is commonly referred to as the Edison-Etiwanda Waste Line,
  and runs roughly parallel to Interstate 10. This line was originally constructed in or about 1950 to
  transport wastewater from Southern California Edison’s Etiwanda Plant to the Metropolitan Water
  Districts (MWDs) brine waste line at their LaVerne facility (IEUA, 2011). In 1962, MWD ceased
  receiving SCE wastewater, and SCE entered into an agreement with Los Angeles County Sanitation
  District (LACSD) to accept the wastewater. Subsequently, IEUA entered an agreement with LACSD to
  treat non-reclaimable wastewater from all industries located within IEUA’s northern service area. In
  1967, IEUA installed a new 36-inch diameter trunk line connecting the northern Edison-Etiwanda Line
  with the IEUA’s Chino Basin Wastewater Line, and transferred capacity of the portion of the Edison-
  Etiwanda Waste Line located in San Bernardino County to IEUA. After the trunk line was installed in the
  early 1970’s, the flow through the portion of the Edison-Etiwanda Brine Line that traversed the Pomona
  area ceased (IEUA, 2011). The Edison Etiwanda Line varies in size from 12 inches to 36 inches in
  diameter and is primarily clay pipe (IEUA, 2008).




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  The second brine line, located in the vicinity of the City wellfield is the middle trunk of the NRWS,
  commonly referred to as the Chino Basin Wastewater Line (CBWL). This line was installed in the 1960’s
  by Chino Basin MWD, the predecessor to the IEUA. Similar to the Edison Etiwanda line, this line is
  operated and maintained by IEUA in San Bernardino County and by LACSD in Los Angeles County.
  The CBWL varies in size from 36 inch-diameter through Pomona to 8 inch-diameter further upstream in
  the Fontana area. The pipe is generally a Vitrified Clay Pipe (VCP) in San Bernardino County and
  Reinforced Concrete Pipe (RCP) in Los Angeles County.

  Dischargers to the Industrial Brine Lines
  The industrial brine lines collect and convey wastewater containing high levels of dissolved salts,
  primarily from permitted industrial users and from public water treatment plants throughout the Inland
  Empire. Based upon their industries and operations, many of these dischargers have the potential to
  utilize sodium nitrate and other perchlorate containing materials. Table 1 provides a list of permitted
  dischargers to the industrial brines lines, either through IEUA or LACSD, and includes both heavy
  industry and aerospace companies. Wastewater brines discharged by each of these entities passes through
  the City on its way to the LACSD treatment facility. Consequently, any leaks, exfiltration, or releases
  that occur from these clay and concrete pipelines, constructed predominately in the 1950’s and 1960’s,
  could impact groundwater with any of the contaminants that have been discharged to the lines. None of
  these dischargers are currently under regulatory order to test their wastewater samples for perchlorate.
  The City has analyzed their own brine wastes and document that significant perchlorate levels are present,
  as discussed in Section 3.1.2.3.

  Notable facilities that have either formerly or currently discharge brine waste to these lines include:
  California and Kaiser Steel Mills; Union Carbide, BHP Coated Steel, California Metal Finishing;
  SCE/Reliant Energy; City of Ontario AEP; City of Chino; City of Upland; IEUA Reclamation Plant #1;
  Metal Coaters; Sierra Aluminum and Steelscape.

  Evaluation of Perchlorate Correlation to Brine Line Locations
  A cursory evaluation was performed to determine if the locations of brine lines correlate to the locations
  of perchlorate “hot spots” in the City and immediately surrounding cities. Figure 15 illustrates the
  location of brine lines in the Pomona area, as well as the maximum concentrations of perchlorate detected
  in each well. As shown in this Figure, a strong correlation is apparent, either adjacent to the brine lines
  and/or to the trunk sewer lines that connect to the brine lines.

  The strong correlation between perchlorate “hot spots” and the brine lines, prompted EEC under my
  direction to conduct further research focusing on, but not limited to the City wellfields. The brine lines
  may be both a source of perchlorate contamination to the Pomona wellfields and other locations where
  high perchlorate has been detected.

  Main Pomona Wellfield Perchlorate Hotspot
  Maps and documents related to the AEP in the City’s wellfield were obtained and evaluated. Based upon
  this information, the Pomona AEP began operation and the discharge of brine waste in 1992 (LACSD,
  1992). The AEP was constructed to remove nitrate from the groundwater to meet state and federal
  drinking water standards. The AEP system removes nitrates and other salts, including perchlorate;
  producing strong residual brine which is then discharged to the industrial brine line. The incoming water




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  into the AEP has an approximate average total dissolved solids (TDS) concentration of approximately 350
  milligrams per liter (mg/L).

  The AEP was designed to process 15 million gallons per day (MGD) of freshwater, and produce a waste
  stream containing high salt or TDS of approximately 60,000 mg/L or almost 200x the incoming
  concentration. The City initially received approval to discharge approximately 80 gallons per minute
  (gpm) or (115,000 gallons per day) of brine to the LACSD brine line (LACSD, 1992). In August 2003,
  the City was notified that they exceeded the permitted limits for discharge, at which time the City
  requested that the limits be increased to allow a discharge rate of 140 gpm (201,000 gpd) to the brine line
  (LACSD, 2003). From 1992 to 2004, the connection from the Pomona AEP consisted of a pressurized 4-
  inch diameter PVC pipe that extended 1,320 feet along 3rd Street to East End Avenue. The brine then
  gravity fed 3,300 feet south, along East End Avenue, to a connection with the LACSD 36-inch diameter
  RCP brine line.

  In 2004, the City replaced the 4-inch diameter brine discharge pipe with a new 8-inch-diameter pipe
  connected to a local sewer located adjacent to the AEP on 3rd Street. With this change, the City no longer
  had a dedicated line for brine disposal. The new discharge route discharged highly concentrated brine
  waste to a traditional sanitary sewer line, where the concentrate would mix with other industrial and
  domestic wastewater before entering the LACSD brine line at the intersection of Grand Avenue and
  Reservoir Street. The new 8-inch-diameter portion of the pipeline was only approximately 129 feet in
  length, before it connected to an 8-inch diameter VCP pipe along 3rd Street, Electra Avenue, 4th and
  Reservoir Streets. For the most part, these 8-inch pipelines were installed in 1938 and 1957. Several
  newer sections, installed in 2001, occurred due to repairs on this pipeline. Also in 2001, a second 15-inch
  diameter VCP sanitary sewer pipeline was installed along the Reservoir Street section of the connection
  to increase capacity (City of Pomona, 2010).

  Twice in 2010, and once in 2011, the City collected water samples for the analyses of perchlorate from
  the effluent waste stream that was discharged to the LACSD brine line under Permit No. 16546.
  Laboratory results from the three sampling events revealed concentrations of perchlorate of 460 µg/L, 530
  µg/L, and 480 µg/L (Weck Laboratories, 2011). These concentrations are two orders of magnitude
  greater than those concentrations found in groundwater beneath the Main Pomona Wellfield, and almost
  as high as concentrations found discharged into Lake Mead as a result of the well documented releases at
  the Kerr-McGee Chemical Corporation plant, in Henderson, Nevada. As well established by the USEPA,
  the discharge of concentrations of perchlorate at these levels in Lake Mead has resulted in Colorado River
  water being contaminated for several decades over a wide spread area.

  Other Perchlorate Hotspots
  As clearly shown on Figure 15, a strong correlation exists between wells that contain perchlorate above
  the 6.0 µg/L MCL and the close proximity to an industrial brine line and, perhaps more importantly, to
  the sewer laterals that connect from individual facilities to the IEUA or LACSD pipelines.

  Cracks in the concrete or clay pipes, poor seals, and/or pipe offsets are likely sources of releases. IEUA
  periodically inspects their sections of the brine lines using Closed Circuit Television (CCTV) cameras. A
  2006 Pipeline Summary Report reviewed by EEC provides a snapshot of the brine line condition, and a
  timeline for repairs that were required. The report documents sections containing broken pipes, cracks,
  severe offsets, sags, joint separation, and exposed gaskets. The annual report summarizing the results


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  indicates that 17 percent of the pipeline contained structural defects requiring repairs, replacement or
  rehabilitation. Inspection logs also indicated that many of these structural defects have been scheduled
  for repairs between 1 to 5 years from the date of discovery. These conditions are likely to be similar
  along the LACSD maintained portion of pipeline.

  Furthermore, in 2008, the City of Ontario, located just a few miles east of Pomona, installed a lateral
  brine line from its new ion-exchange plant (IX Plant) to the previously inactive West Edison brine line
  (this portion had been taken out of service in 1970, as described above). The City repaired a portion of
  the Edison brine line within its connection area due to its poor condition (IEUA, 2008). An LACSD
  employee also informed EEC that the brine lines in the Pomona area were in poor condition (EEC,
  2011b).

  I have highlighted three locations within the study area to demonstrate the relationship between brine
  lines and perchlorate “hotspots”. These locations include: the Old Baldy well; the production well cluster
  including Pomona wells 1B, 3, 8, 8B, and 32 (Northern Pomona Wellfield); and Chino wells 10 and 12.
  Potential causes of perchlorate are briefly discussed below.

         Old Baldy Well: This well has two potential causes of detectable perchlorate. The first, as
          previously described, is MWD’s Weymouth Treatment plant which had discharged Colorado
          River water to a large surface impoundment located just east of the Old Baldy Wells, which if it
          leaked, could result in perchlorate levels equivalent to those found in Colorado River water. The
          second potential cause is the close proximity to a sewer trunk. At this time, EEC has not
          identified the utility or company that discharged to this sewer trunk; however, it is possible that it
          was constructed for the discharge of industrial brines.
         Northern Pomona Wellfield (Wells 1B, 3, 7, 8b, and 32): This well cluster is bounded by
          industrial brine lines on three sides and includes several pipe junctions. The density of industrial
          brine lines in this area increases the likelihood of unintended leaks or other infiltration to the
          underlying groundwater. Additionally, the Northern Pomona Wellfield is located downgradient
          of an industrial area in northern Pomona where facilities such as Xerox, Marquardt/Associated
          Missiles and Lockheed Martin were located.
         Chino Wells 10 and 12: The Chino wells are located in close proximity to the IEUA brine trunk
          line. A review of the 2006 CCTV inspection log notes that there are cracks in the trunk line in
          the vicinity of these wells. If high concentrations of perchlorate are discharged through this line,
          such as the previously reported discharge concentrations from the City, groundwater could be
          significantly impacted. A sample of water from within the brine line contained a maximum
          perchlorate concentration of 3,600 µg/L with an average perchlorate concentration of 1,230 µg/L,
          as reported in IEUA Permit Number 16909 (IEUA, 2010). This sample was collected from a
          manhole approximately 0.5 miles upstream of Chino Well 10 where deteriorated pipelines have
          been noted.

  Regional Brine Line Analysis
  The correlation between the locations of industrial brine lines to the highest concentrations of perchlorate
  deserves additional study by the City. However, several facts are undisputed and should elevate the City
  AEP lateral as the most probable cause of perchlorate contamination to the underlying aquifer and as the
  most probable source of contamination to the wellfield.



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  Notably, AEP is discharging by far the highest concentrations (approximately 500 µg/L) of perchlorate
  documented in the Pomona area. These concentrations are in liquid form and therefore highly mobile.
  Between 115,000 and 201,000 gallon of this perchlorate laden waste stream is discharged daily. It would
  take only a small fraction of this concentrated brine water to cause the perchlorate problem found in the
  well field. As previously mentioned, the AEP process removes salts from the extracted groundwater.
  The high concentrations of perchlorate is not surprising considering TDS in the extracted groundwater
  enters the system at an average concentration of approximately 350 mg/L, and enters the brine line at a
  concentration of approximately 60,000 mg/L, approximately 200x greater than the untreated groundwater.

  From 1992 to 2004, discharges from the AEP occurred along a pressurized line, greatly enhancing the
  potential discharge of significant volumes of perchlorate-laden brine water to the underlying groundwater.
  In 2004, well after the City was aware of perchlorate in their system, the City of Pomona inexplicably
  made a conscious decision to divert the discharged brine into common sanitary sewer lines that were
  between five and seven decades old. These old clay pipes likely have significant structural integrity
  issues, especially given that several sections were replaced in 2001. Sanitary sewer pipelines in this era
  commonly leak into the subsurface environment. In addition, based upon observations during my own
  site reconnaissance, I observed buckled sidewalks and disruptions to the asphalt surface from tree roots.
  These observations which are visible to anyone at the surface may have also compromised portions of the
  sanitary sewer line and former PVC pipe. During our investigation, we attempted to obtain CCTV
  inspection logs and or video of the sewer lines connected to the AEP, but were told such records do not
  exist.

  The City and their consultants, Carollo Engineers, described and highlighted their Harrison Well Ion
  Exchange Treatment Facility (Taylor et al., 2010) as part of a presentation to the 2010 Water Quality and
  Regulatory Conference in Ontario, California. In this presentation, the City describes the construction of
  a water treatment plant to clean nitrate impacted groundwater using an ion exchange process similar to
  that used in the Main Pomona Wellfield. In the description of the facility’s brine waste and conveyance
  system, the presentation states that brine waste is conveyed through a 1.5 miles long high density
  polyethylene (HDPE) line with brine contained within an HDPE carrier pipe in case of rupture or leakage
  of the pipe. In essence, this is a double-walled pipe for brine discharge. This is a far superior
  construction method then utilized at the Main Pomona Wellfield, where the City is knowingly
  transporting high concentrations of perchlorate through clay pipelines that are 5 to 7 decades old. One
  can only presume that the City is aware that an issue must exist at their other brine lines, otherwise it is
  unlikely that they would have gone to the additional expense of this dual-walled brine pipe at their new
  facility.

  Neither the City nor Dr. Wheatcraft considered this potentially large, obvious and readily available source
  of perchlorate to groundwater. Instead, the City of Pomona entered into litigation that has forced the
  defendants to conduct the work and incur the expense that the City of Pomona should have invested.

  3.1.2.4 Railroads
  High traffic railroad lines traverse the City in the east-west and north-south directions through the heart of
  the Pomona Industrial Corridor and have been in existence since the late 1800’s. Although there is no
  direct evidence of railroads being a source of perchlorate contamination, the frequent and long term use of
  signal or illumination flares (FRTR, 2011) by the railroad may have the potential of releasing perchlorate



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  to the environment. Studies have shown that as much as 2,000 µg/L can be released to the environment
  with the burning of one signal flare (Silva, 2003).

  In addition, sodium chlorate was a commonly used herbicide by the railroads for weed control (PMEP,
  1995; Gover, 2000). Sodium chlorate is known to contain perchlorate and could therefore be a source of
  perchlorate in the environment (Trumpolt et al., 2005; MADEP, 2006).

  In the absence of any definitive environmental investigation data available related to the railroad corridor,
  the City should have considered signal flares and herbicides usage as potential sources of the perchlorate
  found in groundwater and conducted further investigation. The failure of the Dr. Wheatcraft and the City
  to evaluate this obvious potential source demonstrates that Dr. Wheatcraft and the City has performed
  inadequate due-diligence that would be expected in the environmental practice.

  3.1.2.5 Colorado River Water
  The Metropolitan Water District of Southern California (MWD) is the primary wholesaler of water from
  the Colorado River Aqueduct (CRA) and State Water Project (SWP) in southern California. MWD was
  established in 1928 by the California State Legislature for the purpose of constructing and operating the
  CRA. The CRA conveys water approximately 242 miles from Lake Havasu at the Arizona/California
  border to Lake Mathews in Riverside, California, where it is distributed to the member agencies. In the
  Pomona area, water is delivered through the Upper and Rialto feeder lines to Three Valleys Municipal
  Water District (TVMWD) and the IEUA. These agencies then sell to local retail water agencies (water
  districts and cities). See Figure 16 for MWD connection and location of Municipal water districts and
  retail agencies.

  In 1971, MWD began deliveries of SWP waters to Southern California. In 1948, the Pomona area
  received its first delivery of CRA water via delivery to the Pomona Valley Municipal Water District
  (currently known as TVWMD) through MWD’s upper feeder pipeline. By 1953, the Chino Basin
  Municipal Water District (currently known as IEUA) began receiving CRA deliveries from MWD
  through the same pipeline (MWD, 1979). CRA was the sole source of water delivered by MWD to the
  Pomona area until 1975. After 1975, blended CRA and SWP water was delivered into the Pomona area
  (MWD, 1979).

  CRA water was used for domestic, agricultural, industrial, and groundwater recharge purposes. Seven
  groundwater recharge basins are located along the San Antonio Creek. In addition, CRA water was
  delivered and temporarily stored in a large surface impoundment pending treatment by coal-sand-and-
  gravel filtration at the F.E. Weymouth Treatment Plant located in La Verne, California. CRA water is
  known to have high TDS, sulfates, and contains perchlorate. Groundwater in the Pomona area exhibits
  significantly higher concentrations of sulfate than natural background concentrations. These geochemical
  characteristics have been observed at other locations where CRA has been demonstrated to be one of the
  perchlorate sources, such as at the Jet Propulsion Laboratory facility in Pasadena, California (Slaten et al.,
  2010).

  In 1997, perchlorate contamination in the Colorado River Water was traced to the Kerr-McGee Chemical
  facility, Henderson, Nevada. The Kerr-McGee facility began perchlorate manufacturing in 1949. Kerr-
  McGee has manufactured at least four forms of perchlorate; sodium perchlorate, ammonium perchlorate,
  magnesium perchlorate, and potassium perchlorate (Covington, 1998). Groundwater contamination from



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  releases at the Kerr-McGee facility entered the Las Vegas Wash and discharged to Lake Mead. Water
  from Lake Mead continues downstream along the Colorado River to Lake Havasu where it enters the
  CRA. Concentrations as high as 1,200 µg/L were reported in samples taken from the Las Vegas Wash
  and as high as 9 µg/l at the Colorado River Aqueduct Water (USBR, 2010; CADPH, 2011).

  At the highest documented level, over 2,000 pounds of perchlorate was discharged each day from the
  Kerr-McGee facility (NVDEP, 2011). Remediation at the Kerr-McGee facility has reduced loading of
  perchlorate into the Las Vegas Wash by more than 90 percent since 1997 (MWD, 2010). Since the
  Colorado River water was not sampled for perchlorate prior to 1997, there are no accurate estimates of the
  maximum concentrations and mass loading rates entering the Colorado River, and subsequently the
  concentrations and mass of perchlorate delivered to the Pomona area.

  However, at my direction, EEC performed an evaluation the amount of perchlorate that has likely been
  introduced into the Pomona area by the MWD. This evaluation was conducted by determining the
  quantity of MWD water that was delivered to municipal water connections in the vicinity of the Pomona
  area, and combing this data with probable ranges of perchlorate in Colorado River water. The water
  districts within Pomona area that have connections to MWD’s Colorado River water include Three Valley
  Water District (formerly known as Pomona Valley Municipal Water District) and IEUA (formerly known
  as the Chino Basin Municipal Water District). The locations of the selected connections are shown on
  Figure 16.

  Data for the quantity of water imported to the Pomona area was obtained from monthly delivery records
  obtained from the MWD. MWD provided only data from 1948 to 1977, which corresponds closely to the
  period that Pomona began using MWD water until the date at which MWD water was blended with water
  from the State Water Project. This data was combined with a perchlorate concentration ranging from a
  low of 5 µg/L to a high of 20 µg/L. This range was selected, because water samples from the Colorado
  River Aqueduct have been shown to have perchlorate concentrations between 5 µg/L and 9 µg/L, during
  the time period since remediation has been occurring at site of the perchlorate release in Henderson,
  Nevada (NDEP, et, al, 2007). Therefore, for the purpose of the analysis presented herein, the lower mass
  range was conservatively calculated using a perchlorate concentration of 5 µg/L, while the upper range
  was estimated to be 20 µg/L. The upper range was estimated based upon an assumption that
  concentrations in the aqueduct would have been approximately twice the concentrations that have been
  observed post-remediation.

  Results of these analyses, for this 30 year period alone, show the perchlorate contributed to the Pomona
  area range from 1.56 tons (5 µg/L) to 6.24 tons (20 µg/L) are shown on Table 2. Additional mass has
  been contributed from 1977 to the present, however, the post 1977 data was not readily accessible at this
  time.

  Based on information presented above, it is my opinion that water from the Colorado River is a
  widespread source of the perchlorate observed in Pomona and elsewhere in the Chino Basin, and could
  have been a source from the early 1950’s to the present. Failure by Dr. Wheatcraft and the City of
  Pomona to identify the MWD as a source of perchlorate to the Pomona area is a glaring omission,
  especially given the well-documented history of this source.




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  3.1.2.6 Naturally Occurring Perchlorate
  Naturally occurring perchlorate is found in many locations and depositional environments throughout the
  world ranging from the frigid climate in Antarctica (Kounaves, et al., 2010) to the hot arid environments
  in Chile. In fact, naturally occurring perchlorate has been documented not far from Pomona in southern
  San Diego County, within a marine depositional geological unit at concentrations between 12 µg/L and
  59 µg/L, and in evaporate deposits at Searles Lake in San Bernardino County, California (Orris, et al,
  2003). Concentrations of perchlorate of up to 60 µg/L have been found in groundwater in West Texas
  and New Mexico. In all these locations, perchlorate has been determined to be of natural origin
  (Morrison, et. al, 2006). Dr. Wheatcraft has not considered or vetted the possibility of naturally occurring
  perchlorate as a potential source to the Pomona wellfield. This is despite the documented naturally
  occurring perchlorate that has been identified less than 100 miles south of City of Pomona.

  Searles Lake brines were exploited for the production of potash fertilizer since early 1900s. American
  Potash & Chemical Corporation produced potash and borax and in 1928 could claim to be the world
  largest producer of borax, producing 20 percent of the United States consumption of potash (Harvard,
  2011). American Potash was registered as a manufacturer and dealer in California. Its products included
  potassium sulfate and muriate of potash, which were inspected by California Department of Agriculture
  (California Department of Agriculture - CADA, 1940, 1950, and 1960). Potash fertilizers mined from
  this location would have been much more likely to have been used by farmers in the Pomona-Ontario
  basin due to the close proximity, and lower cost. While I do not think this contribution is the only cause
  of the high perchlorate concentrations in the AEP wellfield area, it should be noted that it wasn’t
  evaluated as a potential source by either the City of Pomona or Dr. Wheatcraft.

  3.1.2.7 Brooks Basin and San Antonio Creek
  Rapid groundwater recharge from surface water bodies are a potential source of perchlorate detected in
  the City of Pomona Main Wellfield. However, Dr. Wheatcraft did not evaluate the impact of such surface
  water bodies, including those proximal to the Main Pomona Wellfield. These include San Antonio Creek
  and the Brooks Basin.

  The Brooks Basin is located just to the northeast of the Main Pomona Wellfield. The Brooks Basin is
  located near Holt Ave and San Antonio Creek in the City of Montclair, California. In the vicinity of the
  Brooks Basin, groundwater is approximately 340 feet below ground surface with depth to bedrock of
  approximately 900 feet.

  Water is delivered to Brooks Basin from a combination of local runoff, stormwater, and recycled water.
  Both recycled water and imported water are delivered via the concrete-lined San Antonio Channel. Storm
  water enters Brooks Basin from the San Antonio Channel, the State Street storm drain, the Brooks Street
  regional storm drain, and from local street drainages. Approximately 2,361 acre feet (769,335,224
  gallons) of water were placed into the Brooks Basin for recharge during the 2009-2010 season (CBWM,
  2010). Due to the proximity of this basin, this recharge water would flow directly into the Main Pomona
  wellfield.

  Because water recharged from the basin comes from a combination of surface water runoff, storm water,
  and recycled water, there is certainly a possibility that water being recharged from this basin could
  introduce perchlorate to the underlying groundwater. Any contaminants introduced from this source
  could have an almost immediate and substantial impact on water quality within the wellfield. It should


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  be noted that recharge travel time from the basin to the underlying groundwater is estimated to be
  approximately 150 days (IEUA, 2010).

  This phenomenon of rapid recharge is unique to areas that receive large recharge volumes such as
  recharge basins or streambed recharge, as the vadose zone becomes locally saturated; while seepage rates
  are less than 10 ft/yr in areas where citrus was cultivated (Wildermuth, 2003). Thus water at the recharge
  basin reaches groundwater in about 5 months, while water at the adjacent areas, including former
  orchards, would take approximately 34 years.

  No testing for perchlorate has apparently been conducted from water within the basin. However,
  perchlorate has been detected in a monitoring well installed to monitor water quality discharged from the
  Brooks basin. A review of the California Department Public Health Drinking water database indicated
  that only one sample has been analyzed for perchlorate, the reported 11 µg/L concentration was from the
  deeper interval of one of two nested well clusters (CADPH, 2011).

  San Antonio Creek, and the seven adjacent recharge basins located along the creek from approximately
  Interstate 10 to the foothills of the mountains, are yet another source of rapid recharge to the basin. If
  perchlorate was to enter either San Antonio Creek or the recharge basins, this could rapidly introduce
  perchlorate groundwater and the Main Pomona wellfield. Prior to 1960, San Antonio Creek was unlined,
  therefore infiltration was possible along its entire length. Currently, infiltration takes place only along the
  previously mentioned seven recharge basins; however, San Antonio creek serves as the conduit to each
  recharge basin.

  Once again, the failure of Dr. Wheatcraft to evaluate the potential of recharge basins, most importantly
  the Brooks basin, and San Antonio Creek, to be a mechanism for perchlorate transport demonstrates that
  Dr. Wheatcraft and the City have performed inadequate due-diligence that would be expected in the
  environmental practice.

  3.2 Response to Dr. Wheatcraft Opinion 4

      The time for perchlorate applied at the surface to first reach the water table in the citrus
      fields located within the zone of influence of the AEP wells ranges between 15 and 30 years.
      Due to heterogeneity of the vadose zone, it is likely that much of the perchlorate moved more
      slowly than the average velocity and that soil beneath historic fields is still a source of
      perchlorate to the water table.

  Dr. Wheatcraft presents a theoretical discussion of perchlorate travel time from the surface to
  groundwater. However, similar to my earlier comments Dr. Wheatcraft did not perform the necessary due
  diligence to substantiate his opinion. The plaintiff provides not one soil sample from beneath the historic
  orchards to provide evidence for the presence of sodium nitrate or perchlorate. Despite this lack of
  sampling, Dr. Wheatcraft states “Due to heterogeneity of the vadose zone, it is likely that much of the
  perchlorate moved more slowly than the average velocity and that soil beneath historic fields is still a
  source of perchlorate to the water table.” This comment is baseless and reckless in light of the lack of
  evidence. Soil sampling is a basic component of any contaminant source investigation, and absolutely
  none was apparently recommended or performed to substantiate this claim.


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  In his travel time calculation, Dr. Wheatcraft at no time addresses more likely sources of perchlorate that
  are closer to the “perchlorate hotspot” located at the AEP wellfield. I have previously described these
  other sources which include Pomona’s AEP, the Pomona Industrial Corridor, Railroads, natural
  deposition and Colorado River. One of these, the AEP is a potential current and ongoing source of
  perchlorate, which is not evaluated by Dr. Wheatcraft.

  Dr. Wheatcraft also fails to differentiate between perchlorate that was documented to have been applied to
  citrus prior to 1927, and that to which he assumes was applied post 1927. Dr. Wheatcraft provides no
  documentation that sodium nitrate was applied during the period 1927-1957, nor does he provide
  documentation of the mass of perchlorate that was allegedly applied to the field or the mass that would
  have been uptaken by the orchards.

  The City of Pomona and their consultants and experts had ample time and access prior to and during the
  litigation process to collect soil samples at former orchards and/or industrial sites. This is a basic flaw in
  the investigatory process that is a standard environmental practice.

  3.3 Response to Dr. Wheatcraft Opinion 5

      The average time for perchlorate applied within the AEP zone of influence to travel within
      the saturated zone to the Pomona AEP wells once it has reached the water table ranges from
      zero to approximately 70 years, depending on the horizontal distance from the source field to
      the receptor well. This span reflects the range of distances between historic citrus fields of
      interest and the AEP wells of between zero and 2.25 miles.

  As previously stated, Dr. Wheatcraft failed to account for other more likely sources closer to the AEP.
  These sources included industries along the Pomona Industrial Corridor and the AEP brine lines
  themselves. The AEP brine lines present a potential current and historic source of perchlorate. As
  previously described, the AEP discharges perchlorate at concentrations 25x higher than that found in the
  City of Pomona production wells. Discharge from the AEP brine lines could explain the cause of
  elevated perchlorate concentrations in the groundwater which are consistently much higher than those
  found in wells located in the historical orchard areas.

  Based on the data presented by Wildermuth, 2009, the maximum detected perchlorate concentrations in
  groundwater samples from fifteen wells within the City exceed the primary drinking water standard for
  perchlorate of 6.0 µg/L as cited in the July 2003 through June 2008 reporting period. Eight of these wells
  had a reported maximum perchlorate concentration of more than 12 µg/L. Notably, nine of these fifteen
  wells are located at the center of the Pomona Industrial Corridor. Among the remainder of the wells with
  elevated perchlorate levels, four of the wells are located near the southern portion of the Pomona
  Industrial Corridor and two wells are located slightly towards the east of the corridor and close to San
  Antonio Creek. Notably, wells immediately upgradient of the wellfield, but still within the AEP zone-of-
  influence do not contain concentrations of perchlorate above action levels (Wildermuth, 2003).




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  3.4 Response to Dr. Wheatcraft Opinion 6

      When the respective travel time ranges for perchlorate in the vadose and saturated zones in
      the zone of influence of Pomona’s AEP wells are combined – i.e. the time it takes perchlorate
      applied at the surface to travel vertically to the water table and then horizontally in the
      aquifer to the wells – the overall, average latency period between fertilizer application and
      impacts in the wells is spread over 15 to 100 years. This means that perchlorate applied with
      fertilizers to the identified citrus groves during the 1930s and 1940s was still arriving in
      Pomona’s AEP wells at the time the MCL was set in 2007, is present in those wells today,
      and will continue to be present in the wells into the future.

  Dr. Wheatcraft presumes that sodium nitrate was applied, but he presents no evidence that it was ever
  used or applied. Further, plant uptake was not accounted for in his analysis of perchlorate impact or
  travel time. Dr. Wheatcraft does not address the mass of any perchlorate that would have been applied
  pre-1930. As noted earlier in section 3.2, Dr. Wheatcraft and the City of Pomona have had ample time
  (over five years) and opportunity to collect soil samples from the vadose to substantiate his opinion but
  neglected to do so. In fact, the City has been aware of several productions wells that have been drilled in
  the City, during this five year time span, and the City has apparently not attempted to collect a sample to
  document the presence of perchlorate. This again illustrates an investigative approach that is extremely
  deficient and biased toward a pre-defined conclusion.

  3.5 Response to Dr. Wheatcraft Opinion 7

      Although the concentrations of perchlorate in the AEP wells are likely to fluctuate over time
      due to a number of factors, including heterogeneity in the subsurface, variability in pumping
      and precipitation and the fact that perchlorate was released via periodic applications, it is
      likely that perchlorate concentrations in the AEP wells will not begin to trend down to any
      significant degree for at least another 30 years.

  Dr. Wheatcraft’s opinion is based primarily on models run by others. Dr. Wheatcraft has not performed
  any of the necessary due diligence to identify potential sources of perchlorate, other than fertilize, nor has
  he collected a single sample to demonstrate that perchlorate is present in the unsaturated zone. Therefore,
  the conclusions reached by Dr. Wheatcraft are flawed, as it may be possible to eliminate the perchlorate
  issues observed in the Pomona wellfield by identification of more likely source(s). Although
  identification of this source should have been conducted by the City of Pomona, this burden has
  unnecessarily placed upon the defendants due to the sloppy and technically deficient work performed by
  the plaintiffs. As I have documented in this rebuttal report, over forty two potential sources of perchlorate
  have been identified within or near the Main Pomona Wellfield. Additionally, the City of Pomona itself
  is the potential source with the highest probability of causing the elevated perchlorate found within the
  wellfield.




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  Also, it should be noted that Dr. Wheatcraft has ignored two other significant lines of evidence that
  illustrate that citrus orchards are likely not the source of elevated levels of perchlorate found in the
  Pomona wellfield. These include the distribution of perchlorate concentrations in wells within the
  historic orchard areas, and the similarity between the plume of perchlorate which exceed State action
  levels and the plumes of industrial solvents and metals in the same area.

  3.5.1 Distribution of Perchlorate and Orchards
  To illustrate how Dr. Wheatcrafts narrow focus has biased his conclusions, one only needs to look at the
  distribution of perchlorate in groundwater as compared to the historical orchards. Therefore, I conducted
  an assessment of the distribution of perchlorate using available groundwater samples collected from the
  Pomona area (“target area”). For the purposes of this evaluation, the target area is bound by the following
  roads or features:

         North – Baseline Avenue
         South – Mission Blvd.
         West – A line extending north to south from the west end of the Brackett Field
         East – Mountain Blvd.

  The target area encompasses a total of approximately 30,000 acres. To be conservative, I expanded the
  Study Area to exceed the present capture zone (AEP zone-of-influence) of the City wellfield and assumed
  that all orchards were citrus, except for the walnut and persimmon groves that have been documented to
  have been present at the former General Dynamics facility. The target area is shown on Figure 17. The
  period of evaluation was between the late 1920s to late 1950s, as this correlates to the period in which
  SQMNA exported sodium nitrate for fertilizer use. During this period, it is alleged that sodium nitrate
  was one of several types of fertilizers used in the local citrus orchards.

  Within the target area, perchlorate data from 57 wells, sampled between 1997 to 2011, were compared to
  their proximity to citrus orchards. The laboratory results from the 57 wells ranged from non-detect
  (below method detection levels) to 26 µg/L (CADPH, 2011).

  Using ArcGIS software, the perchlorate groundwater data was overlaid on a composite of historic aerial
  photographs within the study period (Figures 18 and 19). To be conservative, the maximum
  concentration of perchlorate at each well was used. This allowed for the comparison of land use to the
  maximum perchlorate concentration distribution.

  The result of this comparison revealed that most of the elevated perchlorate-impacted groundwater
  occurred in clusters within the target area. Moreover, approximately 11 percent of the wells contained no
  detectable perchlorate. Forty two percent contained perchlorate at concentrations exceeding MCLs, while
  the remaining 47 percent are below MCLs. It should be noted that the majority of the samples exceeding
  MCLs are from wells located in an area which has undergone significant industrialization in the 60 years
  and currently have potential sources of both natural and synthetic sodium nitrate. Further, all wells within
  the Pomona Industrial Corridor contained detectable concentration of perchlorate, while many samples
  upgradient of the wellfield and located within the historic orchards contained no detectable concentrations
  of perchlorate.




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  If a non-point source such as the application of fertilizer on widespread citrus orchards were the source of
  perchlorate, perchlorate concentrations would be homogenously distributed throughout the area overlain
  by citrus orchards. The wide range in detected concentrations most likely indicates point sources of
  contamination, such as an industrial release. This conclusion is further supported by the 11 percent of
  samples that were non-detect for perchlorate but had orchards during the study period. This would not be
  expected if the fertilizer applied at these orchards was the source.

  As discussed in Section 3.1.2.1, a number of potential industrial sources of perchlorate are present near
  the Main Pomona Wellfield, including at least forty two identified potential sources within the Pomona
  Industrial Corridor. One or more of these identified industries, or others not yet identified, are more
  likely sources of perchlorate based upon the distribution patterns, yet have been ignored by Dr.
  Wheatcraft.

  3.5.2 Groundwater Contamination near the Pomona Wellfields
  Another significant line of evidence that has been completely ignored by Dr. Wheatcraft and the City of
  Pomona is the apparent correlation of perchlorate to volatile organic compound (VOC) and hexavalent
  chromium plumes within the Main Pomona Wellfield. I reviewed several reports documenting the VOC,
  total chromium, and hexavalent chromium contamination in groundwater to evaluate if any correlation
  exists between distribution of these contaminants and the detection of perchlorate within the Pomona
  wellfields. As stated in Section 3.1.2.1, elevated concentrations of perchlorate were noted in association
  with VOC and hexavalent chromium concentrations in groundwater for a metal finishing facility in Santa
  Ana, California. Perchlorate concentrations in groundwater within the Pomona Industrial Corridor
  generally followed a similar spatial distribution pattern, including the detection of VOCs, perchlorate and
  hexavalent chromium. The following sections provide an evaluation of the distribution of groundwater
  contamination within the Pomona Industrial Corridor and near the Main Pomona Wellfield. This same
  correlation can be seen in the Northern Pomona Wellfield where industrial sources have been identified as
  the source of VOC contamination with water also containing perchlorate.

  3.5.2.1 Volatile Organic Compounds
  Based on the data presented by Wildermuth, 2009, four chlorinated VOC constituents, tetrachloroethene
  (PCE), trichloroethene (TCE), 1,1-dichloroethene (1,1-DCE), and 1,1-dichloroethane (1,1-DCA) were
  detected at concentrations exceeding their respective primary drinking water MCLs within the City. A
  VOC concentration map is shown on Figure 20. The maximum detected concentration of PCE in
  groundwater samples from five wells exceeded the primary drinking water MCL of 5.0 µg/L. PCE
  concentrations from three wells exceeded 10 µg/L. Notably all five of these wells are located within the
  southern portion of the Pomona Industrial Corridor. In general, wells located outside the Pomona
  Industrial Corridor have a lower PCE concentration.

  The maximum detected TCE concentration in groundwater samples from nine wells exceeded the primary
  drinking water MCL of 5.0 µg/L. TCE concentrations from two wells exceeded 20 µg/L. All nine wells
  are located at the center of the Pomona Industrial Corridor. The maximum detected 1,1-DCE
  concentration in groundwater samples from three wells exceeded the primary drinking water MCL of 6.0
  µg/L. All three wells are located at the center of the Pomona Industrial Corridor. The maximum detected
  1,1-DCA concentration in a groundwater sample from one well exceeded the primary drinking water
  MCL of 5.0 µg/L. This well was located within the Pomona Industrial Corridor.



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  The industrial area near the North Pomona Wellfield is also known to have a well-documented
  chlorinated solvent plume, including one originating from the former Xerox facility (RWQCB, 2011;
  Haley & Aldrich, 2007). A VOC treatment facility is located at the P-3 well site in the City’s Northern
  Pomona Wellfield. According to a memorandum dated January 26, 2011 from Mr. Richard Hansen,
  Chief of Watermaster Services for the Three Valleys Municipal Water District (TVMWD), Xerox reached
  a settlement with the City in 1992 to fund the treatment facility.

  Elevated concentrations of VOCs detected in groundwater samples within the Pomona wellfields correlate
  with the perchlorate detections within the same area. This correlation strongly suggests the same
  industrial point source(s) of contamination. Once again, Dr. Wheatcraft ignores the obvious correlation
  of perchlorate to the documented VOC plumes and fails to perform even the minimal due diligence that
  would be expected of an environmental professional.

  3.5.2.2 Total Chromium and Hexavalent Chromium
  Based on the data presented in the Wildermuth, 2009, the maximum detected total chromium
  concentrations in groundwater samples collected from three wells within the City exceeded the primary
  drinking water MCL of 50.0 µg/L. One well had a reported maximum concentration of total chromium
  greater than 100 µg/L. All three wells are located at the center of the Pomona Industrial Corridor.

  Fifteen wells located within the Main Pomona Wellfield contained detectable concentrations of
  hexavalent chromium. Nine wells had reported concentrations below 25 µg/L, five wells contained
  reported concentrations ranging from 25 µg/L to less than 50 µg/L, and one well had a reported
  concentration that exceeded the State of California primary drinking water MCL of 50.0 µg/L.

  Elevated concentrations of total chromium and hexavalent chromium detected in groundwater samples
  within the Pomona wellfields correlate with the perchlorate detections within the same area. This
  correlation likely indicates the same industrial point source(s) of contamination.

  In addition, as stated in Section 3.1.2.1, elevated concentrations of perchlorate were noted in association
  with hexavalent chromium groundwater contamination for a metal finishing facility in Santa Ana,
  California. Perchlorate concentrations in groundwater generally followed a similar spatial distribution
  pattern as hexavalent chromium.

  Because the plaintiffs considered only one potential source of perchlorate, their analyses was
  fundamentally flawed from the outset. Using this narrow and biased approach the plaintiffs’ expert
  arrived at predetermined conclusion that ignored many obvious other sources of perchlorate. This narrow
  approach has forced the defendants to expend significant time and financial resources that should have
  been borne by the plaintiff.

  3.6 Response to Dr. Wheatcraft Declaration
  In his November 4, 2011 declaration, Dr. Wheatcraft inexplicably seems to have been compelled to
  provide comments on groundwater flow mechanics, focused primarily on “laminar” vs. “turbulent” flow;
  and the relationship between contaminant distribution in groundwater and the applications of fertilizers.

  With regard to the latter, Dr. Wheatcraft, again without any basis in fact, made two unfounded
  assumptions as it pertains to contaminant distribution and the application of fertilizers: 1) he has provided



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  no soil sampling data that would indicate perchlorate has migrated from the surface to the groundwater;
  and 2) he assumed that each application of fertilizer resulted in a separate and distinct plume of
  perchlorate; and that the perchlorate, if present, does not attenuate and/or comingle as it travels through
  the hundreds of feet of heterogeneous soil column and then varying distance to the AEP wellfield.

  Information from Wildermuth (Wildermuth, 2003) provides information related specifically to the Chino
  Basin hydrogeologic environment which is contrary to Dr. Wheatcraft’s statement. Wildermuth states “it
  is reported that there is only a slight seasonal variation in groundwater levels in the Chino Basin and there
  is a delayed response to a significant wet year or cumulative wet years. This occurs, in part, because the
  vadose zone is thick and acts like a regulating reservoir. The vadose zone smoothes out the variability of
  deep percolation of precipitation and applied water from extreme wet and dry periods.” Since any
  perchlorate transport would be due to the vertical migration of groundwater, perchlorate transport would
  similarly be regulated as it moves through the thick heterogeneous soil column. Therefore, it is unlikely
  that seasonal, or more frequent applications of a fertilizer would be manifested at the groundwater surface
  as distinct plumes, that could be defined year-to-year.

  With regard to his comments on groundwater flow mechanics, Dr. Wheatcraft states that perchlorate in
  groundwater moves in a laminar flow pattern and that “the only process that can cause mixing between
  the layers is molecular diffusion, which is a very slow process compared to the speed with which the
  groundwater is moving on average. Thus, mixing transverse to the direction of flow is negligible.” I
  believe that Dr. Wheatcraft is attempting to state that once perchlorate enters a particular groundwater
  layer, it does not tend to move out of that layer; however Dr. Wheatcraft never defines what a layer is,
  how thick a layer is, or what defines a layer.

  It is well established that groundwater flow is complex, and thus dissolved contaminant migration is
  complex, with tortuous paths between different forms of porosity or sedimentary layers. Laminar and
  turbulent flow can occur simultaneously, depending on void space and energy gradient variations in the
  subsurface. Dr. Wheatcraft provides examples of several studies that are not related to the contaminant
  perchlorate and its chemical properties. Instead he cites examples of thermal distribution and unspecified
  tracer studies; ignoring the many studies or actual situations where downward vertical migrations and
  mixing of contaminants have actually been proven to occur. In fact, in an area of active groundwater use
  and pumping, vertical mixing and downward vertical gradients are much more likely, as illustrated by the
  cone of depression that has formed beneath the Main Pomona Wellfield

  In fact, if Dr. Wheatcraft wanted to cite a comparable case involving dissolved perchlorate fate and
  transport in an alluvial sedimentary environment, he need only to have reviewed the Rialto-Colton
  perchlorate plume which has been extensively investigated. The Rialto-Colton basin, located
  approximately 20 miles east of Pomona, has hydrogeologic conditions that are comparable to those in the
  Pomona-Ontario area.      Contrary to Dr. Wheatcraft’s implications in his declarations, it has been
  demonstrated at this location that perchlorate has migrated vertically hundreds of feet within the
  groundwater aquifers. This is a far better example of how contaminant transport would be expected to
  occur then a study that documents heat in a geologic environment thousands of miles from Pomona.
  Cross sections, produced by others, illustrating vertical perchlorate migration within the Rialto-Colton
  Basin are included in Exhibit E to my report.




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  Further evidence demonstrating contaminants become dispersed vertically as well as horizontally in the
  Chino Basin include the well documented nitrate contamination that is present throughout the unconfined
  aquifer in the Chino Basin. The majority of nitrate contamination has largely been attributed to the dairy
  industry that was located within the Chino Basin. Elevated nitrates are well distributed throughout the
  unconfined aquifer over much of the Chino-Pomona area, due to non-laminar flow and downward vertical
  gradients. Wildermuth (Wildermuth, 2003) confirms this downward vertical migration with the following
  statement “The shallow aquifer system is generally characterized by unconfined to semi-confined
  groundwater conditions, high permeability within its sand and gravel units, and high concentrations of
  dissolved solids and nitrate. The deep aquifer system is generally characterized by confined groundwater
  condition, lower permeability within its sand and gravel units, and lower concentrations of dissolved
  solids and nitrate. Where both aquifer systems are present and saturated, hydraulic head tends to be
  higher in the shallow aquifer system, indicating a downward vertical hydraulic gradient.”



  4.0 COMMENTS ON THE EXPERT REPORT OF DR. F.J. (CHIP) SUNDSTROM

  Dr. Sundstrom, the owner of FJS Consulting, an agricultural consulting company, prepared an expert
  report (Sundstrom, 2011), on behalf of the City of Pomona regarding 1) the historical usage of Chilean
  nitrate fertilizers in and around the City of Pomona; and (2) whether the ordinary consumers of Chilean
  nitrate fertilizers would have expected that using the product to fertilize crops could result in groundwater
  contamination. Mr. Sundstrom’s opinions and my comments to his opinions are as follows:

  4.1 Response to Dr. Sundstrom Opinion 1

          Between 1927 and 1950, Chilean nitrate fertilizer imported into the United States by
          SQMNA was widely used on citrus in the Pomona-Ontario region.

  Dr. Sundstrom provides no direct evidence of Chilean fertilizer (nitrate of soda) use in the Pomona area
  during the period 1927 – 1957. Dr. Sundstrom relies upon six independent variables to conclude that
  sodium nitrate was used extensively in Pomona. These variables include:
      1) Use of nitrogen on citrus crops in California;
      2) Extent of citrus farming in the Pomona-Ontario region;
      3) California’s tonnage figures for sodium nitrate;
      4) Advertisements for Chilean nitrate fertilizer in the Citrograph;
      5) Imports of Chilean nitrates into the Port of San Pedro;
      6) SQMNA’s district sales office in Los Angeles.

  Dr. Sundstrom has selectively linked these variables together in a biased manner without consideration of
  pertinent information that would refute his findings. Issues I have with each of these variables are
  described below;




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  4.1.1 Use of Nitrogen on Citrus Crops
  No evidence indicates that sodium nitrate was used in the Pomona region between 1927 and 1957, the
  period SQMNA was importing sodium nitrate to California. In fact, early use of sodium nitrate (also
  known as nitrate of soda) in citrus orchards did not appear to have significant benefits compared to
  manure (Kelley, 1922). In addition, a study conducted by Professor R.S. Vaile, with the Citrus
  Experiment Station in Riverside, California found that “use of concentrated nitrogenous fertilizer
  consistently without bulky organic material will not permanently maintain healthy groves (Webber,
  1924).” Concentrated nitrogenous fertilizers can include any one of over 20 fertilizers including
  ammonium sulfate, urea, packing house tankage, guano, bloodmeal, fishmeal, ammonia nitrate, etc., not
  necessarily sodium nitrate as suggested by Dr. Sundstrom. Where deterioration is manifested by typical
  mottled leaf and attendant characteristics, it appears that a correction of this particular trouble is not to be
  found in the use of commercial fertilizers, particularly inorganic fertilizers (Vaile, 1922). Similar to the
  findings by Vaile in 1922, Dr. Chapman of the University of California Riverside Citrus Experimental
  Station states that the ill effects of overuse can be avoided or easily corrected by decreasing nitrogen use,
  or changes to other forms, correction of soil acidity or alkalinity, use of gypsum or organic materials to
  improve soil structure, and foliar sprays to correct nutritional deficiencies (Chapman, 1968).

  As with any type of agriculture, fertilizer application is dependent upon the soil and crop in a particular
  region. As described by Ted Batkins in his expert report (Batkin, 2011), “According to UC research
  reports and my discussions with citrus farmers in southern California, sodium nitrate was not a preferred
  soil fertilizer for citrus. First, the use of sodium nitrates in a generally alkaline soil matrix like Pomona
  was not a good farming practice because it tended to tighten soils. Second, the studies that had been
  conducted at the UC Riverside/USDA Salinity Laboratory did not find any superior results with use of
  sodium nitrate over other fertilizers.”

  4.1.2 Extent of Citrus Farming in the Pomona-Ontario Region
  Dr. Sundstrom grossly over exaggerates the citrus acreage as it relates to this case. In his expert report,
  Dr. Wheatcraft has provided a citrus acreage for the zone of influence of the AEP wells totaling 4,032
  acres. The acreage calculated by Dr. Wheatcraft is in close agreement, but slightly higher, than the
  acreage calculated by me, due to areas included outside the capture zone. Dr. Sundstrom relies upon data
  obtained from Mr. Randall Brady, which is as high as 28,977 acres in 1938. This is 7x higher than other
  plaintiff experts. Additionally, Dr. Sundstrom incorrectly extends his citrus acreage into adjacent cities
  that extend well past the zone of influence.

  4.1.3 California’s Tonnage Figures for Sodium Nitrate
  While tonnage figures from the State of California are believed to be correct, there is a noticeable spike in
  imports to California during the war years (1940-1948) that Dr. Sundstrom incorrectly attributes to a
  dramatic increase in application to the citrus orchards in the Pomona-Ontario area. This incorrect
  assumption causes Dr. Sundstrom to grossly over-exaggerate the quantity of sodium nitrate imported to
  California between 1927 and 1957. A further discussion of the quantity of sodium nitrate imported to
  California is included in my response to Dr. Sundstroms second opinion. The remainder of my response
  will focus on the gross exaggeration of nitrate during World War II.




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  Dr. Sundstrom completely ignores historical documentation that the war time spike of sodium nitrate
  imports to California was due to fact that many fertilizer shipments that were previously sent to the East
  Coast and Gulf of Mexico were diverted to California because of submarines (U-boats) interfering with
  Chilean nitrate importations, resulting in cargoes being unloaded on the West Coast and railed to eastern
  points of consumption (Groggins, 1945; Brand, 1943).

  Instead Dr. Sundstrom relies upon a single statement in a Book titled the “Citrus Industry” published in
  1968 (Chapman, 1968). Not only does Dr. Sundstrom rely upon this one statement, he misrepresents and
  misstates the context of a statement by Dr. Chapman, one of the books contributors:

          Sundstrom states the following “during the World War II years…Chilean sodium nitrate
          was “exclusively used” to fertilize California citrus” (emphasis added).

  The complete context of Dr. Chapman’s statement is shown below without editing.

           Potassium perchlorate injury is illustrated in figure 3-39. It was widely observed in
          citrus in California and elsewhere during the World War II years, when Chilean sodium
          nitrate was exclusively used. It occurs as an impurity in this salt. In the early stages of
          leaf injury, it appears not to adversely affect tree health or production, but severely
          injured leaves drop prematurely and there are thought to be some adverse effects on
          production.

  Dr. Sundstrom omitted a key word, “when”, that completely changes the context of Dr. Chapman’s
  statement. His statement does not imply that Chilean sodium nitrate was exclusively used, but instead
  indicates that when sodium nitrate is used as a sole source of fertilizer that it causes injury to the leaves
  and the overall health of the tree (this had been known since the late 1800’s). Dr. Chapman does not
  specify a geographic region where this damage was observed, or how many orchards utilized sodium
  nitrate at that time. As previously mentioned it is unlikely that there would have been widespread use of
  sodium nitrate in the Pomona-Ontario area because of it had been demonstrate that sodium nitrate was not
  the preferred fertilizer in the Pomona region.

  Dr. Sunstrom ignores volumes of U.S. Government documents that describe what was actually occurring
  during World War II to cause the increase of sodium nitrate imports to, or through, California. During
  World War II, strategic materials, including fertilizers, were put under export control in order to prevent
  them from reaching the Axis countries. In January 1942, sodium nitrate exports to the United States were
  restricted to those going to the United States Metals Reserve Company, and in July 1942 to the United
  States Defense Supply Corporation. Several times during the war Chile used her navy vessels to transport
  sodium nitrate to save shipping space for other Allied nations (Lamer, 1957). The apparent spike that Dr.
  Sundstrom attributes to increase use in the citrus orchards of the Pomona-Ontario area was actually the
  result of submarine (U-boats) inference with shipping along the Atlantic and Gulf of Mexico, which
  caused much of the sodium nitrate to be shipped to the West Coast. From the west coast, the sodium
  nitrate was railed to eastern points of consumption, and the U.S. Government paid for the excess shipping
  costs (Groggins, 1945, Brand, 1943).




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  Using its war powers, the U.S. Government took control of allocation of all fertilizers including Chilean
  sodium nitrate. On January 15, 1942, the United States War Production Board (Order No. M-62) placed
  nitrate of soda (sodium nitrate) immediately under control as a result of the attack on Pearl Harbor (Gold,
  1949). On September 12, 1942, Fertilizer Conservation Order M-231 restricted the use of chemical
  nitrogen on grains, reduced the amount of nitrogen in mixed fertilizers, and prohibited the use of nitrogen
  for “luxury purposes” (lawns, golf courses, parks, cemeteries, and shrubs and flowers outside of
  nurseries). In December 1942 the use of chemical nitrogen on some crops, such as cucumbers, melons,
  and small grain, was prohibited, and its general use was reduced 20 percent. Tobacco growers were
  required to substitute organics for chemicals.

  The scarcity of chemical nitrogen led to a distinction between “essential” and “nonessential: crops.
  Essential crops were defined as white and sweet potatoes, castor beans, soybeans, flaxseed, hemp, peanuts
  and crops for livestock feed.

  A supplement to Order No. M-231, “Food Production Order No. 5 was issued by the Food Production
  Administration on January 18, 1943. This Order classified crops into two groups as follows: Group A,
  vital crops; and Group B all other crops. Fertilization of lawns, golf courses, cemeteries, or parks was not
  allowed. The fertilizer requirements of Group A were considered the most important. When a fertilizer
  manufacturer had supplied that group he could proceed to Group B deliveries” (Lamer, 1957). Oranges
  are not listed as Group A crops.

  In conclusion, the amount of sodium nitrate utilized in California during World War II was likely equal or
  possibly only slightly greater than the quantity used prior to the War, due to slightly expanded agricultural
  expansion during that time period. Similar to the way Dr. Sundstrom greatly over portrays the acreage, he
  exaggerates quantities of perchlorate that could have been applied throughout California, and specifically
  the Pomona capture zone.

  4.1.4 Advertisements for Chilean Nitrate Fertilizer in the Citrograph
  Dr. Sundstrom uses the fact that Chilean nitrate fertilizer was frequently advertised as proof that sodium
  nitrate was applied in the Pomona-Ontario area. He does not disclose that California Citrograph was a
  State-wide publication and that many types of fertilizers are advertised in this magazine. As previously
  stated, different regions of California contain different soil types and require different varieties of
  fertilizers. It is not surprising that Chilean nitrate was advertised for use in many portions of the State.
  However, as previously described, sodium nitrate was not an ideal fertilizer for the Pomona-Ontario
  region, and therefore would likely not have been used.

  Dr. Sundstrom also fails to disclose that vegetables, cotton, apples, and small grains utilized sodium
  nitrate and were all similarly marketed by advertisements; however, the preponderance of citrus
  advertisements found was due to the fact that Dr. Sundstrom appears to have only researched a citrus
  publication. Once again, Dr. Sundstrom has taken a very biased approach by analyzing a singular crop
  sector (citrus), while ignoring many other crops including those mentioned above.




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  4.1.5 Imports of Chilean Nitrates into the Port of San Pedro
  Once again, Dr. Sundstrom links the importation of sodium nitrate to San Pedro as proof that sodium
  nitrate was applied to the Pomona-Ontario citrus fields. There is no evidence to support this conclusion.
  The Port of San Pedro is the nearest major port to Chile on the United States west coast. Therefore it is
  logical that any sodium nitrate brought through this port would be re-distributed throughout the entire
  state and/or adjacent western states.

  4.1.6 SQMNA’s District Sales Office in Los Angeles
  Similar to the above point, it would be only logical that SQMNA would have a district sales office at the
  location at the entry port. This office would likely have been delegated with the tasks of marketing and
  distribution to suppliers. The presence of an office in Los Angeles has no correlation to the application of
  sodium nitrate on the Pomona citrus groves.

  In summary, Dr. Sundstrom has failed to tie any of these six variables to the application of sodium nitrate
  to Pomona’s citrus groves. Dr. Sundstrom’s method is incorrect and contrary to the evidence as he
  exaggerates several facts, including, acreage of citrus crops in the AEP zone of influence and the
  quantities of imported sodium nitrate. In addition he takes out of context a statement linking extensive
  use of sodium nitrate to the Pomona-Ontario area and makes speculative conclusions based on simple
  advertisements and locations of a port and office.

  It should be mentioned that the U.S. government has strongly encouraged the use of Chilean sodium
  nitrate and even subsidized fertilizer sales in the U.S. to promote its use. The United States has for almost
  a century depended on Chile as a Source of industrial and fertilizer nitrogen. A document from the U.S.
  War Food Administration made the following comment “It is interesting to speculate whether this nation
  could have achieved its greatness without the cooperation of the Chilean Government in supplying us
  with nitrates with which to make military explosives and to satisfy the fertilizer nitrogen requirements
  needed for the production of foods, feed and fibers.”

  During the Spanish American War and the First World War the entire U.S. military explosives program
  utilized nitric acid derived from Chilean nitrate. Now, synthetic ammonia and the nitric acid derived by
  its oxidation have replaced sodium nitrate in military programs; however, until the 1950’s the U.S. was
  dependent on Chile for making up deficits to meet agricultures nitrogen requirements (Groggins, 1945).

  During the 1940’s, the U.S. government officials resolved to support Chilean fertilizer use well beyond
  the war years. Although domestic facilities, including government-owned ammonia plants could easily
  provide sufficient fertilizer nitrogen without recourse to importations of Chilean nitrate, the State
  Department, mindful of our “Good Neighbors” policy announced “it was not the intention of the
  Government of the United States that the production by the Government of Synthetic nitrogen in plants
  owned by it and constructed for war purposes, should be continued beyond the period necessitated by the
  conditions or consequences of war…”. “If the post-war objective is to avoid subsidization of domestic
  production, by the same token, there would be no subsidization of imports. Nor should there be tariff
  protections against imports.”




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  These well intended actions apparently were not fulfilled, as the U.S. government sold the synthetic
  nitrogen manufacturing facilities to private interests, who took over the fertilizer industry. Impacts of this
  reversal of policy can be seen by the sharp drop-off of Chilean fertilizer importation beginning in 1950.


  4.2 Response to Dr. Sundstrom Opinion 2

          Between 1940 and 1948, Chilean nitrate fertilizer imported into the United States by
          SQMNA was the dominant, and possibly exclusive, nitrogen fertilizer used on citrus in
          the Pomona- Ontario region.

  As stated in my response to Dr. Sundstrom in Opinion 1, Dr. Sundstrom has misinterpreted and
  misquoted a statement by Dr. Chapman which resulted in his incorrect interpretation that Chilean nitrogen
  fertilizer was the dominant, and possibly exclusive, nitrogen fertilizer used in the Pomona-Ontario region.
  This is a significant error, and not substantiated by fact, for all the reasons described in Section 4.1,
  above.

  To further demonstrate the exaggerated numbers that Dr. Sundstrom claims, despite offering any proof
  that sodium nitrate was ever applied, I closely examined Dr. Sundstrom’s calculations on pages 11 and 12
  of his expert report. In his report Dr. Sundstrom claims that “well over 150,000 pounds of perchlorate
  from SQMNA’s product – and possibly over 200,000 pounds – were applied to soil in the Pomona-
  Ontario region in the 1940’s alone”. This is equal to 75 to 100 tons of perchlorate. Dr. Sundstrom uses
  variables of 1) percent acres that were assumed to be fertilized with sodium nitrate; 2) application rates,
  and 3) total citrus acres, and fails to include crop uptake rates. The following paragraphs describe my
  calculations and methods of analysis.

  I began by reviewing the citrus acreage calculated by Dr. Sundstrom for the Pomona-Ontario region and
  then compared this to the acreage that was within the AEP zone-of-influence, as well as the acreage of
  citrus in the State of California. For consistency with the acreage used by Dr. Sundstrom, I used the same
  period for the State of California citrus acreage (crop year1937-1938 and 1947-1948 - CADA, 2011).
  Using these numbers, I calculated the percentage of orchards in each of these areas (see Table below) and
  graphically represented them on Figure 21.

              California                    Pomona-Ontario Region                AEP Zone-of-Influence
            294,700 (acres)                    25,749 (acres)                        4,032 (acres)
                 -----                             8.7%                                  1.4%

  Next, I evaluated the mass of sodium nitrate utilized by Dr. Sundstrom in his report during the time
  period 1940-1948 (despite my disagreement with this mass as described in my response to Dr.
  Sundstrom’s Opinion 1). In his analysis of fertilizer use, Dr. Sundstrom uses the volumes of sodium
  nitrate that went through California ports during the war period (failing to take into account that much
  was shipped by rail out of the State) to skew the mass of sodium nitrate that was imported during the
  entire 30 year time period SQMNA imported fertilizer to California.




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  The mass that Dr. Sundstrom claims to have been imported into California during the 9 years between
  1940 to 1948 (226,000 tons) dwarfs the sum of imports of sodium nitrate that were imported the 22 years
  prior to, and immediately following the war period combined (60,000 tons). To evaluate the implications
  of these data which are represented on the graph shown in Exhibit 19 of Dr. Sundstroms report, I
  performed a quick calculation to evaluate the reasonableness of the wartime imports. The data shows an
  average of 2,227 tons of agricultural sodium nitrate used in California from the periods 1927 to 1940 and
  1949 to 1957; and an implausible 25,100 tons per year (or 10x pre- and post-war years) used during
  World War II, despite rationing orders which placed citrus low on the allocation orders (as stated
  previously) and only a relatively slight increase in orchards acreage.

  To further analyze Dr. Sundstroms opinion, I calculated the sodium nitrate demand that would be required
  for the Pomona-Ontario region and also for the State of California, using application rates of 625 to 1,250
  pounds per acre suggested by Dr. Sundstrom. For the purpose of mass calculations, Dr. Sundstrom
  estimates that 2/3 of all citrus crops in the Pomona-Ontario area applied Chilean nitrate as fertilizer.
  Although Dr. Sundstrom has not provided a reference for this assumption, I took it at face value and
  performed calculations to see if his estimates were reasonable. I began by calculating the amount of
  sodium nitrate that would be required by citrus crops in the entire State of California using Dr.
  Sundstroms assumptions that 2/3 of citrus crops were fertilized; and a range of application rates of 625 to
  1,250 pounds per acre. I found that it is impossible to meet the sodium nitrate demand as specified by Dr.
  Sundstrom. Figure 22, presents actual California sodium nitrate imports plotted against calculated
  sodium nitrate demand using Dr. Sundstrom’s upper and lower application rates. With the exception of
  one year during the war, the need for sodium nitrate far exceeds the imports that Dr. Sundstrom has
  proposed to meet the lowest application rate. It should be noted the import values used during the
  wartime periods are greatly exaggerated as previously explained in Section 4.1.3. This Figure illustrates
  the absurdity of Dr. Sundstroms conclusions.

  Similarly, I did the same analyses with the assumptions described above, but using the areas provided by
  Dr. Sundstrom for the Pomona-Ontario area (which is an overestimation of the AEP zone of influence).
  Figure 23, indicates that from 1926 to 1940 and from 1949 to 1958 only two years had enough sodium
  nitrate imports to meet the application demand as claimed by Dr. Sundstrom. The analysis further
  indicates that between 1940 and 1948 sodium nitrate imports would have met the lower demand of 625
  pounds per acre, only because of the apparent increased import of fertilizer into California during wartime
  years. The preceding graph presupposes that the other 91.3 percent of the other citrus groves in the state
  received NO sodium nitrate fertilizer, further it presupposes that no other vegetables, cotton, grains, or
  fruit bearing trees utilized sodium nitrate during this time period. Dr. Sundstroms simplistic approach has
  led to conclusions that are void of any scientific merit, and are preposterous.

  I independently performed separate, more comprehensive analyses of the quantity of sodium nitrate that
  would have been used in the Pomona-Ontario area, if sodium nitrate was proportionally used throughout
  the entire State on crops that are known to use nitrogen fertilizers. This analysis was conducted using
  yearly information (for the period 1927 to 1957) on acreage for all crops that require nitrogen fertilizers.
  The application rates for nitrogen was taken primarily from the USDA’s current online database. It was
  assumed that these application rates would be equivalent or at least proportional to the rates used in the
  period 1927 to 1957. I compiled two spreadsheets. The first includes all reported sodium nitrate imports,



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  including those of the World War II time period (Table 3a and 3b). The second (Table 4a and 4b)
  includes the same data, but war time import levels were adjusted to the pre-war maximum (6,093 tons,
  1928). I feel that this adjustment is reasonable given the multiple lines of evidence that suggest war time
  application would have been approximately equal to or slightly greater than the greatest pre-war level.

  To establish a reasonable value for perchlorate uptake in citrus, I reviewed Dr. Sanchez and several other
  pertinent reports. Several studies I reviewed have demonstrated that perchlorate is uptaken by plants. As
  displayed by Sanchez et al., 2006, citrus trees have been shown to accumulate perchlorate from low
  concentrations in irrigation water; concentrating in the transpiring leaves and fruit. Furthermore, in his
  Expert Report, Dr. Sanchez states that a number of recent studies have evaluated the mechanisms for
  plants uptake of perchlorate and competition from other anions (Sanchez, 2011).

   A study by Voogt et al., 2010, suggests that perchlorate is actually taken up at a greater rate than nitrate.
  To be conservative considering the extrapolation to trees, I assumed perchlorate up take at an equivalent
  rate to nitrate, consequently the leaching rate of both elements will be considered at equivalent rate too. In
  addition, nitrate leaching in citrus was the subject of an extensive study by Embleton et al., 1986, which
  measured nitrate averages over a six year period resulting in range of leaching rates between 3 and 12
  percent.

  To be conservative in consideration to the times and techniques of irrigation I have assumed 20 percent
  nitrate leaching rate. Consequently, considering all above, the perchlorate leaching rate equivalent to the
  nitrate leaching rate would be 20 percent. Considering uncertainties related to the insufficiency of studies
  on degradation of perchlorate and recirculation of perchlorate in organic matter I have considered final
  leaching rate scenarios of 20 and 50 percent.

  Using the information described above, I prepared spreadsheets and calculated the proportion of sodium
  nitrate that would have been applied to citrus within the Pomona-Ontario area as well as that applied to
  the AEP zone-of-influence. I then applied the average percent of perchlorate in Chilean nitrate (0.2
  percent) and applied plant uptake rates. The first is 80 percent (or a 20 percent leach rate) and a more
  conservative 50 percent (50 percent leach rate), as described above.

  Results of my analysis indicate that even using the non-adjusted World War II import total, the total
  perchlorate that would be available for release to groundwater in the Pomona-Ontario area (as defined by
  Sundstrom) would range from 0.80 tons to 2.00 tons. Within the AEP zone-of-influence (as defined by
  Wheatcraft) this number decreases to between 0.11 tons and 0.28 tons. Using the more realistic adjusted
  import totals, the amount of perchlorate that would be available for release to groundwater in the
  Pomona-Ontario would range from 0.32 tons to 0.81 tons. Within the AEP zone-of-influence, which I
  believe is the most appropriate; these values decrease to between 0.05 tons and 0.12 tons. Results are
  shown below.




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              Calculated Perchlorate Available to Leach to Groundwater – Non Adjusted
              Pomona – Ontario Area                               AEP Zone-of-Influence
  Total Sodium Nitrate Applied (short                Total Sodium Nitrate Applied
                                         1,947                                                        276
  tons)                                              (short tons)

  Leaching Rate                            20%     50%    Leaching Rate                        20%       50%
  Perchlorate % in SN                     0.20%    0.20   Perchlorate % in SN                 0.20%     0.20%

  Total Perchlorate Available to                          Total Perchlorate Available to
                                           0.80    2.00                                        0.11         0.28
  Groundwater (short tons)                                Groundwater (short tons)

                Calculated Perchlorate Available to Leach to Groundwater – Adjusted
               Pomona-Ontario Area                                AEP Zone-of-Influence
  Total Sodium Nitrate Applied (short                Total Sodium Nitrate Applied
                                         787                                                          113
  tons)                                              (short tons)

  Leaching Rate                            20%     50%    Leaching Rate                        20%       50%
  Perchlorate % in SN                     0.20%    0.20   Perchlorate % in SN                 0.20%     0.20%

  Total Perchlorate Available to                          Total Perchlorate Available to
                                           0.32    0.81                                        0.05         0.12
  Groundwater (short tons)                                Groundwater (short tons)

  The calculations above were performed following a more logical distribution of perchlorate across all
  crops in the State of California that utilize nitrogen fertilizer. Although I have been presented with no
  evidence to suggest sodium nitrate was used in the Pomona-Ontario area in the period 1927 through 1957,
  for the purpose of this exercise I also equally applied sodium nitrate to this area in the same proportion as
  the rest of the state. As is clearly obvious from my calculations, extremely low amounts of perchlorate
  would be available to impact groundwater even using very conservative crop uptake rates.

  By way of comparison, I calculated the quantity of perchlorate that has been removed from the City of
  Pomona’s Main Wellfield since from 1978 to the September 2011. This calculation was performed using
  production rates from the City of Pomona Main Wellfield wells and the average concentration of
  perchlorate for each water year (July – June). Where no perchlorate data was available for a given
  year(s), one of two methods was used to fill the data gap: 1) where there was no data prior to 1998, the
  average of the data set for that well was used; 2) where a data gap existed between two years the average
  was take of the bounding years on either side. Based upon this analysis 325,851 acre-feet of groundwater
  (110,000,000,000 gallons) has been removed from the Main Pomona Wellfield/AEP area. The mass of
  perchlorate that has been removed during this same period is nearly 4 tons (See Table 5).

  The overestimation of perchlorate by Dr. Sundstrom, resulting from his excessive application
  rates combined with Dr. Wheatcrafts complete lack of objectivity has resulted in conclusions that
  are erroneous and misleading. The table below summarizes the potential sources of perchlorate
  “inputs”, the mass of perchlorate previously removed from the aquifer “outputs”, and the
  residual mass that remains in the aquifer system. The plaintiff experts have failed to evaluate
  basic components of a contaminant mass budget, which is imperative to establishing contaminant
  source, transport mechanism, and residual mass.


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                                                  Inputs                                       Outputs              Storage
                                                                                               Pomona
              Orchards                      MWD                                     Natural    Wellfield       Vadose
                            Industrial                   Brine Line    Railroads                                           Aquifer
             (1927- 1958)                 (1948- 1977)                             Occurring   (1978- 2011)     Zone
Laton         0.11–0.28                    1.56-6.24
                            Significant                  Significant   Potential   Potential    3.97 tons     Unknown       Present
                tons*                         tons
Sundstrom/ 75-100 tons         Not            Not       Not       Not       Not         Not                      Not          Not
Wheatcraft                   Analyzed      Analyzed  Analyzed   Analyzed  Analyzed    Analyzed                Calculated   Calculated
* hypothetical value if sodium nitrate had been applied using maximum wartime imports




   4.3 General Observations Regarding Dr. Sundstrom Statements


   As I have previously mentioned, Dr. Sundstrom mischaracterizes or selectively reference portions of
   statements to support his conclusions. I also noticed this when reviewing statements contained within his
   expert report, when I reviewed that actual context in the depositions that he references. Using these
   tactics he has formulated conclusions based upon excerpts from depositions without taking into account
   the entire context of the testimony. For example, I cite two such excerpts:

   1. Exclusivity of Imports
   Mr. Sundstrom indicates that during the deposition of Mr. Patricio de Solminihac (September 8, 2011 -
   pg. 64:16-65:14), Mr. de Solminihac testified that SQMNA imported “substantially all” of the Chilean
   nitrate fertilizer brought into the United States between 1931 and 1934. This is a mischaracterization of
   what Mr. de Solminihac said because Mr. de Solminihac went on to explain that there were many other
   producers during this time period, as can be seen when referring to the entire context of the exchange, as
   shown below.

           By Mr. Borghei (plaintiff’s attorney):

              Q.    But as of the date of that contract, it's your understanding that SQMNA was the exclusive
                    importer into the United States of Chilean nitrate products sold by Anglo-Chilean and
                    Lautaro?

              A. My understanding is that that contract says that's so.

              Q.    And when I'm saying "exclusive importer," it means that SQMNA was the only entity
                    bringing Chilean nitrate products into the United States that were sold by Lautaro.

              A. That's what the contract says.

              Q. And we've also talked about how from the time period of 1931 to 1934 SQMNA was the
                 exclusive importer of Chilean nitrate products that were sold by Cosach?

              A. Yes.




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             Q. And we also discussed that Cosach sold substantially all of the Chilean nitrate for export
                out of Chile?

             A. That what the contract says, but we don't know because there were many other producers.

  With regards to the citation “that between 1934 and 1968, SQMNA was the exclusive importer of Chilean
  nitrate fertilizer into the United States” Mr. Sundstrom disregards Mr. de Solminhac’s testimony that “the
  contract says that COVENSA was supposed to have control of all exports from Chile, but I am not sure if
  that was, in reality, the case”. See de Solminihac Deposition, 66:10-17.

  2. Perchlorate Concentration in Sodium Nitrate
  A similar misinterpretation occurs during the interpretation of testimony of Mr. Arman Lauderbach
  (September 9, 2011; 93:22-94:4). Sundstrom says that according to SQMNA, depending on the process
  used to manufacture sodium nitrate, the maximum amount of perchlorate in the product prior to 2000 was
  either 0.7 percent or 0.5 percent. This conclusion is incorrect because it fails to recognize what Mr.
  Arman Lauderbach stated in his deposition.

          By Mr. Robins (plaintiff’s attorney):

             Q. You think, then, therefore, that the maximum allowed -- is what you're testifying that the
                possible explanation for the .7 is that the .7 is the spec for potassium perchlorate whereas
                the .5 is the spec for the perchlorate?

             A. That's what I am saying.

  Clearly there is a difference between potassium perchlorate (KClO4) and straight perchlorate (ClO4-). If
  perchlorate content in the product is 0.5 percent, the same parameter expressed as the potassium salt is 0.7
  percent. To ignore the distinction given by Mr. Lauterbach is to mischaracterize his testimony.

  Dr. Sundstrom’s report states that independent studies have found historically higher levels of perchlorate
  in Chilean sodium nitrate. As support he references the 2005 GeoSyntec report at pages 7-8.
  Significantly, he describes that portion of the discussion that references elevated perchlorate levels at a
  time when SQMNA did not exist. Further, it failed to note the Ericksen study (Ericksen, 1983) that
  concluded the fertilizer product between 1932 and 1967 had a perchlorate concentration of 0.35 percent, a
  level well below the levels discussed with Mr. Lauterbach. The studies that I have reviewed from 1927
  forward indicate that perchlorate content in sodium nitrate was below 0.5 percent and most often
  referenced at 0.2 percent as perchlorate (Urbansky, 2001b). The Sundstrom report further ignores
  information found within the 1917 American Fertilizer Handbook. That text discusses all of the
  components of sodium nitrate and lists the potassium perchlorate concentration at 0.282 percent and 0.239
  percent. Finally, the Sundstrom report fails to mention, Commercial Fertilizers Their Sources and Use,
  by Collings 1955. This study delineates all components of sodium nitrate and notes the presence of
  potassium perchlorate at 0.1 percent.




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  5.0 COMMENTS ON THE EXPERT REPORT OF DR. NEIL C. STURCHIO

  Dr. Sturchio, Professor of Geochemistry and Head of the Department of Earth and Environmental
  Sciences at the University of Illinois at Chicago (UIC), prepared an expert report (Sturchio, 2011) on
  behalf of the City of Pomona regarding the interpretation of perchlorate isotopic compositions with
  respect to source identification of perchlorate in the groundwater of Pomona, California. Dr. Sturchio’s
  opinions are shown below. I have combined my comments in one response following Dr. Sturchio’s
  opinions.

         Opinion 1 - There is now a substantial body of recent peer-reviewed scientific literature
         demonstrating that trace amounts of perchlorate can be routinely extracted from different
         matrices, including groundwater, caliche soil, and fertilizer, for accurate and precise
         isotopic analyses.

         Opinion 2 - Distinct ranges in the isotopic compositions of perchlorate from different
         sources have been established through analysis of many samples, and these provide a
         robust basis for forensic tracing of sources of perchlorate in groundwater.

         Opinion 3 - Biodegradation and oxygen isotope exchange with water do not significantly
         affect perchlorate isotopic compositions in aquifers used for potable municipal water
         supplies, over the time range during which large-scale groundwater contamination has
         been caused by industrial or agricultural activities.

         Opinion 4 - Fifteen groundwater wells in the city of Pomona were sampled for
         perchlorate isotopic analysis using established, peer-reviewed methods without
         modification. No significant problems were encountered during sampling, all samples
         were received by the Laboratory in good condition, and amounts of perchlorate
         recovered from all samples were sufficient for replicate isotopic analysis. Analytical
         results are of excellent quality, with all reported data meeting stringent QA/QC criteria.

         Opinion 5 - The isotopic data for the Pomona perchlorate samples are clustered, with a
         range of δ37Cl values from -12.8 to -8.9 ‰, δ18O values from -10.8 to -8.0 ‰, and
         Δ17O values from +4.6 to +7.5 ‰. These data indicate that the dominant source of
         perchlorate in the Pomona groundwater is from Atacama (Chile), which can be clearly
         identified by its distinctive combination of low δ37Cl and high Δ17O values. These data
         strengthen the conclusions reached in an earlier isotopic survey of groundwater
         perchlorate from the western Chino Basin.

         Opinion 6 - The percentage of Atacama perchlorate in the Pomona groundwater
         samples can be estimated from the isotopic data and perchlorate concentrations using
         simple linear equations. Such estimates were performed and give percentages of Atacama


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          perchlorate in the range from 66 to 97% of total dissolved perchlorate. The average
          percentage of Atacama perchlorate in the Pomona groundwater samples is 88 ± 8%.

          Opinion 7 - The samples contain minor amounts of perchlorate from other non-Atacama
          sources, including synthetic and/or indigenous natural sources. The average amount of
          non-Atacama perchlorate in the samples is about 12%. This non-Atacama perchlorate
          could be synthetic perchlorate from imported Colorado River water, indigenous natural
          perchlorate from wet and dry atmospheric deposition, or a combination of the two. The
          also data allow other minor sources of synthetic perchlorate such as from leaching of
          fireworks and road flares.

          Opinion 8 - The pathway for Atacama perchlorate from its original source in Chile to
          groundwater in Pomona is through past application of imported Chilean nitrate fertilizer
          products used for agricultural production within the Chino Basin. Large amounts of
          Chilean nitrate that were leached along with perchlorate into the groundwater may have
          helped to maintain geochemical conditions that have protected perchlorate against
          biodegradation.


  5.1 Response to Dr. Sturchio’s Opinions
  Dr. Stuchio has not provided an analysis of the age of the perchlorate found in the water samples
  collected by Wildermuth. Therefore, he cannot positively conclude that the Atacama signature is
  representative of perchlorate that was introduced prior to 1927, during the period 1927 through 1957 or
  after 1957; nor can he distinguish between perchlorate that emanated from industrial sources that used
  Chilean sodium nitrate, or from concentrated brines that may be leaking from Pomona’s AEP.


  6.0 COMMENTS ON THE EXPERT REPORT OF MR. RANDALL BRADY

  Mr. Brady, an agricultural consultant, prepared an expert report (Brady, 2011), on behalf of Sher Leff
  LLP, regarding the historical acreage and location of citrus in the city of Pomona, California, and the
  surrounding areas to the east, based on a detailed analysis of historical aerial photographs. Mr. Brady’s
  opinions are shown below. I have combined my comments in one response following Mr. Brady’s
  opinions.

          Opinion 1
          The final study area consists of approximately 82,000 total acres.

          Opinion 2
          In 1938, there were 28,977 acres of land classified as citrus in the study area.




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          Opinion 3
          In 1948, there were 22,252 acres of land classified as citrus in the study area.

          Opinion 4
          In 1953, there were 3,515 acres of land classified as citrus in the City of Pomona.


  6.1 Response to Mr. Brady’s Opinions
  Mr. Brady’s analysis uses a total study area of 82,000 acres, encompassing all or some of eight cities
  including; Pomona, Montclair, Ontario, Claremont, Rancho Cucamonga, Upland, Fontana, and Chino.
  There is no reasonable justification for using this entire area for analyses of citrus orchards as it relates to
  the Pomona AEP wellfield. The only justification that is mentioned in the text is that “The white polygon
  on the photo below shows this additional area that extends west of the City of Ontario”. I can only
  speculate that Mr. Brady has utilized such a large area to substantially exaggerate the amount of citrus
  crops, and therefore ultimately the potential fertilizer use that could have occurred within the area that is
  the subject of this litigation.

  From the 82,000 acres, Mr. Brady concludes that nearly 29,000 acres were citrus crops in 1938, 22,000
  acres in 1948, and 3,500 acres in 1953. This acreage far exceeds even those estimated by the plaintiffs
  own expert, Dr. Wheatcraft. Dr. Wheatcraft’s estimation of the AEP zone-of-influence is slightly under
  6,000 acres. Total citrus acres within Dr. Wheatcraft’s AEP zone-of-influence are approximately 4,000
  acres. Dr. Wheatcrafts numbers are in my opinion reasonable, while Mr. Brady’s are unnecessarily
  exaggerated.

  One other noteworthy observation is that Mr. Brady does not use consistent geographic areas during his
  entire analysis. For the years 1938 and 1948, he uses the entire Pomona-Ontario area as shown his
  Figures (no Figure numbers provided). For 1953, Brady only uses the area for the City of Pomona, which
  explains the dramatically lower citrus acreage he describes for that year.

  7.0 MATERIAL CONSIDERED AND RELIED UPON


  See bibliography attached hereto as Exhibit B.



  8.0 EXHIBITS TO BE USED

  Any of the materials described herein may be used to illustrate my testimony.


  9.0 PUBLICATIONS IN LAST TEN YEARS

  See my curriculum vitae attached hereto as Exhibit A.




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  10.0 TESTIMONY IN LAST TEN YEARS

  Expert Trial Testimony in the last ten years:
  Abarca, Raul Valencia, et. al., v. Merck & Co., Inc., et. al.
  US District Court, Eastern District of California, Fresno, California
  Case No. 1:07-CV-0388
  Deposition: March 22 and 23, 2010
  Trial: February 2-3 & 22-23, 2011

  For non-trial testimony, please refer to my curriculum vitae attached hereto as Exhibit A.


  11.0 COMPENSATION


  For my work in preparing this report, Earth Forensics, Inc., invoices my time at the rate of $350 per hour.
  My hourly rate for depositions and trial testimony is $400 per hour. Out-of-pocket disbursements and
  expenses are billed accordingly.

  12.0 CONCLUDING REMARKS

  This rebuttal report sets forth my opinions based upon knowledge, education, experience, and supporting
  documents I reviewed.

  Executed this 14TH day of November 2011, at Santa Ana, California




  W. Richard Laton, Ph.D., P.Hg., P.G.




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                                                                                                                                                                                                                                                     SQM North America
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                                                                                               Industry           Diamond
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                                                                                                                                                                                                                                                                  Pomona, California



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         Case 2:11-cv-00167-RGK-JEM Document 392-2 Filed 02/09/18 Page 55 of 159 Page ID
                                           #:15806




                                                                                                     EDR RADIUS MAP
                                                                                                             City of Pomona v.
                                                                                                            SQM North America
                                                                                                             Pomona, California



                                                                                                                                           9
Date                      Drafter                                                         PE/RG      Project Number               Figure
                                                                                               MZ                     S-2275.01
       November 9, 2011             SS                                                    PM         File Number
                                         Map Source: Environmental Data Resources, Inc.        WRL           S2275-RebRep-9
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                   1000
                            1960 Groundwater Divide                                                                                                                                                                                                         Divide

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                    900
                                                       57 Fwy                                                                                71 Fwy
                    800


                    700


                    600
Elevation (feet)




                    500


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                    300


                    200                                                                                                                                          BEDROCK                                                                                                                                               ALLUVIUM
                    100
                                                         Legend
                      0
                                                                    Groundwater (April 1960)
                                                                                                                                 Source: Bedrock surface in the Chino Basin from Wildermuth, 2007
                   -100
                                                                    Bedrock                                                      CBWM Groundwater Model Documentation and Evaluation of the
                                                                                                                                 Peace II Project Description, Figure 2-2, November 2007; Bedrock
                   -200                                             Surface                                                      surface in the Spadra Basin derived from boring logs obtained by
                                                                    Boring                                                       the City of Pomona and Los Angeles County Public Works;
                   -300                                                                                                          1930 and 1960 groundwater contours from DWR Bulletin 104-3, 2007;
                                                                                                                                 1983 groundwater contours created from Los Angeles County Public
                   -400                                                                                                          Works groundwater elevation data.

                          -1500 -1000   -500   0   500       1000   1500   2000       2500       3000   3500   4000       4500   5000    5500       6000   6500   7000       7500   8000   8500       9000   9500 10000 10500 11000 11500 12000 12500 13000 13500 14000 14500 15000 15500 16000 16500 17000 17500 18000 18500 19000 19500 20000 20500 21000 21500 22000 22500 23000 23500 24000 24500 25000 25500 26000

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Elevation (feet)




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                                                                                                                                                                      BEDROCK                                                                                                                                      ALLUVIUM
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                                                                                                                                                                  Groundwater (April 1983)
                   -200
                                                                                                                                                                  Bedrock
                   -300
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                   -400                                                                                                                                           Borings

                          -1500 -1000   -500   0   500       1000   1500       2000       2500   3000   3500   4000       4500   5000    5500       6000   6500   7000       7500   8000   8500       9000   9500 10000 10500 11000 11500 12000 12500 13000 13500 14000 14500 15000 15500 16000 16500 17000 17500 18000 18500 19000 19500 20000 20500 21000 21500 22000 22500 23000 23500 24000 24500 25000 25500 26000

                                                                                                                                                                                                                                                   Distance (feet)

                                                                                                                                                                                                                                                                                                                                     Figure 10: Generalized Hydrostratigraphic
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                                                                                                              Case 2:11-cv-00167-RGK-JEM Document 392-2 Filed 02/09/18 Page 57 of 159 Page ID
Z:\Jobs_s\S2200's\S-2275 SQM Perchlorate\GIS\Maps\Expert Report\S2275-ExprtRep-7.mxd                                                            #:15808                                         Legend
                                                                                                                                                                                                           Groundwater Flow Direction
                                                                                                                                                                                                           (based on contours)
                                                                                                                                                                                                        Groundwater Divide (based on contours)

                                                                                                                                                                                                        Groundwater Divide (WEI, 2009)




                                                                                                                                                  Former
                                                                                       Former                                                     General
                                                                                       General                                                    Dynamics
                                                                                       Dynamics

                                                                                                                                                                                                Base Source: California Department of Water Resources,
                                                                                                                                                                                                1970, Meeting Water Demands in the Chino-Riverside
                                                                                                                                                                                                Area, Bulletin 104-3 Appendix A
                                                                                                                                                                                                Wildermuth Groundwater Divide: Digitized from WEI, 2009,
                                                                                                                                                                                                State of the Basin Report




                                                                                                                   700                                                                          0       0.35    0.7         1.4
                                                                                                                                                                                                                              Miles


                                                                                                                                                                                                Imagery Source: NGS Topographic Maps                 ¹
                                                                                                                                                                                                           1933 and 1960
                                                                                                                                                                                                           GROUNDWATER
                                                                                                                                                                                                        ELEVATION CONTOURS

                                                                                                                                                                                                Project:

                                                                                                                                                                                                        City of Pomona v.
                                                                                                                                                                                                        SQM North America
                                                                                                                                                                                                        Pomona, California



                                                                                                                                                                                                Date:                             Project Number:
                                                                                                  Fall 1933                                                        Fall 1960                                   10/12/2011                   S-2275.01

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Z:\Jobs_s\S2200's\S-2275 SQM Perchlorate\GIS\Maps\Expert Report\S2275-ExprtRep-8.mxd                                                                                                                       #:15809                                                                                                                                                            Legend
                                                                                                                                                                                                                                                                                                                                                                                         Groundwater Flow Direction
                                                                                                                                                                                                                                                                                                                                                                                         (based on contours)

                                                                                                                                                                                                                                                                                                                                                                                      Groundwater Contours
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                                                                                                                                                                                                                                                                                                                                                                                      Groundwater Divide (based LACDPW data)

                                                                                                                                                                                                                                                                                                                                                                                      Groundwater Divide (WEI, 2009)




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                                                                                                                                                                                                                                                                                                                                                                              Department of Public Works (LACDPW), 2011
                                                                                                                                                                                                                                                                                                                                                                              Groundwater Contours: Derived from LACDPW
                                                                                                                                                                                                                                                                                                                                                                              groundwater elevation data
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                                                                                                                                                                                                                                                                                                                                                                                      City of Pomona v.
                                                                                                                                                                                                                                                                                                                                                                                      SQM North America
                                                                                                                                                                                                                                                                                                                                                                                      Pomona, California



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                                                                                                                                                                                                                                                                                                                                                   Groundwater Flow Direction

                                                                                                                                                                                                                                                                                                                                              Groundwater Elevation Contours (feet)

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                                                                                                                                                                                                                                                                                                                                              Groundwater Divide (WEI, 2009)




                                                                                                                                                                                                                                                                                                                                     Groundwater Elevation Source: Los Angeles County
                                                                                                                                                                                                                                                                                  "
                                                                                                                                                                                                                                                                                                                                     Department of Public Works (LACDPW), 2011
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                                                                                                                                                                                                                                                                                                                                              Pomona, California




                                                                                                                     April 1983                                                                                                                    March-April 1989                                                                   Date:
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                                                                                                                                                                                     Additional US Rocket Locations
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                                                                                                                                                                                 City of Pomona v.
                                                                                                                                                                                 SQM North America
                                                                                                                                                                                 Pomona, California



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                                                                                                                                                                                                                                                                                                              SAN ANTONIO                                                                                                                                                                        CUCAMONGA

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                                                                                                                                                                                                                                                                                         #:15813              WATER COMPANY                                                                                                                                                                     VALLEY WATER
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Y:\Jobs_s\S2200's\S-2275 SQM Perchlorate\GIS\Maps\RebutallReport\S2275-RebRep-18.mxd                                                                              #:15815                                                                                                                    Legend
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Y:\Jobs_s\S2200's\S-2275 SQM Perchlorate\GIS\Maps\RebutallReport\S2275-RebRep-20.mxd                                                                                     #:15817                                         Legend




                                                                                       Trichloroethene in Groundwater                                                Tetrachloroethene in Groundwater
                                                                                       Maximum Concentration (July 2003 - June 2008)                                 Maximum Concentration (July 2003 - June 2008)
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                                                                                                                                                                                                                         CONTAMINANT DISTRIBUTION
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                                                                                       Perchlorate in Groundwater                                                    Total Chromium in Groundwater                                                                      Figure
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                                                                        #:15818
                                                                   CitrusGroveArea
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                            350,000
                                                                                                     California(USDA)
                                                                                                     PomonaͲOntarioArea(Brady)
                                                                                                     AEPWellCaptureZoneArea(Wheatcraft)
                            300,000




                            250,000
CitrusGroveArea(Acres)




                            200,000




                            150,000




                            100,000




                             50,000




                                 0


                                                                                Year



                                                                                                             Figure 21: Citrus Groves Areas
                                                                                                              City of Pomona v. SQM North America

                                                                                                                                               69
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                                                                               #:15819
                                                          TonsofsodiumnitratetoCaliforniaCitrusGroves
                                                           (usingapplicationratesof625and1,250lbs/ac)
                                                               versusTotalImportsthroughCalifornia
                                                             (66%ofgrovesfertlizedperDr.Sundstrom)
                        160,000
                                                                                             1250lbs/acsodiumnitrateapliedtoCaliforniagroves
                                                                                             625lbs/acsodiumnitrateapliedtoCaliforniagroves
                                                                                             SodiumNitrateimportsthroughCalifornia
                        140,000



                        120,000



                        100,000
SodiumNitrate(tons)




                         80,000                                               1942



                         60,000



                         40,000



                         20,000



                             0
                              1925          1930         1935          1940           1945              1950                 1955                    1960
                                                                               Year



                                                                 Figure 22: Tons of Fertilizer Using Sundstorm Application Rates (California)
                                                                                                                      City of Pomona v. SQM North America

                                                                                                                                                            70
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                                                                               #:15820
                                                         TonsofSodiumNitratetoPomonaͲOntarioAreaCitrusGroves
                                                                (usingapplicationratesof625and1,250lbs/ac)
                                                                     versusTotalImportsthroughCalifornia
                                                                  (66%ofgrovesfertlizedperDr.Sundstrom)
                        160,000



                        140,000


                                                                                       1,250lbs/acsodiumnitrateapliedtoPomonaͲOntarioAreagroves
                        120,000
                                                                                       625lbs/acsodiumnitrateapliedtoPomonaͲOntarioAreagroves
                                                                                       SodiumNitrateimportsthroughCalifornia

                        100,000
SodiumNitrate(tons)




                         80,000                                                1942



                         60,000



                         40,000



                         20,000



                             0
                              1925          1930          1935          1940               1945                1950                1955                   1960
                                                                                Year


                                                     Figure 23: Tons of Fertilizer Using Sundstorm Application Rates(Pomona-Ontario Area)
                                                                                                                         City of Pomona v. SQM North America


                                                                                                                                                                 71
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                                  #:15821




                                   TABLES




                                                                                  72
                          Case 2:11-cv-00167-RGK-JEM Document 392-2 Filed 02/09/18 Page 71 of 159 Page ID
                                                              Table 1
                                                            #:15822
                                                                                Brine Line Dischargers
                                                                     City of Pomona v. Sociedad Quimica y Minera
                        Industry Name                                   City     Pomona,Brine
                                                                                           California
                                                                                                Line System                        Industry Type              Connection
  Aerojet Ordnance Company                                   Chino Hills                 Unknown                   Explosives (Military)                  Truck
  Agrigold Joint Venture                                     Ontario                     Chino / NRWS              Agriculture                            Connected
  American Steel & Wire Division                             Ontario                     Unknown                   Iron and Steel Manufacturing           Connected
  BHP Coated Steel                                           Rancho Cucamonga            Edison-Etiwanda           Metals                                 Connected
  Big Three Industries                                       Etiwanda                    Unknown                   Inorganic Chemicals                    Connected
  California Finished Metals                                 Rancho Cucamonga            Chino / NRWS              Coil Coating; Metals                   Connected
  California Steel Industries (Formerly Kaiser Steel)        Fontana                     Edison-Etiwanda           Steel Rolling Mill ; Metals            Connected
  Carlisle Tire and Wheel / Unique Wheel                     Ontario                     Chino / NRWS              Automobile Wheel Mfg.                  Connected
  Cintas I / Cintas Corporation                              Ontario                     Chino / NRWS              Industrial Laundry                     Connected
  Cintas II / Cintas Corp.                                   Ontario                     Chino / NRWS              Industrial Laundry                     Connected
  City of Chino                                              Chino                       Chino / NRWS              Water Treatment                        Connected
  City of Chino Ion Exchange Plant                           Chino                       Chino / NRWS              Water Treatment Ion Exchange Plant     Connected
  City of Ontario Ion Exchange                               Ontario                     Edison-Etiwanda           Water Treatment Ion Exchange Plant     Connected
  City of Pomona Anion Exchange Plant                        Pomona                      Chino / NRWS              Water Treatment Anion Exchange Plant   Connected
  City of Pomona Ion Exchange Plant                          Pomona                      Edison-Etiwanda           Water Treatment Ion Exchange Plant     Connected
  City of Upland Ion Exchange Plant                          Upland                      Edison-Etiwanda           Water Treatment Ion Exchange Plant     Connected
  Danco Metal Surfacing                                      Ontario                     Chino / NRWS              Misc. Anodizing and Coating            Connected
  GE Mobile Water Inc (Formerly Echolochem, Inc.)            Fontana                     Chino / NRWS              Off-Site Water Treatment Services      Connected
  Hillerich & Bradsby Co Inc                                 Ontario                     Chino / NRWS              Aluminum Baseball Bats Mfg.            Connected
  IEUA RP-1 Filtrate                                         Ontario                     Chino / NRWS              Wastewater Treatment Plant             Connected
  Industrial Wire Products                                   Etiwanda                    Edison-Etiwanda           Iron/Steel Mfg                         Connected
  Intermetro Industries Corporation                          Rancho Cucamonga            Edison-Etiwanda           Wire Basket & Shelving Mfg.            Connected
  James Hardie Building Products                             Fontana                     Chino / NRWS              Building Material Mfg.                 Connected
  K-Pure Waterworks                                          Rancho Cucamonga            Edison-Etiwanda           Waste Treatment Works                  Connected
  Metal Coaters of CA Inc                                    Rancho Cucamonga            Edison-Etiwanda           Steel and Alum. Coil Coating           Connected
  Metropolitan Water District                                LaVerne                     Edison-Etiwanda           Wastewater Treatment Plant             Connected
  Monte Vista Water District/ City of Chino                  Montclair                   Edison-Etiwanda           Water Treatment Ion Exchange Plant     Connected
  Norton Air Force Base                                      San Bernardino              Unknown                   Military                               Truck
  Pacific Forge Inc                                          Fontana                     Chino / NRWS              Metal Molding and Casting              Connected
  Quaker Chemical Corporation                                Montclair                   Unknown                   Inorganic Chemicals                    Truck
  Reliant Energy Etiwanda, L.L.C.                            Etiwanda                    Edison-Etiwanda           Power Generating Facility              Connected
  Robert Manufacturing Company                               Rancho Cucamonga            Edison-Etiwanda           Electroplating/Metal Finishing         Connected
  Sierra Alluminum Company (I)                               Fontana                     Chino / NRWS              Extruded Aluminum Mfg.                 Connected
  Sierra Alluminum Company (II)                              Fontana                     Chino / NRWS              Extruded Aluminum Mfg.                 Connected
  So Cal Edison Co Etiwanda Steam Plant                      Fontana                     Edison-Etiwanda           Steam Electric Power Plant             Connected
  Steelscape                                                 Rancho Cucamonga            Edison-Etiwanda           Steel & Alum. Coil Coating             Connected
  Sunkist Growers Inc                                        Ontario                     Chino / NRWS              Citrus Food Products                   Connected
  Tamco                                                      Rancho Cucamonga            Edison-Etiwanda           Iron & Steel Mfg. (Recycling)          Connected
  Tree Island Wire USA, Inc. dba TI Wire                     Rancho Cucamonga            Edison-Etiwanda           Metals                                 Connected
  Unifirst Corp.                                             Ontario                     Chino / NRWS              Industrial Laundry                     Connected
  Praxair Hydrogen                                           Ontario                     Chino / NRWS              Inorganic Chemicals                    Connected
  Praxair Oxygen Plant                                       Ontario                     Chino / NRWS              Inorganic Chemicals                    Connected
  Unitech Services Group                                     Ontario                     Chino / NRWS              Industrial Laundry                     Connected
  Vista Metals Corporation                                   Fontana                     Edison-Etiwanda           Aluminum Metal Molding and Casting     Truck

Note: The Chino / NRWS Brine Line becomes the Chino Basin Wastewater (Brine) Line at the Los Angeles County line



                                                                                                                                                                           73
      Case 2:11-cv-00167-RGK-JEM Document 392-2 Filed 02/09/18 Page 72 of 159 Page ID
                                        #:15823Table 2
                                                                         MWD
                                                                    Perchlorate Mass
                                                        Calculated from Water Delivery Records
                                                                      (1948‐1977)


                                                        Volume                                          Mass (Tons)

                                                                            Average MWD     Average MWD Average MWD Average MWD
                                                                             Perchlorate     Perchlorate   Perchlorate   Perchlorate
Connection          Type            Usage         Acre‐ft        Liters
                                                                            Concentration   Concentration Concentration Concentration
                                                                               (5 ug/L)       (10 ug/L)     (15 ug/L)     (20 ug/L)
CB‐2         Untreated           Agriculture          41.40    5.11E+07         0.000           0.001         0.001         0.001
CB‐2         Untreated           Domestic         16,879.80    2.08E+10         0.115           0.230         0.344         0.459
CB‐2         Untreated           Replenishmen t      258.90    3.19E+08         0.002           0.004         0.005         0.007
CB‐3         Untreated           Domestic            185.00    2.28E+08         0.001           0.003         0.004         0.005
CB‐3         Untreated           Agriculture         194.70    2.40E+08         0.001           0.003         0.004         0.005
CB‐4         Untreated           Agriculture         770.00    9.50E+08         0.005           0.010         0.016         0.021
CB‐4         Untreated           Domestic          3,792.60    4.68E+09         0.026           0.052         0.077         0.103
CB‐9         Untreated           Agriculture       7,208.80    8.89E+09         0.049           0.098         0.147         0.196
CB‐9         Untreated           Domestic         10,823.10    1.34E+10         0.074           0.147         0.221         0.294
CB‐10        Untreated           Agriculture       3,357.70    4.14E+09         0.023           0.046         0.068         0.091
CB‐10        Untreated           Replenishment     3,977.70    4.91E+09         0.027           0.054         0.081         0.108
PM‐2         Unsoftened          Domestic          2,323.80    2.87E+09         0.016           0.032         0.047         0.063
PM‐17        Untreated           Agriculture         108.40    1.34E+08         0.001           0.001         0.002         0.003
PM‐17        Untreated           Domestic         14,548.40    1.79E+10         0.099           0.198         0.297         0.396
PM‐4         Untreated           Agriculture      12,123.60    1.50E+10         0.082           0.165         0.247         0.330
PM‐4         Untreated           Domestic         35,109.00    4.33E+10         0.239           0.477         0.716         0.955
PM‐5         Untreated           Agriculture         900.60    1.11E+09         0.006           0.012         0.018         0.024
PM‐5         Untreated           Domestic          1,238.10    1.53E+09         0.008           0.017         0.025         0.034
PM‐7         Treated             Domestic          8,259.80    1.02E+10         0.056           0.112         0.168         0.225
PM‐11        Softened + Filtered Domestic          1,548.50    1.91E+09         0.011           0.021         0.032         0.042
PM‐15        Softened + Filtered Domestic         30,580.40    3.77E+10         0.208           0.416         0.624         0.832
PM‐15A       Treated             Domestic         62,338.30    7.69E+10         0.424           0.848         1.271         1.695
PM‐15B       Treated             Domestic         12,888.30    1.59E+10         0.088           0.175         0.263         0.350


                                                                 Total
                                                              Perchlorate       1.56             3.12                 4.68   6.24
                                                                (Tons)




11/11/2011                                                                                                                   MWD Perchlorate Mass
                                                                                                                                                    74
                                                                                                  Case 2:11-cv-00167-RGK-JEM Document 392-2 Filed 02/09/18 Page 73 of 159 Page ID
                                                                                                                                        Table 3a
                                                                                                                                     #:15824
                                                                                                                                   State of California
                                                                                                                                                    Acreage for Nitrogen Utilizing Crops ‐ No Adjustments
                                                                                                                                                                        (1927‐1958)

                                                                                                                                                   Vegetables
                        Artichokes     Asparagus Bean‐s      Broccoli    Brussel Spro Cabbage    Carrots     Cauliflower Celery      Corn‐Sw      Cucumbers Cucumber‐P Garlic                    Lettuce       Onions      Bell Peppers       Chili Peppers‐       Spinach     Tomatoes‐F Tomatoes‐P              Barley           Beans‐Dry       Cotton‐A        Corn‐Grain
Application Rate (lbs
of N/ac)                         120         123        70         161           100       155         160           197       260          140           129             129               89           176         180                179                 178          167              152           152                   80              80              77           140
Reference                  ref#14        ref#2     ref#2       ref#2        ref#6      ref#2       ref#2        ref#2      ref#2       ref#2         ref#2        ref#2             ref#2           ref#2        ref#2          ref#2              ref#2             ref#2        ref#2         ref#2                 ref#6           ref#7           ref#2           ref#2



Crop Acreage


     Year               Artichokes     Asparagus Bean‐s      Broccoli    Brussel Spro Cabbage    Carrots     Cauliflower Celery      Corn‐Sw      Cucumbers Cucumber‐P Garlic                    Lettuce       Onions‐     Bell Peppers‐B Chili Peppers‐C Spinach              Tomatoes‐F Tomatoes‐P              Barley           Beans‐Dry       Cotton‐A        Corn‐G
     1927                      9,940      58,580     3,120                               6,350       4,340        11,080     8,950                     1,000         2,120          122,000          77,540        9,670              380                             1,900         46,300        28,760               897,000         296,000         128,000         35,000
     1928                      7,950      60,180     5,130                               4,850       6,570        13,280     8,930                     1,600         2,760          135,000          73,420       10,030              410                             1,000         45,150        24,700               969,000         307,000         218,000         33,000
     1929                      8,900      55,810     7,090                               4,600      12,580        15,300    10,470                     1,550         2,710          124,000          87,530       10,330            1,370                  3,350      1,400         38,500        41,680             1,066,000         339,000         309,000         40,000
     1930                      8,150      59,210     6,630                               4,050      13,230        17,140     9,900                     1,800         3,440          127,000         112,120        9,770            1,770                  2,330      1,550         52,540        52,250             1,141,000         363,000         270,000         43,000
     1931                      7,500      63,670     6,150                               4,400      14,670        15,340     9,770                     1,800         2,890           93,000         117,650        8,050            1,530                  1,250      1,700         41,600        28,100               913,000         334,000         192,000         48,000
     1932                      6,330      70,500     9,000                               5,500      13,680        16,890     7,470                     1,850           700           94,000         112,170       10,090            1,160                  1,600      1,830         45,080        29,950             1,369,000         225,000         123,000         55,000
     1933                      6,350      76,550     8,100                               5,600      14,480        16,950     9,730                     1,780         1,050           99,000          93,100        7,030            1,110                  2,000      1,690         40,680        30,470               999,000         275,000         208,000         47,000
     1934                      8,350      73,280     8,500                               6,800      17,800        17,040    12,140                     2,240         1,900          101,000         106,050        7,250            1,350                  2,140      2,220         38,400        55,330             1,105,000         299,000         223,000         39,000
     1935                      9,000      70,670    10,500                               6,900      17,750        14,860    12,400                     1,970         2,420          108,000          99,150        9,500            1,550                  2,250      2,300         41,000        69,650             1,249,000         339,000         218,000         43,000
     1936                      9,100      67,300    11,250                               7,100      21,150        15,500    15,200                     2,600         3,310          120,000         114,400       10,250            2,250                  3,000      2,170         48,200        81,470             1,087,000         347,000         368,000         43,000
     1937                     10,100      67,260    12,150                               8,200      19,120        16,350    14,850                     2,400         2,720          159,000         102,400        7,820            2,400                  3,500      2,400         50,700        83,030             1,087,000         386,000         620,000         44,000
     1938                      9,700      71,510    12,650                               7,700      21,150        14,350    13,970                     2,150         1,960          150,000          99,050        6,190            2,000                  3,490      2,800         52,100        46,480             1,152,000         349,000         341,000         44,000
     1939                     10,400      76,800     9,300       7,800                   7,700      20,600        14,400    14,100                     2,250         1,440          154,000         111,600        7,900            1,700                  3,810      3,000         47,500        57,600             1,291,000         340,000         327,000         36,000
     1940                     10,100      80,000     8,700       7,100                   8,100      21,900        15,800    13,000                     2,200         2,340          113,000          89,700        6,100            1,800                  3,860      3,200         49,100        71,500             1,226,000         391,000         348,000         38,000
     1941                      9,600      75,700     8,600       8,000                   9,100      21,500        14,300    13,300                     2,100         3,040          133,000          94,750        6,600            1,900                  3,770      3,000         52,700        90,000             1,042,000         389,000         351,000         45,000
     1942                      9,200      74,100     8,800       7,200                  11,000      22,300        12,400    13,100                     1,500         2,510          190,000          93,950       10,300            1,600                  3,530      3,000         53,300       124,700             1,511,000         383,000         355,000         41,000
     1943                      7,900      70,800     7,800       9,200                  20,600      33,700        12,600    13,300                     1,300         2,240          107,000          78,900        9,900            2,000                  2,630      3,800         57,700       112,700             1,299,000         439,000         289,000         38,000
     1944                      6,400      70,100     7,700      10,400                  19,000      31,100        14,800    12,800                     1,500         2,620          130,000         103,400       15,600            1,800                  3,420      3,400         53,100       132,500             1,429,000         323,000         301,000         36,000
     1945                      6,400      65,500     6,300      10,900                  17,100      30,600        15,900    15,400                     1,650         3,340          158,000         107,200       11,900            2,100                  3,800      2,800         65,400       120,800             1,486,000         307,000         317,000         29,000
     1946                      7,200      63,600     6,400      15,200                  10,900      28,400        19,800    17,100                     2,400         4,230          185,000         124,500       12,100            2,500                  7,100      3,000         71,200       134,400             1,486,000         283,000         358,000         32,000
     1947                      7,300      63,000     7,100      12,700                   9,600      24,200        16,500    14,400                     2,700         2,020          167,000         116,400        8,600            2,600                  3,080      3,100         59,300       142,900             1,545,000         323,000         534,000         27,000
     1948                      7,400      64,400     5,900      14,800                   9,600      28,300        16,800    15,200                     2,800         2,770          112,000         127,900        9,500            2,600                  2,650      3,100         66,400        87,700             1,622,000         368,000         804,000         30,000
     1949                      6,700      69,000     5,600      19,800         4,400     8,100      27,400        15,800    15,800       17,900        2,200         3,240          126,000         122,400       10,700            2,200                  3,800      3,000         54,300        75,400             1,590,000         358,000         925,000         31,000
     1950                      7,100      71,700     6,500      18,500         5,500     8,100      29,000        13,800    13,900       20,300        2,700         2,830          169,000         129,500       13,200            2,400                  3,930      2,800         55,500        75,500             1,765,000         311,000         581,000         42,000
     1951                      7,200      70,900     5,600      18,500         4,700     9,300      23,600        11,200    15,100       16,200        2,400         3,330          133,000         119,800       10,800            2,500                  3,760      2,800         57,600       148,300             1,412,000         350,000       1,305,000         30,000
     1952                      7,800      69,400     4,900      24,300         4,100     9,700      26,600        12,900    15,700       19,500        2,700         3,570          119,000         128,600        9,800            2,400                  3,160      2,500         50,200       112,900             1,497,000         295,000       1,386,000         39,000
     1953                      8,600      69,200     4,800      23,700         5,200     9,700      25,700        12,300    15,700       19,800        3,100         4,000          109,000         123,600       14,100            3,200                  3,560      2,500         51,900        83,000             1,557,000         283,000       1,340,000         37,000
     1954                      9,000      72,400     5,700      19,700         5,400     9,100      25,700        11,000    15,800       22,300        3,100         3,100          146,000         124,700       10,600            3,900                  3,900      2,000         58,900        79,500             1,915,000         318,000         883,000        103,000
     1955                      8,900      76,700     5,500      24,200         4,000     8,200      24,300        12,400    15,700       22,300        3,000         3,100          212,000         125,300        9,500            3,600                  2,800      1,900         70,500       116,300             1,838,000         323,000         745,000        167,000
     1956                      9,400      76,200     4,900      26,700         5,600     8,400      24,400        12,600    17,800       18,100        3,000         3,600          204,000         128,500        9,900            3,800                  3,610      1,900         71,600       151,500             1,801,000         276,000         749,000        141,000
     1957                      9,400      75,800     4,800      24,500         5,300     9,400      23,400        12,800    17,300       18,500        3,200         3,300          196,000         134,600       11,000            4,000                  4,030      1,800         72,300       128,700             1,891,000         267,000         711,000        229,000
     1958                      9,400      76,300     4,200      25,200         4,300    10,700      22,500        13,000    16,700       22,200        3,100         2,900          218,000         112,300       12,500            4,600                  4,360      1,800         72,200       152,900             1,740,000         298,000         732,000        260,000




11/14/2011                                                                                                                                                                      1 of 3                                                                                                                        Table 3 and 4‐Perchlorate Calculation by Crop Application Rates
                                                                                                                                                                                                                                                                                                                                                                                 75
                                                                                                            Case 2:11-cv-00167-RGK-JEM Document 392-2 Filed 02/09/18 Page 74 of 159 Page ID
                                                                                                                                                  Table 3a
                                                                                                                                               #:15825
                                                                                                                                             State of California
                                                                                                                                                                   Acreage for Nitrogen Utilizing Crops ‐ No Adjustments
                                                                                                                                                                                       (1927‐1958)

                                                                                           Field Crops                                                                                                                                                                                                                                                Fruits and Nuts
                        Corn‐Silage Hay‐ALL           Oats            Potatoes Irish All      Potatoes Sweet        Rice‐ALL             Sorghum‐g             Sorghum‐s            Sugar Beets           Wheat All             Almonds Apricots         Apples         Avocados        Strawberry‐ACherries          Dates          Figs            Grapes‐ALL       Nectarines
Application Rate (lbs
of N/ac)                        140              20              20                   228                    228                  100                    80                   80                    120                   78           80           84             34              63              225           75             38           124                  45              50
Reference                  ref#2         ref#8           ref#8               ref#2                 ref#2                  ref#9               ref#10                ref#10                ref#11                ref#2            ref#13     ref#2          ref#2           ref#2           ref#2         ref#2          ref#2           ref#2             ref#2           ref#2



Crop Acreage


     Year               Corn‐S        Hay‐ALL         Oats            Potatoes Irish All     Potatoes Sweet         Rice‐ALL             Sorghum‐g             Sorghum‐s            Sugar Beets           Wheat All             Almonds Apricots         Apples         Avocados        Strawberry‐ACherries          Dates          Figs            Grapes‐ALL        Nectarines
     1927                    20,000     1,691,000         82,000                  49,000                   12,000              160,000                83,000                                   59,000                 770,000      66,970    83,000         52,400              900           4,550       10,800            800             38,100           578,200           940
     1928                    20,000     1,706,000        106,000                  53,000                   11,000              132,000                80,000                                   49,000                 730,000      70,920    82,600         50,500            1,200           4,250       11,500            820             41,800           577,300         1,100
     1929                    21,000     1,854,000         90,000                  36,000                    8,000               95,000                77,000                                   46,000                 680,000      72,210    82,000         48,400            1,800           4,100       12,000            880             45,000           565,700         1,400
     1930                    19,000     1,992,000         99,000                  38,000                   10,000              110,000                85,000                                   65,000                 598,000      72,100    81,200         46,600            2,300           4,400       12,700            940             46,000           546,700         1,500
     1931                    19,000     1,932,000         80,000                  40,000                   12,000              125,000                68,000                                   89,000                 558,000      71,660    81,000         45,300            3,000           4,450       13,300          1,000             46,400           528,500         1,700
     1932                    19,000     1,984,000         92,000                  36,000                   13,000              110,000               114,000                                  104,000                 640,000      71,240    78,600         43,900            4,200           4,500       13,600          1,200             46,300           517,800         2,000
     1933                    20,000     1,886,000        108,000                  36,000                   10,000              108,000               104,000                                  108,000                 772,000      71,010    77,600         42,000            5,600           4,700       13,900          1,300             44,900           503,000         2,200
     1934                    20,000     1,716,000        116,000                  46,000                   10,000              108,000                84,000                                  110,000                 660,000      71,050    76,300         35,500            7,300           4,800       14,300          1,400             43,400           495,500         2,300
     1935                    20,000     1,752,000        159,000                  48,000                   11,000              100,000               136,000                                  116,000                 878,000      71,130    74,900         34,900            8,600           4,850       14,400          1,600             41,000           489,400         2,400
     1936                    20,000     1,706,000        143,000                  49,000                   12,000              138,000               114,000                                  139,000                 984,000      69,836    75,300         34,800           10,200           4,700       14,600          1,900             39,600           486,500         2,400
     1937                    22,000     1,730,000        116,000                  66,000                   11,000              132,000               136,000                                  132,000                 935,000      70,980    73,800         35,100           11,200           4,650       14,900          2,300             39,500           496,300         2,400
     1938                    22,000     1,794,000        128,000                  68,000                   13,000              125,000               136,000                                  157,000                 850,000      71,529    73,100         34,700           11,500           5,030       14,900          2,600             39,000           501,400         2,500
     1939                    25,000     1,762,000        153,000                  68,000                   10,000              120,000                99,000                                  167,000                 675,000      73,238    70,500         33,800           11,900           5,200       14,700          3,000             38,100           505,900         2,600
     1940                    25,000     1,873,000        161,000                  70,000                   12,000              118,000               135,000                                  169,000                 783,000      75,051    69,100         33,000           12,100           5,800       13,800          3,200             37,200           504,500         2,400
     1941                    25,000     1,846,000        137,000                  71,000                   12,000              153,000               204,000                                  126,000                 752,000      77,186    67,800         31,800           12,300           6,100       13,100          3,200             36,300           511,600         2,600
     1942                    25,000     1,858,000        178,000                  69,000                    9,000              207,000               158,000                                  169,000                 536,000      79,323    66,700         31,400           12,400           5,300       12,600          3,400             35,600           511,900         2,800
     1943                    25,000     2,017,000        160,000                  90,000                   11,000              224,000               142,000                                   72,000                 456,000      81,981    66,000         30,300           12,800           1,900       12,500          3,600             35,000           511,900         2,800
     1944                    25,000     2,040,000        168,000                 103,000                   13,000              240,000               121,000                4,000              68,000                 547,000      84,961    64,900         30,100           13,100           1,200       12,400          3,700             35,000           507,200         3,200
     1945                    25,000     2,120,000        165,000                 119,000                   10,000              235,000               102,000                4,000              93,000                 563,000      88,398    62,900         29,500           13,400           1,100       12,200          3,800             35,100           499,800         3,200
     1946                    25,000     1,989,000        190,000                 121,000                   12,000              261,000               145,000                4,000             122,000                 619,000      91,920    59,400         28,700           13,600           1,900       12,000          3,900             35,000           490,800         3,300
     1947                    25,000     1,992,000        180,000                                                               256,000                70,000                4,000             156,000                 669,000      93,780    54,700         27,400           12,800           3,200       11,200          3,800             34,700           489,100         3,200
     1948                    25,000     1,740,000        185,000                                                               256,000               116,000                4,000             172,000                 602,000      94,749    49,800         26,500           11,900           4,000       10,500          3,900             32,800           494,500         3,000
     1949                    26,000     1,850,000        166,000                 106,700                   11,000              305,000                71,000                6,000             134,000                 626,000      95,377    46,600         25,800           11,300           4,400        9,900          4,000             31,000           496,600         2,900
     1950                    32,000     1,913,000        196,000                 120,800                   13,000              238,000               114,000                6,000             209,000                 651,000      90,496    44,400         24,300           12,000           5,700        9,400          4,200             29,200           496,400         2,700
     1951                    32,000     1,765,000        163,000                  87,900                   10,000              324,000                65,000                6,000             139,600                 573,000      90,694    43,500         23,900           12,600           6,900        9,500          4,300             26,600           480,800         2,400
     1952                    32,000     1,867,000        170,000                  96,200                   10,000              337,000                95,000                6,000             149,100                 653,000      91,379    42,800         23,500           13,600           8,400        9,500          4,600             25,900           463,500         2,400
     1953                    32,000     1,898,000        175,000                 130,200                   11,000              425,000                99,000                6,000             167,300                 594,000      92,206    41,400         22,300           15,000           9,400        9,500          4,800             25,400           454,100         2,600
     1954                    43,000     1,895,000        196,000                  95,300                   12,000              477,000               140,000                6,000             218,300                 470,000      92,633    38,700         22,800           16,300          10,900        9,100          4,700             25,200           445,500         2,800
     1955                    73,000     1,973,000        176,000                 115,600                   13,000              329,000               169,000               10,000             162,700                 423,000      89,391    38,100         22,500           18,000          14,000        9,300          4,600             24,300           423,800         3,000
     1956                    73,000     2,084,000        197,000                 106,800                   12,000              286,000               185,000                8,000             171,200                 393,000      88,609    36,700         21,100           19,100          19,000        9,400          4,600             23,500           407,500         3,600
     1957                    80,000     1,945,000        223,000                 114,100                   12,000              226,000               229,000                8,000             195,500                 288,000      88,212    36,100         21,000           19,800          20,700        9,400          4,700             21,600           399,000         4,700
     1958                    69,000     1,910,000        192,000                 122,600                   12,500              249,000               260,000               11,000             189,700                 377,000      89,545    36,500         21,400           20,200          17,000        9,900          4,100             21,300           406,800         5,700




11/14/2011                                                                                                                                                                                 2 of 3                                                                                                                 Table 3 and 4‐Perchlorate Calculation by Crop Application Rates
                                                                                                                                                                                                                                                                                                                                                                                       76
                                                                                                             Case 2:11-cv-00167-RGK-JEM Document 392-2 Filed 02/09/18 Page 75 of 159 Page ID
                                                                                                                                                   Table 3a
                                                                                                                                                #:15826
                                                                                                                                              State of California
                                                                                                                                                      Acreage for Nitrogen Utilizing Crops ‐ No Adjustments
                                                                                                                                                                          (1927‐1958)

                                                                                                                                         Melons                                                Citrus
                        Olives          Peaches       Pears            Plums‐Dried       Plums‐Fresh      Walnuts           Watermelon Honeydew            Cantaloupe       Grapefruit        Lemon          Oranges
Application Rate (lbs
of N/ac)                           85           103              99                112               65               320              148           130              95                102             67          200
Reference                  ref#2           ref#2         ref#2             ref#2             ref#2           ref#12            ref#2         ref#2            ref#2             ref#2           ref#2          ref#2



Crop Acreage                                                                                                                                                                                                                                               Totals

                                                                                                                                                                                                                                                                                                         % Citrus
                                                                                                                                                                                                                                                                                                        Acreage of
     Year               Olives          Peaches       Pears            Plums‐Dried       Plums‐Fresh      Walnuts           Watermelon Honeydew            Cantaloupe       Grapefruit        Lemon          Oranges      Veg Total     Field Crops    Fruits         Melons Total Citrus Total         Total Crops
     1927                    28,800        121,700            56,800        162,100            29,900           89,000            9,780                         45,720              5,500        41,600         180,800       392,030      4,282,000      1,324,960          55,500     227,900                 3.63%
     1928                    28,700        126,400            59,800        166,900            30,900           92,600           12,300      1,327,200          32,770              6,700        41,100         182,900       400,960      4,414,000      1,347,290       1,372,270     230,700                 2.97%
     1929                    28,500        123,200            64,800        172,300            31,600           97,600           15,950      1,375,200          37,190              8,600        40,900         185,900       427,170      4,661,000      1,351,490       1,428,340     235,400                 2.90%
     1930                    27,700        122,100            65,800        174,100            30,600          102,900           17,100      1,338,000          46,610             10,100        40,600         190,100       482,880      4,833,000      1,337,640       1,401,710     240,800                 2.90%
     1931                    27,700        120,200            65,900        173,900            30,000          107,700           19,050      1,588,000          46,590             10,800        40,700         192,500       419,070      4,410,000      1,321,710       1,653,640     244,000                 3.03%
     1932                    27,500        110,100            66,800        172,100            30,100          110,300           21,700      1,818,400          42,800             11,300        41,000         197,300       427,800      4,884,000      1,300,240       1,882,900     249,600                 2.85%
     1933                    27,100        101,200            65,600        168,200            28,900          113,900           13,600        952,800          29,320             12,100        40,800         200,800       415,670      4,681,000      1,271,110         995,720     253,700                 3.33%
     1934                    27,000         95,900            62,200        164,300            27,600          117,500           15,150        989,600          27,740             13,100        40,500         202,200       461,790      4,536,000      1,246,350       1,032,490     255,800                 3.40%
     1935                    27,300         89,500            57,500        159,300            26,400          121,100           15,400      1,058,000          26,780             13,700        41,100         207,300       479,870      5,069,000      1,224,280       1,100,180     262,100                 3.22%
     1936                    27,700         84,800            54,200        156,000            25,400          123,900           16,700      1,018,400          22,400             14,500        42,100         213,000       534,250      5,150,000      1,211,836       1,057,500     269,600                 3.28%
     1937                    27,700         82,800            53,600        155,000            25,700          125,900           17,600      1,135,600          26,500             15,400        43,600         217,800       564,400      5,417,000      1,221,830       1,179,700     276,800                 3.20%
     1938                    27,400         79,000            52,200        152,500            25,600          129,400           17,200        532,000          28,460             16,500        46,900         222,100       517,250      5,179,000      1,222,359         577,660     285,500                 3.67%
     1939                    27,300         79,900            50,300        148,800            24,700          129,900           15,300        666,400          31,500             16,400        50,000         226,600       551,900      5,073,000      1,219,838         713,200     293,000                 3.73%
     1940                    27,300         79,100            46,900        144,700            23,400          126,200           15,400        579,600          24,400             16,400        51,700         228,700       507,500      5,349,000      1,203,751         619,400     296,800                 3.72%
     1941                    27,500         79,200            45,600        140,400            23,000          124,300           14,700        854,800          25,800             15,400        52,800         230,600       550,960      5,153,000      1,201,986         895,300     298,800                 3.69%
     1942                    27,400         80,700            45,400        137,900            23,500          124,500           12,000        722,400          25,300             15,300        54,400         230,400       642,490      5,499,000      1,200,823         759,700     300,100                 3.57%
     1943                    27,400         81,900            45,200        137,100            23,700          125,800           11,500        727,200          18,900             14,800        56,300         232,200       554,070      5,262,000      1,199,881         757,600     303,300                 3.76%
     1944                    27,500         83,000            45,200        134,200            24,300          125,700           16,100      1,055,200          31,800             14,900        58,200         234,300       619,640      5,418,000      1,195,661       1,103,100     307,400                 3.56%
     1945                    27,600         82,900            44,900        130,900            24,000          126,900           11,200      1,486,400          36,400             14,800        60,800         234,600       645,090      5,575,000      1,186,598       1,534,000     310,200                 3.35%
     1946                    27,400         83,900            44,400        125,200            24,000          126,000           19,800      1,294,400          49,800             14,500        62,900         235,200       715,030      5,647,000      1,171,420       1,364,000     312,600                 3.39%
     1947                    27,700         81,500            43,300        118,600            24,100          126,300           16,600        959,200          52,300             14,100        63,000         234,000       662,500      5,781,000      1,155,380       1,028,100     311,100                 3.48%
     1948                    27,500         79,400            42,600        112,500            24,100          121,500           16,600        754,400          46,300             13,300        61,900         228,600       579,820      5,924,000      1,139,249         817,300     303,800                 3.47%
     1949                    27,600         78,500            41,200        107,400            23,900          115,800           16,000        876,000          39,400             11,600        60,000         222,700       593,740      6,205,700      1,122,277         931,400     294,300                 3.22%
     1950                    27,400         78,800            39,700        102,000            23,900          115,500           19,500        874,000          42,800             10,700        56,600         215,100       651,760      6,191,800      1,106,096         936,300     282,400                 3.08%
     1951                    27,800         78,500            39,700         99,400            23,500          114,200           19,800      1,061,000          41,100             10,200        55,400         211,600       666,590      6,262,500      1,084,294       1,121,900     277,200                 2.95%
     1952                    27,500         78,700            39,500         96,600            22,500          114,200           17,000      1,121,000          40,800              9,700        54,800         207,700       629,730      6,632,300      1,064,579       1,178,800     272,200                 2.78%
     1953                    27,400         79,300            38,900         94,600            21,900          115,000           18,800      1,210,000          40,400              9,400        54,600         200,800       592,660      6,754,500      1,053,806       1,269,200     264,800                 2.67%
     1954                    28,200         75,700            39,000         94,300            21,900          113,300           20,200      1,332,000          44,000              9,100        54,400         192,200       631,800      6,771,600      1,041,033       1,396,200     255,700                 2.53%
     1955                    28,700         75,600            38,800         89,500            21,100          114,200           18,200      1,206,000          44,300              8,200        52,900         183,200       750,200      6,517,300      1,014,891       1,268,500     244,300                 2.49%
     1956                    27,700         79,100            38,627         87,400            21,600          113,900           19,900      1,190,000          38,400              7,800        52,600         170,100       785,510      6,483,000      1,001,436       1,248,300     230,500                 2.36%
     1957                    27,900         78,900            38,700         84,900            22,300          118,700           18,700        960,000          38,500              7,200        51,000         151,900       760,130      6,418,600        996,612       1,017,200     210,100                 2.23%
     1958                    28,600         80,400            38,300         83,700            21,300          120,700           18,700        991,000          46,100              7,500        51,100         148,600       789,160      6,422,800      1,005,445       1,055,800     207,200                 2.19%




11/14/2011                                                                                                                                                                   3 of 3                                                                                                        Table 3 and 4‐Perchlorate Calculation by Crop Application Rates
                                                                                                                                                                                                                                                                                                                                                             77
                                                                                                                 Case 2:11-cv-00167-RGK-JEM Document 392-2
                                                                                                                                                       Table 3b
                                                                                                                                                                      Filed 02/09/18 Page 76 of 159 Page ID
                                                                                                                                                   #:15827
                                                                                                                                                  State of California
                                                                                                                                                                           Nitrogen Requirements for California Crops ‐ No Adjustments
                                                                                                                                                                                                  (1927‐1958)

                                                                                                                                                      Vegetables
                        Artichokes    Asparagus Bean‐s        Broccoli    Brussel Spro Cabbage    Carrots     Cauliflower Celery         Corn‐Sw     Cucumbers Cucumber‐P Garlic               Lettuce         Onions     Bell Peppers       Chili Peppers‐     Spinach Tomatoes‐F Tomatoes‐P          Barley          Beans‐Dry       Cotton‐A        Corn‐Grain Corn‐Silage Hay‐ALL            Oats
Application Rate (lbs
of N/ac)                        120         123          70         161          100        155         160          197           260         140          129            129            89             176        180                179                178       167            152           152              80              80              77          140          140              20              20
Reference                  ref#14       ref#2     ref#2         ref#2        ref#6      ref#2       ref#2        ref#2      ref#2          ref#2       ref#2       ref#2          ref#2           ref#2          ref#2         ref#2              ref#2          ref#2     ref#2         ref#2            ref#6           ref#7           ref#2           ref#2       ref#2         ref#8           ref#8
Nitrogen Application (lbs)
                                                                                                                                                      Vegetables




Year                    Artichokes    Asparagus Bean‐s   Broccoli Brussel Spro Cabbage Carrots    Cauliflower Celery   Corn‐Sw Cucumbers Cucumber‐P Garlic      Lettuce‐A Onions‐A Bell Peppers‐B Chili Peppers‐C Spinach Tomatoes‐F Tomatoes‐P                                                        Barley    Beans‐Dry Cotton‐A    Corn‐G    Corn‐S    Hay‐ALL   Oats
                 1927     1,192,800    7,205,340 218,400         0           0 984,250 694,400 2,182,760 2,327,000                 129,000   273,480 10,858,000 13,647,040 1,740,600        68,020               0 317,300  7,037,600  4,371,520                                                         71760000 23680000    9,856,000 4,900,000 2,800,000 33820000    1640000
                 1928       954,000    7,402,140 359,100         0           0 751,750 1,051,200 2,616,160 2,321,800               206,400   356,040 12,015,000 12,921,920 1,805,400        73,390               0 167,000  6,862,800  3,754,400                                                         77520000 24560000 16,786,000 4,620,000 2,800,000 34120000      2120000
                 1929     1,068,000    6,864,630 496,300         0           0 713,000 2,012,800 3,014,100 2,722,200               199,950   349,590 11,036,000 15,405,280 1,859,400       245,230         596,300 233,800  5,852,000  6,335,360                                                         85280000 27120000 23,793,000 5,600,000 2,940,000 37080000      1800000
                 1930       978,000    7,282,830 464,100         0           0 627,750 2,116,800 3,376,580 2,574,000               232,200   443,760 11,303,000 19,733,120 1,758,600       316,830         414,740 258,850  7,986,080  7,942,000                                                         91280000 29040000 20,790,000 6,020,000 2,660,000 39840000      1980000
                 1931       900,000    7,831,410 430,500         0           0 682,000 2,347,200 3,021,980 2,540,200               232,200   372,810 8,277,000 20,706,400 1,449,000        273,870         222,500 283,900  6,323,200  4,271,200                                                         73040000 26720000 14,784,000 6,720,000 2,660,000 38640000      1600000
                 1932       759,600    8,671,500 630,000         0           0 852,500 2,188,800 3,327,330 1,942,200               238,650    90,300 8,366,000 19,741,920 1,816,200        207,640         284,800 305,610  6,852,160  4,552,400                                                        109520000 18000000    9,471,000 7,700,000 2,660,000 39680000    1840000
                 1933       762,000    9,415,650 567,000         0           0 868,000 2,316,800 3,339,150 2,529,800               229,620   135,450 8,811,000 16,385,600 1,265,400        198,690         356,000 282,230  6,183,360  4,631,440                                                         79920000 22000000 16,016,000 6,580,000 2,800,000 37720000      2160000
                 1934     1,002,000    9,013,440 595,000         0           0 1,054,000 2,848,000 3,356,880 3,156,400             288,960   245,100 8,989,000 18,664,800 1,305,000        241,650         380,920 370,740  5,836,800  8,410,160                                                         88400000 23920000 17,171,000 5,460,000 2,800,000 34320000      2320000
                 1935     1,080,000    8,692,410 735,000         0           0 1,069,500 2,840,000 2,927,420 3,224,000             254,130   312,180 9,612,000 17,450,400 1,710,000        277,450         400,500 384,100  6,232,000 10,586,800                                                         99920000 27120000 16,786,000 6,020,000 2,800,000 35040000      3180000
                 1936     1,092,000    8,277,900 787,500         0           0 1,100,500 3,384,000 3,053,500 3,952,000             335,400   426,990 10,680,000 20,134,400 1,845,000       402,750         534,000 362,390  7,326,400 12,383,440                                                         86960000 27760000 28,336,000 6,020,000 2,800,000 34120000      2860000
                 1937     1,212,000    8,272,980 850,500         0           0 1,271,000 3,059,200 3,220,950 3,861,000             309,600   350,880 14,151,000 18,022,400 1,407,600       429,600         623,000 400,800  7,706,400 12,620,560                                                         86960000 30880000 47,740,000 6,160,000 3,080,000 34600000      2320000
                 1938     1,164,000    8,795,730 885,500         0           0 1,193,500 3,384,000 2,826,950 3,632,200             277,350   252,840 13,350,000 17,432,800 1,114,200       358,000         621,220 467,600  7,919,200  7,064,960                                                         92160000 27920000 26,257,000 6,160,000 3,080,000 35880000      2560000
                 1939     1,248,000    9,446,400 651,000 1,255,800           0 1,193,500 3,296,000 2,836,800 3,666,000             290,250   185,760 13,706,000 19,641,600 1,422,000       304,300         678,180 501,000  7,220,000  8,755,200                                                        103280000 27200000 25,179,000 5,040,000 3,500,000 35240000      3060000
                 1940     1,212,000    9,840,000 609,000 1,143,100           0 1,255,500 3,504,000 3,112,600 3,380,000             283,800   301,860 10,057,000 15,787,200 1,098,000       322,200         687,080 534,400  7,463,200 10,868,000                                                         98080000 31280000 26,796,000 5,320,000 3,500,000 37460000      3220000
                 1941     1,152,000    9,311,100 602,000 1,288,000           0 1,410,500 3,440,000 2,817,100 3,458,000             270,900   392,160 11,837,000 16,676,000 1,188,000       340,100         671,060 501,000  8,010,400 13,680,000                                                         83360000 31120000 27,027,000 6,300,000 3,500,000 36920000      2740000
                 1942     1,104,000    9,114,300 616,000 1,159,200           0 1,705,000 3,568,000 2,442,800 3,406,000             193,500   323,790 16,910,000 16,535,200 1,854,000       286,400         628,340 501,000  8,101,600 18,954,400                                                        120880000 30640000 27,335,000 5,740,000 3,500,000 37160000      3560000
                 1943       948,000    8,708,400 546,000 1,481,200           0 3,193,000 5,392,000 2,482,200 3,458,000             167,700   288,960 9,523,000 13,886,400 1,782,000        358,000         468,140 634,600  8,770,400 17,130,400                                                        103920000 35120000 22,253,000 5,320,000 3,500,000 40340000      3200000
                 1944       768,000    8,622,300 539,000 1,674,400           0 2,945,000 4,976,000 2,915,600 3,328,000             193,500   337,980 11,570,000 18,198,400 2,808,000       322,200         608,760 567,800  8,071,200 20,140,000                                                        114320000 25840000 23,177,000 5,040,000 3,500,000 40800000      3360000
                 1945       768,000    8,056,500 441,000 1,754,900           0 2,650,500 4,896,000 3,132,300 4,004,000             212,850   430,860 14,062,000 18,867,200 2,142,000       375,900         676,400 467,600  9,940,800 18,361,600                                                        118880000 24560000 24,409,000 4,060,000 3,500,000 42400000      3300000
                 1946       864,000    7,822,800 448,000 2,447,200           0 1,689,500 4,544,000 3,900,600 4,446,000             309,600   545,670 16,465,000 21,912,000 2,178,000       447,500       1,263,800 501,000 10,822,400 20,428,800                                                        118880000 22640000 27,566,000 4,480,000 3,500,000 39780000      3800000
                 1947       876,000    7,749,000 497,000 2,044,700           0 1,488,000 3,872,000 3,250,500 3,744,000             348,300   260,580 14,863,000 20,486,400 1,548,000       465,400         548,240 517,700  9,013,600 21,720,800                                                        123600000 25840000 41,118,000 3,780,000 3,500,000 39840000      3600000
                 1948       888,000    7,921,200 413,000 2,382,800           0 1,488,000 4,528,000 3,309,600 3,952,000             361,200   357,330 9,968,000 22,510,400 1,710,000        465,400         471,700 517,700 10,092,800 13,330,400                                                        129760000 29440000 61,908,000 4,200,000 3,500,000 34800000      3700000
                 1949       804,000    8,487,000 392,000 3,187,800    440000 1,255,500 4,384,000 3,112,600 4,108,000 2,506,000     283,800   417,960 11,214,000 21,542,400 1,926,000       393,800         676,400 501,000  8,253,600 11,460,800                                                        127200000 28640000 71,225,000 4,340,000 3,640,000 37000000      3320000
                 1950       852,000    8,819,100 455,000 2,978,500    550000 1,255,500 4,640,000 2,718,600 3,614,000 2,842,000     348,300   365,070 15,041,000 22,792,000 2,376,000       429,600         699,540 467,600  8,436,000 11,476,000                                                        141200000 24880000 44,737,000 5,880,000 4,480,000 38260000      3920000
                 1951       864,000    8,720,700 392,000 2,978,500    470000 1,441,500 3,776,000 2,206,400 3,926,000 2,268,000     309,600   429,570 11,837,000 21,084,800 1,944,000       447,500         669,280 467,600  8,755,200 22,541,600                                                        112960000 28000000 100,485,000 4,200,000 4,480,000 35300000     3260000
                 1952       936,000    8,536,200 343,000 3,912,300    410000 1,503,500 4,256,000 2,541,300 4,082,000 2,730,000     348,300   460,530 10,591,000 22,633,600 1,764,000       429,600         562,480 417,500  7,630,400 17,160,800                                                        119760000 23600000 106,722,000 5,460,000 4,480,000 37340000     3400000
                 1953     1,032,000    8,511,600 336,000 3,815,700    520000 1,503,500 4,112,000 2,423,100 4,082,000 2,772,000     399,900   516,000 9,701,000 21,753,600 2,538,000        572,800         633,680 417,500  7,888,800 12,616,000                                                        124560000 22640000 103,180,000 5,180,000 4,480,000 37960000     3500000
                 1954     1,080,000    8,905,200 399,000 3,171,700    540000 1,410,500 4,112,000 2,167,000 4,108,000 3,122,000     399,900   399,900 12,994,000 21,947,200 1,908,000       698,100         694,200 334,000  8,952,800 12,084,000                                                        153200000 25440000 67,991,000 14,420,000 6,020,000 37900000     3920000
                 1955     1,068,000    9,434,100 385,000 3,896,200    400000 1,271,000 3,888,000 2,442,800 4,082,000 3,122,000     387,000   399,900 18,868,000 22,052,800 1,710,000       644,400         498,400 317,300 10,716,000 17,677,600                                                        147040000 25840000 57,365,000 23,380,000 10,220,000 39460000    3520000
                 1956     1,128,000    9,372,600 343,000 4,298,700    560000 1,302,000 3,904,000 2,482,200 4,628,000 2,534,000     387,000   464,400 18,156,000 22,616,000 1,782,000       680,200         642,580 317,300 10,883,200 23,028,000                                                        144080000 22080000 57,673,000 19,740,000 10,220,000 41680000    3940000
                 1957     1,128,000    9,323,400 336,000 3,944,500    530000 1,457,000 3,744,000 2,521,600 4,498,000 2,590,000     412,800   425,700 17,444,000 23,689,600 1,980,000       716,000         717,340 300,600 10,989,600 19,562,400                                                        151280000 21360000 54,747,000 32,060,000 11,200,000 38900000    4460000
                 1958     1,128,000    9,384,900 294,000 4,057,200    430000 1,658,500 3,600,000 2,561,000 4,342,000 3,108,000     399,900   374,100 19,402,000 19,764,800 2,250,000       823,400         776,080 300,600 10,974,400 23,240,800                                                        139200000 23840000 56,364,000 36,400,000 9,660,000 38200000     3840000




11/14/2011                                                                                                                                                                                                 1 of 3                                                                                                                                       Table 3 and 4‐Perchlorate Calculation by Crop Application Rates
                                                                                                                                                                                                                                                                                                                                                                                                                          78
                                                                                                               Case 2:11-cv-00167-RGK-JEM Document 392-2
                                                                                                                                                     Table 3b
                                                                                                                                                                    Filed 02/09/18 Page 77 of 159 Page ID
                                                                                                                                                 #:15828
                                                                                                                                                State of California
                                                                                                                                                           Nitrogen Requirements for California Crops ‐ No Adjustments
                                                                                                                                                                                  (1927‐1958)

                     Field Crops                                                                                                                                                                                                                              Fruits and Nuts
Potatoes Irish All      Potatoes Sweet      Rice‐ALL            Sorghum‐g          Sorghum‐s          Sugar Beets         Wheat All          Almonds Apricots         Apples         Avocados        Strawberry‐ACherries        Dates          Figs         Grapes‐ALL       Nectarines Olives           Peaches         Pears           Plums‐Dried Plums‐Fresh Walnuts                           Watermelon

                228                   228                 100                 80                 80                 120                 78         80            84             34              63           225            75             38          124                45            50           85             103              99              112             65             320                         148
       ref#2                  ref#2               ref#9              ref#10             ref#10             ref#11               ref#2         ref#13     ref#2          ref#2           ref#2            ref#2      ref#2          ref#2           ref#2          ref#2         ref#2        ref#2           ref#2           ref#2           ref#2           ref#2         ref#12                       ref#2


                     Field Crops                                                                                                                                                                                                                             Fruits and Nuts




Potatoes Irish All Potatoes Sweet    Rice‐ALL          Sorghum‐g        Sorghum‐s        Sugar Beets      Wheat All                          Almonds Apricots  Apples    Avocados Strawberry‐ACherries Dates     Figs        Grapes‐ALL      Nectarines Olives      Peaches    Pears       Plums‐Dried Plums‐Fresh Walnuts                                                                          Watermelon
        11172000             2736000          16000000          6640000                0          7080000         60060000                     5357600 6972000 1,781,600      56700   1023750    810000    30400     4724400        26019000      47000     2448000 12535100       5623200     18155200    1943500    28480000                                                                         1,447,440
        12084000             2508000          13200000          6400000                0          5880000         56940000                     5673600 6938400 1,717,000      75600    956250    862500    31160     5183200        25978500      55000     2439500 13019200       5920200     18692800    2008500    29632000                                                                         1,820,400
          8208000            1824000           9500000          6160000                0          5520000         53040000                     5776800 6888000 1,645,600     113400    922500    900000    33440     5580000        25456500      70000     2422500 12689600       6415200     19297600    2054000    31232000                                                                         2,360,600
          8664000            2280000          11000000          6800000                0          7800000         46644000                     5768000 6820800 1,584,400     144900    990000    952500    35720     5704000        24601500      75000     2354500 12576300       6514200     19499200    1989000    32928000                                                                         2,530,800
          9120000            2736000          12500000          5440000                0         10680000         43524000                     5732800 6804000 1,540,200     189000   1001250    997500    38000     5753600        23782500      85000     2354500 12380600       6524100     19476800    1950000    34464000                                                                         2,819,400
          8208000            2964000          11000000          9120000                0         12480000         49920000                     5699200 6602400 1,492,600     264600   1012500 1020000      45600     5741200        23301000     100000     2337500 11340300       6613200     19275200    1956500    35296000                                                                         3,211,600
          8208000            2280000          10800000          8320000                0         12960000         60216000                     5680800 6518400 1,428,000     352800   1057500 1042500      49400     5567600        22635000     110000     2303500 10423600       6494400     18838400    1878500    36448000                                                                         2,012,800
        10488000             2280000          10800000          6720000                0         13200000         51480000                     5684000 6409200 1,207,000     459900   1080000 1072500      53200     5381600        22297500     115000     2295000    9877700     6157800     18401600    1794000    37600000                                                                         2,242,200
        10944000             2508000          10000000        10880000                 0         13920000         68484000                     5690400 6291600 1,186,600     541800   1091250 1080000      60800     5084000        22023000     120000     2320500    9218500     5692500     17841600    1716000    38752000                                                                         2,279,200
        11172000             2736000          13800000          9120000                0         16680000         76752000                     5586880 6325200 1,183,200     642600   1057500 1095000      72200     4910400        21892500     120000     2354500    8734400     5365800     17472000    1651000    39648000                                                                         2,471,600
        15048000             2508000          13200000        10880000                 0         15840000         72930000                     5678400 6199200 1,193,400     705600   1046250 1117500      87400     4898000        22333500     120000     2354500    8528400     5306400     17360000    1670500    40288000                                                                         2,604,800
        15504000             2964000          12500000        10880000                 0         18840000         66300000                     5722320 6140400 1,179,800     724500   1131750 1117500      98800     4836000        22563000     125000     2329000    8137000     5167800     17080000    1664000    41408000                                                                         2,545,600
        15504000             2280000          12000000          7920000                0         20040000         52650000                     5859040 5922000 1,149,200     749700   1170000 1102500     114000     4724400        22765500     130000     2320500    8229700     4979700     16665600    1605500    41568000                                                                         2,264,400
        15960000             2736000          11800000        10800000                 0         20280000         61074000                     6004080 5804400 1,122,000     762300   1305000 1035000     121600     4612800        22702500     120000     2320500    8147300     4643100     16206400    1521000    40384000                                                                         2,279,200
        16188000             2736000          15300000        16320000                 0         15120000         58656000                     6174880 5695200 1,081,200     774900   1372500    982500   121600     4501200        23022000     130000     2337500    8157600     4514400     15724800    1495000    39776000                                                                         2,175,600
        15732000             2052000          20700000        12640000                 0         20280000         41808000                     6345840 5602800 1,067,600     781200   1192500    945000   129200     4414400        23035500     140000     2329000    8312100     4494600     15444800    1527500    39840000                                                                         1,776,000
        20520000             2508000          22400000        11360000                 0          8640000         35568000                     6558480 5544000 1,030,200     806400    427500    937500   136800     4340000        23035500     140000     2329000    8435700     4474800     15355200    1540500    40256000                                                                         1,702,000
        23484000             2964000          24000000          9680000           320000          8160000         42666000                     6796880 5451600 1,023,400     825300    270000    930000   140600     4340000        22824000     160000     2337500    8549000     4474800     15030400    1579500    40224000                                                                         2,382,800
        27132000             2280000          23500000          8160000           320000         11160000         43914000                     7071840 5283600 1,003,000     844200    247500    915000   144400     4352400        22491000     160000     2346000    8538700     4445100     14660800    1560000    40608000                                                                         1,657,600
        27588000             2736000          26100000        11600000            320000         14640000         48282000                     7353600 4989600 975,800       856800    427500    900000   148200     4340000        22086000     165000     2329000    8641700     4395600     14022400    1560000    40320000                                                                         2,930,400
                  0                0          25600000          5600000           320000         18720000         52182000                     7502400 4594800 931,600       806400    720000    840000   144400     4302800        22009500     160000     2354500    8394500     4286700     13283200    1566500    40416000                                                                         2,456,800
                  0                0          25600000          9280000           320000         20640000         46956000                     7579920 4183200 901,000       749700    900000    787500   148200     4067200        22252500     150000     2337500    8178200     4217400     12600000    1566500    38880000                                                                         2,456,800
        24327600             2508000          30500000          5680000           480000         16080000         48828000                     7630160 3914400 877,200       711900    990000    742500   152000     3844000        22347000     145000     2346000    8085500     4078800     12028800    1553500    37056000                                                                         2,368,000
        27542400             2964000          23800000          9120000           480000         25080000         50778000                     7239680 3729600 826,200       756000   1282500    705000   159600     3620800        22338000     135000     2329000    8116400     3930300     11424000    1553500    36960000                                                                         2,886,000
        20041200             2280000          32400000          5200000           480000         16752000         44694000                     7255520 3654000 812,600       793800   1552500    712500   163400     3298400        21636000     120000     2363000    8085500     3930300     11132800    1527500    36544000                                                                         2,930,400
        21933600             2280000          33700000          7600000           480000         17892000         50934000                     7310320 3595200 799,000       856800   1890000    712500   174800     3211600        20857500     120000     2337500    8106100     3910500     10819200    1462500    36544000                                                                         2,516,000
        29685600             2508000          42500000          7920000           480000         20076000         46332000                     7376480 3477600 758,200       945000   2115000    712500   182400     3149600        20434500     130000     2329000    8167900     3851100     10595200    1423500    36800000                                                                         2,782,400
        21728400             2736000          47700000        11200000            480000         26196000         36660000                     7410640 3250800 775,200      1026900   2452500    682500   178600     3124800        20047500     140000     2397000    7797100     3861000     10561600    1423500    36256000                                                                         2,989,600
        26356800             2964000          32900000        13520000            800000         19524000         32994000                     7151280 3200400 765,000      1134000   3150000    697500   174800     3013200        19071000     150000     2439500    7786800     3841200     10024000    1371500    36544000                                                                         2,693,600
        24350400             2736000          28600000        14800000            640000         20544000         30654000                     7088720 3082800 717,400      1203300   4275000    705000   174800     2914000        18337500     180000     2354500    8147300     3824073      9788800    1404000    36448000                                                                         2,945,200
        26014800             2736000          22600000        18320000            640000         23460000         22464000                     7056960 3032400 714,000      1247400   4657500    705000   178600     2678400        17955000     235000     2371500    8126700     3831300      9508800    1449500    37984000                                                                         2,767,600
        27952800             2850000          24900000        20800000            880000         22764000         29406000                     7163600 3066000 727,600      1272600   3825000    742500   155800     2641200        18306000     285000     2431000    8281200     3791700      9374400    1384500    38624000                                                                         2,767,600




11/14/2011                                                                                                                                                                                      2 of 3                                                                                                                                               Table 3 and 4‐Perchlorate Calculation by Crop Application Rates
                                                                                                                                                                                                                                                                                                                                                                                                                       79
                                                                                                                        Case 2:11-cv-00167-RGK-JEM Document 392-2
                                                                                                                                                              Table 3b
                                                                                                                                                                             Filed 02/09/18 Page 78 of 159 Page ID
                                                                                                                                                          #:15829
                                                                                                                                                         State of California
                                                                                                                                                                                  Nitrogen Requirements for California Crops ‐ No Adjustments
                                                                                                                                                                                                         (1927‐1958)

 Melons                                            Citrus
Honeydew         Cantaloupe      Grapefruit       Lemon          Oranges

           130              95              102             67            200
   ref#2            ref#2           ref#2           ref#2           ref#2
                                                                                                                                                                                                                                                Using Pomona Area Citrus Acreage      Using Wheatcraft's Capture Zone Acreage
  Melons                                           Citrus                                                                    Totals
                                                                                                                                                                           % Nitrogen for                                                 Citrus Bearing Acres                   Citrus Bearing Acres in
                                                                                                                                                                                                                     Sodium Nitrate
                                                                                                                                                                           Citrus of Total Sodium Nitrate Imports                        in Pomona Area % of Tons of Sodium        Pomona Area % of             Tons of Sodium
                                                                                                                                                                                                                  Imports (Tons) applied
                                                                                                                                                                            Nitrogen for          (Tons)                                 Total California Citrus Nitrate applied Total California Citrus        Nitrate applied
                                                                                                                                                                                                                        to Citrus
Honeydew         Cantaloupe      Grapefruit       Lemon          Oranges                     Veg Total Field Crops Fruits        Melons Total Citrus Total                     Crops                                                              Acres                                   Acres
          0        4,343,400          561,000 2,787,200 36,160,000                            53,247,510 252,144,000 116,007,450    5,790,840 39,508,200                             8.47%                 3,751.00                317.54                  12.71%            40.37                      1.77%                5.62
172,536,000        3,113,150          683,400 2,753,700 36,580,000                            53,618,500 259,538,000 119,183,410 177,469,550 40,017,100                              6.16%                 6,093.00                375.21                  12.57%            47.15                      1.75%                6.56
178,776,000        3,533,050          877,200 2,740,300 37,180,000                            59,003,940 267,865,000 121,497,140 184,669,650 40,797,500                              6.05%                 4,812.00                291.34                  12.31%            35.86                      1.71%                4.99
173,940,000        4,427,950        1,030,200 2,720,200 38,020,000                            67,809,240 274,798,000 122,538,020 180,898,750 41,770,400                              6.07%                 4,929.00                299.33                  12.03%            36.02                      1.67%                5.01
206,440,000        4,426,050        1,101,600 2,726,900 38,500,000                            60,165,370 248,164,000 123,073,850 213,685,450 42,328,500                              6.16%                 3,690.00                227.22                  11.88%            26.98                      1.65%                3.75
236,392,000        4,066,000        1,152,600 2,747,000 39,460,000                            60,827,610 282,563,000 122,097,800 243,669,600 43,359,600                              5.76%                 3,524.00                203.05                  11.60%            23.56                      1.61%                3.28
123,864,000        2,785,400        1,234,200 2,733,600 40,160,000                            58,277,190 269,980,000 120,828,400 128,662,200 44,127,800                              7.10%                 2,497.00                177.19                  11.42%            20.24                      1.59%                2.82
128,648,000        2,635,300        1,336,200 2,713,500 40,440,000                            65,758,850 269,359,000 119,886,000 133,525,500 44,489,700                              7.03%                 2,714.00                190.74                  11.33%            21.61                      1.58%                3.01
137,540,000        2,544,100        1,397,400 2,753,700 41,460,000                            67,787,890 307,602,000 118,710,550 142,363,300 45,611,100                              6.69%                 3,495.00                233.71                  11.06%            25.84                      1.54%                3.60
132,392,000        2,128,000        1,479,000 2,820,700 42,600,000                            76,078,170 319,116,000 118,111,180 136,991,600 46,899,700                              6.73%                 2,953.00                198.65                  10.75%            21.35                      1.50%                2.97
147,628,000        2,517,500        1,570,800 2,921,200 43,560,000                            77,769,470 342,146,000 118,887,050 152,750,300 48,052,000                              6.50%                 3,692.00                239.87                  10.47%            25.12                      1.46%                3.50
 69,160,000        2,703,700        1,683,000 3,142,300 44,420,000                            70,740,050 321,005,000 119,424,870   74,409,300 49,245,300                             7.76%                 4,074.00                316.03                  10.15%            32.08                      1.41%                4.46
 86,632,000        2,992,500        1,672,800 3,350,000 45,320,000                            76,297,790 312,893,000 119,055,340   91,888,900 50,342,800                             7.74%                 5,349.00                413.98                   9.89%            40.94                      1.38%                5.70
 75,348,000        2,318,000        1,672,800 3,463,900 45,740,000                            71,458,940 328,306,000 116,811,980   79,945,200 50,876,700                             7.86%                16,101.00              1,265.32                   9.77%           123.58                      1.36%               17.19
111,124,000        2,451,000        1,570,800 3,537,600 46,120,000                            77,045,320 315,287,000 115,861,280 115,750,600 51,228,400                              7.59%                34,195.00              2,594.53                   9.70%           251.70                      1.35%               35.02
 93,912,000        2,403,500        1,560,600 3,644,800 46,080,000                            87,403,530 342,027,000 115,602,040   98,091,500 51,285,400                             7.39%                72,890.00              5,383.27                   9.66%           519.80                      1.34%               72.33
 94,536,000        1,795,500        1,509,600 3,772,100 46,440,000                            79,218,400 314,649,000 115,347,580   98,033,500 51,721,700                             7.85%                16,347.00              1,283.05                   9.55%           122.58                      1.33%               17.06
137,176,000        3,021,000        1,519,800 3,899,400 46,860,000                            88,586,140 327,311,000 114,956,980 142,579,800 52,279,200                              7.20%                26,121.00              1,881.71                   9.43%           177.38                      1.31%               24.68
193,232,000        3,458,000        1,509,600 4,073,600 46,920,000                            91,240,410 337,575,000 114,671,540 198,347,600 52,503,200                              6.61%                25,215.00              1,666.63                   9.34%           155.69                      1.30%               21.66
168,272,000        4,731,000        1,479,000 4,214,300 47,040,000                           101,035,870 351,912,000 113,511,200 175,933,400 52,733,300                              6.63%                12,119.00                803.74                   9.27%            74.50                      1.29%               10.37
124,696,000        4,968,500        1,438,200 4,221,000 46,800,000                            93,293,220 343,700,000 112,313,300 132,121,300 52,459,200                              7.15%                11,320.00                809.17                   9.31%            75.34                      1.30%               10.48
 98,072,000        4,398,500        1,356,600 4,147,300 45,720,000                            84,667,530 370,104,000 109,498,820 104,927,300 51,223,900                              7.11%                11,989.00                852.45                   7.41%            63.18                      1.33%               11.31
113,880,000        3,743,000        1,183,200 4,020,000 44,540,000                            85,346,660 403,768,600 106,502,760 119,991,000 49,743,200                              6.50%                 5,488.00                356.69                   7.65%            27.30                      1.37%                4.89
113,620,000        4,066,000        1,091,400 3,792,200 43,020,000                            91,155,810 403,121,400 105,105,580 120,572,000 47,903,600                              6.24%                   959.00                 59.83                   7.98%             4.77                      1.43%                0.85
137,930,000        3,904,500        1,040,400 3,711,800 42,320,000                            95,529,250 410,532,200 103,581,820 144,764,900 47,072,200                              5.87%                   924.00                 54.27                   8.12%             4.41                      1.45%                0.79
145,730,000        3,876,000          989,400 3,671,600 41,540,000                            91,248,510 435,581,600 102,707,520 152,122,000 46,201,000                              5.58%                   651.00                 36.33                   8.27%             3.00                      1.48%                0.54
157,300,000        3,838,000          958,800 3,658,200 40,160,000                            86,145,180 451,001,600 102,447,980 163,920,400 44,777,000                              5.28%                   466.00                 24.60                   1.33%             0.33                      1.52%                0.37
173,160,000        4,180,000          928,200 3,644,800 38,440,000                            89,427,500 455,591,400 101,385,640 180,329,600 43,013,000                              4.95%                   120.00                  5.93                   1.37%             0.08                      1.58%                0.09
156,780,000        4,208,500          836,400 3,544,300 36,640,000                           103,260,500 435,883,800 100,514,180 163,682,100 41,020,700                              4.86%                   274.00                 13.31                   1.44%             0.19                      1.65%                0.22
154,700,000        3,648,000          795,600 3,524,200 34,020,000                           109,509,180 421,737,400 100,645,193 161,293,200 38,339,800                              4.61%                   177.00                  8.16                   1.52%             0.12                      1.75%                0.14
124,800,000        3,657,500          734,400 3,417,000 30,380,000                           106,310,540 430,241,800 101,732,060 131,225,100 34,531,400                              4.29%                   317.00                 13.61                   1.67%             0.23                      1.92%                0.26
128,830,000        4,379,500          765,000 3,423,700 29,720,000                           108,869,680 437,056,800 102,072,100 135,977,100 33,908,700                              4.15%                   120.00                  4.98                   1.70%             0.08                      1.95%                0.10



                                                                                                                                                                                                                                                     Pomona‐Ontario Area                         Capture Zone Area
                                                                                                                                                                                                                                            Total Sodium Nitrate                    Total Sodium Nitrate
                                                                 References                                                                                                                                                                        Applied                 2,001.39        Applied                         283.62
                                                                 ref#1      USDA NASS, 2011, California Historic Commodity Data. http://www.nass.usda.gov/Statistics_by_State/California/Historical_Data/index.asp
                                                                 ref#2      USDA, 2010 Fertilization Rate for California Fruits and Vegetables                                                                                              Leaching Rate                   20.00% Leaching Rate                           20.00%
                                                                 ref#3      California Department of Agriculture, 1960. Fertilizer Materials                                                                                                Perchlorate % in SN              0.20% Perchlorate % in SN                      0.20%
                                                                 ref#4      Brand, C.J., 1943. Fertilizers and Fertilizer Chemicals in Wartime. Chemical and Engineering News
                                                                                                                                                                                                                                            Total Perchlorate                       Total Perchlorate
                                                                 ref#5          http://quickstats.nass.usda.gov/data/printable/A31C5BCB‐B682‐3301‐8F57‐8D74ED115A                                                                           (Tons)                             0.80 (Tons)                                   0.11
                                                                 ref#6          Puri, Y.P., et al., 1977. Wheat and Barley Response to Nitrogen. California Agriculture
                                                                 ref#7          UCIMPM, UC Pest Management Guidelines for Nitrogen Budget on Dry Beans, http://www.ipm.ucdavis.edu/PMG/r52900411.htm
                                                                 ref#8          George, M. R., et al., 1982, Oat Hay and Silage Production. University of California Division of Agricultural Science. Leaflet 21265e
                                                                 ref#9          Hill, J. E., et al., Rice Production in California Part 4, http://www.plantsciences.ucdavis.edu/uccerice/PRODUCT/rpic04.htm
                                                                 ref#10         Mask, P. L., 1988. Production Guide for Grain Sorghum. http://www.aces.edu/pubs/docs/A/ANR‐0502/                                                            Table below assumes we can only justify a 50% Plant up take
                                                                 ref#11         Kalfka, S. R., et al., 2001. Reducing fertilizer in sugarbeets can protect water quality. California Agriculture.
                                                                                http://ucanr.org/repository/cao/landingpage.cfm?article=ca.v055n03p42&fulltext=yes
                                                                 ref#12         Richardson, W.F., and Meyer, R.D., 1990, Spring and Summer Nitrogen Applications to Vina Walnut                                                                     Pomona‐Ontario Area                       Capture Zone Area
                                                                                http://ucanr.org/repository/cao/landingpage.cfm?article=ca.v044n04p30&abstract=yes                                                                          Total Sodium Nitrate                 Total Sodium Nitrate
                                                                                                                                                                                                                                                   Applied              2,001.39        Applied                            283.62
                                                                 ref#13         Lopus, S.L., et al., 2010. Survey Examines the Adoption of Perceived Best Management Practices for Almond Production. California
                                                                                Agriculture. http://ucanr.org/repository/cao/landingpage.cfm?article=ca.v064n01p12&fulltext=yes                                                             Leaching Rate                   50.00% Leaching Rate                           50.00%
                                                                 ref#14         Bratsch, A., 2009. Specialty Crop Profile. Virginia Coopera ve Extension. publica on 438‐108Globe Ar choke                                                  Perchlorate % in SN              0.20% Perchlorate % in SN                      0.20%

                                                                                                                                                                                                                                            Total Perchlorate                       Total Perchlorate
                                                                                                                                                                                                                                            (Tons)                             2.00 (Tons)                                   0.28




11/14/2011                                                                                                                                                                                                    3 of 3                                                                                                                Table 3 and 4‐Perchlorate Calculation by Crop Application Rates
                                                                                                                                                                                                                                                                                                                                                                                                      80
                                                                                                                 Case 2:11-cv-00167-RGK-JEM Document 392-2 Filed 02/09/18 Page 79 of 159 Page ID
                                                                                                                                                       Table 4a
                                                                                                                                                    #:15830
                                                                                                                                                  State of California
                                                                                                                                                                           Acreage for Nitrogen Utilizing Crops ‐ Wartime Adjustments
                                                                                                                                                                                                  (1927‐1958)

                                                                                                                                                                            Vegetables
                        Artichokes     Asparagus        Bean SnapsBroccoli           Brussel Spro Cabbage        Carrots          Cauliflower Celery          Corn-SW      Cucumbers Cumbers-P            Garlic           Lettuce           Onions       Bell Peppers      Chili Peppers        Spinach      Tomatoes-F       Tomatoes-P              Barley            Beans-Dry        Cotton-A
Application Rate (lbs
of N/ac)                         120              123             70           161              100        155              160              197        260          140           129              129               89               176          180               179                 178           167              152              152                       80               80               77
Reference                  ref#14         ref#2           ref#2        ref#2            ref#6         ref#2         ref#2            ref#2         ref#2        ref#2         ref#2         ref#2             ref#2            ref#2           ref#2          ref#2              ref#2             ref#2         ref#2            ref#2                     ref#6            ref#7            ref#2



     Crop Acreage



     Year               Artichokes Asparagus Bean-s    Broccoli    Brussel Spro Cabbage    Carrots     Cauliflower Celery       Corn-Sw    Cucumbers Cumbers-P   Garlic        Lettuce-A     Onions-A Bell Peppers-B Chili Peppers-C Spinach    Tomatoes-F Tomatoes-P                                                                                  Barley            Beans-Dry     Cotton-A
     1927                      9,940     58,580  3,120                               6,350       4,340       11,080       8,950                 1,000      2,120       122,000        77,540      9,670          380                      1,900       46,300     28,760                                                                                       897,000          296,000        128,000
     1928                      7,950     60,180  5,130                               4,850       6,570       13,280       8,930                 1,600      2,760       135,000        73,420     10,030          410                      1,000       45,150     24,700                                                                                       969,000          307,000        218,000
     1929                      8,900     55,810  7,090                               4,600      12,580       15,300     10,470                  1,550      2,710       124,000        87,530     10,330        1,370           3,350      1,400       38,500     41,680                                                                                     1,066,000          339,000        309,000
     1930                      8,150     59,210  6,630                               4,050      13,230       17,140       9,900                 1,800      3,440       127,000       112,120      9,770        1,770           2,330      1,550       52,540     52,250                                                                                     1,141,000          363,000        270,000
     1931                      7,500     63,670  6,150                               4,400      14,670       15,340       9,770                 1,800      2,890        93,000       117,650      8,050        1,530           1,250      1,700       41,600     28,100                                                                                       913,000          334,000        192,000
     1932                      6,330     70,500  9,000                               5,500      13,680       16,890       7,470                 1,850        700        94,000       112,170     10,090        1,160           1,600      1,830       45,080     29,950                                                                                     1,369,000          225,000        123,000
     1933                      6,350     76,550  8,100                               5,600      14,480       16,950       9,730                 1,780      1,050        99,000        93,100      7,030        1,110           2,000      1,690       40,680     30,470                                                                                       999,000          275,000        208,000
     1934                      8,350     73,280  8,500                               6,800      17,800       17,040     12,140                  2,240      1,900       101,000       106,050      7,250        1,350           2,140      2,220       38,400     55,330                                                                                     1,105,000          299,000        223,000
     1935                      9,000     70,670 10,500                               6,900      17,750       14,860     12,400                  1,970      2,420       108,000        99,150      9,500        1,550           2,250      2,300       41,000     69,650                                                                                     1,249,000          339,000        218,000
     1936                      9,100     67,300 11,250                               7,100      21,150       15,500     15,200                  2,600      3,310       120,000       114,400     10,250        2,250           3,000      2,170       48,200     81,470                                                                                     1,087,000          347,000        368,000
     1937                     10,100     67,260 12,150                               8,200      19,120       16,350     14,850                  2,400      2,720       159,000       102,400      7,820        2,400           3,500      2,400       50,700     83,030                                                                                     1,087,000          386,000        620,000
     1938                      9,700     71,510 12,650                               7,700      21,150       14,350     13,970                  2,150      1,960       150,000        99,050      6,190        2,000           3,490      2,800       52,100     46,480                                                                                     1,152,000          349,000        341,000
     1939                     10,400     76,800  9,300       7,800                   7,700      20,600       14,400     14,100                  2,250      1,440       154,000       111,600      7,900        1,700           3,810      3,000       47,500     57,600                                                                                     1,291,000          340,000        327,000
     1940                     10,100     80,000  8,700       7,100                   8,100      21,900       15,800     13,000                  2,200      2,340       113,000        89,700      6,100        1,800           3,860      3,200       49,100     71,500                                                                                     1,226,000          391,000        348,000
     1941                      9,600     75,700  8,600       8,000                   9,100      21,500       14,300     13,300                  2,100      3,040       133,000        94,750      6,600        1,900           3,770      3,000       52,700     90,000                                                                                     1,042,000          389,000        351,000
     1942                      9,200     74,100  8,800       7,200                  11,000      22,300       12,400     13,100                  1,500      2,510       190,000        93,950     10,300        1,600           3,530      3,000       53,300   124,700                                                                                      1,511,000          383,000        355,000
     1943                      7,900     70,800  7,800       9,200                  20,600      33,700       12,600     13,300                  1,300      2,240       107,000        78,900      9,900        2,000           2,630      3,800       57,700   112,700                                                                                      1,299,000          439,000        289,000
     1944                      6,400     70,100  7,700      10,400                  19,000      31,100       14,800     12,800                  1,500      2,620       130,000       103,400     15,600        1,800           3,420      3,400       53,100   132,500                                                                                      1,429,000          323,000        301,000
     1945                      6,400     65,500  6,300      10,900                  17,100      30,600       15,900     15,400                  1,650      3,340       158,000       107,200     11,900        2,100           3,800      2,800       65,400   120,800                                                                                      1,486,000          307,000        317,000
     1946                      7,200     63,600  6,400      15,200                  10,900      28,400       19,800     17,100                  2,400      4,230       185,000       124,500     12,100        2,500           7,100      3,000       71,200   134,400                                                                                      1,486,000          283,000        358,000
     1947                      7,300     63,000  7,100      12,700                   9,600      24,200       16,500     14,400                  2,700      2,020       167,000       116,400      8,600        2,600           3,080      3,100       59,300   142,900                                                                                      1,545,000          323,000        534,000
     1948                      7,400     64,400  5,900      14,800                   9,600      28,300       16,800     15,200                  2,800      2,770       112,000       127,900      9,500        2,600           2,650      3,100       66,400     87,700                                                                                     1,622,000          368,000        804,000
     1949                      6,700     69,000  5,600      19,800       4,400       8,100      27,400       15,800     15,800      17,900      2,200      3,240       126,000       122,400     10,700        2,200           3,800      3,000       54,300     75,400                                                                                     1,590,000          358,000        925,000
     1950                      7,100     71,700  6,500      18,500       5,500       8,100      29,000       13,800     13,900      20,300      2,700      2,830       169,000       129,500     13,200        2,400           3,930      2,800       55,500     75,500                                                                                     1,765,000          311,000        581,000
     1951                     7,200         70,900          5,600       18,500             4,700        9,300         23,600           11,200       15,100       16,200          2,400           3,330         133,000          119,800          10,800            2,500                 3,760       2,800         57,600          148,300                  1,412,000          350,000         1,305,000
     1952                     7,800         69,400          4,900       24,300             4,100        9,700         26,600           12,900       15,700       19,500          2,700           3,570         119,000          128,600           9,800            2,400                 3,160       2,500         50,200          112,900                  1,497,000          295,000         1,386,000
     1953                     8,600         69,200          4,800       23,700             5,200        9,700         25,700           12,300       15,700       19,800          3,100           4,000         109,000          123,600          14,100            3,200                 3,560       2,500         51,900           83,000                  1,557,000          283,000         1,340,000
     1954                     9,000         72,400          5,700       19,700             5,400        9,100         25,700           11,000       15,800       22,300          3,100           3,100         146,000          124,700          10,600            3,900                 3,900       2,000         58,900           79,500                  1,915,000          318,000           883,000
     1955                     8,900         76,700          5,500       24,200             4,000        8,200         24,300           12,400       15,700       22,300          3,000           3,100         212,000          125,300           9,500            3,600                 2,800       1,900         70,500          116,300                  1,838,000          323,000           745,000
     1956                     9,400         76,200          4,900       26,700             5,600        8,400         24,400           12,600       17,800       18,100          3,000           3,600         204,000          128,500           9,900            3,800                 3,610       1,900         71,600          151,500                  1,801,000          276,000           749,000
     1957                     9,400         75,800          4,800       24,500             5,300        9,400         23,400           12,800       17,300       18,500          3,200           3,300         196,000          134,600          11,000            4,000                 4,030       1,800         72,300          128,700                  1,891,000          267,000           711,000
     1958                     9,400         76,300          4,200       25,200             4,300       10,700         22,500           13,000       16,700       22,200          3,100           2,900         218,000          112,300          12,500            4,600                 4,360       1,800         72,200          152,900                  1,740,000          298,000           732,000




11/14/2011                                                                                                                                                                                           1 of 3                                                                                                                                     Table 3 and 4‐Perchlorate Calculation by Crop Application Rates
                                                                                                                                                                                                                                                                                                                                                                                                                  81
                                                                                                                 Case 2:11-cv-00167-RGK-JEM Document 392-2 Filed 02/09/18 Page 80 of 159 Page ID
                                                                                                                                                       Table 4a
                                                                                                                                                    #:15831
                                                                                                                                                  State of California
                                                                                                                                                                     Acreage for Nitrogen Utilizing Crops ‐ Wartime Adjustments
                                                                                                                                                                                            (1927‐1958)

                                                                                                   Field Crops                                                                                                                                                                                                                                                      Fruits and Nuts
                        Corn-G            Corn-S           Hay-ALL         Oats           Potatoes Irish All Potatoes Sweet        Rice-ALL             Sorghum-g         Sorghum-s            Sugar Beets          Wheat All             Almonds         Apples          Apricots        Avocados        Strawberry-All Cherries        Dates           Figs                 Grapes-ALL
Application Rate (lbs
of N/ac)                            140              140              20             20                 228                 228                  100                 80                  80                  120                    78               80              84              34              63               225           75              38                  124                45
Reference                   ref#2            ref#2            ref#8          ref#8              ref#2             ref#2                 ref#9               ref#10            ref#10                ref#11                ref#2             ref#13           ref#2           ref#2           ref#2            ref#2         ref#2           ref#2               ref#2              ref#2



     Crop Acreage



     Year               Corn-G       Corn-S       Hay-ALL      Oats        Potatoes Irish All Potatoes Sweet    Rice-ALL         Sorghum-g        Sorghum-s                                  Sugar Beets       Wheat All                  Almonds    Apples      Apricots   Avocados     Strawberry-All Cherries    Dates                                Figs                 Grapes-ALL
     1927                     35,000       20,000    1,691,000      82,000             49,000            12,000          160,000           83,000                                                       59,000           770,000              66,970      52,400     83,000          900         4,550       10,800                                800              38,100            578,200
     1928                     33,000       20,000    1,706,000    106,000              53,000            11,000          132,000           80,000                                                       49,000           730,000              70,920      50,500     82,600        1,200         4,250       11,500                                820              41,800            577,300
     1929                     40,000       21,000    1,854,000      90,000             36,000             8,000           95,000           77,000                                                       46,000           680,000              72,210      48,400     82,000        1,800         4,100       12,000                                880              45,000            565,700
     1930                     43,000       19,000    1,992,000      99,000             38,000            10,000          110,000           85,000                                                       65,000           598,000              72,100      46,600     81,200        2,300         4,400       12,700                                940              46,000            546,700
     1931                     48,000       19,000    1,932,000      80,000             40,000            12,000          125,000           68,000                                                       89,000           558,000              71,660      45,300     81,000        3,000         4,450       13,300                              1,000              46,400            528,500
     1932                     55,000       19,000    1,984,000      92,000             36,000            13,000          110,000         114,000                                                      104,000            640,000              71,240      43,900     78,600        4,200         4,500       13,600                              1,200              46,300            517,800
     1933                     47,000       20,000    1,886,000    108,000              36,000            10,000          108,000         104,000                                                      108,000            772,000              71,010      42,000     77,600        5,600         4,700       13,900                              1,300              44,900            503,000
     1934                     39,000       20,000    1,716,000    116,000              46,000            10,000          108,000           84,000                                                     110,000            660,000              71,050      35,500     76,300        7,300         4,800       14,300                              1,400              43,400            495,500
     1935                     43,000       20,000    1,752,000    159,000              48,000            11,000          100,000         136,000                                                      116,000            878,000              71,130      34,900     74,900        8,600         4,850       14,400                              1,600              41,000            489,400
     1936                     43,000       20,000    1,706,000    143,000              49,000            12,000          138,000         114,000                                                      139,000            984,000              69,836      34,800     75,300       10,200         4,700       14,600                              1,900              39,600            486,500
     1937                     44,000       22,000    1,730,000    116,000              66,000            11,000          132,000         136,000                                                      132,000            935,000              70,980      35,100     73,800       11,200         4,650       14,900                              2,300              39,500            496,300
     1938                     44,000       22,000    1,794,000    128,000              68,000            13,000          125,000         136,000                                                      157,000            850,000              71,529      34,700     73,100       11,500         5,030       14,900                              2,600              39,000            501,400
     1939                     36,000       25,000    1,762,000    153,000              68,000            10,000          120,000           99,000                                                     167,000            675,000              73,238      33,800     70,500       11,900         5,200       14,700                              3,000              38,100            505,900
     1940                     38,000       25,000    1,873,000    161,000              70,000            12,000          118,000         135,000                                                      169,000            783,000              75,051      33,000     69,100       12,100         5,800       13,800                              3,200              37,200            504,500
     1941                     45,000       25,000    1,846,000    137,000              71,000            12,000          153,000         204,000                                                      126,000            752,000              77,186      31,800     67,800       12,300         6,100       13,100                              3,200              36,300            511,600
     1942                     41,000       25,000    1,858,000    178,000              69,000             9,000          207,000         158,000                                                      169,000            536,000              79,323      31,400     66,700       12,400         5,300       12,600                              3,400              35,600            511,900
     1943                     38,000       25,000    2,017,000    160,000              90,000            11,000          224,000         142,000                                                        72,000           456,000              81,981      30,300     66,000       12,800         1,900       12,500                              3,600              35,000            511,900
     1944                     36,000       25,000    2,040,000    168,000             103,000            13,000          240,000         121,000                                       4,000            68,000           547,000              84,961      30,100     64,900       13,100         1,200       12,400                              3,700              35,000            507,200
     1945                     29,000       25,000    2,120,000    165,000             119,000            10,000          235,000         102,000                                       4,000            93,000           563,000              88,398      29,500     62,900       13,400         1,100       12,200                              3,800              35,100            499,800
     1946                     32,000       25,000    1,989,000    190,000             121,000            12,000          261,000         145,000                                       4,000          122,000            619,000              91,920      28,700     59,400       13,600         1,900       12,000                              3,900              35,000            490,800
     1947                     27,000       25,000    1,992,000    180,000                                                256,000           70,000                                      4,000          156,000            669,000              93,780      27,400     54,700       12,800         3,200       11,200                              3,800              34,700            489,100
     1948                     30,000       25,000    1,740,000    185,000                                                256,000         116,000                                       4,000          172,000            602,000              94,749      26,500     49,800       11,900         4,000       10,500                              3,900              32,800            494,500
     1949                     31,000       26,000    1,850,000    166,000             106,700            11,000          305,000           71,000                                      6,000          134,000            626,000              95,377      25,800     46,600       11,300         4,400        9,900                              4,000              31,000            496,600
     1950                     42,000       32,000    1,913,000    196,000             120,800            13,000          238,000         114,000                                       6,000          209,000            651,000              90,496      24,300     44,400       12,000         5,700        9,400                              4,200              29,200            496,400
     1951                     30,000           32,000         1,765,000       163,000                87,900               10,000              324,000            65,000                6,000              139,600               573,000       90,694          23,900          43,500           12,600             6,900        9,500             4,300              26,600            480,800
     1952                     39,000           32,000         1,867,000       170,000                96,200               10,000              337,000            95,000                6,000              149,100               653,000       91,379          23,500          42,800           13,600             8,400        9,500             4,600              25,900            463,500
     1953                     37,000           32,000         1,898,000       175,000               130,200               11,000              425,000            99,000                6,000              167,300               594,000       92,206          22,300          41,400           15,000             9,400        9,500             4,800              25,400            454,100
     1954                    103,000           43,000         1,895,000       196,000                95,300               12,000              477,000           140,000                6,000              218,300               470,000       92,633          22,800          38,700           16,300            10,900        9,100             4,700              25,200            445,500
     1955                    167,000           73,000         1,973,000       176,000               115,600               13,000              329,000           169,000               10,000              162,700               423,000       89,391          22,500          38,100           18,000            14,000        9,300             4,600              24,300            423,800
     1956                    141,000           73,000         2,084,000       197,000               106,800               12,000              286,000           185,000                8,000              171,200               393,000       88,609          21,100          36,700           19,100            19,000        9,400             4,600              23,500            407,500
     1957                    229,000           80,000         1,945,000       223,000               114,100               12,000              226,000           229,000                8,000              195,500               288,000       88,212          21,000          36,100           19,800            20,700        9,400             4,700              21,600            399,000
     1958                    260,000           69,000         1,910,000       192,000               122,600               12,500              249,000           260,000               11,000              189,700               377,000       89,545          21,400          36,500           20,200            17,000        9,900             4,100              21,300            406,800




11/14/2011                                                                                                                                                                                       2 of 3                                                                                                                             Table 3 and 4‐Perchlorate Calculation by Crop Application Rates
                                                                                                                                                                                                                                                                                                                                                                                                      82
                                                                                                                Case 2:11-cv-00167-RGK-JEM Document 392-2 Filed 02/09/18 Page 81 of 159 Page ID
                                                                                                                                                      Table 4a
                                                                                                                                                   #:15832
                                                                                                                                                 State of California
                                                                                                                                                          Acreage for Nitrogen Utilizing Crops ‐ Wartime Adjustments
                                                                                                                                                                                 (1927‐1958)

                                                                                                                                                     Melons                                              Citrus
                        Nectarines Olives            Peaches      Pears            Plums-Dried       Plums-Fresh Walnuts            Watermelon Honeydew             Cantaloupe      Grapefruit         Lemon           Oranges
Application Rate (lbs
of N/ac)                           50           85          103              99                112              65            320              148            130              95                102              67              200
Reference                  ref#2        ref#2          ref#2         ref#2             ref#2            ref#2        ref#12            ref#2          ref#2            ref#2            ref#2            ref#2            ref#2



     Crop Acreage                                                                                                                                                                                                                                                      Totals
                                                                                                                                                                                                                                                                                                                            % Citrus
                                                                                                                                                                                                                                                                                                                           Acreage of
     Year               Nectarines Olives            Peaches      Pears            Plums-Dried       Plums-Fresh Walnuts            Watermelon Honeydew             Cantaloupe      Grapefruit         Lemon           Oranges          Veg Total       Field Crops Fruits         Melons Total     Citrus Total           Total Crops
     1927                       940      28,800         121,700           56,800        162,100            29,900       89,000            9,780                          45,720               5,500        41,600          180,800            392,030     4,282,000    1,324,960           55,500        227,900                   3.63%
     1928                     1,100      28,700         126,400           59,800        166,900            30,900       92,600           12,300       1,327,200          32,770               6,700        41,100          182,900            400,960     4,414,000    1,347,290        1,372,270        230,700                   2.97%
     1929                     1,400      28,500         123,200           64,800        172,300            31,600       97,600           15,950       1,375,200          37,190               8,600        40,900          185,900            427,170     4,661,000    1,351,490        1,428,340        235,400                   2.90%
     1930                     1,500      27,700         122,100           65,800        174,100            30,600      102,900           17,100       1,338,000          46,610              10,100        40,600          190,100            482,880     4,833,000    1,337,640        1,401,710        240,800                   2.90%
     1931                     1,700      27,700         120,200           65,900        173,900            30,000      107,700           19,050       1,588,000          46,590              10,800        40,700          192,500            419,070     4,410,000    1,321,710        1,653,640        244,000                   3.03%
     1932                     2,000      27,500         110,100           66,800        172,100            30,100      110,300           21,700       1,818,400          42,800              11,300        41,000          197,300            427,800     4,884,000    1,300,240        1,882,900        249,600                   2.85%
     1933                     2,200      27,100         101,200           65,600        168,200            28,900      113,900           13,600         952,800          29,320              12,100        40,800          200,800            415,670     4,681,000    1,271,110          995,720        253,700                   3.33%
     1934                     2,300      27,000          95,900           62,200        164,300            27,600      117,500           15,150         989,600          27,740              13,100        40,500          202,200            461,790     4,536,000    1,246,350        1,032,490        255,800                   3.40%
     1935                     2,400      27,300          89,500           57,500        159,300            26,400      121,100           15,400       1,058,000          26,780              13,700        41,100          207,300            479,870     5,069,000    1,224,280        1,100,180        262,100                   3.22%
     1936                     2,400      27,700          84,800           54,200        156,000            25,400      123,900           16,700       1,018,400          22,400              14,500        42,100          213,000            534,250     5,150,000    1,211,836        1,057,500        269,600                   3.28%
     1937                     2,400      27,700          82,800           53,600        155,000            25,700      125,900           17,600       1,135,600          26,500              15,400        43,600          217,800            564,400     5,417,000    1,221,830        1,179,700        276,800                   3.20%
     1938                     2,500      27,400          79,000           52,200        152,500            25,600      129,400           17,200         532,000          28,460              16,500        46,900          222,100            517,250     5,179,000    1,222,359          577,660        285,500                   3.67%
     1939                     2,600      27,300          79,900           50,300        148,800            24,700      129,900           15,300         666,400          31,500              16,400        50,000          226,600            551,900     5,073,000    1,219,838          713,200        293,000                   3.73%
     1940                     2,400      27,300          79,100           46,900        144,700            23,400      126,200           15,400         579,600          24,400              16,400        51,700          228,700            507,500     5,349,000    1,203,751          619,400        296,800                   3.72%
     1941                     2,600      27,500          79,200           45,600        140,400            23,000      124,300           14,700         854,800          25,800              15,400        52,800          230,600            550,960     5,153,000    1,201,986          895,300        298,800                   3.69%
     1942                     2,800      27,400          80,700           45,400        137,900            23,500      124,500           12,000         722,400          25,300              15,300        54,400          230,400            642,490     5,499,000    1,200,823          759,700        300,100                   3.57%
     1943                     2,800      27,400          81,900           45,200        137,100            23,700      125,800           11,500         727,200          18,900              14,800        56,300          232,200            554,070     5,262,000    1,199,881          757,600        303,300                   3.76%
     1944                     3,200      27,500          83,000           45,200        134,200            24,300      125,700           16,100       1,055,200          31,800              14,900        58,200          234,300            619,640     5,418,000    1,195,661        1,103,100        307,400                   3.56%
     1945                     3,200      27,600          82,900           44,900        130,900            24,000      126,900           11,200       1,486,400          36,400              14,800        60,800          234,600            645,090     5,575,000    1,186,598        1,534,000        310,200                   3.35%
     1946                     3,300      27,400          83,900           44,400        125,200            24,000      126,000           19,800       1,294,400          49,800              14,500        62,900          235,200            715,030     5,647,000    1,171,420        1,364,000        312,600                   3.39%
     1947                     3,200      27,700          81,500           43,300        118,600            24,100      126,300           16,600         959,200          52,300              14,100        63,000          234,000            662,500     5,781,000    1,155,380        1,028,100        311,100                   3.48%
     1948                     3,000      27,500          79,400           42,600        112,500            24,100      121,500           16,600         754,400          46,300              13,300        61,900          228,600            579,820     5,924,000    1,139,249          817,300        303,800                   3.47%
     1949                     2,900      27,600          78,500           41,200        107,400            23,900      115,800           16,000         876,000          39,400              11,600        60,000          222,700            593,740     6,205,700    1,122,277          931,400        294,300                   3.22%
     1950                     2,700      27,400          78,800           39,700        102,000            23,900      115,500           19,500         874,000          42,800              10,700        56,600          215,100            651,760     6,191,800    1,106,096          936,300        282,400                   3.08%
     1951                     2,400      27,800          78,500           39,700         99,400            23,500      114,200           19,800       1,061,000          41,100              10,200        55,400          211,600            666,590     6,262,500    1,084,294        1,121,900        277,200                   2.95%
     1952                     2,400      27,500          78,700           39,500         96,600            22,500      114,200           17,000       1,121,000          40,800               9,700        54,800          207,700            629,730     6,632,300    1,064,579        1,178,800        272,200                   2.78%
     1953                     2,600      27,400          79,300           38,900         94,600            21,900      115,000           18,800       1,210,000          40,400               9,400        54,600          200,800            592,660     6,754,500    1,053,806        1,269,200        264,800                   2.67%
     1954                     2,800      28,200          75,700           39,000         94,300            21,900      113,300           20,200       1,332,000          44,000               9,100        54,400          192,200            631,800     6,771,600    1,041,033        1,396,200        255,700                   2.53%
     1955                     3,000      28,700          75,600           38,800         89,500            21,100      114,200           18,200       1,206,000          44,300               8,200        52,900          183,200            750,200     6,517,300    1,014,891        1,268,500        244,300                   2.49%
     1956                     3,600      27,700          79,100           38,627         87,400            21,600      113,900           19,900       1,190,000          38,400               7,800        52,600          170,100            785,510     6,483,000    1,001,436        1,248,300        230,500                   2.36%
     1957                     4,700      27,900          78,900           38,700         84,900            22,300      118,700           18,700         960,000          38,500               7,200        51,000          151,900            760,130     6,418,600      996,612        1,017,200        210,100                   2.23%
     1958                     5,700      28,600          80,400           38,300         83,700            21,300      120,700           18,700         991,000          46,100               7,500        51,100          148,600            789,160     6,422,800    1,005,445        1,055,800        207,200                   2.19%




11/14/2011                                                                                                                                                                          3 of 3                                                                                                                  Table 3 and 4‐Perchlorate Calculation by Crop Application Rates
                                                                                                                                                                                                                                                                                                                                                                              83
                                                                                                                              Case 2:11-cv-00167-RGK-JEM Document 392-2
                                                                                                                                                                     Table 4b
                                                                                                                                                                                    Filed 02/09/18 Page 82 of 159 Page ID
                                                                                                                                                                #:15833
                                                                                                                                                                State of California
                                                                                                                                                                                         Nitrogen Requirements for California Crops ‐ Wartime Adjustments
                                                                                                                                                                                                                   (1927‐1958)

                                                                                                                                                                   Vegetables
                        Artichokes     Asparagus Bean SnapsBroccoli            Brussel Spro Cabbage       Carrots          Cauliflower Celery         Corn-Sw     Cucumbers Cumbers-P         Garlic           Lettuce           Onions         Bell Peppers      Chili Peppers      Spinach     Tomatoes-F       Tomatoes-P       Barley           Beans-Dry        Cotton-A         Corn-G           Corn-S           Hay-ALL         Oats
Application Rate (lbs
of N/ac)                        120           123           70           161              100       155              160              197       260         140          129            129               89               176            180               179                178         167              152              152               80               80               77              140              140              20             20
Reference                  ref#14         ref#2     ref#2        ref#2            ref#6         ref#2        ref#2            ref#2         ref#2       ref#2       ref#2       ref#2             ref#2            ref#2            ref#2           ref#2              ref#2           ref#2        ref#2            ref#2             ref#6            ref#7            ref#2           ref#2            ref#2            ref#8          ref#8

     Nitrogen Application (lbs)
                                                                                                                                                                   Vegetables




     Year               Artichokes     Asparagus Bean-s    Broccoli    Brussel Spro Cabbage     Carrots     Cauliflower Celery      Corn-Sw   Cucumbers Cumbers-P   Garlic        Lettuce-A     Onions-A    Bell Peppers-B Chili Peppers-C Spinach    Tomatoes-F Tomatoes-P                                                        Barley         Beans-Dry     Cotton-A       Corn-G       Corn-S       Hay-ALL     Oats
     1927                  1,192,800     7,205,340 218,400           0            0     984,250     694,400   2,182,760   2,327,000              129,000    273,480   10,858,000     13,647,040   1,740,600         68,020                0   317,300    7,037,600  4,371,520                                                          71,760,000    23,680,000      9,856,000    4,900,000    2,800,000   33,820,000 1,640,000
     1928                    954,000     7,402,140 359,100           0            0     751,750   1,051,200   2,616,160   2,321,800              206,400    356,040   12,015,000     12,921,920   1,805,400         73,390                0   167,000    6,862,800  3,754,400                                                          77,520,000    24,560,000     16,786,000    4,620,000    2,800,000   34,120,000 2,120,000
     1929                  1,068,000     6,864,630 496,300           0            0     713,000   2,012,800   3,014,100   2,722,200              199,950    349,590   11,036,000     15,405,280   1,859,400        245,230          596,300   233,800    5,852,000  6,335,360                                                          85,280,000    27,120,000     23,793,000    5,600,000    2,940,000   37,080,000 1,800,000
     1930                    978,000     7,282,830 464,100           0            0     627,750   2,116,800   3,376,580   2,574,000              232,200    443,760   11,303,000     19,733,120   1,758,600        316,830          414,740   258,850    7,986,080  7,942,000                                                          91,280,000    29,040,000     20,790,000    6,020,000    2,660,000   39,840,000 1,980,000
     1931                    900,000     7,831,410 430,500           0            0     682,000   2,347,200   3,021,980   2,540,200              232,200    372,810     8,277,000    20,706,400   1,449,000        273,870          222,500   283,900    6,323,200  4,271,200                                                          73,040,000    26,720,000     14,784,000    6,720,000    2,660,000   38,640,000 1,600,000
     1932                    759,600     8,671,500 630,000           0            0     852,500   2,188,800   3,327,330   1,942,200              238,650     90,300     8,366,000    19,741,920   1,816,200        207,640          284,800   305,610    6,852,160  4,552,400                                                         109,520,000    18,000,000      9,471,000    7,700,000    2,660,000   39,680,000 1,840,000
     1933                    762,000     9,415,650 567,000           0            0     868,000   2,316,800   3,339,150   2,529,800              229,620    135,450     8,811,000    16,385,600   1,265,400        198,690          356,000   282,230    6,183,360  4,631,440                                                          79,920,000    22,000,000     16,016,000    6,580,000    2,800,000   37,720,000 2,160,000
     1934                  1,002,000     9,013,440 595,000           0            0   1,054,000   2,848,000   3,356,880   3,156,400              288,960    245,100     8,989,000    18,664,800   1,305,000        241,650          380,920   370,740    5,836,800  8,410,160                                                          88,400,000    23,920,000     17,171,000    5,460,000    2,800,000   34,320,000 2,320,000
     1935                  1,080,000     8,692,410 735,000           0            0   1,069,500   2,840,000   2,927,420   3,224,000              254,130    312,180     9,612,000    17,450,400   1,710,000        277,450          400,500   384,100    6,232,000 10,586,800                                                          99,920,000    27,120,000     16,786,000    6,020,000    2,800,000   35,040,000 3,180,000
     1936                  1,092,000     8,277,900 787,500           0            0   1,100,500   3,384,000   3,053,500   3,952,000              335,400    426,990   10,680,000     20,134,400   1,845,000        402,750          534,000   362,390    7,326,400 12,383,440                                                          86,960,000    27,760,000     28,336,000    6,020,000    2,800,000   34,120,000 2,860,000
     1937                  1,212,000     8,272,980 850,500           0            0   1,271,000   3,059,200   3,220,950   3,861,000              309,600    350,880   14,151,000     18,022,400   1,407,600        429,600          623,000   400,800    7,706,400 12,620,560                                                          86,960,000    30,880,000     47,740,000    6,160,000    3,080,000   34,600,000 2,320,000
     1938                  1,164,000     8,795,730 885,500           0            0   1,193,500   3,384,000   2,826,950   3,632,200              277,350    252,840   13,350,000     17,432,800   1,114,200        358,000          621,220   467,600    7,919,200  7,064,960                                                          92,160,000    27,920,000     26,257,000    6,160,000    3,080,000   35,880,000 2,560,000
     1939                  1,248,000     9,446,400 651,000   1,255,800            0   1,193,500   3,296,000   2,836,800   3,666,000              290,250    185,760   13,706,000     19,641,600   1,422,000        304,300          678,180   501,000    7,220,000  8,755,200                                                         103,280,000    27,200,000     25,179,000    5,040,000    3,500,000   35,240,000 3,060,000
     1940                  1,212,000     9,840,000 609,000   1,143,100            0   1,255,500   3,504,000   3,112,600   3,380,000              283,800    301,860   10,057,000     15,787,200   1,098,000        322,200          687,080   534,400    7,463,200 10,868,000                                                          98,080,000    31,280,000     26,796,000    5,320,000    3,500,000   37,460,000 3,220,000
     1941                  1,152,000     9,311,100 602,000   1,288,000            0   1,410,500   3,440,000   2,817,100   3,458,000              270,900    392,160   11,837,000     16,676,000   1,188,000        340,100          671,060   501,000    8,010,400 13,680,000                                                          83,360,000    31,120,000     27,027,000    6,300,000    3,500,000   36,920,000 2,740,000
     1942                  1,104,000     9,114,300 616,000   1,159,200            0   1,705,000   3,568,000   2,442,800   3,406,000              193,500    323,790   16,910,000     16,535,200   1,854,000        286,400          628,340   501,000    8,101,600 18,954,400                                                         120,880,000    30,640,000     27,335,000    5,740,000    3,500,000   37,160,000 3,560,000
     1943                    948,000     8,708,400 546,000   1,481,200            0   3,193,000   5,392,000   2,482,200   3,458,000              167,700    288,960     9,523,000    13,886,400   1,782,000        358,000          468,140   634,600    8,770,400 17,130,400                                                         103,920,000    35,120,000     22,253,000    5,320,000    3,500,000   40,340,000 3,200,000
     1944                    768,000     8,622,300 539,000   1,674,400            0   2,945,000   4,976,000   2,915,600   3,328,000              193,500    337,980   11,570,000     18,198,400   2,808,000        322,200          608,760   567,800    8,071,200 20,140,000                                                         114,320,000    25,840,000     23,177,000    5,040,000    3,500,000   40,800,000 3,360,000
     1945                    768,000     8,056,500 441,000   1,754,900            0   2,650,500   4,896,000   3,132,300   4,004,000              212,850    430,860   14,062,000     18,867,200   2,142,000        375,900          676,400   467,600    9,940,800 18,361,600                                                         118,880,000    24,560,000     24,409,000    4,060,000    3,500,000   42,400,000 3,300,000
     1946                    864,000     7,822,800 448,000   2,447,200            0   1,689,500   4,544,000   3,900,600   4,446,000              309,600    545,670   16,465,000     21,912,000   2,178,000        447,500        1,263,800   501,000   10,822,400 20,428,800                                                         118,880,000    22,640,000     27,566,000    4,480,000    3,500,000   39,780,000 3,800,000
     1947                    876,000     7,749,000 497,000   2,044,700            0   1,488,000   3,872,000   3,250,500   3,744,000              348,300    260,580   14,863,000     20,486,400   1,548,000        465,400          548,240   517,700    9,013,600 21,720,800                                                         123,600,000    25,840,000     41,118,000    3,780,000    3,500,000   39,840,000 3,600,000
     1948                    888,000     7,921,200 413,000   2,382,800            0   1,488,000   4,528,000   3,309,600   3,952,000              361,200    357,330     9,968,000    22,510,400   1,710,000        465,400          471,700   517,700   10,092,800 13,330,400                                                         129,760,000    29,440,000     61,908,000    4,200,000    3,500,000   34,800,000 3,700,000
     1949                    804,000     8,487,000 392,000   3,187,800     440,000    1,255,500   4,384,000   3,112,600   4,108,000 2,506,000    283,800    417,960   11,214,000     21,542,400   1,926,000        393,800          676,400   501,000    8,253,600 11,460,800                                                         127,200,000    28,640,000     71,225,000    4,340,000    3,640,000   37,000,000 3,320,000
     1950                    852,000     8,819,100 455,000   2,978,500     550,000    1,255,500   4,640,000   2,718,600   3,614,000 2,842,000    348,300    365,070   15,041,000     22,792,000   2,376,000        429,600          699,540   467,600    8,436,000 11,476,000                                                         141,200,000    24,880,000     44,737,000    5,880,000    4,480,000   38,260,000 3,920,000
     1951                    864,000     8,720,700 392,000   2,978,500     470,000    1,441,500   3,776,000   2,206,400   3,926,000 2,268,000    309,600    429,570   11,837,000     21,084,800   1,944,000        447,500          669,280   467,600    8,755,200 22,541,600                                                         112,960,000    28,000,000    100,485,000    4,200,000    4,480,000   35,300,000 3,260,000
     1952                    936,000     8,536,200 343,000   3,912,300     410,000    1,503,500   4,256,000   2,541,300   4,082,000 2,730,000    348,300    460,530   10,591,000     22,633,600   1,764,000        429,600          562,480   417,500    7,630,400 17,160,800                                                         119,760,000    23,600,000    106,722,000    5,460,000    4,480,000   37,340,000 3,400,000
     1953                  1,032,000     8,511,600 336,000   3,815,700     520,000    1,503,500   4,112,000   2,423,100   4,082,000 2,772,000    399,900    516,000     9,701,000    21,753,600   2,538,000        572,800          633,680   417,500    7,888,800 12,616,000                                                         124,560,000    22,640,000    103,180,000    5,180,000    4,480,000   37,960,000 3,500,000
     1954                  1,080,000     8,905,200 399,000   3,171,700     540,000    1,410,500   4,112,000   2,167,000   4,108,000 3,122,000    399,900    399,900   12,994,000     21,947,200   1,908,000        698,100          694,200   334,000    8,952,800 12,084,000                                                         153,200,000    25,440,000     67,991,000   14,420,000    6,020,000   37,900,000 3,920,000
     1955                  1,068,000     9,434,100 385,000   3,896,200     400,000    1,271,000   3,888,000   2,442,800   4,082,000 3,122,000    387,000    399,900   18,868,000     22,052,800   1,710,000        644,400          498,400   317,300   10,716,000 17,677,600                                                         147,040,000    25,840,000     57,365,000   23,380,000   10,220,000   39,460,000 3,520,000
     1956                  1,128,000     9,372,600 343,000   4,298,700     560,000    1,302,000   3,904,000   2,482,200   4,628,000 2,534,000    387,000    464,400   18,156,000     22,616,000   1,782,000        680,200          642,580   317,300   10,883,200 23,028,000                                                         144,080,000    22,080,000     57,673,000   19,740,000   10,220,000   41,680,000 3,940,000
     1957                  1,128,000     9,323,400 336,000   3,944,500     530,000    1,457,000   3,744,000   2,521,600   4,498,000 2,590,000    412,800    425,700   17,444,000     23,689,600   1,980,000        716,000          717,340   300,600   10,989,600 19,562,400                                                         151,280,000    21,360,000     54,747,000   32,060,000   11,200,000   38,900,000 4,460,000
     1958                  1,128,000     9,384,900 294,000   4,057,200     430,000    1,658,500   3,600,000   2,561,000   4,342,000 3,108,000    399,900    374,100   19,402,000     19,764,800   2,250,000        823,400          776,080   300,600   10,974,400 23,240,800                                                         139,200,000    23,840,000     56,364,000   36,400,000    9,660,000   38,200,000 3,840,000




                                                                                                                                                                                                                                                                                                                                                                                                                                                       84
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                                                                                                                                                            Table 4b
                                                                                                                                                                           Filed 02/09/18 Page 83 of 159 Page ID
                                                                                                                                                       #:15834
                                                                                                                                                       State of California
                                                                                                                                                                        Nitrogen Requirements for California Crops ‐ Wartime Adjustments
                                                                                                                                                                                                  (1927‐1958)

                                  Field Crops                                                                                                                                                                                                                                              Fruits and Nuts
                        Potatoes Irish All   Potatoes Sweet      Rice-ALL           Sorghum-g          Sorghum-s          Sugar Beets         Wheat All          Almonds         Apples          Apricots        Avocados        Strawberry-All Cherries        Dates           Figs                 Grapes-ALL        Nectarines Olives            Peaches       Pears           Plums-Dried       Plums-Fresh Walnuts
Application Rate (lbs
of N/ac)                               228                 228                100                 80                 80                 120                 78              80              84              34              63               225           75              38                  124                45              50           85           103              99               112              65            320
Reference                      ref#2               ref#2              ref#9              ref#10             ref#10             ref#11               ref#2          ref#13           ref#2           ref#2           ref#2            ref#2         ref#2           ref#2               ref#2              ref#2           ref#2        ref#2           ref#2         ref#2            ref#2            ref#2        ref#12

     Nitrogen Applic
                                  Field Crops                                                                                                                                                                                                                                              Fruits and Nuts




     Year               Potatoes Irish All Potatoes Sweet    Rice-ALL          Sorghum-g        Sorghum-s        Sugar Beets       Wheat All                     Almonds     Apples     Apricots   Avocados     Strawberry-All Cherries    Dates         Figs                                        Grapes-ALL      Nectarines Olives       Peaches     Pears       Plums-Dried Plums-Fresh Walnuts
     1927                      11,172,000          2,736,000        16,000,000        6,640,000                0         7,080,000        60,060,000               5,357,600   4,401,600 2,822,000       56,700      1,023,750     810,000        30,400                                4,724,400         26,019,000      47,000   2,448,000 12,535,100    5,623,200    18,155,200   1,943,500 28,480,000
     1928                      12,084,000          2,508,000        13,200,000        6,400,000                0         5,880,000        56,940,000               5,673,600   4,242,000 2,808,400       75,600        956,250     862,500        31,160                                5,183,200         25,978,500      55,000   2,439,500 13,019,200    5,920,200    18,692,800   2,008,500 29,632,000
     1929                        8,208,000         1,824,000         9,500,000        6,160,000                0         5,520,000        53,040,000               5,776,800   4,065,600 2,788,000      113,400        922,500     900,000        33,440                                5,580,000         25,456,500      70,000   2,422,500 12,689,600    6,415,200    19,297,600   2,054,000 31,232,000
     1930                        8,664,000         2,280,000        11,000,000        6,800,000                0         7,800,000        46,644,000               5,768,000   3,914,400 2,760,800      144,900        990,000     952,500        35,720                                5,704,000         24,601,500      75,000   2,354,500 12,576,300    6,514,200    19,499,200   1,989,000 32,928,000
     1931                        9,120,000         2,736,000        12,500,000        5,440,000                0        10,680,000        43,524,000               5,732,800   3,805,200 2,754,000      189,000      1,001,250     997,500        38,000                                5,753,600         23,782,500      85,000   2,354,500 12,380,600    6,524,100    19,476,800   1,950,000 34,464,000
     1932                        8,208,000         2,964,000        11,000,000        9,120,000                0        12,480,000        49,920,000               5,699,200   3,687,600 2,672,400      264,600      1,012,500   1,020,000        45,600                                5,741,200         23,301,000     100,000   2,337,500 11,340,300    6,613,200    19,275,200   1,956,500 35,296,000
     1933                        8,208,000         2,280,000        10,800,000        8,320,000                0        12,960,000        60,216,000               5,680,800   3,528,000 2,638,400      352,800      1,057,500   1,042,500        49,400                                5,567,600         22,635,000     110,000   2,303,500 10,423,600    6,494,400    18,838,400   1,878,500 36,448,000
     1934                      10,488,000          2,280,000        10,800,000        6,720,000                0        13,200,000        51,480,000               5,684,000   2,982,000 2,594,200      459,900      1,080,000   1,072,500        53,200                                5,381,600         22,297,500     115,000   2,295,000   9,877,700   6,157,800    18,401,600   1,794,000 37,600,000
     1935                      10,944,000          2,508,000        10,000,000       10,880,000                0        13,920,000        68,484,000               5,690,400   2,931,600 2,546,600      541,800      1,091,250   1,080,000        60,800                                5,084,000         22,023,000     120,000   2,320,500   9,218,500   5,692,500    17,841,600   1,716,000 38,752,000
     1936                      11,172,000          2,736,000        13,800,000        9,120,000                0        16,680,000        76,752,000               5,586,880   2,923,200 2,560,200      642,600      1,057,500   1,095,000        72,200                                4,910,400         21,892,500     120,000   2,354,500   8,734,400   5,365,800    17,472,000   1,651,000 39,648,000
     1937                      15,048,000          2,508,000        13,200,000       10,880,000                0        15,840,000        72,930,000               5,678,400   2,948,400 2,509,200      705,600      1,046,250   1,117,500        87,400                                4,898,000         22,333,500     120,000   2,354,500   8,528,400   5,306,400    17,360,000   1,670,500 40,288,000
     1938                      15,504,000          2,964,000        12,500,000       10,880,000                0        18,840,000        66,300,000               5,722,320   2,914,800 2,485,400      724,500      1,131,750   1,117,500        98,800                                4,836,000         22,563,000     125,000   2,329,000   8,137,000   5,167,800    17,080,000   1,664,000 41,408,000
     1939                      15,504,000          2,280,000        12,000,000        7,920,000                0        20,040,000        52,650,000               5,859,040   2,839,200 2,397,000      749,700      1,170,000   1,102,500       114,000                                4,724,400         22,765,500     130,000   2,320,500   8,229,700   4,979,700    16,665,600   1,605,500 41,568,000
     1940                      15,960,000          2,736,000        11,800,000       10,800,000                0        20,280,000        61,074,000               6,004,080   2,772,000 2,349,400      762,300      1,305,000   1,035,000       121,600                                4,612,800         22,702,500     120,000   2,320,500   8,147,300   4,643,100    16,206,400   1,521,000 40,384,000
     1941                      16,188,000          2,736,000        15,300,000       16,320,000                0        15,120,000        58,656,000               6,174,880   2,671,200 2,305,200      774,900      1,372,500     982,500       121,600                                4,501,200         23,022,000     130,000   2,337,500   8,157,600   4,514,400    15,724,800   1,495,000 39,776,000
     1942                      15,732,000          2,052,000        20,700,000       12,640,000                0        20,280,000        41,808,000               6,345,840   2,637,600 2,267,800      781,200      1,192,500     945,000       129,200                                4,414,400         23,035,500     140,000   2,329,000   8,312,100   4,494,600    15,444,800   1,527,500 39,840,000
     1943                      20,520,000          2,508,000        22,400,000       11,360,000                0         8,640,000        35,568,000               6,558,480   2,545,200 2,244,000      806,400        427,500     937,500       136,800                                4,340,000         23,035,500     140,000   2,329,000   8,435,700   4,474,800    15,355,200   1,540,500 40,256,000
     1944                      23,484,000          2,964,000        24,000,000        9,680,000          320,000         8,160,000        42,666,000               6,796,880   2,528,400 2,206,600      825,300        270,000     930,000       140,600                                4,340,000         22,824,000     160,000   2,337,500   8,549,000   4,474,800    15,030,400   1,579,500 40,224,000
     1945                      27,132,000          2,280,000        23,500,000        8,160,000          320,000        11,160,000        43,914,000               7,071,840   2,478,000 2,138,600      844,200        247,500     915,000       144,400                                4,352,400         22,491,000     160,000   2,346,000   8,538,700   4,445,100    14,660,800   1,560,000 40,608,000
     1946                      27,588,000          2,736,000        26,100,000       11,600,000          320,000        14,640,000        48,282,000               7,353,600   2,410,800 2,019,600      856,800        427,500     900,000       148,200                                4,340,000         22,086,000     165,000   2,329,000   8,641,700   4,395,600    14,022,400   1,560,000 40,320,000
     1947                                 0                0        25,600,000        5,600,000          320,000        18,720,000        52,182,000               7,502,400   2,301,600 1,859,800      806,400        720,000     840,000       144,400                                4,302,800         22,009,500     160,000   2,354,500   8,394,500   4,286,700    13,283,200   1,566,500 40,416,000
     1948                                 0                0        25,600,000        9,280,000          320,000        20,640,000        46,956,000               7,579,920   2,226,000 1,693,200      749,700        900,000     787,500       148,200                                4,067,200         22,252,500     150,000   2,337,500   8,178,200   4,217,400    12,600,000   1,566,500 38,880,000
     1949                      24,327,600          2,508,000        30,500,000        5,680,000          480,000        16,080,000        48,828,000               7,630,160   2,167,200 1,584,400      711,900        990,000     742,500       152,000                                3,844,000         22,347,000     145,000   2,346,000   8,085,500   4,078,800    12,028,800   1,553,500 37,056,000
     1950                      27,542,400          2,964,000        23,800,000        9,120,000          480,000        25,080,000        50,778,000               7,239,680   2,041,200 1,509,600      756,000      1,282,500     705,000       159,600                                3,620,800         22,338,000     135,000   2,329,000   8,116,400   3,930,300    11,424,000   1,553,500 36,960,000
     1951                      20,041,200          2,280,000        32,400,000        5,200,000          480,000        16,752,000        44,694,000               7,255,520   2,007,600 1,479,000      793,800      1,552,500     712,500       163,400                                3,298,400         21,636,000     120,000   2,363,000   8,085,500   3,930,300    11,132,800   1,527,500 36,544,000
     1952                      21,933,600          2,280,000        33,700,000        7,600,000          480,000        17,892,000        50,934,000               7,310,320   1,974,000 1,455,200      856,800      1,890,000     712,500       174,800                                3,211,600         20,857,500     120,000   2,337,500   8,106,100   3,910,500    10,819,200   1,462,500 36,544,000
     1953                      29,685,600          2,508,000        42,500,000        7,920,000          480,000        20,076,000        46,332,000               7,376,480   1,873,200 1,407,600      945,000      2,115,000     712,500       182,400                                3,149,600         20,434,500     130,000   2,329,000   8,167,900   3,851,100    10,595,200   1,423,500 36,800,000
     1954                      21,728,400          2,736,000        47,700,000       11,200,000          480,000        26,196,000        36,660,000               7,410,640   1,915,200 1,315,800    1,026,900      2,452,500     682,500       178,600                                3,124,800         20,047,500     140,000   2,397,000   7,797,100   3,861,000    10,561,600   1,423,500 36,256,000
     1955                      26,356,800          2,964,000        32,900,000       13,520,000          800,000        19,524,000        32,994,000               7,151,280   1,890,000 1,295,400    1,134,000      3,150,000     697,500       174,800                                3,013,200         19,071,000     150,000   2,439,500   7,786,800   3,841,200    10,024,000   1,371,500 36,544,000
     1956                      24,350,400          2,736,000        28,600,000       14,800,000          640,000        20,544,000        30,654,000               7,088,720   1,772,400 1,247,800    1,203,300      4,275,000     705,000       174,800                                2,914,000         18,337,500     180,000   2,354,500   8,147,300   3,824,073     9,788,800   1,404,000 36,448,000
     1957                      26,014,800          2,736,000        22,600,000       18,320,000          640,000        23,460,000        22,464,000               7,056,960   1,764,000 1,227,400    1,247,400      4,657,500     705,000       178,600                                2,678,400         17,955,000     235,000   2,371,500   8,126,700   3,831,300     9,508,800   1,449,500 37,984,000
     1958                      27,952,800          2,850,000        24,900,000       20,800,000          880,000        22,764,000        29,406,000               7,163,600   1,797,600 1,241,000    1,272,600      3,825,000     742,500       155,800                                2,641,200         18,306,000     285,000   2,431,000   8,281,200   3,791,700     9,374,400   1,384,500 38,624,000




                                                                                                                                                                                                                                                                                                                                                                                                                                   85
                                                                                                                                  Case 2:11-cv-00167-RGK-JEM Document 392-2
                                                                                                                                                                         Table 4b
                                                                                                                                                                                        Filed 02/09/18 Page 84 of 159 Page ID
                                                                                                                                                                    #:15835
                                                                                                                                                                    State of California
                                                                                                                                                                                                  Nitrogen Requirements for California Crops ‐ Wartime Adjustments
                                                                                                                                                                                                                            (1927‐1958)

                                           Melons                                               Citrus
                        Watermelon       Honeydew          Cantaloupe      Grapefruit         Lemon           Oranges
Application Rate (lbs
of N/ac)                           148               130              95                102              67               200
Reference                  ref#2             ref#2            ref#2            ref#2            ref#2             ref#2

     Nitrogen Applic                                                                                                                                                                                                                                                                                         Using Pomona Area Citrus Acreage              Using Wheatcraft's Capture Zone Acreage
                                           Melons                                               Citrus                                                                           Totals

                                                                                                                                                                                                                                                                                                          Citrus Bearing Acres
                                                                                                                                                                                                                                    % Nitrogen for                                    Sodium Nitrate                                                     Citrus Bearing Acres in
                                                                                                                                                                                                                                                          Sodium Nitrate                                  in Pomona Area % of Tons of Sodium                                        Tons of Sodium
                                                                                                                                                                                                                                    Citrus of Total                                Imports (Tons) applied                                                Pomona Area % of Total
                                                                                                                                                                                                                                                          Imports (Tons)                                  Total California Citrus Nitrate applied                                   Nitrate applied
                                                                                                                                                                                                                                     Nitrogen for                                        to Citrus                                                       California Citrus Acres
                                                                                                                                                                                                                                                                                                                  Acres
     Year               Watermelon       Honeydew          Cantaloupe      Grapefruit         Lemon           Oranges                         Veg Total        Field Crops Fruits          Melons Total      Citrus Total               Crops
     1927                  1,447,440                 0       4,343,400           561,000       2,787,200        36,160,000                        53,247,510   252,144,000   114,477,450         5,790,840      39,508,200                    8.49%                     3,751.00                  318.58                   12.71%               40.51                      1.77%                 5.64
     1928                  1,820,400       172,536,000       3,113,150           683,400       2,753,700        36,580,000                        53,618,500   259,538,000   117,578,410       177,469,550      40,017,100                    6.17%                     6,093.00                  376.14                   12.57%               47.27                      1.75%                 6.58
     1929                  2,360,600       178,776,000       3,533,050           877,200       2,740,300        37,180,000                        59,003,940   267,865,000   119,817,140       184,669,650      40,797,500                    6.07%                     4,812.00                  292.07                   12.31%               35.95                      1.71%                 5.00
     1930                  2,530,800       173,940,000       4,427,950         1,030,200       2,720,200        38,020,000                        67,809,240   274,798,000   120,808,020       180,898,750      41,770,400                    6.09%                     4,929.00                  300.09                   12.03%               36.11                      1.67%                 5.02
     1931                  2,819,400       206,440,000       4,426,050         1,101,600       2,726,900        38,500,000                        60,165,370   248,164,000   121,288,850       213,685,450      42,328,500                    6.17%                     3,690.00                  227.81                   11.88%               27.05                      1.65%                 3.76
     1932                  3,211,600       236,392,000       4,066,000         1,152,600       2,747,000        39,460,000                        60,827,610   282,563,000   120,362,800       243,669,600      43,359,600                    5.78%                     3,524.00                  203.52                   11.60%               23.62                      1.61%                 3.29
     1933                  2,012,800       123,864,000       2,785,400         1,234,200       2,733,600        40,160,000                        58,277,190   269,980,000   119,048,400       128,662,200      44,127,800                    7.12%                     2,497.00                  177.69                   11.42%               20.30                      1.59%                 2.82
     1934                  2,242,200       128,648,000       2,635,300         1,336,200       2,713,500        40,440,000                        65,758,850   269,359,000   117,846,000       133,525,500      44,489,700                    7.05%                     2,714.00                  191.36                   11.33%               21.68                      1.58%                 3.02
     1935                  2,279,200       137,540,000       2,544,100         1,397,400       2,753,700        41,460,000                        67,787,890   307,602,000   116,710,550       142,363,300      45,611,100                    6.71%                     3,495.00                  234.40                   11.06%               25.91                      1.54%                 3.61
     1936                  2,471,600       132,392,000       2,128,000         1,479,000       2,820,700        42,600,000                        76,078,170   319,116,000   116,086,180       136,991,600      46,899,700                    6.75%                     2,953.00                  199.22                   10.75%               21.41                      1.50%                 2.98
     1937                  2,604,800       147,628,000       2,517,500         1,570,800       2,921,200        43,560,000                        77,769,470   342,146,000   116,952,050       152,750,300      48,052,000                    6.51%                     3,692.00                  240.50                   10.47%               25.19                      1.46%                 3.50
     1938                  2,545,600        69,160,000       2,703,700         1,683,000       3,142,300        44,420,000                        70,740,050   321,005,000   117,504,870        74,409,300      49,245,300                    7.78%                     4,074.00                  316.99                   10.15%               32.17                      1.41%                 4.48
     1939                  2,264,400        86,632,000       2,992,500         1,672,800       3,350,000        45,320,000                        76,297,790   312,893,000   117,220,340        91,888,900      50,342,800                    7.76%                     5,349.00                  415.15                    9.89%               41.06                      1.38%                 5.71
     1940                  2,279,200        75,348,000       2,318,000         1,672,800       3,463,900        45,740,000                        71,458,940   328,306,000   115,006,980        79,945,200      50,876,700                    7.88%                     6,093.00                  480.17                    9.77%               46.89                      1.36%                 6.52
     1941                  2,175,600       111,124,000       2,451,000         1,570,800       3,537,600        46,120,000                        77,045,320   315,287,000   114,061,280       115,750,600      51,228,400                    7.61%                     6,093.00                  463.54                    9.70%               44.97                      1.35%                 6.26
     1942                  1,776,000        93,912,000       2,403,500         1,560,600       3,644,800        46,080,000                        87,403,530   342,027,000   113,837,040        98,091,500      51,285,400                    7.40%                     6,093.00                  451.14                    9.66%               43.56                      1.34%                 6.06
     1943                  1,702,000        94,536,000       1,795,500         1,509,600       3,772,100        46,440,000                        79,218,400   314,649,000   113,562,580        98,033,500      51,721,700                    7.87%                     6,093.00                  479.53                    9.55%               45.81                      1.33%                 6.37
     1944                  2,382,800       137,176,000       3,021,000         1,519,800       3,899,400        46,860,000                        88,586,140   327,311,000   113,216,980       142,579,800      52,279,200                    7.22%                     6,093.00                  439.98                    9.43%               41.48                      1.31%                 5.77
     1945                  1,657,600       193,232,000       3,458,000         1,509,600       4,073,600        46,920,000                        91,240,410   337,575,000   113,001,540       198,347,600      52,503,200                    6.62%                     6,093.00                  403.58                    9.34%               37.70                      1.30%                 5.25
     1946                  2,930,400       168,272,000       4,731,000         1,479,000       4,214,300        47,040,000                       101,035,870   351,912,000   111,976,200       175,933,400      52,733,300                    6.64%                     6,093.00                  404.87                    9.27%               37.53                      1.29%                 5.22
     1947                  2,456,800       124,696,000       4,968,500         1,438,200       4,221,000        46,800,000                        93,293,220   343,700,000   110,948,300       132,121,300      52,459,200                    7.16%                     6,093.00                  436.35                    9.31%               40.63                      1.30%                 5.65
     1948                  2,456,800        98,072,000       4,398,500         1,356,600       4,147,300        45,720,000                        84,667,530   370,104,000   108,333,820       104,927,300      51,223,900                    7.12%                     6,093.00                  433.93                    7.41%               32.16                      1.33%                 5.76
     1949                  2,368,000       113,880,000       3,743,000         1,183,200       4,020,000        44,540,000                        85,346,660   403,768,600   105,462,760       119,991,000      49,743,200                    6.51%                     5,488.00                  357.17                    7.65%               27.33                      1.37%                 4.89
     1950                  2,886,000       113,620,000       4,066,000         1,091,400       3,792,200        43,020,000                        91,155,810   403,121,400   104,100,580       120,572,000      47,903,600                    6.25%                       959.00                   59.91                    7.98%                4.78                      1.43%                 0.86
     1951                  2,930,400       137,930,000       3,904,500         1,040,400       3,711,800        42,320,000                        95,529,250   410,532,200   102,601,820       144,764,900      47,072,200                    5.88%                       924.00                   54.33                    8.12%                4.41                      1.45%                 0.79
     1952                  2,516,000       145,730,000       3,876,000           989,400       3,671,600        41,540,000                        91,248,510   435,581,600   101,742,520       152,122,000      46,201,000                    5.59%                       651.00                   36.37                    8.27%                3.01                      1.48%                 0.54
     1953                  2,782,400       157,300,000       3,838,000           958,800       3,658,200        40,160,000                        86,145,180   451,001,600   101,492,980       163,920,400      44,777,000                    5.28%                       466.00                   24.63                    1.33%                0.33                      1.52%                 0.38
     1954                  2,989,600       173,160,000       4,180,000           928,200       3,644,800        38,440,000                        89,427,500   455,591,400   100,590,640       180,329,600      43,013,000                    4.95%                       120.00                    5.94                    1.37%                0.08                      1.58%                 0.09
     1955                  2,693,600       156,780,000       4,208,500           836,400       3,544,300        36,640,000                       103,260,500   435,883,800    99,734,180       163,682,100      41,020,700                    4.86%                       274.00                   13.32                    1.44%                0.19                      1.65%                 0.22
     1956                  2,945,200       154,700,000       3,648,000           795,600       3,524,200        34,020,000                       109,509,180   421,737,400    99,865,193       161,293,200      38,339,800                    4.62%                       177.00                    8.17                    1.52%                0.12                      1.75%                 0.14
     1957                  2,767,600       124,800,000       3,657,500           734,400       3,417,000        30,380,000                       106,310,540   430,241,800   100,977,060       131,225,100      34,531,400                    4.30%                       317.00                   13.63                    1.67%                0.23                      1.92%                 0.26
     1958                  2,767,600       128,830,000       4,379,500           765,000       3,423,700        29,720,000                       108,869,680   437,056,800   101,317,100       135,977,100      33,908,700                    4.15%                       120.00                    4.98                    1.70%                0.08                      1.95%                 0.10



                                                                                                                                                                                                                                                                                                                         Pomona Area                                  Capture Zone Area
                                                                                                                                                                                                                                                                                                            Total Sodium Nitrate                          Total Sodium Nitrate
                                                                                                              References                                                                                                                                                                                           Applied                     809.53            Applied                       116.55
                                                                                                              ref#1             USDA NASS, 2011, California Historic Commodity Data. http://www.nass.usda.gov/Statistics_by_State/California/Historical_Data/index.asp
                                                                                                              ref#2             USDA, 2010 Fertilization Rate for California Fruits and Vegetables                                                                                                         Leaching Rate                      20.00% Leaching Rate                             20.00%
                                                                                                              ref#3             California Department of Agriculture, 1960. Fertilizer Materials                                                                                                           Perchlorate % in SN                 0.20% Perchlorate % in SN                        0.20%
                                                                                                              ref#4             Brand, C.J., 1943. Fertilizers and Fertilizer Chemicals in Wartime. Chemical and Engineering News
                                                                                                                                                                                                                                                                                                           Total Perchlorate
                                                                                                              ref#5             http://quickstats.nass.usda.gov/data/printable/A31C5BCB‐B682‐3301‐8F57‐8D74ED115A                                                                                          (Tons)                                0.32 Total Perchlorate (Tons)                   0.05
                                                                                                              ref#6             Puri, Y.P., et al., 1977. Wheat and Barley Response to Nitrogen. California Agriculture
                                                                                                              ref#7             UCIMPM, UC Pest Management Guidelines for Nitrogen Budget on Dry Beans, http://www.ipm.ucdavis.edu/PMG/r52900411.htm
                                                                                                              ref#8             George, M. R., et al., 1982, Oat Hay and Silage Production. University of California Division of Agricultural Science. Leaflet 21265e
                                                                                                              ref#9             Hill, J. E., et al., Rice Production in California Part 4, http://www.plantsciences.ucdavis.edu/uccerice/PRODUCT/rpic04.htm
                                                                                                              ref#10            Mask, P. L., 1988. Production Guide for Grain Sorghum. http://www.aces.edu/pubs/docs/A/ANR‐0502/                                                                           NOTE: Adjusted to represent consistent
                                                                                                              ref#11            Kalfka, S. R., et al., 2001. Reducing fertilizer in sugarbeets can protect water quality. California Agriculture.                                                          fertilization rate during wartime assumes
                                                                                                                                http://ucanr.org/repository/cao/landingpage.cfm?article=ca.v055n03p42&fulltext=yes                                                                                         excess sodium nitrate brought to southern
                                                                                                              ref#12            Richardson, W.F., and Meyer, R.D., 1990, Spring and Summer Nitrogen Applications to Vina Walnut                                                                            California distributed to other parts of US
                                                                                                                                http://ucanr.org/repository/cao/landingpage.cfm?article=ca.v044n04p30&abstract=yes                                                                                         (inferred from ref#4)
                                                                                                              ref#13            Lopus, S.L., et al., 2010. Survey Examines the Adoption of Perceived Best Management Practices for Almond Production. California
                                                                                                                                Agriculture. http://ucanr.org/repository/cao/landingpage.cfm?article=ca.v064n01p12&fulltext=yes
                                                                                                              ref#14            Bratsch, A., 2009. Specialty Crop Profile. Virginia Coopera ve Extension. publica on 438‐108Globe Ar choke                                                                 Table below assumes we can only justify a 10% Plant up take

                                                                                                                                                                                                                                                                                                                         Pomona Area                                   Capture Zone Area
                                                                                                                                                                                                                                                                                                            Total Sodium Nitrate                          Total Sodium Nitrate
                                                                                                                                                                                                                                                                                                                   Applied                    809.53             Applied                       116.55

                                                                                                                                                                                                                                                                                                           Leaching Rate                      90.00% Leaching Rate                             90.00%
                                                                                                                                                                                                                                                                                                           Perchlorate % in SN                 0.20% Perchlorate % in SN                        0.20%

                                                                                                                                                                                                                                                                                                           Total Perchlorate
                                                                                                                                                                                                                                                                                                           (Tons)                                1.46 Total Perchlorate (Tons)                   0.21




                                                                                                                                                                                                                                                                                                                                                                                                        86
                                                                      Case 2:11-cv-00167-RGK-JEM Document 392-2 Filed 02/09/18 Page 85 of 159 Page ID
                                                                                                           Table 5
                                                                                                        #:15836
                                                                                                        Perchlorate Mass Removal by Pomona AEP wells

                                         P‐2                                     P‐5                                  P‐5B                                 P‐6                                P‐10                                   P‐14

                                                   Perchlorate                           Perchlorate                           Perchlorate                         Perchlorate                         Perchlorate                        Perchlorate
   Fiscal Year (July 1‐             Concentratio                           Concentration                         Concentration                       Concentration                       Concentration                       Concentratio
                        Acre‐feet                  Mass (short   Acre‐feet               Mass (short   Acre‐feet               Mass (short Acre‐feet               Mass (short Acre‐feet               Mass (short Acre‐feet              Mass (short
        June 30)                      n (ug/L)                                (ug/L)                                (ug/L)                              (ug/L)                              (ug/L)                             n (ug/L)
                                                      tons)                                 tons)                                 tons)                               tons)                               tons)                              tons)
         1978           1,157.1           6.8        0.011        204.5                                                                     1,000.0        12.4       0.017      370.0         6.0         0.003        401.1         10.1     0.005
         1979           1,011.1           6.8        0.009        161.7                                                                     1,167.6        12.4       0.020      227.5         6.0         0.002        323.7         10.1     0.004
         1980            494.6            6.8        0.005         95.3                                                                     1,327.9        12.4       0.022      191.3         6.0         0.002        180.6         10.1     0.002
         1981           1,335.7           6.8        0.012         18.0                                                                      516.9         12.4       0.009      763.6         6.0         0.006        205.5         10.1     0.003
         1982            469.1            6.8        0.004         12.6                                                                     1,367.1        12.4       0.023      141.0         6.0         0.001         33.7         10.1     0.000
         1983            124.7            6.8        0.001         1.4                                                                       516.5         12.4       0.009      148.1         6.0         0.001         62.2         10.1     0.001
         1984            942.1            6.8        0.009         1.0                                                                       381.1         12.4       0.006       0.0          6.0         0.000       1,033.9        10.1     0.014
         1985           1,172.9           6.8        0.011         2.4                                                                       628.5         12.4       0.011      515.2         6.0         0.004         99.9         10.1     0.001
         1986           1,090.9           6.8        0.010         0.0                                                                       615.3         12.4       0.010      904.5         6.0         0.007        478.0         10.1     0.007
         1987            903.6            6.8        0.008        207.9                                                                      569.4         12.4       0.010      573.3         6.0         0.005        469.4         10.1     0.006
         1988           1,662.5           6.8        0.015        208.3                                                                      490.9         12.4       0.008     1,046.9        6.0         0.009        163.0         10.1     0.002
         1989           1,299.6           6.8        0.012         79.9                                                                      404.7         12.4       0.007      883.4         6.0         0.007        690.4         10.1     0.009
         1990           1,638.8           6.8        0.015        137.0                                                                      606.8         12.4       0.010     1,028.9        6.0         0.008        595.5         10.1     0.008
         1991            899.0            6.8        0.008         37.7                                                                      201.0         12.4       0.003      453.6         6.0         0.004        275.5         10.1     0.004
         1992            892.0            6.8        0.008         1.4                                                                        40.2         12.4       0.001      759.2         6.0         0.006        187.2         10.1     0.003
         1993            827.5            6.8        0.008         0.0                      0.000       767.8           8.3        0.009     652.6         12.4       0.011      447.2         6.0         0.004        410.3         10.1     0.006
         1994           1,183.0           6.8        0.011         0.0                      0.000       773.5           8.3        0.009    1,079.9        12.4       0.018      511.4         6.0         0.004        487.3         10.1     0.007
         1995            939.4            6.8        0.009         0.0                      0.000       686.4           8.3        0.008     913.6         12.4       0.015      399.3         6.0         0.003        467.8         10.1     0.006
         1996            858.0            6.8        0.008         0.0                      0.000      1,084.0          8.3        0.012    1,394.9        12.4       0.024      496.5         6.0         0.004        728.3         10.1     0.010
         1997           1,006.5           6.8        0.009         0.0                      0.000       891.1           8.3        0.010     945.2         12.4       0.016      871.3         6.0         0.007        439.2         10.1     0.006
         1998           1,129.1           8.1        0.012         0.0                      0.000       856.7           7.1        0.008     898.3         13.0       0.016     1,095.8        3.0         0.004        546.4         11.0     0.008
         1999           1,443.7           7.0        0.014         0.0                      0.000      1,218.6          7.1        0.012    1,272.5        15.2       0.026     1,106.8        9.5         0.014        207.6         12.1     0.003
         2000            910.5            6.4        0.008         0.0                      0.000      1,008.0          6.8        0.009    1,457.8        12.4       0.025     1,261.8        8.2         0.014        274.2         10.8     0.004
         2001           1,639.2           5.8        0.013         0.0                      0.000       697.7           6.5        0.006    1,381.9        12.2       0.023     1,254.5        8.2         0.014        803.3          9.7     0.011
         2002           1,596.9           3.6        0.008         0.0                      0.000       725.1           5.4        0.005    1,428.5        11.7       0.023     1,257.0        6.9         0.012        749.0          8.5     0.009
         2003           1,681.6           2.2        0.005         0.0                      0.000      1,258.0          5.4        0.009    1,272.2        11.6       0.020     1,244.8        6.3         0.011        735.5          7.8     0.008
         2004           1,666.1           6.0        0.014         0.0                      0.000      1,226.0          6.4        0.011    1,345.9        12.8       0.023     1,193.0        6.1         0.010        749.4          9.2     0.009
         2005           1,722.8           4.6        0.011         0.0                      0.000      1,193.4          4.9        0.008    1,380.8        12.5       0.023      998.0         6.7         0.009        757.5         10.0     0.010
         2006            447.1            6.5        0.004         0.0         4.4          0.000      1,152.8          7.9        0.012     192.9         12.2       0.003     1,541.1        8.3         0.017        155.0         10.3     0.002
         2007            335.8            7.7        0.004         0.0         6.0          0.000        41.5           9.3        0.001      92.5         13.0       0.002     1,602.4        5.0         0.011        231.5         10.0     0.003
         2008            331.7            5.1        0.002         0.0                      0.000       200.3           5.1        0.001    1,025.0        11.8       0.016     1,610.4        4.5         0.010        344.3         10.2     0.005
         2009           1,538.8           6.3        0.013         0.0                      0.000      1,136.2          9.0        0.014     368.9         12.8       0.006     1,241.0        5.4         0.009        157.4         11.0     0.002
         2010           1,387.7           8.3        0.016         0.0                      0.000      1,022.0         10.1        0.014      0.2          14.0       0.000     1,330.4        6.5         0.012        341.8         11.0     0.005
         2011           1,958.1           9.7        0.026         0.0                      0.000      1,217.2          9.9        0.016      0.0          14.0       0.000     1,385.6        7.3         0.014        111.0         11.1     0.002
         Total                           Total                                  Total                                 Total                               Total                               Total                                  Total
    Perchlorate for                 Perchlorate                            Perchlorate                           Perchlorate                          Perchlorate                         Perchlorate                            Perchlorate
   All Wells (1998‐     1.97           for Well      0.149                    for Well      0.000                   for Well       0.127                for Well      0.207                 for Well      0.161                    for Well    0.082
   2011) short tons                 (1998‐2011)                            (1998‐2011)                           (1998‐2011)                          (1998‐2011)                         (1998‐2011)                            (1998‐2011)
        Total                            Total                                  Total                                 Total                               Total                               Total                                  Total
    Perchlorate for                 Perchlorate                            Perchlorate                           Perchlorate                          Perchlorate                         Perchlorate                            Perchlorate
   All Wells (1978‐     3.97          for Wells      0.334                   for Wells      0.000                  for Wells       0.175                for Wells     0.458                 for Wells     0.248                    for Wells   0.187
   2011) short tons                 (1978‐2011)                            (1978‐2011)                           (1978‐2011)                          (1978‐2011)                         (1978‐2011)                            (1978‐2011)

                                                                 Well Production Data Source: CBWM, 2011                                   Used Average of Dataset for Well
                                                                                                                                           Average of the Prior and Following years                     Not Analyzed


11/11/2011                                                                                                                     1                                                                          Table 5‐Perchlorate Removal_Wellfield_working
                                                                                                                                                                                                                                                          87
                                                                Case 2:11-cv-00167-RGK-JEM Document 392-2 Filed 02/09/18 Page 86 of 159 Page ID
                                                                                                     Table 5
                                                                                                  #:15837
                                                                                                Perchlorate Mass Removal by Pomona AEP wells

                            P‐15                                 P‐16                               P‐17                                  P‐18                                 P‐21                                   P‐23

 Fiscal Year                        Perchlorate                          Perchlorate                        Perchlorate                           Perchlorate                           Perchlorate                          Perchlorate
                       Concentratio                         Concentratio                       Concentratio                          Concentratio                         Concentration                         Concentratio
(July 1‐June Acre‐feet              Mass (short   Acre‐feet              Mass (short Acre‐feet              Mass (short    Acre‐feet              Mass (short   Acre‐feet               Mass (short   Acre‐feet              Mass (short
                         n (ug/L)                             n (ug/L)                           n (ug/L)                              n (ug/L)                              (ug/L)                               n (ug/L)
     30)                               tons)                                tons)                              tons)                                 tons)                                 tons)                                tons)
   1978      1,048.9      11.1         0.016      1,293.1      13.0        0.023       295.4       12.8        0.005        800.9       11.7         0.013       162.7                                 1,089.0        9.0       0.013
   1979      1,411.8      11.1         0.021       858.8       13.0        0.015       484.3       12.8        0.008        391.9       11.7         0.006       138.5                                 1,025.3        9.0       0.013
   1980       745.1       11.1         0.011       929.0       13.0        0.016       385.2       12.8        0.007        269.0       11.7         0.004       498.2                                 1,201.4        9.0       0.015
   1981       693.4       11.1         0.010       273.0       13.0        0.005       325.4       12.8        0.006         80.9       11.7         0.001       719.9                                 1,250.2        9.0       0.015
   1982       292.9       11.1         0.004       637.9       13.0        0.011       163.6       12.8        0.003        151.0       11.7         0.002       337.5                                 1,324.7        9.0       0.016
   1983       741.8       11.1         0.011       484.9       13.0        0.009       371.6       12.8        0.006         0.3        11.7         0.000       384.2                                 1,386.7        9.0       0.017
   1984       417.3       11.1         0.006        0.0                    0.000       475.4       12.8        0.008         90.4       11.7         0.001       582.8                                 1,281.6        9.0       0.016
   1985       599.0       11.1         0.009      1,159.8      13.0        0.021       410.2       12.8        0.007        357.1       11.7         0.006       721.8                                  991.5         9.0       0.012
   1986       808.4       11.1         0.012      1,303.5      13.0        0.023       826.5       12.8        0.014        111.9       11.7         0.002      1,033.1                                 926.2         9.0       0.011
   1987       782.2       11.1         0.012      1,024.6      13.0        0.018       733.3       12.8        0.013        210.6       11.7         0.003       940.8                                  578.5         9.0       0.007
   1988       732.9       11.1         0.011       564.1       13.0        0.010       699.9       12.8        0.012         64.2       11.7         0.001       889.3                                  681.4         9.0       0.008
   1989       465.2       11.1         0.007       779.3       13.0        0.014       665.5       12.8        0.012        179.4       11.7         0.003       659.0                                 1,147.3        9.0       0.014
   1990       465.1       11.1         0.007       797.6       13.0        0.014       738.9       12.8        0.013        218.5       11.7         0.003       861.3                                 1,257.1        9.0       0.015
   1991       335.5       11.1         0.005       318.2       13.0        0.006       363.3       12.8        0.006        112.9       11.7         0.002       604.8                                  770.4         9.0       0.009
   1992       147.4       11.1         0.002        84.4       13.0        0.001       294.8       12.8        0.005         0.6        11.7         0.000       870.9                                  607.6         9.0       0.007
   1993       581.9       11.1         0.009       666.7       13.0        0.012       585.7       12.8        0.010         6.9        11.7         0.000       604.5                                  248.1         9.0       0.003
   1994       578.8       11.1         0.009       881.4       13.0        0.016       243.9       12.8        0.004         18.5       11.7         0.000       812.2                                  146.8         9.0       0.002
   1995       776.6       11.1         0.012       226.4       13.0        0.004       595.4       12.8        0.010        522.9       11.7         0.008       567.2                                  698.9         9.0       0.009
   1996       825.3       11.1         0.012       634.7       13.0        0.011       744.9       12.8        0.013        565.6       11.7         0.009       784.8                                  888.3         9.0       0.011
   1997       837.3       11.1         0.013       795.2       13.0        0.014       583.9       12.8        0.010        795.6       11.7         0.013       759.5                                  928.6         9.0       0.011
   1998       754.2       13.0         0.013       926.3       19.0        0.024       586.3       15.0        0.012        334.6       13.0         0.006       467.1        0.0          0.000        772.7         8.0       0.008
   1999       931.7       11.7         0.015       468.8       15.1        0.010       656.2       14.8        0.013        525.8       14.0         0.010       737.4                     0.000        990.3         9.0       0.012
   2000       789.8       10.9         0.012       415.2       14.2        0.008       859.6       12.0        0.014       1,016.0      12.0         0.017       518.6                     0.000       1,270.1        9.0       0.016
   2001       735.1       9.9          0.010       690.3       14.4        0.014       847.9       13.3        0.015        882.5       12.5         0.015       638.8                     0.000        568.1         10.0      0.008
   2002       761.2       8.0          0.008      1,113.4      14.1        0.021       831.3       11.7        0.013        849.7       11.0         0.013        0.7                      0.000       1,342.2        8.3       0.015
   2003       716.0       8.9          0.009      1,170.3      13.3        0.021       744.2       12.4        0.013        315.3       11.5         0.005        0.0                      0.000       1,206.0        7.1       0.012
   2004       735.4       11.5         0.011       482.1       13.3        0.009       604.5       13.5        0.011        482.4       11.7         0.008        0.0                      0.000       1,219.3        9.0       0.015
   2005       716.0       11.2         0.011      1,159.5      13.4        0.021       749.0       13.3        0.014        153.2       11.3         0.002       275.6         6.0         0.002       1,267.0        7.8       0.013
   2006       712.5       11.4         0.011       564.1       13.3        0.010       211.2       11.4        0.003        180.9       11.3         0.003      1,064.9        3.2         0.005         29.8         8.6       0.000
   2007       610.9       13.2         0.011       326.8       11.2        0.005       231.7       13.6        0.004        143.1       11.8         0.002      1,171.2        2.3         0.004        257.6         9.3       0.003
   2008       123.1       12.0         0.002      1,139.7      8.1         0.013       225.3       12.5        0.004         32.9       12.0         0.001      1,121.9        1.9         0.003        322.3         8.2       0.004
   2009        0.0                     0.000       781.4       11.4        0.012        0.0                    0.000         0.1        11.0         0.000      1,208.3        1.8         0.003        615.2         9.0       0.008
   2010        0.0                     0.000        7.1        15.3        0.000        0.0                    0.000        249.0       10.4         0.004      1,129.0        0.0         0.000       1,109.9        9.4       0.014
   2011       156.6         14.3       0.003        0.0                    0.000        0.0                    0.000         0.0                     0.000      1,099.9        0.0         0.000       1,017.1        10.2      0.014
                            Total                                Total                              Total                                 Total                               Total                                  Total
                       Perchlorate                          Perchlorate                        Perchlorate                           Perchlorate                          Perchlorate                            Perchlorate
                          for Well     0.116                   for Well    0.168                  for Well     0.116                    for Well    0.084                   for Well       0.016                   for Well     0.142
                       (1998‐2011)                          (1998‐2011)                        (1998‐2011)                           (1998‐2011)                          (1998‐2011)                            (1998‐2011)
                           Total                                 Total                              Total                                 Total                               Total                                  Total
                       Perchlorate                          Perchlorate                        Perchlorate                           Perchlorate                          Perchlorate                            Perchlorate
                         for Wells     0.316                  for Wells    0.410                 for Wells     0.290                   for Wells     0.163                  for Wells      0.016                   for Wells    0.368
                       (1978‐2011)                          (1978‐2011)                        (1978‐2011)                           (1978‐2011)                          (1978‐2011)                            (1978‐2011)




11/11/2011                                                                                                             2                                                                              Table 5‐Perchlorate Removal_Wellfield_working
                                                                                                                                                                                                                                                      88
                                                                  Case 2:11-cv-00167-RGK-JEM Document 392-2 Filed 02/09/18 Page 87 of 159 Page ID
                                                                                                       Table 5
                                                                                                    #:15838
                                                                                                   Perchlorate Mass Removal by Pomona AEP wells

                               P‐24                               P‐24B                               P‐25                                 P‐26                                   P‐34                                  P‐36

  Fiscal Year                           Perchlorate                        Perchlorate                        Perchlorate                           Perchlorate                            Perchlorate                          Perchlorate
                          Concentration                       Concentratio                       Concentratio                          Concentratio                           Concentratio                         Concentratio
 (July 1‐June   Acre‐feet               Mass (short Acre‐feet              Mass (short Acre‐feet              Mass (short    Acre‐feet              Mass (short   Acre‐feet                Mass (short   Acre‐feet              Mass (short
                             (ug/L)                             n (ug/L)                           n (ug/L)                              n (ug/L)                               n (ug/L)                             n (ug/L)
      30)                                  tons)                              tons)                              tons)                                 tons)                                  tons)                                tons)
    1978          94.5                                                                  2,056.2         4.7      0.013       1,211.5         8.5       0.014        0.0                       0.000
    1979          24.1                                                                   956.7          4.7      0.006       1,155.6         8.5       0.013        0.0                       0.000
    1980         172.2                                                                  1,707.5         4.7      0.011        965.5          8.5       0.011        0.0                       0.000
    1981         374.9                                                                  2,005.8         4.7      0.013        313.1          8.5       0.004        0.0                       0.000
    1982         262.9                                                                  2,040.6         4.7      0.013       1,067.0         8.5       0.012        0.0                       0.000
    1983         149.5                                                                  2,123.6         4.7      0.014       1,268.7         8.5       0.015        0.0                       0.000
    1984         182.8                                                                   784.9          4.7      0.005        908.2          8.5       0.011        0.0                       0.000
    1985         189.6                                                                  1,725.8         4.7      0.011        804.9          8.5       0.009        0.0                       0.000
    1986         217.8                                                                  1,102.7         4.7      0.007        940.2          8.5       0.011        0.0                       0.000
    1987         443.6                                                                  1,807.4         4.7      0.012        611.1          8.5       0.007        0.0                       0.000
    1988         200.5                                                                  2,039.3         4.7      0.013        514.8          8.5       0.006        0.0                       0.000
    1989         484.5                                                                  1,911.3         4.7      0.012        264.4          8.5       0.003        0.0                       0.000
    1990         232.8                                                                   722.0          4.7      0.005        877.2          8.5       0.010        0.0                       0.000
    1991         148.5                                                                  1,371.9         4.7      0.009        403.6          8.5       0.005        0.0                       0.000
    1992          40.7                                                                  1,595.5         4.7      0.010        196.6          8.5       0.002        0.0                       0.000
    1993          3.4                                 115.4                  0.000       819.5          4.7      0.005         45.8          8.5       0.001        0.0                       0.000         0.0                    0.000
    1994          0.0                                 124.7                  0.000      1,042.4         4.7      0.007         0.8           8.5       0.000        0.0                       0.000         0.0                    0.000
    1995          0.0                                 133.3                  0.000      1,109.1         4.7      0.007        309.1          8.5       0.004      1,415.5          12.6       0.024         0.0                    0.000
    1996          0.0                                 269.6                  0.000       832.8          4.7      0.005        370.2          8.5       0.004      1,160.5          12.6       0.020         0.0                    0.000
    1997          0.0                                 144.0                  0.000      1,013.1         4.7      0.007        870.2          8.5       0.010      1,178.1          12.6       0.020         0.0                    0.000
    1998          0.0     Not Sampled     0.000        0.0    Not Sampled    0.000       821.6          5.0      0.006        385.9          8.0       0.004       719.6           14.2       0.014         0.0                    0.000
    1999          0.0     Not Sampled     0.000        0.0    Not Sampled    0.000      1,172.8         5.8      0.009        357.1          7.2       0.004      1,320.4          13.0       0.023         0.0                    0.000
    2000          0.0     Not Sampled     0.000        0.0    Not Sampled    0.000      1,195.6         5.8      0.009        530.6          7.2       0.005      1,592.8          13.2       0.029         0.0                    0.000
    2001          0.0     Not Sampled     0.000        0.0    Not Sampled    0.000      1,257.3         6.5      0.011         0.0           7.2       0.000      1,646.1          14.4       0.032         0.0                    0.000
    2002          0.0     Not Sampled     0.000        0.0    Not Sampled    0.000       619.5          0.0      0.000        491.0          6.4       0.004      1,616.9          14.5       0.032         0.0                    0.000
    2003          0.0     Not Sampled     0.000        0.0    Not Sampled    0.000      1,598.3         2.8      0.006        863.7          5.5       0.006      1,583.7          13.8       0.030         0.0                    0.000
    2004          0.0     Not Sampled     0.000        0.0    Not Sampled    0.000      1,512.3         4.3      0.009        893.5          7.8       0.009      1,510.9          14.3       0.029         0.0         9.7        0.000
    2005          0.0     Not Sampled     0.000        0.0    Not Sampled    0.000      1,154.5         3.9      0.006        897.7          7.7       0.009      1,396.0          14.0       0.027         0.0         9.4        0.000
    2006          0.0     Not Sampled     0.000        0.0    Not Sampled    0.000       951.9          4.0      0.005        823.8          5.2       0.006       536.4           15.0       0.011        182.6        9.2        0.002
    2007          0.0     Not Sampled     0.000        0.0    Not Sampled    0.000       813.7          4.9      0.005       1,031.6         9.0       0.013      1,839.6          12.3       0.031        948.2        8.4        0.011
    2008          0.0     Not Sampled     0.000        0.0    Not Sampled    0.000      1,423.6         5.3      0.010       1,008.9         9.8       0.013      1,832.2          9.8        0.024       1,278.0       7.0        0.012
    2009          0.0     Not Sampled     0.000        0.0    Not Sampled    0.000      1,572.5         5.5      0.012        985.2          9.4       0.013      1,752.2          11.7       0.028       1,181.1       7.6        0.012
    2010          0.0     Not Sampled     0.000        0.0    Not Sampled    0.000      1,565.8         4.5      0.010        810.3          9.1       0.010       869.9           11.3       0.013       1,186.4       7.2        0.012
    2011          0.0     Not Sampled     0.000        0.0    Not Sampled    0.000      1,558.8         5.7      0.012        692.6          8.4       0.008       148.5           13.5       0.003       1,182.4       7.2        0.012
                               Total                              Total                                Total                                Total                                 Total                                Total
                          Perchlorate                         Perchlorate                         Perchlorate                          Perchlorate                            Perchlorate                           Perchlorate
                             for Well     0.000                 for Well     0.000                   for Well    0.110                    for Well     0.105                    for Well      0.325                  for Well     0.061
                          (1998‐2011)                            (1998‐                           (1998‐2011)                          (1998‐2011)                            (1998‐2011)                             (1998‐
                              Total                               Total                                Total                                Total                                 Total                                Total
                          Perchlorate                         Perchlorate                         Perchlorate                          Perchlorate                            Perchlorate                           Perchlorate
                            for Wells     0.000                for Wells     0.000                  for Wells    0.295                   for Wells     0.257                    for Wells     0.390                  for Wells     0.061
                          (1978‐2011)                            (1978‐                           (1978‐2011)                          (1978‐2011)                            (1978‐2011)                             (1978‐




11/11/2011                                                                                                               3                                                                               Table 5‐Perchlorate Removal_Wellfield_working
                                                                                                                                                                                                                                                         89
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                                 EXHIBIT A

                            CURRICULUM VITAE




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                                  #:15840




                                                             W. RICHARD LATON, Ph.D.
                                                                               12532 VISTA PANORAMA
                                                                              NORTH TUSTIN, CA 92705
                                                                         714-296-4055; 714-771-2620 fax
                                                                              wlaton@earthforensics.com

                                                  VITAE

  EDUCATION

  Ph.D. (1997), Geology with an emphasis in Hydrogeology, Western Michigan University
          Groundwater – Kalamazoo River Interaction near the Parchment City Well Field, Parchment,
          Michigan.
  M.S. (1992), Environmental Earth Science (Coastal Geomorphology), Western Michigan University
          Small-Scale Coastal Cells as Control Mechanisms on Sediment Movement; Identification and
          Mapping.
  B.S. (1989), Earth Science (Oceanography), Saint Cloud State University, Minnesota
          Density Flow Analysis of Turbidity Currents.

  PROFESSIONAL SUMMARY

  Dr. Laton is an expert in the field of hydrology/hydrogeology. He is currently an Associate Professor of
  Hydrogeology in the Department of Geological Sciences, California State University, Fullerton. This is
  a continuation of a career that includes years of teaching, consulting, litigation support and management
  experience. Dr. Laton possesses extensive knowledge in the areas of hydrogeology, soil and water
  contamination, hydrology and surface water, wetlands, coastal monitoring/geomorphology, field sampling
  techniques and well hydraulics as well as environmental remote sensing/GIS. His classes at the university
  encompass topics including: water quality, environmental sampling, groundwater modeling, well
  hydraulics, oceanography, and basic geology. He enjoys introducing students to applied research and acts
  as the faculty advisor to a large number of upper-level students. He has also acted as a consultant for a
  variety of companies and agencies that need input on the above subjects as well as natural hazard
  assessment and mapping.

  CERTIFICATIONS

  California Professional Geologist (PG-7098)      California Professional Hydrogeologist (CHg-958)
  Arizona Professional Geologist (PG-42253)        Washington Professional Geologist       (PG-2517)
  Indiana Professional Geologist    (LPG-2191)     Florida Professional Geologist          (PG-2618)
  Minnesota Professional Geologist (PG-44868)
  Oregon Professional Geologist     (G2153)        AIPG-Certified Professional Geologist (CPG-10544)
  Texas Professional Geologist     (PG-10018)




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  SELECTED CONSULTING, RESEARCH, AND EMPLOYMENT EXPERIENCES

  Professional Profile

  2010 - Present, President of Earth Forensics Inc.
  1995 – 2010, Partner (Owner Operator) with Environmental Science & Planning, LLC.
  1998 – 2001 & 2007 – Present, Senior Consultant with Earth Consultants International.
  2001 – 2007, Consultant to Hromadka & Associates.
  1996 – 1998, Senior Hydrogeologist with SimulProbe Technologies.

  2010 – Present. Earth Forensics, Inc. President (www.earthforensics.com)
  Project experience includes project management, expert testimony, field work and oversight and training.
  Clients have included the State of California, various cities, private firms and other consulting companies.

         Malibu, CA. Hired to evaluate groundwater conditions of a landslide area in association with
          geotechnical mitigation.
         Laguna Beach, CA. Hired to photo-document cave collapse.
         Baldwin Park, CA. Hired to evaluate the soil contamination of several stockpiles in association
          with FlatIron road construction.
         Malibu, CA. Hired to evaluate and construct artificial recharge wells in association with City
          wastewater system.
         San Jose, CA. Aide in development of construction proposal for FlatIron Corp.
         Riverside County, CA. Review of ADL reports for SEMA Construction Corp.
         Fullerton, CA. Retained to provide expert testimony on contamination source and remedial
          alternatives. (Plaintiff-Settled)
         Los Angeles County, CA. Provided Hydrogeologic evaluation of landslide impacted area.
         City of Los Angles and Riverside County, CA. ADL Reports for CalTrans.
         Carson, CA. Provided review of contaminated soil data and sampling plan for hydrocarbon
          investigation.
         Fresno, CA. Wastewater sampling at National Raisin Plant. Provide consulting services on
          wastewater reuse.
         Pleasant Hill, CA. Retained to provide expert assessment of BTEX/MTBE. (Plaintiff –
          Declaration)
         Victorville, CA. Hired to provide background information on Desert Knolls Wash.
         Placer County, CA. Retained to provide hydrogeological assessment of production well and its
          impact on neighboring domestic wells.
         Merced, CA. Retained as designated expert for Chromium VI contamination case. Work
          included providing hydrogeological analysis and guidance. Included Declarations, Expert
          Reports, Deposition and Trial Testimony. (Plaintiff - Abarca, et. Al. v. Merck-Federal Court)

  1995 – Present. Environmental Science & Planning, LLC. Partner (Owner Operator).
  Project experience includes management, testimony, field work, bid preparation and marketing. Work
  has varied from remediation to water resource evaluations, geophysical investigations to surface water
  management and sampling to modeling. Selected Consulting as follows:

  2008
         Torrance, CA. Provided expert analysis of Dry Cleaner facility for commercial property.
         Long Beach, CA. Aided in developing conceptual model of manufacturing facility.
         Provide technical oversight and alternatives for San Bernardino County Flood Control.


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         Orange County, CA. Retained as designated expert on single family home in association with
          potential water issues. (Defense-Settled)
         San Bernardino County, CA. Provided consulting services in relation to water supply to area of
          single family residences.
         Signal Hill, CA. Provided expert analysis of downhole video of suspected drain.
  2007
         La Jolla, CA. Retained as designated expert on surface and groundwater issues related to
          landslide. (Plaintiff-Settled)
         Long Beach, CA. Retained as designated expert on surface and groundwater issues surrounding a
          coastal condominium complex. (Plaintiff-Settled)
         Norco, CA. Provide expert oversight to Wildermuth Environmental, Inc., on surface water and
          groundwater sampling protocols and training.
  2006
         Riverside, CA. Environmental Impact Report. Provided technical support on land development
          associated with an old mining claim.
         Irvine, CA. Environmental Engineering and Contracting. Provided support and review of CPT,
          ROST data for environmental contamination project in the state of Illinois.
  2005
         Malibu, CA. Retained as designated expert for hydrogeologic analysis of existing wastewater
          system. (Defense – Deposition-Settled)
         Riverside, CA. Oversaw specialized soil and groundwater sampling for Layne Christenson.
  2004
         Oakland, CA. Soil and groundwater sampling for CalTrans.
         California. Statistical analysis of lead in soil samples for CalTrans highway expansion.
         Carpentaria, CA. Retained as wetland expert, included HEC-RAS modeling.
  2002
         Playa Vista, CA. Developed methane mitigation plan for residential and commercial
          development.
  1999 – 2000
      Norco, CA. Oversaw development of methane sampling and mitigation standards for Riverside
          California.
      Norco/Corona, CA. Methane Mitigation Investigation.
      Long Beach, CA. Carlin Environmental Consulting. Soil and groundwater sampling.
  1997
      Kalamazoo, MI. Worked with United Environmental Technologies, Inc. to help develop
          sampling and well construction protocols for various projects.

  1998 – 2001 & 2007 – Present. Earth Consultants International, Inc. Senior Consultant
  (www.earthconsultants.com) Work includes project management and project hydrogeologist duties.
  Other activities include business development and marketing. Projects include wastewater, oil field
  seepage and methane mitigation, dewatering for construction purposes, EIR development, water resources
  investigations, watershed studies, and a regional groundwater GIS study for Riverside County.

  2010
            Ocotillo/Coyote Wells. Retained to review groundwater basin conditions in association with
             Wind Zero development. (Testimony on behalf of client – Imperial County)
  1998 – Present: City of Malibu Specific Projects
          Retained to provide hydrogeologic services in association with a zero-discharge wastewater
             system. Aided in Salt Management Plan.


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             Retained to provide hydrogeologic services in association with on-site wastewater, Miramar
              Investment Co.
             Retained to provide consulting services associated with wastewater discharge impacts to the
              subsurface at Malibu Racquet Club, Casa Malibu Inn, Wavebreak Restaurant, Malibu Cantina
              Restaurant. (Testimony on behalf of Client – LARWQCB)
             Retained by the City of Malibu to represent them in surface water lawsuit. (Defense - Settled)
             Oceanographic-Hydrogeological analysis and modeling of tidal fluctuations, storm surge and
              impacts to a coastal developments wastewater discharge system.
             Conducted regional groundwater study for the City of Malibu associated with a groundwater
              flow model of the downtown area. Includes field work, data analysis and modeling support.
              (Testimony on behalf of Client – LARWQCB)
             Provided expert testimony for City of Malibu on local groundwater conditions. (Testimony
              on behalf of Client – LARWQCB)
             Hydrogeological Characterization and modeling of subsurface wastewater discharge
              (mounding) – Crummer Property, Malibu, California.
             Hydrogeological Characterization and modeling of subsurface wastewater discharge
              (mounding) – Winter Canyon, Malibu California.
             Hydrogeologic Characterization and testimony to wastewater discharge to subsurface –
              Malibu, California. (Testimony on behalf of Client – LARWQCB)
             Hydrogeologic Characterization and Assessment of Impacts of Wastewater Discharge for
              proposed wastewater treatment facility in downtown Malibu. (Testimony on behalf of Client
              – LARWQCB)
             Hydrogeologic Characterization And Assessment of Impacts of Wastewater Discharge for
              Proposed Construction of Thirteen Single-Family Residences in Trancas Canyon, Malibu,
              California.
             Groundwater study of Winter Canyon, Malibu, California for the purpose of determining the
              feasibility of using the canyon for wastewater disposal.
             Groundwater study of 200 acres in preparing the Malibu Civic Center EIR.
             Provide expert witness testimony on sewer seepage and geology for the City of Malibu.
  2001
             Developed Safety Elements for Newport Beach, Brea, Glendale, and Pasadena.
  2000
             Los Angeles, CA. Playa Vista Corporation – Groundwater and Methane Migration
              Investigation on Playa Vista Property. (Testimony on behalf of Client – City of Los Angeles)
  1999
             Safety Element of the General Plan, Riverside County.
             Orange, CA. Environmental Impact Report – Geologic, Seismic and Hydrologic Sections of
              the Environmental Impact Report for the Proposed Sully-Miller Fieldstone Project.
             Brea, CA. Feasibility investigation to review mitigation options for active crude oil seeps
              (tar) and methane generation.

  2001- 2007. Hromadka & Associates. Consultant
  Provided litigation support, computer and physical modeling, expert report review and writing along with
  managing multiple cases and field-site inspections for the company.
  2006
       San Diego, CA. PCB transport in San Diego Bay.
       San Francisco, CA. Physical model of apartment complex combined sewer and storm drain
         network.
       San Francisco, CA. Severe rainfall analysis in four events, flooding.


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  2005
         Yorba Linda, CA. Analysis of sediment transport from large grading project and nursery debris
          production at school site.
         Irvine, CA. Groundwater uplift analysis of clogged filter fabric in flexible lining and sediment
          transport in San Diego Creek in 2-mile reach using flexible block lining.
         Torrance, CA. Sediment transport in Compton Creek downstream of Montrose Plant. Transport
          analysis of sediment in major/minor events.
         Development of Volume Based BMP design procedure for San Bernardino County WQMP.
         Multi-lake hydrologic and water quality analysis at Lake Merced, California. Phosphates, nitrates,
          golf courses, coliform in groundwater, flood control and risk reduction. Tunnel flow capacity
          analysis. Hydrologic balance analysis.
         Santa Rosa, CA. Transport and fate of TCE, PCE in surface water.
         Anaheim Hill, CA. Soil water transport and ET studies for several hundred residences. Water
          balance studies.
         Fullerton, CA. Soil water transport and ET studies for several dozen residences. Soil water flux
          in concrete.
         San Clemente, CA. Soil water transport and hydrologic balance analysis near landslides.
         Castaic Lake, CA. Soil water transport and hydrologic balance analysis of residential tract.
         Oahu, HI. Groundwater plume transport, analysis of BTEX in rising groundwater and tidal
          effects.
         Daly City and San Francisco, CA. Flooding and tunnel capacity analysis.
  2004
         Tehachapi, CA. Analysis of TDS, cement Kiln dust, chlorinated hydrocarbons, BTEX, TCA,
          TCE, DCA, and DCE, groundwater flow in fractured and faulted media.
         Irvine, CA. Groundwater hydrostatic pressure analysis, waterproofing of office center.
         Laguna Canyon, CA. Modeled Landslide.
         Fullerton, CA. Sediment and Debris production, transport, 50-acre watershed.
         Palm Springs, CA. Transport of Aeolian Sand, PM10, saltation, creep, entrainment in "Blow
          Sand" area.
         Water Quality holding time criteria development, 85-percentile of average storm analysis, County
          of San Bernardino, Water Resources Division.
  2003
         Torrance, CA. Sediment transport analysis between city of Torrance and Santa Monica Bay.
          DDT transport.
         Analysis of TDS, viruses, bacteria, raw sewage, in New River, and Salton Sea. RMP. Evaporation
          impacts to Salton Sea salinity.
         San Clemente, CA. Analysis of landslide development.
         Henderson, NV. Analysis of soil water excess. Perchlorate sampling and analysis
         Review of perchlorate modeling and transport, Mid-Valley Landfill, San Bernardino County,
          California.
         Groundwater supply and TDS levels of inflow into New River and Salton Sea, Imperial Valley,
          California.
         Henderson, NV. Man-made preferential pathways and groundwater transport in land
          development.
         Anaheim Hills, CA. Water Supply, soil water saturation, landscape methodology review,
          moisture accumulation, percolation tests.
         San Diego, CA. Analysis of releases, BTEX, MTBE, lead, groundwater flow, plume evolution,
          soil gas, soil TPH, CPT/LIF, Hydropunch data, at Mission Valley.


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  2002
         Honolulu, HI. Sediment transport and erosion.
         Las Vegas, NV. Debris and sediment flow in Duck Creek.
         Irvine, CA. Statistical analysis of all Orange County sediment and contaminant data, San Diego
          Creek watershed.
         Ontario, CA. Modeling and analysis of Kaiser TDS plume.
         San Clemente, CA. Analysis of landslide hydrologic balance.

  2001
         Irvine, CA. Stability of erosion control measures in San Diego Creek.
         Dana Point, CA. Erosion analysis of slope failures.
         Torrance, CA. Transport of DDT in surface water, groundwater, sediment, and atmosphere,
          M2000 Transport of DDT from Montrose Chemical Plant.
         San Diego, CA. Groundwater transport of fuel, free product, in Mission Valley.

  1996 – 1998, SimulProbe Technologies. Senior Hydrogeologist
  Traveled throughout North America and Europe marketing various technologies. Promoted to head of
  marketing in Midwest and Southwest. Responsible for budgeting, supervising staff, project management,
  and making presentations to government officials and private contractors. Duties also included direct
  marketing to drilling firms and environmental consultants, supervising all sales personnel and marketing
  efforts; scheduling service calls and field operations; assisting with R&D; field training and site
  management.

  Miscellaneous Projects
  1995 – 1998, Project/Staff Geologist
      Kalamazoo, MI. Worked for the GEM Regional Center, Western Michigan University.
          Conducted water budget analysis for watershed located in Calhoun County.
      Kalamazoo, MI. Worked with the Health Division of the Michigan Department of Environmental
          Quality on well grouting issues surrounding public and private water supplies.
      Kalamazoo, MI. Worked with the Michigan Department of Environmental Quality on the
          Hydrogeological and Geochemical aspects of the Panelyte site. This involved the use of
          geophysics and geochemical analysis for the detection and mapping of possible contaminants.
      Ross Township, MI. Retained through Western Michigan University by the City of Kalamazoo,
          to determine the impact of a proposed wellfield on the surrounding surface water bodies (streams,
          lakes and wetlands).
  1993 – 1995
      Minden, MI. Retained by Michigan Peat Company to evaluate peat reserves. Evaluation
          involved sampling and mapping the peat reserves for the purpose of litigation.
      Salem, IL. Retained by Hi-Shots Aerial Photography Inc., to setup and demonstrate internet
          capabilities for small business.
      Michigan. Retained by Superior Environmental Corp. to conduct an EM-31 geophysical surveys.
          The surveys were designed to locate possible buried tanks in a downtown bank parking lot, a
          corner restaurant parking lot, fabrication/manufacturing buildings and a former car dealership.
      Schoolcraft, MI. Alpha GeoSciences Inc. (Through Department of Geology, Western Michigan
          University). Hired to run a hollow stem auger drill rig. Three 30-foot wells were installed.
      Kalamazoo, MI. Golder Associates Inc. (through the Institute for Water Sciences, Western
          Michigan University) retained to geophysically log wells located within the KL-landfill CERCLA
          site using a natural gamma radiation.



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         Champaign/Urbana, IL. Conducted an aerial photographic survey of the Champaign/Urbana
          landfills to locate hot spots where possible sub-surface fires maybe burning. Contract was funded
          through the Illinois State Geological Survey.
         Ann Arbor, MI. Conducted aerial photographic survey of a contaminated wetland for Alpha
          GeoSciences Inc. of Kalamazoo, Michigan. Provided site maps of monitoring wells and sampling
          locations.

  1991 – 1993
      Sanibel Island, FL. Retained by the City of Sanibel Island, Florida to evaluate coastal erosion
          along the Gulf Coast side of the island for the purpose of litigation.
      Paris, France. Retained by Littoral et Patrimoine for projects in France and India. Evaluated
          coastal erosion and constructed possible solutions to ongoing erosion problems.
      Sandusky, OH. Designed sediment coring program along the Sandusky River and part of Lake
          Erie for project funded by the Ohio Department of Natural Resources. The sediment cores were
          used in defining the sediment input from the Sandusky River and Lake Erie on adjacent
          estuaries/marshes.
      Three Rivers, MI. Retained by Reid and Reid Law Offices, Kalamazoo, Michigan, to evaluate the
          effects of the construction of a golf course and adjacent buildings on the water quality of Lake
          Templene for the purpose of litigation.
      Portage, MI. Designed and coordinated the work on an aeration pilot project on Austin Lake.
          This project involved bottom sampling, coring and sediment profiling. Collected and analyzed
          the sediment and water samples for the Ramco Company. Prepared an independent report on the
          success of the entire project.
      Ludington, MI. Assisted on the Department of Geology's state funded project involving erosion
          control monitoring of Undercurrent Stabilization systems.
      Michigan. Assisted the Western Michigan University Department of Geology on a state-funded
          project regarding erosion monitoring along Lakes Michigan and Huron.
      Wilmington, NC and Plainwell, MI. Retained by Dr. Thomas Straw to analyze various
          meteorological parameters for a hydrology project in Wilmington, NC.
      Plainwell, MI. Retained by Dr. Thomas Straw to solve problems associated with a gravel pit
          operations.

  1990 – 1991
      Atlanta, GA. Retained as consultant by Sutherland, Asbill & Brennan, to address a wetland
          problem within one of Mobil Land Development Company’s major developments. This included
          wetland hydrology, soil chemistry monitoring and aerial photographic interpretation. Litigation
          support.
      Benton Harbor, MI. Member of Scientific Party – Great Lakes Mapping cruise of eastern Lake
          Michigan (United States Geological Survey cruise no. NPTN91-1). The resultant sediment
          samples were split between WMU and the USGS allowing for research on shape analysis for
          possible finger printing.
      Western Michigan University, Institute for Water Sciences. Research assistant on a United States
          Geological Survey funded project along the Lake Michigan shoreline.
  1989 – 1990
      Western Michigan University. Worked with the Department of Geology on small construction
          projects and consulted on a state funded project addressing shoreline erosion.
  1983 – 1989
      Hutchinson, MN, 3M Company. Worked at various jobs for the 3M Company including heavy
          equipment operator, hazardous waste disposal, and computer database operator.


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  TEACHING EXPERIENCE

  2006 – Present California State University, Fullerton. CA
          Associate Professor of Hydrogeology. Responsible for teaching lower division classes in
          Hydrogeology (GEOL 436); Physical Geology (GEOL 101-GE); Sedimentology and Stratigraphy
          (GEOL 321); Water Crisis in California (GEOL 310T) and upper division classes in Groundwater
          Modeling; Environmental Sampling and Protocols; Well Hydraulics and Aquifer Analysis
          (GEOL 535T)
  2000 – 2006     California State University, Fullerton. CA
          Assistant Professor of Hydrogeology. Responsible for teaching lower division classes in
          Hydrogeology (GEOL 436); Meteorology (GEOL 340-GE); Oceanography (GEOL 333-GE);
          Physical Geology (GEOL 101-GE) and Lab (GEOL 101L-GE) and upper division classes in
          Groundwater Modeling; Environmental Sampling and Protocols; Well Hydraulics and Aquifer
          Analysis (GEOL 535T); Research Methods in Geology (501); Geology Seminar (GEOL 590)
  2001 – Present Western Michigan University. Kalamazoo, MI
          Responsible for Summer Field Course in Hydrogeology. Have taught 1-week graduate level field
          course(s) every year including (1) Principles of Well Drilling and Installation; (2) Principles and
          Practices of Aquifer Testing; (3) Remediation Design and Implementation.
  1999 – 2000     California State University, Fullerton. CA
          Part-time instructor. Responsible for Oceanography (GEOL 333) and Water Quality (GEOL
          437).

  1992 – 1996      Western Michigan University. MI
          Graduate Student Instructor responsible for Hydrogeology (GEOL 435), Oceanography (GEOL
          333), and Hydrogeology Summer Field Course (GEOL 535 a, b, c, d, e and f). This field course
          consisted of six individual modules (40-Hour HAZWOPPER, Environmental Surface
          Geophysics, Principles of Well Drilling and Installation, Principles and Practices of Ground-
          Water Sampling and Monitoring, Principles and Practices of Aquifer Testing and Analysis, and
          Remediation Design and Implication).          Other responsibilities included Construction
          Measurements and Layout through the Department of Engineering Technology. Responsible for
          the lab sequences only.

  Other Teaching Experience

  2010-11   Reviewer/Participant – Worked with Healthy Heroes, LLC in developing educational video
            games.
  1996 – 98 Instructor – Eight-hour OSHA HAZWOPER supervisor course (29 CFR 1910.120 (e)(3).
  1995      Hi-Shots International Conference. Taught short-course on environmental remote sensing
            utilizing a helium-filled tethered blimp. 10 individuals attended the course.
  1992      Kalamazoo, Michigan. Teaching Assistant for a course titled Shoreline Geology and
            Processes. Course sponsored by the Secondary Education of Michigan Summer (SEMS).
            This was a state-funded project. (30 students)
  1991      St. Joseph, Michigan, Berrien County. Teaching assistant for a course titled Shoreline
            Geology and Processes sponsored by the SEMS State funded project. (30 students)




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  Developed CSUF-Departmental Short-Courses:

         CPT Demonstration Day – Gregg Drilling (2010)
         AMS Demonstration Day (2009)
         GeoProbe Demonstration Days (2009 - 2011)
         Westbay Multiport Sampling (2004-09)
         CPT Field Demonstration on Quality Environmental Site Investigation. (In-cooperation with Gregg
          Drilling) (2004)
         Environmental Sampling Procedures and Practices (2003)
         Borehole and Well Logging Interpretation (Taught at Layne Christenson) (2003)
         Baroid Industrial Drilling Products – Drilling and Boring Fluids (2002)
         GIS Course I & II – What is GIS and how can it be utilized in research (2001)
         FEMA – Advanced HAZUS Training for GIS Professionals (2001)


  TEACHING PHILOSOPHY

  As a professor, my main goal is to provide students with practical experience essential for building a
  successful career. In addition to providing the “nuts and bolts" of a subject, I encourage students to apply
  traditional knowledge to innovative approaches through applied research and hands-on experience. I
  aspire to motivate students by fostering participation in unique learning opportunities, many of which are
  provided by local companies, agencies, and vendors willing to share their services and expertise.

  Through private and government grants and contracts, I am able to provide multiple funding opportunities
  to my students, allowing them the means to spend more time on their academic studies and also providing
  experience through field-related projects. My main research focus is groundwater hydrology and
  hydrogeology of arid environments. Most of my students directly participate in this research and are able
  to obtain either Bachelor’s or Master’s degrees through individual projects for which they are responsible.

  I encourage my students to actively participate in professional organizations in order to build strategic
  partnerships and create a broad reaching network of individuals and indispensable resources. Further, I
  encourage students to present abstracts and posters at local and national conferences and to publish their
  research as much as possible in order to stimulate educated discussions with their peers and accomplished
  professionals.

  The best way to measure the effectiveness of my objectives and to judge my goals is to elicit student
  feedback and evaluation. I am consistently rated very high by my students in their end of semester
  assessments. My biggest reward as a teacher is a lasting professional and personal relationship with my
  students. I enjoy working with and supporting students through their academic careers and feel honored
  when they graduate with a professional degree.




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  AWARDS, HONORS, SPECIAL QUALIFICATIONS

         Western Michigan University 2011 – Distinguished Alumni Award
         NGWA 2009 McEllhiney Lecturer for Water Well Technology
         International Ground Source Heat Pump Association (IGSHPA) Accredited Trainer (20589-0709)
         Boy Scouts of America – Merit Badge Sponsor: Geology, Oceanography, Environmental Science and Soil
          and Water Conservation
         CSUF – Student Association, Outstanding Academic Advisor (2003/04)
         CSUF – NSM Nominee for Outstanding Contributions to Student Success Award (2002/03 & 2003/04)
         Western Michigan University established a scholarship in my honor for the outstanding hydrology field
          camp students. Awarded annually since 1998.
         Western Michigan University, Department of Geology, Distinguished Service Award, 1997.
         Western Michigan University Research Fellowship 1991 – 1992.
         IEEE OCEANS 92' student paper finalist.
         OSHA 40-Hour Hazwoper Supervisor, active


  NATIONAL AND UNIVERSITY COMMITTEES

         NWRI – Independent Advisory Panel; OCWD Santa Ana River Monitoring Program, 2006 – Present
         Long Valley Hydrologic Advisory Committee, 2003 – Present
         California Groundwater Resource Association – State Meeting Committee Member 2007 – 2009
         NSM, Safety Committee Member, 2010 - Present
         NSM, Service Learning, Committee Member, 2001 – 2007
         NSM, Tucker Wildlife Advisory Board, 2003 – 2007
         NSM, Career Opportunity Committee, 2004 – 2006
         CSUF, University Advancement Foundation, Committee Member, 2003 – 2005


  NATIONAL GROUND WATER ASSOCIATION

         NGWA, Scientists and Engineers Division, Chair 2010-2012
         Association of Ground Water Scientists and Engineers (a Division of NGWA) Vice-Chair, 2008 – 2010
         Association of Ground Water Scientists and Engineers (a Division of NGWA) Board Member, 2004 – 2008

         NGWA – Board of Directors, 2008-2012
         NGWA – Council for External Relations, 2010 - 2012
         NGWA – Council for Planning, 2006 – 2010
         NGWA – Professional Development Committee Member, 2000 – (chair 2009-2010)
         NGWA – Groundwater Summit Co-Chair (2006): Committee Member (2005, 2007 – 2012)
         NGWA – National Certification Committee Member, 2002 – 2008
         NGWA – Finance and Budget Standing Committee, 2008 – Present
         NGWA – American Geological Institute Representative, 2009 – 2010




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  FUNDED GRANTS and CONTRACTS
  (CSUF total to date through 2011: $ 2,508,905)

  2004 – 2011
      Mojave Water Agency ($2,099,000); Grant for work on Water Resource Evaluation and Mapping
          – Mojave Desert Region (Alto, Este, Oeste and Centro Hydrologic Sub-areas).
  2003
      Mojave Water Agency ($217,000); Water Resource Research within the Mojave Desert. Part of
          this project is to development a GIS/Database inventory of all wells, groundwater elevations and
          hydrogeochemistry of each basin within the boundaries of MWA. Specific portions of the grant
          have been set aside to collect and analyze data from a 2,500 foot deep multiport monitoring well
          in the vicinity of Oro Grande Wash.
      Friends of the San Gabriel River ($32,000); Citizens Monitoring Program Development and
          Implication. This was funded through a State of California Grant (Prop 50).
  2002
      Mojave Water Agency ($57,405); Groundwater Investigations to look at potential recharge areas
          throughout the Southern Mojave Desert Area. Establishment of digital well log inventory and
          bibliographic search of all documents pertaining to MWA water agency. CSUF was also charged
          with developing a key well program for Lucerne Valley based on groundwater basin recharge.
      CSUF Service-Learning Mini-Grant ($1,500); The integration of Service Learning into Advanced
          Environmental Geology.
      Earth Consultants International, Inc. ($3,000); Geologic Interpretation of borehole geophysics.
          Involves the gamma-ray logging and interpretation of subsurface geology.
  2001
      CSUF Service-Learning Mini-Grant ($3,000); The integration of Service Learning into Advanced
          Hydrogeology Sampling.
      San Elijo Lagoon Conservancy ($35,000); Sediment Quality and Depositional Environment of
          San Elijo Lagoon.
      Los Angles Regional Water Quality Control Board ($31,000); The Santa Clara River Watershed;
          GPS and Observational Report on the Santa Clara River
      Grant to develop a web based model on Distance Calibration of Earth Images ($800). This was
          part of Advanced Technology in Science Learning Environments Grant through the Department
          of Biology.
      CSUF Summer Support Assistance ($5,000); This was summer support money to provide
          assistance in the sampling of water and soil throughout Orange County, California.
   2000
      Los Angeles Regional Water Quality Control Board ($25,000); The San Gabriel River
          Watershed; GPS and Observational Report on the San Gabriel River from the Whittier Narrows
          region to Seal Beach.




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  IN-KIND DONATIONS for Research / Projects

         Deep Multiport Westbay Monitoring Well ($300,000); A deep multiport monitoring well was
          installed on the northwestern portion of campus in order to develop a long-term monitoring
          program for groundwater in the north Orange County groundwater basin. The well was installed
          with sampling ports at 6 different zones to a total depth of 850 feet below ground level. The
          entire project was donated.
         Miscellaneous equipment, supplies and laboratory analysis has been donated for a multitude of
          different projects ($50,000). These donations have been used for student thesis research and
          classroom activities.
         Sampling Truck (value $30,000). The vehicle is specially designed to collect water samples
          downhole – equipped with twin generators and large capacity hydraulic system. Donated by
          Earth Technologies, Inc.
         Ford F-250 Pickup ($8,000); Donated by URS Corporation.
         Generator ($2,500); Donated by Aquifer Science and Technology.
         Software (Waterloo Hydrogeologic – Visual Modflow, AquiferTest and Aquachem) ($10,000).
         Software (Groundwater Vistas) ($2,500).
         Conference table and chairs ($500); Donated by URS Corporation.
         Arboretum Groundwater Study (approximately $10,000); Drilling and installation of 3
          monitoring wells for the purpose of developing curriculum for general hydrogeology. These
          wells are part of a larger project to interpret the hydrogeology of CSUF and the local area.




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  PROFESSIONAL PUBLICATIONS, ABSTRACTS, PRESENTATIONS and POSTERS

  Peer-Reviewed Publications (Published, Accepted, Submitted)

     1. Laton, W.R., 2006. Building Groundwater Monitoring Wells on Campus – A Case Study and
        Primer. Journal of Geoscience Education (Vol. 54, No. 1), pgs 50-53.
     2. Laton, W.R., Whitley, R.J., and Hromadka II, T.V., 2006. A Methodology for Identifying the
        Potential Source of Groundwater Contamination in a Multiple Source Problem Using a New
        Mathematical Approach. Hydrogeology Journal. DOI 10.1007/s10040-006-0106-4
     3. Laton, W.R., Hromadka II, T.V. and Picciuto J.A., 2006. Estimating Runoff Quantities for Flow
        and Volume-based BMP Design. Hydrological Science and Technology, Volume 22, No.1-4.
     4. Laton, W.R., 2004. Seepage, Flow and Chemical Partitioning Between the City of Parchment
        Wellfield and the Kalamazoo River, Southern Michigan. Journal of Floodplain Management
        (Vol. 4, No. 1), pgs 11-32.
     5. Foster, J.F., Laton, W.R., and Figueroa, O. Sudden Late Holocene closure of San Elijo Lagoon,
        northern San Diego County, California. Environmental and Engineering Geosciences (in review)
     6. Velarde, J.C., Foster, J.F. and Laton, W.R., A profile of two springs in the vicinity of Pitzer
        Buttes/Silver Creek, Lucerne Valley, San Bernardino County California. Hydrogeology Journal
        (in review)

  Guidebooks, Full Paper Proceedings and Articles

     1. Laton, W.R. and Krstich, B., 2010. Zoom Zoom, Public works managers are now using Google
        Earth to track environmental and water resources. Public Works Online. (Public Works Manual
        2010)
     2. Laton, W.R., 2005. The Cutting Edge “Teaching Hydrogeology in the 21 st Century”. NGWA-
        AGWSE News and Views. (article September, 2005)
     3. Jenson, J. and Laton, W.R., 2005. Second Annual Groundwater Summit. NGWA-AGWSE
        News and Views. (article September, 2005)
     4. Laton, W.R., 2004. Building Ground Water Monitoring Wells on Campus: A Case Study and
        Primer. NGWA-AGWSE News and Views. Vol. 1, Issue 1.
     5. D. Bausch, E. Gath, T. Gonzales, and R. Laton, 2000. GIS-Based Hazard Mapping and Loss
        Estimation in the Safety Element of the General Plan for Riverside County, California.
        California: EERI 6th International Conference on Seismic Zonation, Riverside County,
        California.
     6. Laton, W.R., 1Perez, R., and Bausch, D., 2000. New Hazard Maps for Riverside County,
        California. San Diego Association of Geologists annual field trip guidebook.
     7. Laton, W.R., 1992. Small-Scale Coastal Cells as Control Mechanisms on Sediment Movement;
        Identification and Mapping. OCEANS ‘92, Newport, Rhode Island.




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  PUBLIC REPORTS
  1. Foster, J., Laton, W.R., et. al., 2008. Geologic Map Series of Mojave Region. (750, 500, 250, 24’
      and 15’). Mojave Water Agency. Revised series Fall 2010.
  2. Laton, W.R., Foster, J., et. al., 2007. Oeste Hydrologic Sub-basin Report. Mojave Water Agency.
  3. Hromadka, II, T.V., Laton, W.R. and 2Perez, R., 2006. Hydrologic Data Report October 17-21, 2004
      Storms. Orange County Flood Control District.
  4. Laton, W.R., Foster, J., et. al., 2007. Groundwater Atlas of Oeste Hydrologic Sub-basin. Mojave
      Water Agency.
  5. Laton, W.R., Foster, J., 2Ebbs, V., 2Blazevic, M., and 1Napoli, N., 2007. Harper Lake Hydrologic
      Sub-basin Report. Mojave Water Agency.
  6. Laton, W.R., 1Napoli, N., and Eckhart, L., 2006. Flow between Basins –Baja Hydrologic Sub-Basin
      to Afton Canyon Report. Mojave Water Agency.
  7. Laton, W.R., 2Napoli, N., and Eckhart, L., 2006. Flow between Basins – Este to Alto Hydrologic
      Sub-Basins Report. Mojave Water Agency.
  8. Laton, W.R., 2Napoli, N., and Eckhart, L., 2006. Flow between Basins – Oeste to Alto Hydrologic
      Sub-Basins Report. Mojave Water Agency.
  9. Laton, W.R., 2Napoli, N., and Eckhart, L., 2006. Flow between Basins –Alto to Centro Hydrologic
      Sub-Basins Report. Mojave Water Agency.
  10. Laton, W.R., 1Napoli, N., and Eckhart, L., 2006. Flow between Basins – Centro to Baja Hydrologic
      Sub-Basins Report. Mojave Water Agency.
  11. Hromadka, II, T.V., Laton, W.R., and Picciuto, J.A., 2005. Estimating Runoff Quantities for Flow
      and Volume-based BMP Design. San Bernardino County Flood Control District.
  12. Laton, W.R., Foster, J., et. al., 2004. Este Hydrologic Sub-basin Report. Mojave Water Agency.
  13. Laton, W.R., Foster, J., et. al., 2004. Groundwater Atlas of Este Hydrologic Sub-basin. Mojave
      Water Agency.
  14. Laton, W.R., et. al., 2004. San Gabriel River Watershed Atlas. Friends of the San Gabriel River.
  15. Laton, W.R., et. al., 2004. San Gabriel River Watershed QAPP and Sampling Manual. Friends of the
      San Gabriel River.
  16. Laton, W.R, 2Kendall, D. and 2Lizzy, A., 2004. Drilling Methods and Materials. On-line course
      material for NGWA. (in review)
  17. 1Blazevic, M. and Laton, W.R., 2004. Mojave River Stream Gauging. Mojave Water Agency
  18. Laton, W.R., 2002. Taylor Yard and Los Angeles River Preliminary Groundwater and Surface Water
      Study, Groundwater Model of Taylor Yard and Vicinity, Los Angeles, California. California Coastal
      Conservancy.
  19. Laton, W.R. and Foster, J., 2001. Sediment Quality and Depositional Environment Of San Elijo
      Lagoon, San Diego County, California. San Elijo Nature Conservancy and Fish and Wildlife Service.
  20. Laton, W.R. and Foster, J., 2001. Santa Clara River Watershed Inventory. Los Angeles Regional
      Water Quality Control Board.
  21. Laton, W.R. and Foster, J., 2000. The San Gabriel River Watershed GPS and Observational Report
      on the San Gabriel River from the Whittier Narrows region to Seal Beach. Los Angeles Regional
      Water Quality Control Board.
  22. Straw, W.T., 2Hascall, A.P., 2Laton, W.R., and 1Dalman, M., 1997. Groundwater – Surface Water
      Interaction Study in Ross Township. City of Kalamazoo, Michigan.
  23. Straw, W.T. and 2Laton, W.R., 1993. WMU Austin Lake Aeration Feasibility Study Evaluation. City
      of Portage, Portage, Michigan.
  24. Straw, W.T., 2Wardwell, D.A. and 2Laton, W.R., 1992. An Evaluation of Undercurrent Stabilization
      Anchor System Installation at Douglas and Tawas City, Michigan. Michigan Department of Natural
      Resources.
  1
      Undergraduate Student
  2
      Graduate Student

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  Abstracts, Presentations and Posters
     1. Laton, W.R., 2011. Using Sand Tank Models to Teach about Groundwater. NGWA Expo, Las
         Vegas, NV. (workshop)
     2. *2Dailey, D.R., Sauck, W.A., Sultan, M., Milewski, A., Laton, W.R. and Foster, J.H., 2011.
         Geophysical and Remote Sensing Applications for better understanding of the Structural
         (Faults/Basement Uplifts) Controls on Groundwater Flow in the Lucerne Valley, California.
         GSA Annual Meeting. (abstract/presentation)
     3. Laton, W.R., 2011. Implications of Surface Water/Groundwater Interaction or Groundwater and
         the Impacts on Surface Water Delivery. Declining Groundwater Levels: Measuring, Monitoring,
         and Mitigation. NGWA Virtual Conference.
     4. Laton, W.R., 2011. Hydrogeology 101. Santa Susana Field Laboratory seminar series.
         (workshop)
     5. *2Barker, S., Laton, W.R. and Foster, J.H., 2010. An investigation of potential surficial recharge
         in the Lucerne Valley groundwater basin, Mojave Desert, CA. Cordilleran Section, GSA,
         Anaheim, CA. (abstract/presentation)
     6. Laton, W.R., 2010. Boring Logs – What’s Important and What’s Not: A Scientific Viewpoint.
         GRA Webinar.
     7. Laton, W.R., 2010. Using Google Earth in Water Resources Research. NGWA Webinar.
     8. Laton, W.R., 2010. Hydrogeology 101. NGWA National McEllhiney Lecture 2010, Sponsored
         by the NGWAREF (Invited 7 presentations throughout the U.S.)
     9. Laton, Richard, *2Al Harbi, Talal, Sauck, William A., Foster, John, Sultan, Mohamed, Milewski,
         Adam, Marsala, Peter, Balekai, Rajesh, and Salim, Hassan, 2009. Use of Geophysical and
         Remote Sensing Data for a Better Understanding of the Hydrologic Role of Faults in the Mojave
         Desert. GSA Annual Meeting. (abstract/poster)
     10. Laton, W.R., 2009. Using Google Earth. NGWA Expo, New Orleans, LA. (workshop)
     11. Laton, W.R., 2009. Hydrogeology 101. NGWA Expo, New Orleans, LA. (workshop)
     12. Laton, W.R., 2009. Boring Logs – What’s Important and What’s Not: A Scientific Viewpoint.
         NGWA National McEllhiney Lecture 2009, Sponsored by NGWAREF. (Invited 30+
         presentations throughout North America)
     13. Foster, J.H. and Laton, W.R., 2008. Groundwater Resources Sustainability in the Victorville
         Area: Results from the Oro Grande Wash Recharge Pilot Study. Association of Engineering
         Geologist. (abstract/presentation)
     14. *1Dailey, D., Laton, W.R., and Foster, J.H., 2008. New Detailed Model for El Mirage Subsurface
         Geology, El Mirage, CA. GRA Annual Meeting. (abstract/poster)
     15. *1Velarde, J.C., Foster, J.H., and Laton, W.R., 2008. The Geology of Spring Systems in the
         Vicinity of White Mountain/Silver Creek, Lucerne Valley, San Bernardino County California.
         GRA Annual Meeting. (abstract/poster)
     16. *2Monzon, E. and Laton, W.R., 2008. Estimating Applied Irrigation for Urban Landscapes in
         South Coast California, using Theoretical and Conventional Means. GRA Annual Meeting.
         (abstract/poster)
     17. Lizzi, A.., Laton, W.R., Foster, J.H., 2008. Evaluation of the Potential Groundwater Resources
         of A Confined Aquifer, San Diego County, California. NGWA Groundwater Summit
         (abstract/presentation)
     18. Laton, W.R., 2006. Surface Water and Ground Water: How the Two Interact. NGWA National
         Meeting. (Invited – presentation)
     19. *1Cruikshank, M.J., Foster, J.H. and Laton W.R., 2006. Presence of Deep High Quality Ground
         Water in El Mirage Valley, San Bernardino County, California. NGWA Groundwater Summit
         (abstract/poster)(Outstanding Research Award)
     20. *2Surko, T., Armstrong, P.A. and Laton, W.R., 2006. Gravity Survey of Lucerne Valley Ground
         Water Basin, Mojave Desert, Southern California: Implications for Basin Geometry and
         Structure. NGWA Groundwater Summit (abstract/presentation)

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     21. *2Barthel, P.S. and Laton, W.R., 2006. Desert Studies Center: A Hydrogeologic Model and
         Water Budget. NGWA Groundwater Summit (abstract/presentation)
     22. Laton, W.R., 2005. Methods to Determine Basin Yield. GRA Groundwater Resources Series –
         Basin Yield and Overdraft: Scientific and Legal Perspective. (Invited – presentation)
     23. Laton, W.R., 2005. Borehole Logging from Sample Collection to Borehole Geophysics.
         Presented at NSF Workshop on “Teaching Hydrogeology in the 21 st Century”. (presentation/lab
         write-up)
     24. Laton, W.R., 2005. Water Budget Analysis – A Story of Two Arid Region Groundwater Basins.
         CEA-Crest Symposium on Arid Hydrology. (abstract/presentation)
     25. *Laton, W.R., Hromadka, T., Yeager, M., Picciuto, J. and Whitely, B., 2005. A New Method for
         Estimating Runoff Quantities for Flow and Volume-based BMP Design. CASQA Conference.
         (abstract/presentation)
     26. *2Lizzi, A.L., Laton, W.R. and Foster, J., 2005. Evaluation of the Potential Groundwater
         Resources of the Golem Well West Rancho Bernardo, San Diego County, California. NGWA
         2005 Groundwater Summit. (abstract/poster)
     27. *2Boeke, B., Laton, W.R. and Foster, J., 2005. Groundwater Potential for Harper Dry Lake:
         Implications for Ground Water Availability in Harper Valley, San Bernardino County,
         California. NGWA 2005 Groundwater Summit. (abstract/poster)
     28. *2Kolstad, K. and Laton, W.R., 2005. Hydrocarbon Soil Vapor: Actual vs Predicted. NGWA
         2005 Groundwater Summit. (abstract/poster)
     29. *1Napoli, N. and Laton, W.R., 2005. Hydrogeologic Evaluation of a Desert Groundwater Basin;
         Lucerne Valley, California. NGWA 2005 Groundwater Summit. (abstract/poster)
     30. *2Perez, R. Foster, J. and Laton, W.R., 2005. The Redefining of a Groundwater Basin, Alto Sub
         Basin, Southwestern Mojave Desert, California. NGWA 2005 Groundwater Summit.
         (abstract/poster)
     31. *2Surko, T.L., Armstrong, P. and Laton, W.R., 2005. Gravity Survey of Lucerne Valley
         Groundwater Basin, Mojave Desert, Southern California: implications for basin geometry and
         structure. NGWA 2005 Groundwater Summit. (abstract/poster)
     32. *1Blazevic, M., 1Napoli, N., Foster, J. and Laton, W.R., 2004. Subsurface Geologic Investigation
         of a closed Alluvial Basin: Lucerne Valley, San Bernardino County, California. Groundwater
         Resources Association of California Annual Meeting. (abstract/poster)
     33. *1Napoli, N., 1Blazevic, M., Laton, W.R. and Foster, J., 2004. Hydrogeologic Evaluation of a
         Desert Groundwater Basin; Lucerne Valley, California. Groundwater Resources Association of
         California Annual Meeting. (abstract/poster)
     34. *2Perez, R., Foster, J. and Laton, W.R., 2004. Just how deep is it?; Alto Deep Well and its
         impacts to Alto Groundwater Sub-Basin Geology. Groundwater Resources Association of
         California Annual Meeting. (abstract/poster)
     35. 2Hunt, S. and *Laton, W.R., 2004. Update on Geochemical Analysis of the Central Basin, Los
         Angeles County, California. Groundwater Resources Association of California Annual Meeting.
         (abstract/poster)
     36. *2Haj-Manouchehri, D. And Laton, W.R., 2003. Water Quality in Relation to Watershed
         Management in the Lower San Gabriel River, Southern California.                  WRI conference
         (abstract/poster)
     37. Laton, W.R., 2003. Lessons Learned; Groundwater Flow Model – Taylor Yard, Los Angeles.
         South Coast Geological Society. October 6, 2003. (Invited – presentation)
     38. *Laton, W.R. and 1Dolmat, J., 2003. Deep Multiport Research Monitoring Well, CSF-1,
         Fullerton, CA: Stratigraphy, Lithology and Geologic Setting. National Ground Water Conference.
         (abstract/TIPS)
     39. 2Figueroa, O. and *Laton, W.R., 2003. Ground Water Modeling of a Coastal Aquifer Malibu,
         California. National Ground Water Conference. (abstract/TIPS)


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     40. *2Williams, S. and Laton, W.R., 2003. Hydrogeologic Investigation of a Shallow Aquifer System
         Using Long Term Aquifer Tests and Water Level Monitoring, Lower Borrego Canyon Wash,
         Irvine CA. National Ground Water Conference. (abstract/TIPS)
     41. *2Hasegawa, S. and Laton, W.R., 2003. Risk Assessment of Point and Non Point Source Pollution
         on Water Resources along the Santa Ana River. California Groundwater Conference.
         (abstract/poster)
     42. *1Dolmat, J. and Laton, W.R., 2003. Deep Multiport Research Monitoring Well, CSF-1,
         Fullerton, CA: Stratigraphy, Lithology and Geologic Setting. California Groundwater
         Conference. (abstract/poster)
     43. *2Williams, S. and Laton, W.R., 2003. Hydrogeologic Investigation of a Shallow Aquifer System
         Using Long Term Aquifer Tests and Precipitation Induced Recharge Data Lower Borrego
         Canyon Wash, Orange County California. California Groundwater Conference. (abstract/poster)
     44. 2Hunt, S. and *Laton, W.R., 2003. Geochemical Analysis of the Central Basin, Los Angeles
         County, California. California Groundwater Conference. (abstract/poster)
     45. Laton, W.R., 2002. Taylor Yard and Los Angeles River, Preliminary Groundwater and Surface
         Water Study Groundwater Model of Taylor Yard and Vicinity Los Angeles, California. NGWA
         National Meeting. (abstract/poster)
     46. 1Otto Figueroa and *Laton, W.R., 2002. Hydrogeologic Characterization and Assessment of
         Impacts of Wastewater Discharge for Proposed Construction, Trancas Canyon, Malibu,
         California. NGWA National Meeting. (abstract/poster)
     47. *Laton, W.R., 2Sean Hunt, and Foster, J., 2002. The Impact of Groundwater – Surface Water
         Interaction on Contaminant Distribution, San Elijo Lagoon, California. NGWA National
         Meeting. (abstract/poster)
     48. Laton, W.R., 2002. – Taylor Yard and Los Angeles River Preliminary Groundwater and Surface
         Water Study, Groundwater Model of Taylor Yard and Vicinity, Los Angeles, California.
         California Coastal Conservancy. (Invited – presentation)
     49. Laton, W.R., 2001. Distance Calibration of Earth Images – To design and develop a Web
         delivered lesson showing an Advance in Information Technology that can be used in a Science
         Learning Environment for In-service Teachers (online lesson plan).
     50. Laton, W.R., 2001. The Role of Groundwater in Geologic Hazards. California Science Academy
         (CEA-Crest). (abstract/presentation)
     51. Laton, W.R., 2001. Natural Hazards Mapping, Thailand. Thailand Geological Survey.
         (presentation)
     52. Laton, W.R., 2001. Subsidence evaluation and assessment, Bangkok, Thailand. Thailand
         Geological Survey. (presentation)
     53. *Laton, W.R., *1Perez, R., and *1Figueroa, O., 2000. Natural Hazard Mapping – A GIS
         Approach. CSUF Geology Department.
     54. Laton, W.R., 2000. Natural Hazards Assessment of Temecula, California. San Diego
         Association of Geologists annual field trip. (presentation)
     55. *Sauck, W. A., Laton, W.R., 2Seng, D.L., and 2Vandereide, M.A., 2000. Ground-penetrating
         radar investigations of nearshore sediments of eastern Lake Michigan. IAGLR 2000.
     56. Laton, W.R., 1999. Watershed Management and Sampling Protocol. Korean Ministry of
         Environment and Environmental Management Corporation short course. (Invited – presentation)
     57. Laton, W.R., 1999. Environmental Sampling – what, when and why. Port of Los Angeles,
         Environmental Group. (Invited – presentation)
     58. Laton, W.R., 1998. Single Point Pneumatic Slug Test, Soil Vapor Extraction (SVE) Testing
         During Initial Site Investigation. Hazardous Waste Section, SMARTech ‘98, Raleigh, NC.
         (abstract/presentation)
     59. Laton, W.R., 1998. SimulProbe® Environmental Core Barrel. EPA National Site Assessment
         Conference. Denver, CO. (Invited – presentation)


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        60. *Marcus, D.L., 2Bonds, C.L. and Laton, W.R., 1997. Rapid Screening using the SimulProbe
            Multimedia Sampler – Case Histories and Future Directions. New England Environmental
            Exposition. (abstract/presentation)
        61. *2Laton, W.R., 2Hascall, A.P., 2Atekewana, E.A., Hampton, D.R., 1996. Seepage Meter Spatial
            and Temporal Variability in the Study of Groundwater Interaction With Surface Water Features.
            American Geophysical Union, San Francisco, CA. (abstract/presentation)
        62. 2Laton, W.R., 1996. Well Grouting Research. Michigan Environmental Health Association,
            Ground Water Conference, Thompsonville, MI. (Invited – presentation)
        63. 2Laton, W.R., 1996. SimulProbe Sampling in Contaminated Areas. University of Michigan
            Summer        Hydrogeology       Field   Course,      Wortsmith       Research  Center,  MI.
            (demonstration/presentation)
        64. *Barnes, D.A., 2Kovacich, M.S., 2Limez, S., and 2Laton, W.R., 1995. Error Analysis in Great
            Lakes Beach Profile Surveying Techniques. Canadian Coastal Conference, Dartmoth, Nova
            Scotia. (abstract/presentation)
        65. 2Laton, W.R., 1995. Environmental Uses of Low-Altitude Aerial Photography. Colloquium on
            Environmental Earth Science, Western Michigan University, Kalamazoo, MI. (presentation)
        66. 2Laton, W.R., 1995. Environmental Uses of Low-Altitude Aerial Photography. Hi-Shots
            International Conference, Saint Louis, Missouri. (Invited – presentation)
        67. *Mackey, S.D., Guy, D.E., 2Laton, W.R., and 2Kovacich, M., 1994. Geologic Framework of an
            Eroded Lake Erie Coastal Marsh – Metzger Marsh, Ohio. North-Central Geological Society of
            America, Kalamazoo, Michigan. (abstract/presentation)
        68. *Vincent, R.K., 2Laton, W.R. and 2Sattler, J., 1993. Detailed Modeling of Solid Waste Landfill
            Surface Water Run-off from High Resolution Elevation Data Automatically extracted From
            Stereo Photos Taken by a Camera on a Tethered Balloon Platform. Association of Engineering
            Geologists, San Antonio, Texas. (abstract/presentation)
        69. 2Laton, W.R., 1993. Site Characterization and Mapping Utilizing a Tethered Balloon System.
            HI-SHOTS International Convention, Saint Louis, Missouri. (Invited – presentation)
        70. 2Laton, W.R., 1992. Coastal Processes and Use of a Blimp. Shoreline Erosion and Coastal
            Processes in Berrien County, Lake Michigan College Environmental Center, St. Joseph,
            Michigan. (abstract/presentation)
        71. *2Laton, W.R. and Straw, W.T., 1992. Small-Scale Coastal Cells; Identification and Mapping.
            First Thematic Conference, Remote Sensing for Marine and Coastal Environments, New Orleans,
            Louisiana. (abstract/poster)
        72. 2Laton, W.R., 1991. Undercurrent Stabilization Anchor Systems at Tawas on Lake Huron and
            Douglas on Lake Michigan – A One-Year Study. Michigan Academy of Science, Ypsilanti,
            Michigan. (abstract/presentation)
  1
   Undergraduate Student
  2
   Graduate Student
  * Presenter

  Publications in Preparation

        1. Laton, W.R., and Hromadka II, T.V. Statistical evaluation of residental overwatering in Southern
           California. To be submitted to Hydrogeology Journal in 2011.
        2. Laton, W.R., Foster, J., and Blazevic, M. Hydrogeological Investigation of a Closed Alluvial
           Basin: Lucerne Valley, San Bernardino County, California. To be submitted to Hydrogeology
           Journal in 2011.




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      SUPERVISED COMPLETED THESES


                        Student Name         Year    Degree                             Thesis Title
                                                                Subsurface Mapping of the El Mirage Groundwater Barrier,
                  Daley, Dale                2008      BS
                                                                San Bernardino County, California
                                                                Hydrogeological Investigation of a Open Alluvial Basin:
                  Cruikshank, Michael        2006      BS       Oeste Hydrologic Sub-basin, San Bernardino County,
                                                                California
                                                                Deep Multiport Research Monitoring Well, CSF-1,
                  Dolmat, Joan               2006      BS
                                                                Fullerton, CA: Stratigraphy, Lithology and Geologic Setting
                                                                Hydrogeological Investigation of a Closed Alluvial Basin:
                  Blazevic, Mike             2005      BS
                                                                Lucerne Valley, San Bernardino County, California
 Bachelors (BS)




                                                                Change In Groundwater Storage in the Lucerne Valley
                  Napoli, Nick               2005      BS       Groundwater Sub-Basin — 1954 To 2002, Lucerne Valley,
                                                                California
                                                                Remediation of Soil and Groundwater at a Former Service
                  Brendle, Christine         2004      BS
                                                                Station
                  Evans, Rachel              2003      BS       Water Quality Analysis – Yellowstone National Park
                  Thomas, Sean               2003      BS       Dewatering Plan for the El Toro Area
                                                                Angels Camp – Gamma Ray Logging Examination and
                  Wiles, Steffy              2002      BS
                                                                Correlation
                                                                Hydrogeologic Characterization and Assessment of Impacts
                  Figueroa, Otto             2002      BS       of Wastewater Discharge for Proposed Construction,
                                                                Trancas Canyon, Malibu, California
                                                                Hydrogeologic and Geologic Considerations for Selected
                  Brand, Randy               2002      BS       sites near the Santa Margarita, Upper Ysidora, and Lower
                                                                Ysidora Groundwater Basins in Southern California
                                                                Geologic History of San Elijo Lagoon San Diego County,
                  Vortis, Kevin              2001      BS
                                                                California
                                                                Water Quality Testing and Monitoring Program at the Santa
                  Rashidi-Fard, Shaghayegh   2001      BS
                                                                Rosa Ecological Reserve
                  Fields, David              2001      BS       Orange County Groundwater Contour Maps for 2000




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                       Student Name         Year    Degree                              Thesis Title
                                                               Quantifying Forest Natural Background and Road Sediment Yield
                Rimbenieks, Mikaila         2011    MS-Enst    in Big Bear Lake, California
                                                               Desalination in Southern California: The Inevitable wave of the
                Evans, Patrick James        2011    MS-Enst    future
                                                               An Investigation of the Potential for Surficial Recharge in the
                Barker, Shelby              2010      MS       Lucerne Valley Groundwater Basin, Mojave Desert, CA
                                                               Testing the Relationship of Dissolved Metals in Stormwater,
                Luedy, Justin               2009    MS-Enst    Newport Beach, California
                                                               Estimating Applied Irrigation for Urban Landscapes in South
                Monzon, Eric                2008    MS-Enst    Coast Southern California, Using Theoretical and Conventional
                                                               Means
                                                               Water Budget and Hydrogeologic Model of Spring Flow at
                Barthel, Peggy              2008      MS       Limestone Hill, Zzyzx Desert Studies Center
                Ebbs, Veva                  2007    MS-Enst    Groundwater flow into Harper Lake, California
                                                               Analysis of a Steady-State Model: Prediction of Trichloroethylene
                Kolstad, Kenneth            2007      MS       Vapor Concentration, Using Known Dissolved Phase
                                                               Concentration
                                                               Evaluation of the Potential Groundwater Resources of the Golem
                Lizzi, Anthony              2007      MS       Well West Rancho Bernardo, San Diego County, California
                                                               Evidence of a North Projecting Ancient Boulder Thalweg in
 Masters (MS)




                Patschull, Eric             2007      MS       Latest Quaternary Deposits of the Santa Ana River, Orange
                                                               County, California
                                                               Artificial Recharge as Possible Causes of Observed Long –Term
                                                               Change in Transmissivity for the Aquifers of the San Pedro
                Hunt, Sean                  2006      MS
                                                               Formation in the Central Basin of the Greater Los Angeles Basin,
                                                               California
                                                               Hydrogeologic Investigation of a Shallow Aquifer System with
                Williams, Steve             2006      MS
                                                               Emphasis on Precipitation Induced Groundwater
                                                               Application of Convex Hull in Identifying Pollution Sources in
                Nguyen, Chinh               2005    MS-Enst    the Central and West Coast Basins, Los Angeles County,
                                                               California
                                                               Water Chemistry and Groundwater Flow for the San Bernardino
                McCurdy, Jim                2004    MS-Enst
                                                               Mountains
                                                               The Fate of Perchlorate: A Look at Perchlorate Entering Orange
                Versluis, Patrick           2004    MS-Enst
                                                               County's Groundwater
                                                               Water Quality In Relation To Watershed Management In The
                Hajmanouchehri, Daneh       2004    MS-Enst    Lower San Gabriel River, Southern California
                                                               Performance Assessment On Water Quality And Biological
                Yuen, Pansy                 2004    MS-Enst    Effects Of Urban Stormwater Runoff, Norco Hills Wetland,
                                                               Riverside County, California
                                                               Groundwater Flow Model of a Coastal Aquifer, Malibu,
                Figueroa, Otto              2003      MS       California
                                                               Environmental Hazard Risk Assessment on Water Resources
                Hasegawa, Shuichi           2003    MS-Enst    along the Santa Ana River
                                                               Monitoring the Rocky Inter-tidal Zone of Crystal Cove State
                Kerza-Kwiatecki, Paul       2003    MS-Enst
                                                               Park; Creation of an interactive GIS bio-database
                                                               The Importance of Wetland Monitoring: A Case Study of a
                Springer, Ben               2003    MS-Enst
                                                               Restored Wetland in Norco, California
                                                               An examination of the benefits and costs to implement the
                Rosales, Tom                2002    MS-Enst    Municipal Storm Water Permit for Orange County – similarities
                                                               and differences between coastal and inland cities
                Schmucker, Kelly            2002    MS-Enst    Water Quality of a Wetland A Case Study In Norco, CA
                Eckhart, Lance              2001    MS-Enst    Vertical Gradient Investigation of a Southern California Landfill




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  ATTENDED SHORT-COURSES, WORKSHOPS
         IGSHPA – Train the Trainer Course
         AAPG – Environmental Regulatory Course
         Advanced Technologies for Accelerated Natural Attenuation
         Applied Microbiology – Understanding Bacterial Augmentation, Montreal, Canada
         Baroid Industrial Drilling Products – Drilling and Boring Fluids (Workshop)
         CWEA – How to Start, Perform and Complete a Successful Public Works Water/Wastewater Project
         EPA – Bioremediation of Hazardous Wastes: Research, Development, and Field Evaluations
         EPA – Natural Attenuation; EPA – Statistical Analysis of Ground Water Data (GRITSTAT)
         EPO/GRA – Aquifer Remediation: Bioremediation and Oxidation Technologies
         FEMA – Advanced HAZUS Training for GIS Professionals
         Managing Toxics in Michigan – Air, Waste and Remediation (Workshop)
         MGWA & MDPH – Ground Water & Wells Fundamentals
         Michigan Citizens Conference/Workshop on Great Lakes Areas of Concern
         NGWA – Remediation of Ground Water Contamination
         NSF – The Cutting Edge “Teaching Hydrogeology in the 21st Century”
         Protecting Water Quality through Land Use Planning & Zoning (Workshop)
         Reducing Risk in High Seismic Hazard Zones
         Seismic Reflection/Refraction Interpretation (Workshop)

  AFFILIATIONS
         American Geophysical Union
         American Society for Photogrammetry and Remote Sensing
         California Groundwater Association
         California Hydrological Society
         Groundwater Resources Association of California
         International Association of Hydrogeology
         National Ground Water Association
         International Ground Source Heat Pump Association

  VOLUNTEER WORK
         Elementary School presentations annually: “The Water Cycle”
         Little League: Coaching assistant, score keeper.
         CSUF – Gerontology Seminar Series (2005)
         Boy Scouts of America Troop, Identification of Rocks (2000 – 2008)
         NGWA – Developed on-line Well Construction and Development Course (2004)
         El Dorado Nature Center – Provided expertise for a variety of activities.
         National Sanitary Foundation – Worked on task force to rewrite standards for water well aids material.




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              DATA AND OTHER DOCUMENTS CONSIDERED




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  EXHIBIT C
  DATA AND OTHER DOCUMENTS CONSIDERED

  Data and other documents considered for this report were received and produced from various
  agencies and entities from Public Records Act (PRA) and Freedom of Information Act (FOIA)
  requests and non-party subpoenas. The various agencies and entities from which the data or
  other information was received, and other documents relied upon, are listed below:

        California Department of Food and Agriculture (CDFA) Fertilizer Tonnage Reports
         (REF009846-REF012009)
        Carollo Engineering
             o Documents produced pursuant to subpoena issued by on 5/10/2011.
        City of Chino
             o Documents produced pursuant to PRA request issued on 7/08/2011
        City of Chino Hills
             o Documents produced pursuant to PRA request issued on 7/08/2011
        City of La Verne
             o Documents produced pursuant to PRA request issued on 8/01/2011
        City of Ontario
             o Documents produced pursuant to PRA request issued on 7/08/2011
        City of Pomona
             o Documents produced pursuant to PRA request issued on 1/28/2011
        Collins Law Firm
             o Documents produced pursuant to subpoena issued on 7/01/2011
        Cucamonga Valley Water District
             o Documents produced pursuant to PRA request issued on 7/08/2011
        Deposition of Bradley Coffey, Vol. 1 &2, 2011
        Department of Toxic Substances Control (DTSC)
             o Records from the DTSC regarding the General Dynamics/NIROP Site, received
                 in response to a March 21, 2011 and August 8, 2011 PRA request.
        Envirogen
             o Documents produced pursuant to subpoena issued on 7/28/2011
        Inland Empire Utilities Agency (IEUA)
             o Documents produced pursuant to PRA request issued on 7/29/2011
        Law Firm of Baker & McKenzie (S011002081_1108051806000,
         S011002081_110805184000, S011002081_1108051820000)
             o Documents produced pursuant to subpoena issued on 7/12/2011
        Los Angeles County Sanitation District
        Malcom Pirnie
             o Documents produced pursuant to subpoena issued on 6/20/2011
        Metropolitan Water District (MWD)
             o Documents produced pursuant to PRA request issued on 1/28/2011
        Monte Vista Water District (MVWD)
             o Documents produced pursuant to PRA request issued on 7/08/2011
        Regional Water Quality Control Board (RWQCB)

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             o Records from the RWQCB regarding the General Dynamics/NIROP Site,
                received in response to a Feb 9, 2011 and August 8, 2011 PRA request.
        Six Basins Watermaster
             o Documents produced pursuant to PRA request issued on 8/29/2011
        Three Valleys Municipal Water District (TVMWD)
             o Documents produced pursuant to PRA request issued on 7/29/2011
        Truesdail Laboratories
             o Documents produced pursuant to subpoena issued on 5/03/2011
        United States Department of Defense (US DoD)
             o Documents produced pursuant to FOIA request issued on 2/10/2011
        United States Geological Survey (USGS)
             o Documents produced pursuant to FOIA request issued on 4/08/2011
        Weck Laboratories
             o Documents produced pursuant to subpoena issued on 5/03/2011
        Western Municipal Water District (WMWD)
             o Documents produced pursuant to PRA request issued on 7/29/2011
        Wildermuth Environmental (00000001-00009078)
             o Documents produced pursuant to subpoena issued on 5/10/2011
        Wildman Harold Law Firm
             o Documents produced pursuant to subpoena issued on 7/01/2011
        Los Angeles County Sanitation District
             o September 19, 2011, Ramon Gallegos of EEC to Earl Elrod of Inland Empire
                Utilities Agency, Email request for connected industries, construction and repair
                records, overflows, spills, and sampling results associated with the Non-
                reclaimable Water System.
             o September 19, 2011, Ramon Gallegos of EEC to Laurie Waite, Email request for
                connected industries, construction and repair records, overflows, spills, and
                sampling results associated with the Non-Reclaimable Water System
             o September 19, 2011, Devina Horvath of EEC to Patricia Johnson of the Los
                Angeles County Sanitation District; Email request for connected industries,
                construction and repair records, overflows, spills, and sampling results
                associated with the Chino Basin Waste Water Line.
             o September 19, 2011, Devina Horvath of EEC to Patricia Johnson of the Los
                Angeles County Sanitation District, Fax request for connected industries,
                construction and repair records, overflows, spills, and sampling results
                associated with the Chino Basin Waste Water Line
             o September 21, 2011, Devina Horvath of EEC to Suzanne Weinke of the Los
                Angeles County Sanitation District, Fax request
             o September 28, 2011, Devina Horvath of EEC to Laurie Waite of Inland Empire
                Utilities Agency; Email request for permits associated with specific dischargers to
                the Non-Reclaimable Water System, as well as permits associated with specific
                chemical compounds.
             o September 28, 2011, Devina Horvath of EEC to Suzanne Weinke of the Los
                Angeles County Sanitation District; Fax requesting as-built records for the
                Edison-Etiwanda Waste Water Line, a list of permitted dischargers to the Edison-


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               Etiwanda Waste Water Line, and specific permit records for the Chino Basin
               Waste Water Line.
            o September 28, 2011, Devina Horvath of EEC to Suzanne Weinke of the Los
               Angeles county Sanitation district; Fax requesting CCTV videos for the Chino
               Basin Waste Water and Edison-Etiwanda Waste Water Lines.
            o September 29, 2011, Devina Horvath of EEC to Laurie Waite of Inland Empire
               Utilities Agency; Email request for GIS files of the manholes associated with the
               IEUA Capital Improvement Plan inspections of the Non-Reclaimable Water
               System.
        Los Angeles County Department of Health Services
            o Documents produced pursuant to subpoena issued on 5/10/2011
        Metropolitan Water District water sale records 1948-1977
        CA DPH Drinking Water Database,1960-2011


  Miscellaneous Documents

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        GeoPentech (2008) Assessment of Perchlorate in Colorado River Water and Its
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        LA County Public Works Water Resources Department Groundwater Level Data,
         http://dpw.lacounty.gov/wrd/wellinfo/




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       Date               Type                                                     Title                                                      Consultant/ Source/Author                       File Name                        Bates #
   5/26/05‐5/27/05 Published Paper     "Maybe Corn Does Grow Better When It's Near a Missile Site"                                         Steven L. Hoch.                     Perchlorate and fertilizer

        9/13/1961 News Paper Article $51.1 Million Order Given Missile Plant                                                               LA Times                            LATimes_1961_GDMissleContract

       12/11/1955 News Paper Article $700,000 Plant Expansion Now Nearing Finish                                                           LA Times                            1955_LATimes_PlantExpansion
                                                                                                                                           California Department of
               2011 Presentation       1932 Los Angeles County Fair in Pomona, Display of Citrus Grown in Various Counties of the State    Agriculture                         CADA_2011_Ca_Citrus_Stats
                                                                                                                                                                               tatus_Report_on_Recycled_Water_Use__
                     Report            19th Annual Status Report on Recycled Water Fiscal Year 2007‐08                                     Sanitation Districts of LA County   FY_07‐08
             9/30/11 Online Article    2.10.1 Properties and Behavior of Explosives                                                        FRTR                                flares

                                                                                                                                           FRTR Remediation Technologies
                                                                                                                                           Screening Matrix and Reference      2.10.1 Properties and Behavior of
                  Online Article       2.10.1 Properties and Behavior of Explosives                                                        Guide, Version 4.0                  Explosives
        11/1/2005 Report               2005 Regional Urban Water Management Plan Volume II                                                 Inland Empire Utilities Agency      2005UrbanWaterManagementPlan
                                                                                                                                                                                                                         Wildermuth 00001215‐
        11/1/2007 Report               2007 CBWM Groundwater Model Documentation and Evaluation of the Peace II Project Description Wildermuth                                 Wildermuth_00001215                       00001647

        2/27/2009 Exhibit of report    2008 Annual Report ‐ Industrial Waste Pretreatment Program ( Exhibit E ‐ IW Reports on incidents)                                       LACSD_2008AnnualReport_Exhibit E

       11/25/2009 Report               2009 Production Optimization and Evaluation of the Peace II Project Description Final Report        Wildermuth                          2009prod‐opt_n_peace2_eval
                                                                                                                                                                                                                         Wildermuth 00002422‐
        11/1/2009 Report               2009 Production Optimization and Evaluation of….                                                    Wildermuth                          Wildermuth_00002422                       00002618

        2/25/2011 Appendix of Report 2010 Annual Report ‐ Industrial Waste Pretreatment Program ( Appendix E)                                                                  LACSD_2010_AnnualReport_Appendix E
                                     2010 Annual Report ‐ Industrial Waste Pretreatment Program Appendix B ( Significant Industrial                                            LACSD_2010_AnnualReport_Appendix B ‐
        2/25/2011 Report             Users and Discharge Limits)                                                                           Sanitation District of LA County    Copy
         6/1/2010 Report             2010 Recharge Master Plan Update                                                                      Wildermuth                          2010 Recharge MP (Folder)
                                                                                                                                                                                                                         Wildermuth 00002907‐
         6/1/2010 Report               2010 Recharge Master Plan Update (Volume I ‐ Final Report)                                          Wildermuth                          Wildermuth_00002907                       00003215
                                                                                                                                                                                                                         Wildermuth 00002619‐
         6/1/2010                      2010 Recharge Master Plan Update (Volume II ‐ Appendices)                                           Wildermuth                          Wildermuth_00002619                       00002906
         7/1/2011 Report               2010 Urban Water Management Plan ‐ Claremont (draft report)                                         Kennedy/Jenks Consultants           Claremont_GSWCUWMPDraf

                                       286 F.2d 691 National Labor Relations Board, Petitioner, v. Convair Pomona‐‐a Division of Convair, a                                    1961_CourtCase_LaborUnion_286.F2d.69
         2/8/1961 Case Summary         Division of General Dynamics, Respondent No. 16967. United States Court of Appeals Ninth Circuit.                                       1.16967
        6/24/1982 Reports              301.3.2 Pre‐treatment Program FY 82/83 Annual Reports                                                                                   82‐83
        6/30/1985 Reports              301.3.2 Pre‐treatment Program FY 83/84 Annual Reports                                                                                   83‐84
             2010 Report               33rd Annual Report Fiscal Year 2009‐10                                                               Chino Basin Watermaster            33rd Annual Report
                  Photos               4 Photos titled Montclair                                                                                                               montclair‐1,2,3,4
                  Photos               5 photos named : Salitre, View Humber, Drawing Humber, Museum Humber, Santa Laura

         3/1/1963 News Paper Article 5 Recovering from Pomona Missile Blast                                                                LA Times                            1963_LATimes_MissileExplosion
             1976 Report             A Primer on Waste Water Treatment                                                                     U.S. Department of the Interior     EPA_19692000T6Y8
                                                                                                                                                                               Weber_xxxx_PerchlorateInFertilizers_Def
             12/3/03 Presentation      A Product Defense Story: Perchlorate in Fertilizers                                                 Linda Weber                         ensestory
                                                                                                                                                                               1976_UNLV_ERS_WaterQualityofLakeMea
       10/28/1976 Report               A Review of the Limnology of and Water Quality Standards for Lake Mead                          Ecological Research Associates          d_bitstream
                                       A White Paper Describing Produced Water from Production of Crude Oil, Natural Gas, and Coal Bed
         1/1/2004 Report               Methane                                                                                         Argoone National Laboratory             ProducedWatersWP0401
                                       Active Production Wells by Pool Production Wells as of Fiscal Year 2007‐08                      Wildermuth                              ActiveProductionWellsBrineLine




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      Date                   Type                                                        Title                                             Consultant/ Source/Author                        File Name                  Bates #

        2/21/1982 News Paper Article Ad talking about engineering opportunities                                                         LA Times                             1982_LATimes_DisplayAd
                  Report             Administrative Order on Consent                                                                    EPA                                  Dodson ref to OII
                                                                                                                                        AIAA/BMDO Technology
   8/18/97‐8/22/97                       AEGIS LEAP Intercept (ALI)/Standard Missile Three(SM‐#) Flight Test Program Overview           Readiness                            a329084
                     Table               Aerial Photograph Review Summary                                                               AMEC Geomatrix, Inc.                 Tables
                                         Aerojet, Chino Hills, OB/OD Closure Determination, Cleanup Activities Update, Public Comment
         3/1/2011 Fact Sheet             Period & Open House                                                                            State of California/Cal/EPA          Aerojet_FS_Cleanup_Activities
                                                                                                                                        State Water Resources Control        GeoTracker_Aerospace Aluminum Heat
                     Online Article      Aerospace Aluminum Heat Treating(SL184921475)                                                  Board GeoTracker                     Treating

         1/4/1963 News Paper Article Aerospace Industry's Growth Remains Steady                                                         LA Times                             1963_LATimes
                                                                                                                                        Department of Toxic Substances
                  Affidavit              Affidavit in Support of Inspection Warrant                                                     Control                              Affidavit for Inspection Warrant 8_2011
        6/22/2011 Water Sales            Agency Sales in Acre Feet Fiscal Year: 2011                                                                                         doc
                                                                                                                                        Three Valleys Municipal Water        city of La Verne and Three Valleys
         6/1/2011 Meeting Agenda         Agenda‐ Special Board Meeting Three Valleys Municipal Water District                           District                             including brine line

                                                                                                                                                                             LACSD CONT#1679A ‐ 1967 AMENDMENT
        8/23/1967 Agreement              Agreement between County Sanitation District No. 21 of LA County wit Chino Basin MWD                                                to WASTEWATER DISPOSAL AGREEMENT
       10/23/1968 Contract               Agreement for Assignment, Assumption of Liabilities, and Release (Duplicate)                                                        LADWP October 23, 1968
                                                                                                                                        U.S. Department of Health,           USDHEW_1967_AirPollutionEngManual_1
             1967 Report                 Air Pollution Engineering Manual/Air Pollution Control District                                Education, and Welfare               967
                                         All Duplicates
                     Wells Data          All Wells Data                                                                                                                      2008_02_all‐wells
                                                                                                                                        United State Environmental
        12/1/1983 Report                 Alternate Treatment of Organic Solvents and Sludge from Metal Finish Operations                Protection Agency                    EPA_1983_2000TO1D

         5/5/2005 Report                 Alternative Causes of Widespread, Low Concentration Perchlorate Impacts to Groundwater Final   GeoSyntec Consultants                Geosyntec_2005_er‐1429‐tr[1]
                                                                                                                                                                             CityofPomona_2006_ConstructionPlansAE
        2/16/2006 Construction Plans Alternative Waste Brine Line Connection at the Anion Exchange Facility                             City of Pomona                       P
             1992 Amendment          Amendment to the May 19, 1992 Consent Decree                                                                                            mon3122k
                                                                                                                                        F.C. Mathers / Reinhold Publishing
             1960 Book                   American Chemical Society's Series of Chemical Monographs                                      Company                            pwechloratesthei001740mbp
                  Online Article         American Potash & Chemical Corporation List of Deals (Acquired 8/22/11)                        Lehman Brothers Collection         American Potash and Chemical, Trona

         9/9/1956 News Paper Article American Saving to Expand in Whittier                                                              LA Times                          1956_LATimes_N.M.Espisito
                  Online Article     And You Thought Lockheed Made the C‐141                                                            c141heave                         lockheed_subs
                                                                                                                                        State of California Department of
             1932                        Annual 1932 LA County Fair in Pomona, display in the exhibit building                          Agriculture
                                                                                                                                        Metropolitan Water District of
             1979 Report                 Annual Report Appendix                                                                         Southern California               MWD_1979_2

                     Report Collection   Annual Report Collection                                                                       University of California, Berkeley   AnnualReport_Index_UCBerkley_R_g‐i
                                                                                                                                        The Metropolitan Water District
             2010 Report                 Annual Report for the Fiscal Year July 1, 2009 to June 30, 2010                                of Southern California               MWD_2010_AnnualReport2010
                                                                                                                                        The Metropolitan Water District
             2008 Report                 Annual Report for the Fiscal Year July 2007 to June 30, 2008                                   of Southern California               AR2008complete
         12/29/10 Appeal                 Appeal from the Marion County Superior Court                                                                                        12291001fsj

                     Appendix of Report Appendix A ‐ References                                                                                                              MWH_xxxx_AppendisA‐References_63073




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      Date                   Type                                                      Title                                                 Consultant/ Source/Author                      File Name                        Bates #

         8/1/2002 Appendix of Report Appendix A ‐ Saturn V Subcontractors                                                                 Saturn V News Reference          Subcontractors
                                                                                                                                                                                                                       Wildermuth 00006798‐
                  Appendix Report      Appendix B Recycled Water Recharge Program Draft Sampling and Analysis Plan                        Wildermuth                       Wildermuth_00006798                         00006824
                  Appendix or
                  Report               Appendix C Brownfield Property Listing                                                                                              Appendix C Brownfield property Listing
        8/19/1999 Report               Appendix H Optimum Basin Management Program Phase I Report                                         Wildermuth                       Wildermuth 1999 Draft Phase I Report
                                                                                                                                                                           2010_Appendix I ‐ San Gabriel River
                                                                                                                                                                           WMA_POM_POM_Attachments_Inspectio
              2010 App. Of Report      Appendix I ‐ San Gabriel River WMA Inspection Database                                                                              n Database (2009‐2010).xls
                                       Application of a Watershed Model (SPF) for Evaluating Sources and Transport of Pathogen Indicators
              2011 Report              in the Chino Basin Drainage Area, San Bernardino County , CA                                       USGS
                                                                                                                                                                           PERCHLORATE ISOTOPE SHAW
         3/7/2011 Presentation         Application of Stable Isotope Analysis to Distinguish Natural From Military Perchlorate            Paul Hatzinger                   PRESENTATION 2011
                                                                                                                                          Groundwater Resources            http___www.grac.org_isotopepast_Sturch
        3/28/2007 Online Article       Applications of Isotope Tools to Groundwater Studies‐ March 28‐29                                  Association                      io_2007
                                                                                                                                          Librazette An Exchange of News
     6/1/64‐7/1/64 Article             Appoint R. M. Brunson General Precision V‐P                                                        and Knowledge                    6406_RayHandOCR
                                                                                                                                          UC Vegetable Research &
              2010 Quick Stats         Artichoke Production in California                                                                 Information Center

                                                                                                                                                                           1983.06.00_USGS_ARTIFICIAL_RECHARGE
                                                                                                                                                                           _IN_THE_NORTHERN_PART_OF_CHINO_G
             6/1/83 Report             Artificial Recharge in the Northern Part of Chino Ground‐Water Basin, Upper Santa Ana Valley, CA   USGS                             ROUNDWATER_BASIN_wrir82‐4122
                                                                                                                                          Thomas Mohr/ Southwest
     7/1/07‐8/1/07 Article             Assessing Perchlorate Origins Using Stable Isotopes                                                Hydrology                        Mon Aft Blrm F Hatzinger abs
                                                                                                                                                                           EPA_1977_AnalysisOfIndustrialHazWaste_
        5/30/1905 Report               Assessment of Industrial Hazardous Waste Practices‐Special Machinery Manufacturing Industries      EPA                              2000Y8GE
                                       Assessment of Perchlorate in Colorado River Water and its Occurrence in the Main San Gabriel and
         6/6/2008 Report               Orange County Groundwater Basin                                                                    GeoPentech                       S011000144_1108041017000
                  Attach. Of           Attachments: Well Location Map Showing Perchlorate Contamination in Municipal Water Supply
        4/28/2003 Correspondence       Wells                                                                                                                               RWQCB_2003_Attachments_to_Letter

                   Attach. Of Report   Attachment A ‐ Sample Survey ( Industrial Waste Survey)                                                                             Industrial Waste Survey 2Survey_part3
                                       Audit Report Office of the Inspector General Restoration of the Industrial Base for Ammonium
        1/20/1995 Report               Perchlorate Production                                                                             Department of Defense            DOD_Audit_95‐081
                                                                                                                                          U.S. Environmental Protection
         6/1/1979 Report               Background Information: Proposed Standards of Performance                                          Agency                           1979_EPA_00001YRC
        3/16/2006 Bid                  Bid Opening Record Brine Line                                                                      City of Pomona                   CityofPomona_2006_brine line bid
         4/1/2004 Presentation         Brine Disposal Strategies in Inland Southern California (Santa Ana River Watershed)                Rich Haller/ SAWPA               Haller Brine Line

        10/1/2001 Online Article       Brine Electrolysis                                                                                 Electrochemistry Encyclopedia    Brine_Electrolysis_Chlorate_art‐b01‐brine
        1939‐2010 Crop Data            California Historic Commodity Data California Fresh Market & Processing Broccoli                   USDA/ NASS                       Broccoli
        1920‐2010 Crop Data            California Historic Commodity Data California Apple                                                USDA/ NASS                       California‐Apple
        1925‐2010 Crop Data            California Historic Commodity Data California Artichokes                                           USDA/ NASS                       Artichokes
        1925‐2010 Crop Data            California Historic Commodity Data California Bell Peppers                                         USDA/ NASS                       Peppers‐B
        1920‐2010 Crop Data            California Historic Commodity Data California Cantaloupe                                           USDA/ NASS                       Cantaloupe
        1925‐2010 Crop Data            California Historic Commodity Data California Carrots‐A                                            USDA/ NASS                       Carrots‐A
        1920‐2010 Crop Data            California Historic Commodity Data California Celery                                               USDA/ NASS                       Celery
        1929‐2010 Crop Data            California Historic Commodity Data California Chili Peppers                                        USDA/ NASS                       Peppers‐C
        1866‐2008 Crop Data            California Historic Commodity Data California Corn for Grain                                       USDA/ NASS                       Corn‐G
        1919‐2008 Crop Data            California Historic Commodity Data California Corn for Silage                                      USDA/ NASS                       Corn‐S




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      Date               Type                                                           Title                                              Consultant/ Source/Author                    File Name             Bates #
        1910‐2008 Crop Data            California Historic Commodity Data California Cotton                                             USDA/ NASS                      California‐Cotton‐A
        1920‐2010 Crop Data            California Historic Commodity Data California Cucumbers for Pickles                              USDA/ NASS                      Cucumbers‐P
       1920‐2010 Crop Data             California Historic Commodity Data California Fresh Market & Processing Asparagus                USDA/ NASS                      Asparagus
       1920‐2010 Crop Data             California Historic Commodity Data California Fresh Market & Processing Cauliflower              USDA/ NASS                      Cauliflower
       1920‐2010 Crop Data             California Historic Commodity Data California Fresh Market Cabbage                               USDA/ NASS                      Cabbage
        1920‐2010 Crop Data            California Historic Commodity Data California Fresh Market Cucumbers                             USDA/ NASS                      Cucumbers‐F
        1920‐2010 Crop Data            California Historic Commodity Data California Fresh Market Snap Beans                            USDA/ NASS                      Beans‐S
       1920‐2010 Crop Data             California Historic Commodity Data California Fresh Market Spinach                               USDA/ NASS                      Spinach‐F
       1949‐2010 Crop Data             California Historic Commodity Data California Fresh Market Sweet Corn                            USDA/ NASS                      Corn‐Swt
        1920‐2010 Crop Data            California Historic Commodity Data California Fresh Market Tomatoes                              USDA/ NASS                      Tomatoes‐F
        1922‐2010 Crop Data            California Historic Commodity Data California Garlic                                             USDA/ NASS                      Garlic
       1920‐2010 Crop Data             California Historic Commodity Data California Grapefruit                                         USDA/ NASS                      California‐Grapefruit
       1928‐2010 Crop Data             California Historic Commodity Data California Honeydew Melon                                     USDA/ NASS                      Honeydew
       1920‐2010 Crop Data             California Historic Commodity Data California Lemons                                             USDA/ NASS                      California‐Lemons
        1920‐2010 Crop Data            California Historic Commodity Data California Lettuce‐A                                          USDA/ NASS                      Lettuce‐A
        1920‐2010 Crop Data            California Historic Commodity Data California Onions‐A                                           USDA/ NASS                      Onions‐A
       1920‐2010 Crop Data             California Historic Commodity Data California Oranges‐A                                          USDA/ NASS                      California‐Oranges‐A
       1920‐2010 Crop Data             California Historic Commodity Data California Processing Tomatoes                                USDA/ NASS                      Tomatoes‐P
        1920‐2010 Crop Data            California Historic Commodity Data California Watermelon                                         USDA/ NASS                      Watermelon
                  Online Research      California Historical Data (Acquired on 11/2/11)                                                 USDA
        8/24/2004 Map                  California Perchlorate Discovery Study Areas                                                     EPA                             EPA_2004_Map‐perchlorateIndex
                  Ordnance             California Pomona Ordnance Depot
                  Quick Facts          California U.S. Census Bureau Quick Facts                                                        PlateWorld                      CACensus_PlatingFacilities
                                                                                                                                        Dept. of Water Resources /
             10/1/03 Report            California's Groundwater Update 2003                                                             Bulletin 118                    2003_CADWR_bulletin118_entire
                                       Case Study of Perchlorate Source Identification, Plume Characterization, Remediation and Water
               2006 Presentation       Supply Treatment in the Inland Empire                                                            Worley Parsons Komex            Rohrer
                                                                                                                                        Environmental Data Resources,
        7/21/2011 Report               Certified Sanborn Map Report                                                                     Inc.                            EDR (Folder)

                                                                                                                                                                        1971.05.00_DWR_MEETING_WATER_DEM
                                                                                                                                                                        ANDS_IN_THE_CHINO‐
         5/1/1971 Map                  Change in Elevation of Ground Water Levels in Wells Fall 1933‐Fall 1960                          Dept. of Water Resources        RIVERSIDE_BASINS_b104‐3_appA_PLATES
          6/25/11 Book                 Chapter 1 Introduction                                                                           John Cornell                    0470643382‐127
                                                                                                                                                                        CBWM_2008StateofTheBasinReport_Chap
                                                                                                                                                                        ter%2010%20‐
                                                                                                                                                                        %20Water%20Quality%20Impacts%20on%
               2008 Chapter of Report Chapter 10‐ Water Quality Impacts on Reliability Chino Basin Watermaster                                                          20Reliability

                    Chapter of Report Chapter 3‐ Water Demand and Supply                                                                                                Chapter 3 ‐ Water Demand and Supply
                    Book              Chapter 45                                                                                                                        City of Pomona Starting

         4/9/1984 Chapter of Report Chapter 6‐ Water Treatment Plant Wastes                                                                                             1984_WatertreatmentPlantWastes_c‐6
                                                                                                                                                                        Chino Basin Watermaster Chapter 7 ‐
                    Chapter of Report Chapter 7‐ Regional Groundwater Management Programs Chino Basin Watermaster                                                       Groundwater Management Programs

                    Chapter of Report Chapter 9 ‐ Water Quality Impacts on Reliability ‐ word doc                                                                       Chapter 9 ‐ Copy
                    Report            Chapter B Statistics for Countries

         9/1/2007 Chapter of Report Chapter IV ‐ Groundwater Basin Reports Inland Empire Basins ‐ Chino and Cucamonga Basins                                            ChinoandCucamongaBasins
                  Online Article    Chapter Two The Fifties (Acquired on 6/15/11)                                                       Jacob Meyers of California      Chapter_2




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      Date                 Type                                                      Title                                                  Consultant/ Source/Author                      File Name                         Bates #
                                                                                                                                         David J. Adilman / AMEC Earth     characterization of perchlorate plumes in
             2004 Paper               Characterization of Perchlorate Plumes in a High Permeability Aquifer                              and Environmental Inc.            a high permeability aquifer
        1/1/1920 ‐ Technical
        6/30/1920 Newspaper           Chemical & Metallurgical Engineering Volume XXII                                                                                     Chemical_metallurgical_engineering
                                                                                                                                          Sultan, M. et al./ Groundwater   Sultan_2000_GWIsotopesEgypt_00257066
         3/1/2000 Published Paper     Chemical and Isotopic Constraints on the Origin of Wadi El‐Tarfa Groundwater, Eastern Desert, Egypt Vol.38, No. 5                    9
                                                                                                                                          Philip Groggins/ The Priestley   Chemicals and Food Production ‐ Groggins
             1945 Report              Chemicals and Food Production                                                                       Lectures                         1945
        3/28/2011 Magazine            Chemistry of Natural Recourses                                                                      ACS Show Daily                   ACS_Spring_Monday
                                                                                                                                                                           1960_LATimes_Loud_buys_USIndustriesM
        8/30/1960 News Paper Article Child Savers Getting Richer                                                                         LA Times                          ontebello
        12/1/2006 Article            Chilean Fertilizer leaves perchlorate legacy                                                        Analytical Chemistry              1206detective
                  Report             Chilean Nitrate Fertilizer tips for Citrus                                                          Chilean Nitrate Corporation
        6/15/2002 Panel Review       Chilean Nitrate for general use as an adjuvant in crop production                                   National Organic Standards        Chileannitrate‐GeneralUse

                                                                                                                                                                           2002_UCSAREP_USD_NationalOrganicSta
        4/15/2002 Executive Summary Chilean Nitrate for Use in Spirulina Aquaculture Production                                          UC SAREP                          ndardsBoardTechnicalAdvirosry_getfile
                                                                                                                                                                                                                       Wildermuth 00001094‐
        9/20/2006 Report              Chino Basin Groundwater Recharge Program Start‐Up Period Report for Banana Basin                   Wildermuth                        Wildermuth_00001094                         00001164
                                                                                                                                                                           Chino Basin Hydrogeology Areas of
                   Map                Chino Basin Hydrogeology Areas of Subsidence and Historical Artesian Conditions                    Wildermuth                        Subsidence
                                      Chino Basin Management Zone 3 Monitoring Program DWR Agreement No. 4600004086 Final                                                                                              Wildermuth 00005211‐
        12/1/2008 Report              Report                                                                                             Wildermuth                        Wildermuth_00005211                         00005295

         3/1/2010 Report              Chino Basin Master Plan Update Draft Supplemental Water Recharge Concept Development               Black & Veatch                    appendix‐f
                                                                                                                                                                                                                       Wildermuth 00000268‐
        4/15/2006 Report              Chino Basin Maximum Benefit Monitoring Program Annual Report                                       Wildermuth                        Wildermuth_00000268                         00000355
        7/19/1989 Application         Chino Basin Municipal Water District Non‐Reclaimable Waste System Discharge Permit                 Chino Basin MWD                   07‐19‐89
                                                                                                                                                                           2009.12.18_CBW_2008‐
        11/1/2009 Report              Chino Basin Optimum Basin Management Program 2008 State of the Basin Report Final Report           Wildermuth                        SOB_Final_combined

        11/1/2009 Report              Chino Basin Optimum Basin Management Program 2008 State of the Basin Report Final Report           Wildermuth                        wildermuth
                                      Chino Basin Optimum Basin Management Program 2008 State of the Basin Report Final Report
        11/1/2009 Report              (Duplicate)                                                                                        Wildermuth                        wildermuth 2008
                                                                                                                                                                                                                       Wildermuth 00002248‐
        11/1/2009 Report              Chino Basin Optimum Basin Management Program 2008 State of the Basin Report Final Report           Wildermuth                        Wildermuth_00002248                         00002241
                                      Chino Basin Optimum Basin Management Program Addendum to the Draft April 2006 Report
                                      Analysis of Future Replenishment and Desalter Plans Pursuant to the Peace Agreement and the                                                                                      Wildermuth 00004539‐
        12/1/2006 Report              Peace II Process                                                                                   Wildermuth                        Wildermuth_00004539                         00004601
                                      Chino Basin Optimum Basin Management Program Analysis of Future Replenishment and Desalter                                                                                       Wildermuth 00005591‐
         4/1/2006 Report              Plans Pursuant to the Peace Agreement and the Peace II Process Draft Report                        Wildermuth                        Wildermuth_00005591                         00005888
                                                                                                                                                                                                                       Wildermuth 00005296‐
        10/1/2002 Report          Chino Basin Optimum Basin Management Program Initial State of the Basin Report                         Wildermuth                        Wildermuth_00005296                         00005436
                                  Chino Basin Optimum Basin Management Program Management Zone 1 Interim Monitoring                                                                                                    Wildermuth 00004313‐
         2/1/2006 Report          Program MZ‐1 Summary Report                                                                            Wildermuth                        Wildermuth_00004313                         00004376
                                  Chino Basin Optimum Basin Management Program Management Zone 1 Subsidence Management                                                                                                 Wildermuth 00001967‐
        10/1/2007 Management Plan Plan                                                                                                   Wildermuth                        Wildermuth_00001967                         00001984
                                                                                                                                                                                                                       Wildermuth 00005889‐
         7/1/2005 Report              Chino Basin Optimum Basin Management Program State of the Basin Report 2004                        Wildermuth                        Wildermuth_00005889                         00006531
                                                                                                                                                                                                                       Wildermuth 00004171‐
         7/1/2007 Report              Chino Basin Optimum Basin Management Program State of the Basin Report 2006                        Wildermuth                        Wildermuth_00004171                         00004312




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                                                                                                                                                                                                           Wildermuth 00000356‐
         5/1/2006 Report              Chino Basin Recycled Water Groundwater Recharge Program Annual Report 2005                         Wildermuth                      Wildermuth_00000356               00000896
                                                                                                                                                                                                           Wildermuth 00001933‐
         4/1/2007 Report              Chino Basin Recycled Water Groundwater Recharge Program Annual Report 2006                     Wildermuth                          Wildermuth_00001933               00001966
                                      Chino Basin Recycled Water Groundwater Recharge Program Quarterly Monitoring Report April                                                                            Wildermuth 00001008‐
        8/15/2006 Report              through June 2006                                                                              Wildermuth                          Wildermuth_00001008               00001042
                                      Chino Basin Recycled Water Groundwater Recharge Program Quarterly Monitoring Report January                                                                          Wildermuth 00001741‐
        5/15/2007 Report              through March 2007                                                                             Wildermuth                          Wildermuth_00001741               00001790
                                      Chino Basin Recycled Water Groundwater Recharge Program Quarterly Monitoring Report July                                                                             Wildermuth 00001165‐
       11/15/2006 Report              through September 2006                                                                         Wildermuth                          Wildermuth_00001165               00001214
                                      Chino Basin Recycled Water Groundwater Recharge Program Quarterly Monitoring Report October                                                                          Wildermuth 00001791‐
        2/15/2007 Report              through December 2006                                                                          Wildermuth                          Wildermuth_00001791               00001838
                                      Chino Basin Recycled Water Groundwater Recharge Program Start‐Up Period Report for Brooks
        7/28/2010 Report              Street Basin                                                                                   Inland Empire Utilities Agency      BrooksStreetBasinStart‐UpPeriod
                                      Chino Basin Recycled Water Groundwater Recharge Program Start‐Up Period Report for Hickory                                                                           Wildermuth 00000897‐
        5/22/2006 Report              Basin                                                                                          Wildermuth                          Wildermuth_00000897               00001007
                                      Chino Basin Recycled Water Groundwater Recharge Program Start‐Up Period Report for Turner                                                                            Wildermuth 00002075‐
         7/3/2008 Report              Basin                                                                                          Wildermuth                          Wildermuth_00002075               00002175
                                      Chino Basin Recycled Water Recharge Program Quarterly Monitoring Report January through March                                                                        Wildermuth 00005159‐
        5/11/2006 Report              2006                                                                                           Wildermuth                          Wildermuth_00005159               00005210
                                      Chino Basin Recycled Water Recharge Program Quarterly Monitoring Report July through September                                                                       Wildermuth 00000171‐
       11/15/2005 Report              2005                                                                                           Wildermuth                          Wildermuth_00000171               00000216
                                      Chino Basin Recycled Water Recharge Program Quarterly Monitoring Report October through                                                                              Wildermuth 00000217‐
        2/15/2006 Report              December 2005                                                                                  Wildermuth                          Wildermuth_00000217               00000267
                                                                                                                                                                         Chino Basin Study
                  Report              Chino Basin Study 2007 (part 2)                                                                    Wildermuth                      Wildemurth_2007_part2
        11/1/1969 As Built Drawings   Chino Basin Waste Water Line                                                                       County of Sanitation District   LACSD MAP OF CBWL

         8/1/2001 Chapter of Report Chino Basin Wastemaster Recharge Master Plan ‐ Chapter 3                                              Black & Veatch                 Chino Watermaster (Folder)
                                    Chino Basin Watermaster for Chino basin municipal water district vs. City of Chino, et. Al. (Eighteen                                                                  Wildermuth 00000001‐
        1/23/1997 Report            Annual Report)                                                                                        Wildermuth                     Wildermuth_00000001               00000045
                                    Chino Basin Watermaster Optimum Basin Management Program Management Zone 1(MZ‐1) Interim                                                                               Wildermuth 00000154‐
         1/8/2003 Report            Monitoring Program (Draft Work Plan)                                                                  Wildermuth                     Wildermuth_00000154               00000170
                                                                                                                                                                                                           Wildermuth 00006662‐
         3/1/2004 Report              Chino Basin Watermaster Status Report No. 10 (Covering December 2003 through February 2004)        Wildermuth                      Wildermuth_00006662               00006679
                                                                                                                                                                                                           Wildermuth 00006620‐
         9/1/2004 Report              Chino Basin Watermaster Status Report No. 12 (Covering June 2004 through August 2004)              Wildermuth                      Wildermuth_00006620               00006640
                                                                                                                                                                                                           Wildermuth 00006641‐
         1/1/2005 Report              Chino Basin Watermaster Status Report No. 13 (Covering September 2004 through December 2004) Wildermuth                            Wildermuth_00006641               00006661
                                                                                                                                                                                                           Wildermuth 00006532‐
         7/1/2005 Report              Chino Basin Watermaster Status Report No. 15 (Covering April 2005 through June 2005)               Wildermuth                      Wildermuth_00006532               00006552
                                                                                                                                                                                                           Wildermuth 00006553‐
         1/1/2006 Report              Chino Basin Watermaster Status Report No. 16 (Covering October 2005 through December 2005)         Wildermuth                      Wildermuth_00006553               00006571
                                                                                                                                                                                                           Wildermuth 00006711‐
        12/1/2002 Report              Chino Basin Watermaster Status Report No.5 (Covering October and November 2002)                    Wildermuth                      Wildermuth_00006711               00006726
                                      Chino Basin Watermaster Status Report No.6 (Covering December 2002 through February 2003)                                                                            Wildermuth 00006727‐
         3/1/2003 Report              Draft                                                                                              Wildermuth                      Wildermuth_00006727               00006744
                                                                                                                                                                                                           Wildermuth 00006745‐
         6/1/2003 Report              Chino Basin Watermaster Status Report No.7 (Covering March 2002 through May 2003)                  Wildermuth                      Wildermuth_00006745               00006762
                                                                                                                                                                                                           Wildermuth 00006763‐
        10/1/2003 Report              Chino Basin Watermaster Status Report No.8(Covering June 2003 through August 2003)                 Wildermuth                      Wildermuth_00006763               00006780




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      Date                  Type                                                    Title                                                  Consultant/ Source/Author                          File Name                      Bates #
                                                                                                                                                                                                                       Wildermuth 00006781‐
        12/1/2003 Report             Chino Basin Watermaster Status Report No.9(Covering September 2003 through November 2003)          Wildermuth                           Wildermuth_00006781                       00006797
                                                                                                                                                                                                                       Wildermuth 00003840‐
                  Report             Chino Basin Watermaster Thirtieth Annual Report Fiscal Year 2006‐07                                Wildermuth                           Wildermuth_00003840                       00003917
                                                                                                                                                                                                                       Wildermuth 00003918‐
                  Report             Chino Basin Watermaster Thirty‐First Annual Report Fiscal Year 2007‐08                             Wildermuth                           Wildermuth_00003918                       00004003
                                                                                                                                                                                                                       Wildermuth 00004004‐
                  Report             Chino Basin Watermaster Thirty‐Second Annual Report Fiscal Year 2008‐09                            Wildermuth                           Wildermuth_00004004                       00004086
                                                                                                                                                                                                                       Wildermuth 00004087‐
                  Report             Chino Basin Watermaster Thirty‐Third Annual Report Fiscal Year 2009‐10                             Wildermuth                           Wildermuth_00004087                       00004170
                                                                                                                                                                                                                       Wildermuth 00003693‐
                  Report             Chino Basin Watermaster Twenty Eight Annual Report Fiscal Year 2004‐05                             Wildermuth                           Wildermuth_00003693                       00003764
                                                                                                                                                                                                                       Wildermuth 00003765‐
                  Report             Chino Basin Watermaster Twenty Ninth Annual Report Fiscal Year 2005‐06                             Wildermuth                           Wildermuth_00003765                       00003839
                  Miscellaneous      Chino Creel Wellfield Wells I‐19, I‐20, and I‐21 Construction Contract documents, Technical Well
        7/29/2011 Documents          Specifications, Preliminary Design Report                                                          Chino Basin Desalter Authority       Chino Creek Desalter Authority Bid Docs
                                                                                                                                                                             Pages from 2009.12.18_CBW_2008‐
                  Map                Chino Groundwater Basin Management Zones                                                           Wildermuth                           SOB_Final_combined
       12/15/2009 Article            Chromium Etching                                                                                   MicroChemicals                       chromium etching
                                                                                                                                                                             Website chromium perchlorate
                  Online Search      Chromium Perchlorate Hexahydrate ( Acquired 9/22/11)                                               American Elements.com                hexahydrate
                                                                                                                                        S.E. Collision/Agricultural
        12/1/2019 Bulletin           Citrus Fertilizer Experiments                                                                      Experiment Station                   citrusfertilizer00colliala[1]
                                                                                                                                        S.E. Collision/ Agricultural
        12/1/1919 Report             Citrus Fertilizer Experiments                                                                      Experiment Station                   citrusfertilizer00colliala[1]
         6/1/1948 Image              Citrus Industry Images‐Exchange Lemon Products Co.                                                 Pomona Public Library                1948_ExchangeLemonProducts‐Plant

                                                                                                                                        T.W. Embleton & et.al. / Applied     Embleton et al 1986_Nitrate leaching in
             1986 Published Paper    Citrus Nitrogen Fertilizer Management, Groundwater Pollution, Soil Salinity and Nitrogen Balance   Agricultural Research Vol. 1 No. 1   citrus
                  Conference                                                                                                            Joon, Min, et. Al. / Carollo
         8/3/2004 Presentation       City of Ontario's Perchlorate and Nitrate Blending and Treatment, GRA Conference                   Engineers                            Min,J
        12/1/2010 Drawings           City of Pomona ‐ 30% Design Drawings for Treatment‐ Perchlorate Facility (PTP)                     Malcolm Pirnie, Inc.                 City of Pomona AEP S1602 3_Drawings
                                     City of Pomona Contracting information                                                             Public Agency                        city of Pomona contracting info
                  Check List         City of Pomona Environmental Checklist ‐ Treatment Perchlorate Facility                            City of Pomona                       Plann_PTP_20110518
         3/1/2007 Report             City of Pomona‐ General Plan Update Draft Environmental Impact Report                              EIP Associates                       PomonaGPU‐DEIR(2007‐03‐28)
                                                                                                                                                                             City of Pomona Well Summary Cation
        10/4/2011 Well summary       City of Pomona Well Summary Cation Anion (Draft)                                                   City of Pomona                       Anion ‐ DRAFT 10‐4‐11
                                     City of Pomona, CA Case Study                                                                      Envirogen Technologies               Pomona‐Case_Study‐ETI
             1928 Topo               Claremont Quadrangle, CA                                                                           USGS                                 1928_24K_claremont
             1932 Topo               Claremont Quadrangle, CA                                                                           USGS                                 1932_24K_claremont
             1942 Topo               Claremont Quadrangle, CA                                                                           USGS                                 1942_24K_claremont
                                                                                                                                        U.S. Army Research Laboratory,
                                                                                                                                        Weapons and Materials Research       1980_MilSpec_000000159212_000000114
         6/9/1980 Report             Coating, Oxide, Black, for Ferrous Metals                                                          Directorate                          176_AGQMZXPYXT
             1982 Report             Code of Practice/The Safe Use of Molten Salt Baths                                                 Department of Labor                  moltensaltbaths
                                                                                                                                        Environmental Science &              2000_Comments on Perchlorate
             2000 Commentary         Comment on "Perchlorate Identification in Fertilizers" and the Subsequent Addition                 Technology (Vol.34, No.20)           Identification in Fertilizer
             1929 Book               Commercial Fertilizers ‐ Agricultural Minerals ( Section from a Book)

        8/24/1953 Report             Commercial Fertilizers Consumption in the United States 1951‐52                                    Scholl, W. & Wallace, H.M. / USDA ConsCommFe‐00‐00‐1953
                                                                                                                                        Santa Ana Watershed Project
        5/17/2011 Meeting Agenda     Commission Meeting                                                                                 Authority                         Sawpa_2011_ComissionMeeting




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      Date                  Type                                                       Title                                                 Consultant/ Source/Author                     File Name                   Bates #

                                       Comparison of Actual Building Damage and Repair Costs From the Pepcon Explosion to Inhabited       Jack W. Reed, JWR, Inc._U.S. Army
         8/1/1998 Published Article    Building Distance Expectation                                                                      Engineering and Support Center GetTRDoc
                                                                                                                                          U.S. Environmental Protection
              1994 Report              Competitive Implications of Environmental Regulation A Study of Six Industry                       Agency                            epa_EE‐0045‐01
                                                                                                                                                                            ensr_2005_conceptual_site_model_repor
         2/1/2005 Report               Conceptual Site Model Kerr McGee Facility Henderson, Nevada                                        ENSR International                t
                                                                                                                                                                            IEUA_2008_Bi‐
              2008 Presentation        Construction Management Bi‐Annual Project Summary Report January 1, 2008‐ June 20, 2008            G. DeSaddi, et. Al                AnnualCMBoardPresentation
                                                                                                                                                                            1985.00.00_USGS_CONTOUR_MAP_SHO
                                                                                                                                                                            WING_MINIMUM_DEPTH_TO_GROUND_
                                       Contour Map Showing Minimum Depth to Ground Water, Upper Santa Ana River Valley , CA 1973‐         Scott Carson & Jonathan Matti/    WATER_UPPER_SANTA_ANA_RIVER_VALL
             1985 Report               1979                                                                                               USGS                              EY_1973‐1979_mf1802
                  Online Article       Convair Naval Ordinance Plant (In the air it's Convair)                                            Life‐ Google Books                1956_LifeMagazine
                  Photo                Convair Pomona Division Historical Photo                                                                                             EXM‐N‐9596‐002~1
       07/01/2009 List                 Copy of SGV SFV Case list ‐spreadsheet                                                                                               Copy of SGV_SFV_CaseList (7‐1‐09)
             1902 Topo                 Corona Quadrangle                                                                                  USGS                              1902_125k_Corona
                                                                                                                                          CA Environmental Protection
                                                                                                                                          Agency Dept. of Toxic Substances
                  Agreement            Corrective Action Consent Agreement                                                                Control
         5/1/2008 Report               Cost Comparison of Perchlorate Treatment Options                                                   Emma O. Nolan                     ProfessionalProjectEmmaNolan
                  Noncompliance
             2003 Summary              County Sanitation Districts of Los Angeles County                                                  EPA                               LACountySAn_Noncompliance_2003
                                                                                                                                          Commonwealth Land Title           Land Use Covenant (Recorded 11‐12‐
       11/12/1997 Agreement            Covenant to Restrict Use of Property Environmental Restriction                                     Insurance Company                 1997)
                                                                                                                                          California Research
         5/1/2008 Report               CRB Aerospace States' Incentives to Attract the Industry                                           Bureau/California State Library   2008_AerospaceInudstry_08‐005
                                                                                                                                                                            DTSC Identification of Sites with
                  Appendix of Report Cross Reference of Facilities Identified in Appendices                                                                                 Perchlorate
             1903 Topo               Cucamonga Quadrangle, CA Area Edition of 1903, reprinted 1947                                        USGS                              1903_62K_cucamonga_062500
             1944 Topo               Cucamonga, CA Edition of 1944                                                                        USGS                              1944_62K_cucamonga_062500
             2005 Published Paper    Current Perchlorate Litigation                                                                       Gee, B.                           current perchlorate litigation
                  CV                 CV of Michael L. Stevens, PE, F.ASCE                                                                 CE Prime Inc                      Michael stevens resume
                                     Cyanide‐Salt Containing Wastes in Metal Heat Treating Operations Clarification of the Listings for   Waste Identification Branch (WH‐
         3/5/1984 Correspondence     Metal Heat Treating                                                                                  562)                             1984_EPA_CyanideSalts

                                                                                                                                          California Regional Water Quality Dairies and their relationship to water
             7/1990 Report             Dairies and their relationship to water quality problems in the Chino Basin                        Board, Santa Ana Region           quality problems in the Chino Basin
                    Message            Decade old court Judgment                                                                          News Group                        msg00625
                                                                                                                                                                            MassachussetsCourtCast_valves_HUDSON
        9/28/2000 Case Summary       Defendants Motions for Judgment Under Vartanian Decision and Under Pocchia Decision                  Moukawsher & Walsh                2
                                     Defense Firm to Cut 2,000 in Consolidation/ General Dynamics Layoffs are Latest in Big Wave
         8/7/1990 News Paper Article Sweeping Arms Industry                                                                               LA Times                          1990_LATimes_ValleySystems

        1947‐1959                      Deliveries by Districts and States 20 Years Comparison                                             SQMNA                             SQMNA Deliveries by Districts and States
                                                                                                                                          Department of Toxic Substances
        9/20/2011 Search Result        Department of Toxic Substances Control Facility Search Results                                     Control                           temp_268339092011368556025
             2006 Map                  Depth to Groundwater Contours Chino Basin Fall 2006                                                Wildermuth                        DTW_CBWM
                                                                                                                                                                            Desalter SARI Permit Presentation (8‐25‐
        8/25/2010 Report               Desalter No. 1 SARI Discharge Permit                                                               Inland Empire Utilities Agency    10)
                  Map                  Desert Training Center Map 2                                                                       Engr. Co                          map2
                  Map                  Desert Training Program Divisional Camps Map 1                                                                                       map1




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      Date                  Type                                                        Title                                             Consultant/ Source/Author                        File Name                      Bates #

                  Article             Determining The Fertilizer Requirements of Soil                                                  Oswald Schreiner et. Al/Yearbook xx

                                                                                                                                                                           Development of underground waters in
                                                                                                                                       Water‐ Supply and Irrigation        the Eastern Coastal‐Plain Region of
             1905 Published Paper     Development of Underground Waters in the eastern Coastal Plain Region of Southern California     Papers                              Southern California ‐ Mendenhall 1905
                  Online Article      Dick McCoy (1907‐2005)                                                                           Modelenginenews                     mccoy
                                      Directive to Conduct a Records Investigation on the Use of the Former General Dynamics Storage   California Regional Water Quality   RWQCB_2003_Letter_to_GeneralDynamic
        4/28/2003 Correspondence      Magazines                                                                                        Control Board                       s
             2002 Online Article      Directory of U.S. Military Rockets and Missiles FIM ‐43 General Dynamics FIM‐43 Redeye                                               Redeye_Missile_m‐43
                                                                                                                                       Samuel Kounaves, et. Al. /
                                                                                                                                       Environmental Science &
         7/2/1905 Published Paper     Discovery of Natural Perchlorate in the Antarctic Dry valleys and its Global Implications        Technology                          Kounaves_etal_2010
       10/12/2011 List                Document Index by file names                                                                                                         Document Index

        10/1/2004 Presentation        DoD Handbook for Perchlorate Sampling and Testing 14th Annual Quality Assurance Conference       Edward Hartzog                      Hartzog‐EDQW
                                                                                                                                       The Dept. of Defense
         9/1/2007 Report              DoD Perchlorate Handbook                                                                         Environmental                       DODPerchlorateHandbookR1C1
                                                                                                                                       Casey Crump, et. Al. / JOEM, Vol.
         6/1/2000 Published Paper     Does Perchlorate in Drinking Water Affect Thyroid Function in Newborns or School‐Age Children?   42 #6                               chileanperchloratearticle
                  Report              Draft Remedial Action Plan                                                                                                           Remedial Action Plan
         3/1/2010 Report              Draft Subsequent Environmental Impact Report for the IEUA Peace II project                       Tom Dodson & Associates             2010 Draft SEIR

         1/1/1999 Report              Drinking Water Source Assessment and Protection (DWSAP) Program                                  California Dept. of Health Services DWSAP_document
                                                                                                                                       Division of Drinking Water and
         1/1/1999 Report              Drinking Water Source Assessment and Protection (DWSAP) Program                                  Environmental Management            DWSAP_document

         7/1/2006 Fact Sheet          DTCS's Perchlorate Best Management Practices (BMPs)                                              Dept. of Toxic Substances Control DTSC HWM_FS_Perchlorate_7‐061

                                                                                                                                                                           1971 05
                                                                                                                                                                           00_DWR_MEETING_WATER_DEMANDS_I
                                                                                                                                                                           N_THE_CHINO‐RIVERSIDE_BASINS_b104‐
             1971 Maps                DWR Meeting Water Demands in the Chino‐ Riverside Basins                                         The Resource Agency                 3_appA_PLATES
                                                                                                                                       California Department of Public
       12/12/2007 Online Search       DWSAP ‐ Source Water Protection                                                                  Health                              DWSAP‐Protection
                  Photo               Dynamic Propellant                                                                                                                   US Rocket ‐ figure (2)

        12/8/2008 Report              DYY Program Expansion ‐ Project Development Report ‐ Volume II G City of Pomona                  Black and Veach (BV)                Black and Veach City of Pomona Volume 2

        6/14/1957 News Paper Article Eastern Group Acquires Control of B.H. Hadley                                                     La Times                            1957_LATimes_Acquitsition
                                                                                                                                       Chemical and Metallurgical
        6/30/1920 Article             Economic Aspects of the Chilean Nitrate Industry                                                 Engineering                         Eco Aspects of Chilean Nitrate Industry

         8/1/1938 Book                Effect of Neutral Salts of Sodium and Calcium on Carbon and Nitrogen of Soil                     Journal of Agricultural Research                                              12
                  Report              Efficient Fertilizer Use.. Historical Perspective                                                Dr. James Beaton

                  Report              Engineering, Energy & Construction Management Quarterly Report 1st Quarter, Fiscal Year 07/08                                        Appendix 4‐2 EE&CM 1st Qtr FY0708
                                                                                                                                                                           CityofPomona_EnvironmentalChecklist_Pl
                  Check List          Environmental Checklist                                                                          City of Pomona                      ann_PTP_20110518
                                      Environmental Footprint Comparison Tool A Tool for Understanding Environmental Decisions         National Council for Air and
             2011 Article             Related to the Pulp and Paper Industry                                                           Stream Improvement                  2009_R_C_Bleach




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      Date                  Type                                                      Title                                                  Consultant/ Source/Author                      File Name                          Bates #
                                                                                                                                          Robert D. Morrison and Brian L.
             2006 Book                Environmental Forensics                                                                             Murphy                             Morrison_etal_2006
                                                                                                                                          Department of Toxic Substances
         7/7/2000 Agreement           Environmental Oversight Agreement                                                                   Control                            EOA_19970001_772000
                                                                                                                                          U.S. Environmental Protection
         6/1/2011 Appendix of Report EPA ID Profile                                                                                       Agency                             Appendix E
                                                                                                                                          U.S. Environmental Protection
         9/1/1995 Report             EPA Office of Compliance Sector Notebook Project Profile of the Pulp and Paper Industry              Agency                            EPA_pulppasn
                                                                                                                                          Office of Compliance/Office of
                                                                                                                                          Enforcement and Compliance
                                                                                                                                          Assurance/U.S. Environmental
         9/1/1995 Report             EPA Office of Compliance Sector Notebook Project/Profile of the Fabricated                           Protection Agency                 EPA_SectorNotebook_FabricatedMetals

                                                                                                                                                                            EPA_1992_Evaluation of Five Waste
                                                                                                                                      United States Environmental           Minimization Technologies at the General
         2/1/1992 Project Summary    Evaluation of Five Waste Minimization Technologies at the General Dynamics Pomona Division Plant Protection Agency                     Dynamics Pomona Division Plant
                                                                                                                                                                            BureauOfReclamation_MWD_2002report
       12/01/2002 Report             Evaluation of Precipitate Fouling fro Colorado River Water Desalination Using Reverse Osmosis        US Department of the Interior     085
                                                                                                                                          Department of Toxic Substances    GeneralDynamic_WastePreventinPlan_35
         6/1/1991 Report             Evaluation of Waste Minimization Technologies at the General Dynamics Pomona Division                Control                           600
                  List               Excel titled NWIS containing site numbers                                                                                              NWIS
                                     Executive Summary Southern California Regional Brine‐ Concentrate Management Study Phase 1           Reclamation / U.S. Dept. of the
        10/1/2009 Report             Lower Colorado Region                                                                                Interior                           USDI ‐ Reclamation‐ Exec Summary
                                                                                                                                                                                                                         Wildermuth 00006680‐
        10/1/2002 Report             Exhibit A Chino Basin Watermaster Status Report No. 4                                                Wildermuth                        Wildermuth_00006680                          00006710

                  Map                Exhibit A Location Map of Chino Basin Chino Basin Watermaster                                        Wildermuth                        CBWM_Boundary_w_numbers_pdf_ex_a

        7/27/1958 News Paper Article Expansion Program Set By Pioneer Firm                                                                LA Times                          1958_LATimes_PlantExpansion
                                     Exploring the Role of Suburban Development and Confined Recharge on Contaminant Flow in al           Sam Zipper Thesis Pomona          Zipper_SeniorThesis ‐ Modflow Pomona
       Spring 2009 Report            Alluvial Fan: A Mudflow Investigation of the Pomona Valley, CA                                       College                           Valley

                  Online Article     Faucher Tile Collection Simple Raised Line Design of Woman in Dutch Costume Feeding a Duck            Fauchersite                      tile number=
             2010 Quick Stats        Fertilization Rate for California Fruits and Vegetables                                               USDA
                                     Fertilization Rate for California Fruits and Vegetables Individual Pdfs for Apples, Asparagus, Beans,
                                     Broccoli, Cabbage, CA Grapefruit, Cantaloupe, Carrots, Cauliflower, Celery, Corn, Cotton, Cucumber,
                                     Garlic, Grapefruit, honeydew, Lemons, Lettuce, Onions, Oranges, Peppers, Spinach, Tomatoes,
             2010 Quick Stats        Watermelon                                                                                            USDA

       11/10/1943 Article            Fertilizer and Fertilizer Chemicals in Wartime                                                       Chemical and Engineering News     Fertilizer in Wartime_1943
             1922 Article            Fertilizer Experiments                                                                               Dr. R Kelly / Citrus Leaves       Kelley_1922_Citrus_leaves
         6/1/1922 Book               Fertilizer Experiments with Citrus Trees                                                             R.S. Vaile
                                                                                                                                          Environmental Science &           Fertilizer from Chile puts perchlorate on
        11/1/2006 Published Paper    Fertilizer from Chile puts perchlorate on the table                                                  Technology (40) #21               the table

         2/1/1945 Report             Fertilizer in the Postwar National Economy                                                           National Planning Association     fertilizer in the postwar national economy

                  Article            Fertilizer Materials                                                                                 Oswald Schreiner et. Al/Yearbook fertilizer materials
        12/1/1954 Handbook           Fertilizer Use and Crop Yields in the United States                                                  The Fertilizer Work Group        fertilizer use and crop yield 195
                                                                                                                                          Agricultural Economic Report No.
         5/1/1966 Report             Fertilizer Use in the United States Its Economic Position and Outlook                                92                               CAT87201814




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      Date                 Type                                                         Title                                             Consultant/ Source/Author                          File Name                     Bates #
                                                                                                                                                                          Ref. 4. fertilizer and fertilizer chemicals in
       11/10/1943 Published Paper     Fertilizers and Fertilizer Chemicals in Wartime                                                  Charles Brand                      wartime
                                                                                                                                       The Agriculture Committee on
         3/1/1945 Report              Fertilizers in the Postwar National Economy                                                      National Policy                    fertilizer in the postwar national economy
                                                                                                                                                                          Ref. 3 ‐ Segregated Commercial Fertilizers
             1960 Crop Data           Fertilizing Materials                                                                            USDA                               Tonnage California
                                                                                                                                       Philip Throne, US Army Corps of
         4/1/2004 Published Paper     Field Screening Method for Perchlorate in Water and Soil                                         Engineers                          USArmyCorp_2004_TR04‐8
                                                                                                                                                                          Pages from Land Use Covenant (Recorded
         2/1/1996 Map                 Figure 1‐3 NIROP Pomona Facility Remediation's                                                   Tetra Tech, Inc.                   11‐12‐1997) ‐ Copy
                                                                                                                                       County of San Bernardino
        3/11/1993 Map Layout          Figure 2‐3 Current Site Layout                                                                   Assessor's Office                  Pages from 2987‐00‐03
                                                                                                                                       County of San Bernardino
        3/11/1993 Map Layout          Figure 2‐3 Current Site Layout(duplicate)                                                        Assessor's Office                  Pages from 2987‐00‐03
         4/1/2011 Figure              Figure 5 Perchlorate ISO‐ Concentration Contours Cross‐section View ‐ Across the Plumes          Geo‐Logic Associates               2010‐051 2011‐Q1 Rialto Figures
                  Online Article      FIM‐92 Stinger Surface‐to‐Air Missile System                                                     Pakdef                             GD_stinger
                                                                                                                                                                          PomonaValleyTransferStationFinalEIR‐
         8/1/2011 Report              Final Environmental Impact Report                                                                Applied Planning, Inc.             Aug2011
       11/29/1978 Report              First Annual Report of the Chino Basin Watermaster 1977/78                                       Chino Basin Watermaster            chino basin 1st annual report

        11/2/1955 News Paper Article First Guided Missile Cruiser Commissioned                                                         LA Times                           1955_LATimes_PhotoInPlant
        10/1/2006 Report             First Quarterly Groundwater Monitoring Report                                                     MWH                                2006_10_eastside_gmp_1st_quarterly
        12/1/2009 Report             First Street Waste Transfer Station Volume I: Final Supplemental EIR                              PBS&J                              EIR for Pomona Transfer Station

         8/1/2000 Chapter of Report Flood Hazards ‐ County of Riverside                                                                                                   EarthConsultants_03_05_09
        1/18/1943 Report            Food Production Administration                                                                     USDA                               FPO5
                                                                                                                                       Arthur Herrick / Journal of Farm
        11/1/1945 Published Paper     Food Regulation and Compliance, Volume 1                                                         Economic, Vol. 27 No.4             1945_JournalofFarmEconomics_1232466
                                                                                                                                                                          forensic approaches for distinguishing
                                                                                                                                                                          sources of perchlorate and to better
                                      Forensic Approaches for Distinguishing Sources of Perchlorate and to Better Understand Sources of                                   understand sources of naturally occurring
                  Published Paper     Naturally Occurring Perchlorate                                                                   Duncan, P.                        perchlorate

        7/27/1952 News Paper Article Former Convair Building to Be Ready for Fair                                                      LA Times                           1952_LATimes_ConvairAtLAFairgrouds
        8/27/1988 Correspondence     From: Chief of Naval Operations Sub: Pest Management Programs                                     Department of the Navy             6250_4b

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                   Permit Docs         Industrial Wastewater Discharge Documents Permit # IW 015978                                     Sanitation District of LA County   IW 015978
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                                                                                                                                                                           Wastewater Discharge Permit Number
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                   Miscellaneous                                                                                                        MWD / US Dept. of the Interior     Wastewater Discharge Permit Number
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                  Presentation         Investigating Paleochannel Occurrence Near the Las Vegas Wash                                    Company/ MWH Americas, Inc        BMI_Paloechannels_Cullen_S
        9/20/2011 Facility search      IPACS Facility permit search ( CBWL Permit LIST)                                                 Enfo Tech & Consulting Inc.       CBWL PERMIT LIST
        9/20/2011 Facility search      IPACS Facility permit search ( CBWL Zip code LIST)                                               Enfo Tech & Consulting Inc.       CBWL ZIPCODE LIST
        9/20/2011 Facility search      IPACS Facility search ( CBWL GEO LOC LIST)                                                       Enfo Tech & Consulting Inc.       CBWL GEO LOC LIST




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      Date                   Type                                                        Title                                                     Consultant/ Source/Author                         File Name                   Bates #
                   Map                 Irrigation Map                                                                                                                               Irrigation map

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                  Correspondence       John Email ( File opens up in Outlook)                                                                                                       JohnEmail
             1928 Topo                 La Verne Quadrangle, CA                                                                                  USGS                                1928_24K_laverne
             1940 Topo                 La Verne Quadrangle, CA                                                                                  USGS                                1940_24K_laverne
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         3/1/2004 Appendix             List of Chromium and Perchlorate Reports                                                                 ENSR International                  Bibliography_appendix_c
                  List                 List of Contaminated Sites ‐ spreadsheet                                                                                                     list of contaminated sites

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                   Online Article      List of EPA Regulated Facilities in Envirofacts                                                          Agency                              US EPA_NCISCode_332811_CA

         6/5/2011 Properties List      List of Properties of Interest spreadsheet                                                                                                 List of Properties of Interest_June 5, 2011
                  Online Article       List of Sites on Map                                                                                     USGS                              List of Sites on Map
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                   Online Article      Local Geology ‐ Southern California and Mexico (Acquired 11/3/01)                                        of Geological Sciences
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              2006 Map                 Los Angeles County Vicinity Map                                                                          Sanitation Districts of LA County   DistrictsMap06
                   Online Article      Louis Clark '31                                                                                          Gamma‐Rho of Kappa Sigma            http___www.gamma‐rho
                   Online Article      Low Volume Irrigation Scheduling of Citrus                                                               R.L Snyder, et. Al.                 CitrusIrrigation_Low%20Volume%20




11/14/2011                                                                                                             Exhibit C ‐ 20                                                                                                      Exhibit C
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      Date                   Type                                                     Title                                                   Consultant/ Source/Author                  File Name                        Bates #
                                                                                                                                           U.S. Environmental Protection     EPA_1977_MgmtOfMetalFnshgSludge_91
             1977 Report              Management of Metal‐Finishing Sludge A Current Report on Solid Waste Management                      Agency                            00OHDD
       11/1/2005‐ PowerPoint
        11/4/2005 Presentation        Management of Produced Water John Veil                                                               John Viel/ Argone                 FEW49124ArgonneVeil_1

         4/1/2003 Map                 Manufactures of Perchlorate in US 1993                                                                                                 Manufactures of Perchlorate in US 1993
                                                                                                                                                                             1908.00.000_USGS_GROUND WATER AND
                                                                                                                                                                             IRRIGATION ENTERPRISES IN THE
              1907 Map                Map Showing Wells Artesian Areas, and Water Levels in the Pasadena Quadrangle, CA                                                      FOOTHILL BELT_wsp_219_PLATESA
                   Map                Map Titled ‐ GW                                                                                                                        GW
                   Map                Map View of Geologic Cross‐Sections Chino Basins                                                     Wildermuth                        Chino Basin & Surrounding Basins
                                                                                                                                                                             Pomona+June+1928‐
         6/1/1928 Maps                Maps of Pomona, CA Individual sections (23‐34, 55)                                                                                     Sept.+1950,+Sheet…….

         6/1/2009 Chapter of Report Master Plan Chapter 6 Model Development                                                                                                 8‐Master‐Plan‐Ch.‐6‐Model‐Development
                                                                                                                                           Standard Fusee Corp/Orion Safety
             1/1/08 Data              Material Safety Data Railway &Highway Fusees ORION Marine Signal Products                            Products                         MSDS_StandardFuseeCorp_230

         2/1/1944 Report              Maximum amount of Fertilizers Recommended for Use in following food production order 5               Agricultural Experiment Station
                                                                                                                                                                             Maximum Perchlorate in Groundwater
        9/15/2011 Map                 Maximum Perchlorate in Groundwater with VOC Plumes                                                   EEC                               with VOC Plumes
                                      Meeting of Allied Military Strategists Foreshadows Smashing Anti‐Axis Blows; Nazi's Winter Line in
                   News Article       Italy Cracked ; Fierce Fighting Continues in Pacific                                                 Weekly News Analysis               Union Springs NY News 1943‐1946 ‐ 0323
                                                                                                                                                                              1971.05.00_DWR_MEETING_WATER_DEM
                                                                                                                                           Bulletin No. 104‐3/ Dept. of Water ANDS_IN_THE_CHINO‐
         5/1/1971 Report             Meeting Water Demands in the Chino‐Riverside Area                                                     Resources                          RIVERSIDE_BASINS_b104‐3
                                     Meeting Water Demands in the Chino‐Riverside Area Appendix A: Water Supply. Folder Containing
         9/1/1970 Appendix of Report (Attachments , Plates, Text )                                                                 The Resources Agency                      DWR Bulletin_104_3_Appendix A (Folder)
                                                                                                                                   United State Environmental
             1990 Article            Metal Manufacturing Industry Overview                                                         Protection Agency                         EPA_1990_MetalManufacturing_10001AI4

              1918 Journal            Metal Record and Electroplater                                                                       The Metal Record                  1918_Metal_record_and_electroplater
                                                                                                                                           Florida Pollution Prevention
                   Report             Metal Working Tip Sheet Draft                                                                        Program                           03981
              1938 Article            Methods of Applying Fertilizers                                                                      Robert M. Salter/Yearbook         methods of applying fertilizers
                                                                                                                                           Librascope Division General
             1960 Booklet             Metrology Laboratory Facilities                                                                      Precision, Inc.                   Metrology Laboratory Facilities ‐ c1960[1]
        6/24/1958 Report              Military Specification/ Salts, Heat‐Treating(For Metals)                                                                               1977_MIL‐S‐10699B[1]
        7/15/1918 Book                Mining and Manufacture of Fertilizing Materials and Their Relation to Soil                           Strauss L. Lloyd                  miningandmanufac017180mbp[1]
                                                                                                                                                                             http___digitalcollections.smu.edu_cgi‐
                                                                                                                                                                             bin_showfile.exe_CISOROOT=_hgp&CISOP
        3/15/1942 Report              Minorities in Defense                                                                                                                  TR=558&filename=559
                                                                                                                                                                             1955_CityCouncilMinutes_07051955%20(
         7/5/1955 Meeting             Minutes of the Adjourned Meeting of the Pomona City Council                                          City of Pomona                    2)

        2/28/1963 News Paper Article Missile Test Blast Rocks Pomona 12 Men Injured, Fiver Seriously                                       LA Times                          Pomona missile explosion
        11/6/1959 Article            Missiles 1959… Anti‐Submarine Surface to Air                                                          Flight                            1959%20‐%202931
                                                                                                                                                                             2006.11.07_brc_monitoring_well_location
        11/7/2006 Map                 Monitoring Wells BMI Common Areas(Eastside)                                                          Basic Remediation Company         s

         6/1/2011 Appendix of Report Monte Vista Water District 2010 Urban Water Management Plan Appendix G                                                                  MonteVista_BasinPlan




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      Date                 Type                                                      Title                                                    Consultant/ Source/Author                         File Name                          Bates #
                                       Mr. Thomas Blackman Directive to Conduct a Records Investigation and Submit a Report for
                                       Activities Conducted at the Former Grand Central Rocket Site Located at Sierra and Highland         California Environmental             RWQCB_2004_Lockheed Rialto Directive
        9/10/2004 Correspondence       Avenues California Environmental Protection Agency                                                  Protection Agency                    for Investigation
                  Online Article       Multipoint Methane Monitoring System for Landfill Sites                                             OptoSci Limited                      continuous methane monitoring

        6/29/2005 Report               Municipal Service Review Water Service ‐ East San Gabriel Valley (Final)                            Dudek and Associates, Inc.           Dudek East San Gabriel Water MSR Final

                  Chart                National Primary Drinking Water Regulations                                                         Environmental Protection Agency mcl
                                                                                                                                           Bao, H., Gu, B. / Environmental BAo&Gu_199x_perchlorate_isotope_iden
             2004 Published Paper      Natural Perchlorate Has a Unique Oxygen Isotope Signature                                           Science & Technology            tif
                                                                                                                                                                           Natural perchlorate in groundwater ‐
                  Published Paper      Natural Perchlorate in Groundwater, Atacama Desert, Chile                                           Montgomery & Associates, Inc.   Atacama desert, Chile

        1/20/1959 News Paper Article Navy Awards Convair $31,400,000 Contract for Advanced "Terrier"                                       LA Times                             1959_LATimes_NavyAwardsContract
                                                                                                                                           AMPAC ‐ Athens Road Mitigation
                  Fact Sheet           Nevada Division of Environmental Protection Fact Sheet (pursuant to NAC 445A.874                    System                               unev2005213_f06
        10/2/1965 Report               New Electroplated Black Coating‐‐Black Chromium                                                     Hsu, Hsiao‐feng                      1965_BlackChromiumPlating

         1/3/1956 News Paper Article New Horizons in the Air In Southern California: startling advances, millions in new contracts         LA Times                             1956_LATimes_ConvairPlant
                                                                                                                                                                                New Testing Certification and Verification
                                                                                                                                                                                Programs for Water Treatment and
             2009 Published Paper      New Testing, Certification and Verification Programs for Water Treatment and Distribution Products Peter Greiner, et. Al. / AWWA         Distribution Products
         2/9/1957 News Briefs          News Briefs Financial                                                                              La Times                              1957_LATimes

        4/25/1961 News Paper Article News Highlights                                                                                       La Times                             1967_LATimes
                                                                                                                                                                                                                             Wildermuth 00000046‐
         3/1/1999 Report               Nineteen Year Annual Report Fiscal 1995‐1996                                                        Wildermuth                           Wildermuth_00000046                          00000153
                                                                                                                                                                                General Dynamics Facility Map ‐
         2/1/1996 Figure               NIROP Pomona Facility                                                                               Tetra Tech, Inc.                     annotated
                                                                                                                                           Hoyt Gale/ Dept. of the Interior
             1912 Report               Nitrate Deposits                                                                                    USGS                                 1912_Buletin523_NitrateDeposits
                                       Nitrate Deposits in Southeastern California with Notes on Deposits in Southeastern Arizona and      L.F. Noble / Dept. of the Interior   1931_USGS_Nitrate_Deposits_in_Southea
             1931 Report               Southwestern New Mexico                                                                             USGS                                 stern_California
             1922 Report               Nitrate Deposits in the Armargosa Region Southeastern California                                    Dept. of the Interior/ USGS          report724
                                                                                                                                           Time Magazine _ US, Business &
        7/28/1930 Magazine Article     Nitrate Trust                                                                                       Finance                              Nitrate Trust
                                       Nitrogen and Phosphorus Fertilizer Requirements for Young, Bearing Microsprinkler‐Irrigated Citrus,
             2005 Published Paper      2005 Report                                                                                         T. Thompson, et. Al.                 ApplicationofNitrogen_Arizona_76687
                                                                                                                                           Larry Puckett, et, al./
                                                                                                                                           Environmental Science &
             2011 Published Paper      Nitrogen Contamination of Surficial Aquifers ‐ A growing Legacy                                     Technology                           File1
        9/28/2000 Report               Non‐Reclaimable Wastewater System ‐ Pretreatment Program Annual Report (1999‐2000)                  Inland Empire Utilities Agency       99‐00
        9/20/2002 Report               Non‐Reclaimable Wastewater System ‐ Pretreatment Program Annual Report (2001‐2002)                  Inland Empire Utilities Agency       01‐02
        9/26/2003 Report               Non‐Reclaimable Wastewater System ‐ Pretreatment Program Annual Report (2002‐2003)                  Inland Empire Utilities Agency       02‐03
        9/21/2004 Report               Non‐Reclaimable Wastewater System ‐ Pretreatment Program Annual Report (2003‐2004)                  Inland Empire Utilities Agency       03‐04
        9/28/2005 Report               Non‐Reclaimable Wastewater System ‐ Pretreatment Program Annual Report (2004‐2005)                  Inland Empire Utilities Agency       04‐05
        9/27/2006 Report               Non‐Reclaimable Wastewater System ‐ Pretreatment Program Annual Report (2005‐2006)                  Inland Empire Utilities Agency       05‐06
        9/26/2007 Report               Non‐Reclaimable Wastewater System ‐ Pretreatment Program Annual Report (2006‐2007)                  Inland Empire Utilities Agency       06‐07
        9/27/1994 Report               Non‐reclaimable Wastewater System Pretreatment Program Annual Report 1993‐94                        Chino Basin MWD                      93‐94
        9/26/1996 Report               Non‐reclaimable Wastewater System Pretreatment Program Annual Report 1995‐96                        Chino Basin MWD                      95‐96
        9/24/1997 Report               Non‐reclaimable Wastewater System Pretreatment Program Annual Report 1996‐97                        Chino Basin MWD                      96‐97
        9/29/2008 Report               Non‐reclaimable Wastewater System Pretreatment Program Annual Report 2007‐2008                      Inland Empire Utilities Agency       NWRS_Annual_Report_07‐08




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        9/28/2009 Report             Non‐reclaimable Wastewater System Pretreatment Program Annual Report 2008‐2009                  Inland Empire Utilities Agency   NRWS_Annual_Report_08‐09
        9/28/2009 Map                Non‐reclaimable Wastewater System Pretreatment Program Annual Report 2008‐2009                  Inland Empire Utilities Agency   NRWS_Annual_Report_08‐09MAP
        9/23/2010 Report             Non‐reclaimable Wastewater System Pretreatment Program Annual Report 2009‐2010                  Inland Empire Utilities Agency   IEUA_2010_NRWSAnnualReport
                                                                                                                                                                      1958_Patent_SamuelJacksonFuseeCo_US
          8/26/58 Patent             Non‐rolling Fusee                                                                               United States Patent Office      2848946
        9/23/1994 File Checklist     NOSB National List File Checklist                                                                                                1995_USDA_getfile
        5/19/2011 Meeting Agenda     Notice of Meeting of the Finance Committee                                                      Inland Empire Utilities Agency   5‐19‐11 CDA Finance Committee
                  List               NWIS List of Sites on Map                                                                                                        NWIS_List of Sites on Map
             1982 Published Paper    Oat Hay and Silage Production                                                                   George, M. R., et al
                                                                                                                                                                      Greiner_2008_PERCHLORATE IN SODIUM
        11/1/2008 Article            Occurrence of Perchlorate in Sodium Hypochlorite                                               Peter Greiner, et. Al. / AWWA     HYPOCHLORITE
             1942 Bulletin           Official Weekly Bulletin of the Office of War Information                                      Victory (3)                       victory4142unit
                                     Off‐Site Groundwater Investigation, Additional Water Level Data and Work plan Addendum, Calsol
        11/9/2010 Letter             Inc                                                                                            SCS Engineers                     Calsol 2010‐11‐09 GW WP Addendum
             1981 Topo               Ontario Quadrangle                                                                             USGS                              1981_gda_5211936 (Folder)
             1954 Topo               Ontario Quadrangle, CA                                                                         USGS                              1954_24K_ontario_024000
             1967 Topo               Ontario Quadrangle, CA                                                                         USGS                              1967r81_24K_ontario_o34117a7
                                     Open Your Future to New Frontiers Check Challenging Missile & Space Age Jobs Here General
       11/11/1962 News Paper Article Dynamics / Pomona                                                                              LA Times                          1962_LATimes_DisplayAD
                                     Open Your Future to New Frontiers Check Challenging Missile & Space Age Jobs Here General
       11/18/1962 News Paper Article Dynamics / Pomona(duplicate)                                                                   LA Times                          1962_LATimes_DisplayAD2
        8/19/1999 Maps               Optimum Basin Management Program ‐ Figures 2‐58                                                Wildermuth                        willdermuth_1999_OBMP_Fig 2‐58
        8/19/1999 Maps               Optimum Basin Management Program ‐ Figures 2‐59                                                Wildermuth                        wildermuth_1999_OBMP_Fig 2‐59
        8/19/1999 Maps               Optimum Basin Management Program ‐ Figures 2‐7                                                 Wildermuth                        wildermuth_1999_OBMP_Fig 2‐7
        8/19/1999 Maps               Optimum Basin Management Program ‐ Figures 4‐3                                                 Wildermuth                        wildermuth_1999_OBMP_Fig 4‐3
        8/19/1999 Report             Optimum Basin Management Program Draft Phase I Report                                          Wildermuth                        Chino Basin_1999_OBMP_Ph1_Report
                                     Optimum Basin Management Program Analysis of Supplemental Water Recharge Pursuant to the
                                     Peace Agreement Analysis of Operational Storage Requirement, Safe Storage, And Safe Storage
                                     Capacity Pursuant to the Peace Agreement Evaluation of the Cumulative Effects of Transfers                                                                             Wildermuth 00005437‐
         9/1/2003 Memo               Pursuant to the Peace Agreement Final Technical Memorandum                                     Wildermuth                        Wildermuth_00005437                   00005491
                                     Optimum Basin Management Program Chino Basin Dry‐Year Yield Program Modeling Report Volume                                                                             Wildermuth 00004602‐
         7/1/2003 Report             III                                                                                            Wildermuth                        Wildermuth_00004602                   00004982
                                     Optimum Basin Management Program Chino Basin Maximum Benefit Monitoring Program 2006                                                                                   Wildermuth 00001839‐
         4/1/2007 Report             Annual Report                                                                                  Wildermuth                        Wildermuth_00001839                   00001932
                                     Optimum Basin Management Program Chino Basin Maximum Benefit Monitoring Program 2007                                                                                   Wildermuth 00001648‐
         4/1/2008 Report             Annual Report                                                                                  Wildermuth                        Wildermuth_00001648                   00001740
                                     Optimum Basin Management Program Chino Basin Maximum Benefit Monitoring Program 2008                                                                                   Wildermuth 00001985‐
         4/1/2009 Report             Annual Report                                                                                  Wildermuth                        Wildermuth_00001985                   00002074
                                     Optimum Basin Management Program Chino Basin Maximum Benefit Monitoring Program 2009                                                                                   Wildermuth 00004377‐
         4/1/2010 Report             Annual Report                                                                                  Wildermuth                        Wildermuth_00004377                   00004468
                                     Optimum Basin Management Program Chino Basin Maximum Benefit Monitoring Program 2010                                                                                   Wildermuth 00004469‐
         4/1/2011 Report             Annual Report                                                                                  Wildermuth                        Wildermuth_00004469                   00004538
                                                                                                                                                                                                            Wildermuth 00005492‐
        8/19/1999 Report             Optimum Basin Management Program Draft Phase I Report                                           Wildermuth                       Wildermuth_00005492                   00005590
                                                                                                                                                                                                            Wildermuth 00004983‐
         5/1/2004 Report             Optimum Basin Management Program Hydraulic Control Monitoring Program Final Work Plan           Wildermuth                       Wildermuth_00004983                   00005158
                                                                                                                                                                                                            Wildermuth 00006572‐
                  Report             Optimum Basin Management Program Status Report 2006‐1: January to June 2006                     Wildermuth                       Wildermuth_00006572                   00006576
                                                                                                                                                                                                            Wildermuth 00006577‐
                  Report             Optimum Basin Management Program Status Report 2006‐2: July to December 2006                    Wildermuth                       Wildermuth_00006577                   00006582
                                                                                                                                                                                                            Wildermuth 00006583‐
                  Report             Optimum Basin Management Program Status Report 2007‐1: January to June 2007                     Wildermuth                       Wildermuth_00006583                   00006588




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                                                                                                                                                                                                                         Wildermuth 00006589‐
                  Report             Optimum Basin Management Program Status Report 2007‐2: July to December 2007                         Wildermuth                         Wildermuth_00006589                         00006594
                                                                                                                                                                                                                         Wildermuth 00006595‐
                  Report             Optimum Basin Management Program Status Report 2008‐1: January to June 2008                          Wildermuth                         Wildermuth_00006595                         00006601
                                                                                                                                                                                                                         Wildermuth 00006602‐
                  Report             Optimum Basin Management Program Status Report 2008‐2: July to December 2008                         Wildermuth                         Wildermuth_00006602                         00006610
                                                                                                                                                                                                                         Wildermuth 00006611‐
                  Report             Optimum Basin Management Program Status Report 2009‐1: January to June 2009                          Wildermuth                         Wildermuth_00006611                         00006619
             1882 Book               Orange Culture in California                                                                         Thos. A. Garey                     Orange Culture in CA
                                                                                                                                                                             Orange Culture in CA ‐ from seed to
        3/26/1905 Report             Orange Culture in Southern California ‐ From Seed to Consumer                                                                           consumer
                                                                                                                                                                             Outline Geologic Map of California
                                     Outline Geologic Map of CA Showing Oil and Gas Fields and Exploratory Wells Drilled Outside of Oil                                      Showing Oil and Gas Fields and
             1955 Map                and Gas Fields to Dec. 31, 1953                                                                                                         Exploratory Wells
                                                                                                                                                                             1888.00.00_CA_OUTLINE_MAP_OF_THE_I
                  Map                Outline Map of the Irrigation Regions                                                                                                   RRIGATION_REGIONS_




        9/21/2011 Map                Overview Map                                                                                         Environmental Data Resources Inc Pages from 3170148_1
                                                                                                                                          The Metropolitan Water district of
                  Map                Overview of Chino and Cucamonga Basins                                                               Southern California                Plate12‐1ChinoandCucamongaBasins
                                                                                                                                          Records of the Bureau of
                  Report             Overview of Records Locations                                                                        Ordnance                           NARA_BureauOfOrdnance
                                                                                                                                          The Metropolitan Water District
                  Plate              Overview of Six Basins Plate 9‐1                                                                     of Southern California             MWD_Plate9‐1SixBasins
         9/1/1987 Report             P.O.T.W. Pretreatment Program Annual Report 1986‐1987 Fiscal Year                                    Chino Basin MWD                    86‐87
         9/1/1988 Report             P.O.T.W. Pretreatment Program Annual Report 1987‐88 Fiscal Year                                      Chino Basin MWD                    87‐88

         9/1/1989 Report             P.O.T.W. Pretreatment Program Annual Report for Regional Sewerage System 1988‐1989 Fiscal year       Chino Basin MWD                    88‐89
                  List               Partial List of Anodizing & Electroplating Plants with Parker Hot Water System                       Deutsch Fastner                    anodize
                                     Peace II Agreement: Party Support for Watermaster's OBMP Implementation Plan, Settlement and
       10/25/2007 Agreement          Release of Claims Regarding Future Desalters                                                                                            Peace%20II%20Documents
                  Online Article     PEPCON Disaster                                                                                      Wikipedia                          Pepcon_Explosion
        12/1/2004 Presentation       Perchlorate ‐ Background and History Occurrence Toxicity Regulatory Status                           Kevin Mayer                        EPA ‐ Mayer Presentation
                  Map                Perchlorate ‐ Drinking Water Impacts and Sources US EAP Region 9                                     EPA                                perchlorate LA_Basin_EPA
       10/29/2010 Book               Perchlorate ‐ Environmental Occurrence, Interactions and Treatment (Sections of a Book)              Springer

                                     Perchlorate , Nitrate, and Iodine Uptake and Distribution in Lettuce and Potential Impact on         Wim Voogt & W. Andrew Jackson;
         11/03/10 Published Paper    Background Levels in Humans                                                                          J. Agricultural and food Chemistry ARTICLE Voogt and Jackson
                                                                                                                                                                             EPA_2004_Map‐perchlorate
        8/25/2004 Map                Perchlorate Drinking Water Impacts and Sources Us EPA Region 9                                       EPA                                LA_Basin_EPA sm
                  Map                Perchlorate 2005                                                                                                                        MAP_Perchlorate_2005a
                  Published Paper    Perchlorate and Fertilizer "Maybe Corn Does Grow Better When It's Near a Missile Site"               Steven Hoch                        Perchlorate and fertilizer
                                                                                                                                          Environmental Science &
                  Article            Perchlorate Behavior in a Municipal Lake Following Fireworks Displays                                Technology                         2007_ES&T_es0700698
             1998 Published Paper    Perchlorate Chemistry: Implications for Analysis and remediation                                     Edward Urbansky                    Urbansky_1998_PerchlorateChemistry
                                                                                                                                                                             perchlorate contamination in the
   5/19/98‐5/21/98 Paper             Perchlorate Contamination in the Environment Overview of Perchlorate Issues                          Lieutenant Colonel Dan Rogers      environment
                                                                                                                                          James Giannopoulos & Karen         Perchlorate Contamination of California's
                  Presentation       Perchlorate Contamination of California's Groundwater Supplies                                       Baker                              Groundwater Supplies




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         8/6/2009 Report              Perchlorate Contamination of Drinking Water" Regulatory Issues and Legislative Actions          Congressional Research Service        NRC_2009_document on perchlorate
                                                                                                                                      Office of Pollution Prevention &      DTSC ‐ 2004 Perchlorate Remediation‐
         1/1/2004 Report              Perchlorate Contamination Treatment Alternatives Draft                                          technology Development                Alternatives
                                                                                                                                                                            2004_USGS_Perchlorate_Data_for_Strea
             2004 Report              Perchlorate Data for Streams and Groundwater in Selected Areas of the United States             USGS                                  ms_and_Groundwater_ds495
        8/25/2004 Article             Perchlorate Drinking Water Impacts and Sources US EPA Region 9                                  EEC
             2010 Database            Perchlorate for web‐ Early Findings                                                             CADPH                                 Perchlorateforweb‐earlyfindings
                                                                                                                                      S. Susarla, at. Al. / Environmental
                                                                                                                                      Science & Technology Vol.33           1999_Susarla_etal._Perchlorate_ID_in_Fe
             1999 Published Paper     Perchlorate Identification in Fertilizers                                                       No.19                                 rtilizers_es990577k
                                                                                                                                      United States Air Force Research
         9/1/2009 Report              Perchlorate in Fertilizers                                                                      Laboratory
                  Map                 Perchlorate in Groundwater Average Concentration (1997‐2002) figure 3‐18                        Wildermuth                            Figure_3‐18

                                                                                                                                      W.J. Hunter/ Journal of Agronomy Hunter_2001_Perchlorate is Not a
        6/22/1905 Published Paper     Perchlorate in Not a Common Contaminant of Fertilizers                                          & Crop Science (187)             Common Contaminant of Fertilizers
                                                                                                                                      Purnedu Dasgupta, et. Al. /
                                                                                                                                      Environmental Science &          Daspuguta_199x_Perchlorate in the
        9/27/2006 Published Paper     Perchlorate in the United States Analysis of Relative Source Contributions to the Food Chain    technology                       United States.
        9/28/2006 Report              Perchlorate Incidence in Oregon and Human Health Considerations                                 Jeffrey Jenkins                  Perchlorate_report_9‐06_final
                  Journal                                                                                                             Bohlke, J. et. Al. / Analytical  BOHLKE Perchlorate Isotope Analyses
          12/1/05 Correspondence      Perchlorate Isotope Forensics                                                                   Chemistry, Vol. 77 No. 23        2005
                                                                                                                                                                       Urbansky_2000_Perchlorate levels in
                                                                                                                                      E. Urbansky, E, et. al./         samples of sodium nitrate fertilizer
        3/27/2000 Published Paper     Perchlorate levels in samples of sodium nitrate fertilizer derived from Chilean caliche         Environmental Pollution 112      derived
                                                                                                                                      US Environmental Protection
         6/1/2004 Report              Perchlorate Monitoring Results Henderson, Nevada to the Lower Colorado River                    Agency, Region 9                 perchloratefifthmonrpt063004
       12/01/2005 Report              Perchlorate Monitoring Results Henderson, Nevada to the Lower Colorado River                    EPA                              perchlorateeighthmonrpt123105
                                      Perchlorate Occurrence in Ground Water in the North Central United States‐ Do Agricultural                                       perchlorate occurrence in north central
   5/26/05‐5/27/05 Published Paper    Practices Contribute Perchlorate to Shallow Aquifers                                            Kalkhoff, et. Al.                US and agriculture
                                                                                                                                      Dennis Dickerson/ Los Angeles
                                                                                                                                      Regional Water Quality Control   Perchlorate Occurrence in Ventura and
             2003 Presentation        Perchlorate Occurrence in Ventura and Los Angeles Counties                                      Board                            Los Angeles Counties_2

                                                                                                                                      Franchine Diamond & Dennis
                                                                                                                                      Dickerson/ Los Angeles Regional       Perchlorate Occurrence in Ventura and
        4/23/2003 Presentation        Perchlorate Occurrence in Ventura and Los Angeles Counties                                      Water Quality Control Board           Los Angeles Counties_1

                                                                                                                                      American Water Works                  AWWA PerchlorateOccurrenceReportFinal
         1/1/2005 Report              Perchlorate Occurrence Mapping                                                                  Association                           2005
                  Power Point                                                                                                         Arizona Department of Water
        4/15/2005 Presentation        Perchlorate on the Lower Colorado River                                                         Resources                             werner
                                                                                                                                                                            Santa Ana River Watershed Perchlorate
                   Report             Perchlorate Summary Report draft                                                                SAWPA                                 Summary Report
                                                                                                                                      California Dept. of Toxic
         4/5/2004 Testing Guidance    Perchlorate Testing Guidance                                                                    Substances Control                    HML_POL_Guidance_Perchlorate‐Testing
                  Addendum            Perchlorate Treatment Plan Design‐ Build Project Addendum 3                                     City of Pomona                        Addendum3_1602.3 (2)
                  Addendum            Perchlorate Treatment Plant Design‐Build Project Addendum 2                                     City of Pomona                        Addendum2_1602.3
                  Addendum            Perchlorate Treatment Plant Design‐Build Project Addendum 2                                     City of Pomona                        Addendum3_1602.3




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      Date                  Type                                                      Title                                                Consultant/ Source/Author                      File Name                   Bates #

                                                                                                                                        Edward T. Urbansky & et, al. / The Urbanski_Perchlorate Uotake by Ceadars
          3/25/000 Published Paper    Perchlorate uptake by Salt Cedar (Tamarix Ramosissima in the Las Vegas Wash Riparian Ecosystem    Science of the Total Environment in Las Vegas Wash_2000

                                                                                                                                                                           perchlorate vs mtbe similarities
              2004 Published Paper    Perchlorate vs. MTBE: Similarities, Differences and Learning from our Past                        Jon Rohrer, et. Al                 differences and learning from our past
                                                                                                                                                                           perchlorate ‐ tce brownsfield site
                   Paper              Perchlorate/ TCE Brownfields Site Assessment Work Plan‐ Aero Dyne                                 Edward Tyler                       assessment work pland aero dynbe
              2006 Published Paper    Perchlorate/TCE Brownfields Site Assessment Work Plan ‐ Aero Dyne                                 Edward Tyler/ Kleinfelder          NGWA_Nov06_Tyler

                   Published Paper    Perchlorate/TCE Brownfields Site Assessment Work Plan‐ Aero Dyne                                  Edward K. Tyler/Kleinfelder inc.   NGWA_Nov06_Tyler
              2006 Book               Perchlorate: A Scientific, Legal, and Economic Assessment                                         Hagstrom                           Hagstrom_2006_2
                                      Perchlorate: An Evaluation and Practical Framework for Stakeholders (Presented at International
              2006 Published Paper    Conference on The Future of Agriculture August 7‐9, 2006)                                         O.S. Saulters, et. Al.                                            3/3/2002
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       12/20/2005 Article             Perchlorate: Sources, Uses, and Occurrences in the Environment                                    Wiley Periodicals, Inc.             The‐Environment
                                                                                                                                                                            PERCHLORATE SOURCES OCCURANCES IN
       Winter 2005 Published Paper    Perchlorate: Sources, Uses, and Occurrences in the Environment                                    Trumpolt, C., et. Al. / Remediation THE ENVIRONMENT
                                                                                                                                        Clayton Trumpolt, et. Al/           PERCHLORATE SOURCES OCCURANCES IN
       Winter 2005 Published Paper    Perchlorate:Sources, Uses, and Occurrences in the Environment                                     Remediation                         THE ENVIRONMENT
                                                                                                                                                                            GAO SAMPLING TRACKING FOR
          5/1/2005 Report             Perchlorate A System to Track Sampling and Cleanup Results is Needed                              GAO                                 PERCHLORATE MAY2005

                   Chapter of Report Perchlorates Chapter 5                                                                                                                astdr_xxxx_Ch5_Perchlorates

          9/4/1986 Permit paperwork Permit application, agreements, correspondence                                                                                         09‐4‐86

        9/28/2009 Evaluation          Permit Evaluation Summary from Technical Services & Environmental Compliance Department           Inland Empire Utilities Agency     IEUA_2009_CityofChinoHills_brine_permit
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        9/19/1979 Permit              Permit for Trucking non‐reclaimable Wastewater                                                    Chino Basin MWD                    09‐19‐79
                                      Phase II Chino Basin Recycled Water Groundwater Recharge Project Title 22 Engineering Report
                                      March 2006 Addendum 1 ‐ Inclusion of Ely Basin in Phase II Recycled Water Groundwater Recharge                                                                             Wildermuth 00001043‐
         9/12/2006 Report             Project                                                                                           Wildermuth                         Wildermuth_00001043                   00001093
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        6/11/1957 Handbook            Phosphate and Black Oxide Coating of Ferrous Metals                                               Department of Defense              9716_000000139526_QZYPSFIUNS
                  Photo               Photo titled Brooks                                                                                                                  Brooks
                                                                                                                                                                           CollegeHeights_east /
                   Photo              Photo Titled College Heights East and West                                                                                           CollegeHeights_west
                   Photo              Photo titled Upland Basin                                                                                                            UplandBasin2
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          9/1/1968 Report             Planned Utilization of Ground Water basins: Costal Plain of Los Angeles County                    Resources                          LAIN_OF_SOUTHERN_CALIFORNIA
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          3/1/1966 Report             Planned Utilization of Ground Water Basins San Gabriel Valley Appendix A: Geohydrology            Resources                          BASINS_SAN_GABRIEL_b104‐2
                   Symposium
   1/25/11‐1/26/11 Presentation       Planning and Operations Experiences with the Chino Basin Groundwater Recharge Program             Inland Empire Utilities Agency     20110218 CampbellPresentationfinal
              2005 Online Article     Plugging Silver Streak motors                                                                     Model Geeks.com                    model geeks
                   Map                Plume Map                                                                                                                            clo4_plume‐map0001_s




11/14/2011                                                                                                         Exhibit C ‐ 26                                                                                                 Exhibit C
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         8/1/1995 Report              Pollution Prevention Opportunity Assessment United States Naval Base Norfolk Naval Air Station   & Technologies Company            30003ENF
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         5/1/1995 Report              Pollution Prevention Possibilities for Small and Medium Sized Industries                         Research Branch                   30003BR3
                                      Pollution Prevention Technologies for the Bleached Kraft Segment of the U.S. Pulp and Paper
         8/1/1993 Report              Industry                                                                                         Environmental Protection Agency 1993_EPA_01128
         3/1/1967 Article             Pollutional Effects of Pulp and Paper Mill Wastes in Puget Sound                                 U.S. Department of the Interior   20014WMC
                  Plate               Profile Along Trench and Line of Pits Near Camp, Confidence Hills Plate ‐15                      Bulletin 724 / USGS               plate‐15

         6/1/1967 Report              Report and General Soil Map Los Angeles County CA Revised 1969                                   USDA                              SoilConservationService_1969_SnDfFXQW
       10/28/1976 Report              A Review of the Limnology of and water quality standards for Lake Mead                           Charles Goldman                   Lake Mead limnology_WQ
                                                                                                                                       Department of Water Resources
         1/1/1959 Report              Orange County Land and Water Use Survey, 1957                                                    Bulletin No.70                    orangecountyland00calirich
                                                                                                                                       Department of Water Resources
        12/1/1995 Report              Report to the Integrated Waste Management Board                                                  Bulletin No.70                    DTW_CBWM
                                                                                                                                                                         SOB 2006 Figure 3‐2‐‐Recharge Basin
        7/16/2009 Correspondence      To: Ju‐Tseng Liu ; Re: Transmittal of the Final Interim Measures Work Plan Embee Incorporated    Stantec                           Locations
                                                                                                                                       Metropolitan Water District of
        1948‐1977 Delivery Records    Scanned Rolls of Monthly Deliveries of MWD water to Agencies                                     Southern California               Numerous file names
         7/2/1905 Report              Chapter 4 of MWD Annual Report                                                                                                     Chapter‐4 MWD Water
                                      United States Patent ‐ The Process for Producing High Etch Gains for Electrolytic Capacitor                                        7578924_Process_for_producing_high_et
        8/25/2009 Patent              Manufacturing                                                                                    Pacesetter, Inc.                  ch
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                                                                                                                                       Ronen, Zeev; Nativ, R. / Journal of Gal_2009_PerchlorateAccumulatonInDee
         9/5/2009 Published Paper     Perchlorate Accumulation and migration in the Deep Vadose Zone in a Semiarid Region              Hydrology 378                       pVadoseZone
                                                                                                                                       Connell, J.M.C. / Postgraduate
         8/1/1981 Published Paper     Long‐term Use of Potassium Perchlorate                                                           Medical Journal (1981) 57           postmedj00224‐0047
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         1/1/2003 Published Paper     Transport and Biodegradation of Perchlorate in Soils                                             Vol 32                              Tipton_2003_jeq‐32‐1‐40[1]
        12/7/1999 Patent              United States Patent for Polishing Composition                                                   Hitoshi, K.; Otake, H.; Keigo, O.   United States Patent_ 5997620
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        3/12/2003 Published Paper     Perchlorate Retention and Mobility in Soils                                                      Royal Society of Chemistry          Urbansky_2003_b301125a

        11/8/2025 News Paper Article Pomona and Claremont, Hub Cities of Fertile Citrus Belt, Enjoying Sound Growth                    LA Times                          1925_LATimes
                                                                                                                                                                         Pomona Area‐Perchlorate Concentration
        7/10/2011 Map                 Pomona area‐Perchlorate Concentration Ranges (Draft)                                                                               Ranges 7‐10‐11 Draft

                                     Pomona Braces for New Round of Layoffs: Work Force: The merger of General Dynamics plants in
        8/12/1990 News Paper Article Pomona and Rancho Cucamonga means 1,500 to 2,000 more workers will lose their jobs this year.     LA Times                          1990_LATimes_PomonaLayoffs
         9/1/1959 Online Article     Pomona Images Collection‐ Associated Chemicals Co. 1400 W. Holt Ave.                              Pomona Public Library             1959_AssociatedChemicals
        3/15/1947 Aerial Photo       Pomona Images Collection‐Aerial View of Pomona                                                    Pomona Public Library             1947_HazelAtlasGlassCompany
        3/15/1947 Aerial Photo       Pomona Images Collection‐Aerial View of Pomona                                                    Pomona Public Library             1952_HazelAtlasGlassCompany
                  Aerial Photo       Pomona Images Collection‐Aerial view of Pomona                                                    Pomona Public Library             194x_Aerial
             1959 Aerial Photo       Pomona Images Collection‐Aerial View of Pomona Looking North                                      Pomona Public Library             1959‐63_Aerial
             1954 Aerial Photo       Pomona Landmarks‐ San Bernardino Freeway Aerial View                                              Pomona Public Library             1954_PomonaPublicLibrary
             1955 Aerial Photo       Pomona Landmarks‐ San Bernardino Freeway Aerial View                                              Pomona Public Library             1955_PomonaPublicLibrary

       12/28/1924 News Paper Article Pomona Makes Growth Record                                                                        LA Times                          1924_LATimes




11/14/2011                                                                                                          Exhibit C ‐ 27                                                                                          Exhibit C
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       12/28/2024 News Paper Article Pomona Makes Growth Record                                                                         A.A. Schwichtenberg LA Times      1924_LaTimes_growth
        11/1/2004 Report             Pomona Natural Hazards Mitigation Plan                                                             City of Pomona                    City_of_Pomona_2004_NHMP (2)
                  Ordnance           Pomona Ordnance Depot                                                                              Department of Defense Merit       CA Pomona‐Ord‐Depot
             1894 Topo               Pomona Quadrangle                                                                                  USGS                              1894_62K_pomona_062500
             1904 Topo               Pomona Quadrangle, CA Area Edition of Feb. 1904, reprinted 1946                                    USGS                              1914_62K_pomona_062500

         9/9/2023 News Paper Article Pomona Tile Firm Buys Five Acres                                                                   Local Correspondence LA Times     1923_LATimes_PlantBuilt

        9/22/1945 News Paper Article Pomona Tile Plant Fire Loss $300,000                                                               LA Times                          1945_LATimes_Fire

        3/30/2024 News Paper Article Pomona to Have Large Tile Plant                                                                    LA Times                          1924_LATimes_TilePlant
                                                                                                                                                                          Pomona Urban Water Management Plan
                                     Pomona Urban Water Management Plan Executive Summary                                               City of Pomona                    Executive Summary
        7/27/2011 Water Data         Pomona Water Quality Data spreadsheet                                                                                                Pomona WQ Data_SG
             1886 Map                Pomona, CA Birds Eye View                                                                                                            1886_Pomona_Birds_Eye_View

       10/23/1955 News Paper Article Pomona‐Ontario Growth Spurred by Aviation                                                          Ann Frank LA Times                1955_LATImes_AircraftIndustry
                                                                                                                                                                          Pomona's Second Amended
                                                                                                                                                                          InitialDisclosures Regarding Damages
        11/1/2011 Amended            Pomona's Second Amended Initial Disclosures Regarding Damages                                      City of Pomona                    (00134003)[1]

        2/28/1957 News Paper Article Popgun Missiles' Charge Hits Navy                                                                  LA Times                          1957_LATimes_Missileplant
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         3/6/2006 Published Paper    Potential perchlorate exposure from Citrus sp. Irrigated with Contaminated Water                   Analytic Chimica ACTA             citrus
         2/1/1996 Online Article     Pouring it on Nitrate Contamination of Drinking Water                                              Environmental Working Group       environmental working group
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              2003 Report            Preliminary analyses for perchlorate in selected natural materials and their derivative products   USGS                              ysis_for_Perchlorate_OF03‐314
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              2003 Report            Preliminary analyses fro perchlorate in selected natural materials and their derivative products   G.J. Orris, et. Al. / USGS        314
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         1/1/2006 Report             Preliminary Assessment/Site Inspection Addendum Report                                             Weston Solutions, Inc.            dler

         8/1/1989 Summary            Preliminary Data Summary for the Pulp, Paper and Paperboard Point Source Category                  Environmental Protection Agency EPA_00001HBI

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                    Map              Preliminary Geologic Map of the Northeast Margin of the San Gabriel Basin                          USGS                               OF_THE_SAN_GABRIEL_BASIN_om63
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                                                                                                                                                                           Geologic Map of the San Bernardino
              2003 Map               Preliminary Geologic Map of the San Bernardino 30x60 Quadrangle, CA                                Douglas Morton & Fred Miller       Quadrangle
                                                                                                                                                                           Preliminary Site Assessment Work Plan
        7/26/2011 Report             Preliminary Site Assessment Work Plan                                                              AMEC Geomatrix, Inc.               072611
                                                                                                                                                                           DTSC_PressurizedContinerRegistry_City=&
        8/22/2011 Table              Pressure Vessel Registration Database‐Result                                                       Department of Industrial Relations Count
         2/4/1986 Report             Pretreatment Annual Report for 1984‐1985 Fiscal Year ( Non‐Reclaimable System)                     Chino Basin MWD                    84‐85
         4/9/1987 Report             Pretreatment Quarterly Report‐ 1st Quarter 1987‐ non‐ Reclaimable Waste System                     Chino Basin MWD                    85‐86
                                                                                                                                                                           prioritizing perchlorate cleanup of water
             5/2005 Abstract         Prioritizing Perchlorate Cleanup of Water Resources in Southern California                         Rohrer, J. et. Al.                 resources in southern California




11/14/2011                                                                                                         Exhibit C ‐ 28                                                                                                Exhibit C
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                                       Probability of Detecting Perchlorate Under Natural Conditions in Deep Groundwater in California   Environmental Science &
             2011 Published Paper      and the Southwestern United States                                                                Technology                           Fram&Belitz_2011
                  Table                Processes and Applicable Specifications                                                           Barry Avenue Plating Co., Inc        BarryAvenuePlating_Brochure ‐Rev 15

                   Presentation        Processes Influencing the Transport of Perchlorate through the Vadose Zone                        Daniel Stephens & Associates, Inc.

        8/16/1945 News Paper Article Production Curtailed in Southland                                                                   LA Times                             Latimes_out
             1988 Published Paper    Production Guide for Grain Sorghum                                                                  Mask, P. L.
                  Plate              Profile of Long Trench (T‐12) Across Bully Hill Plate 30                                            USGS                                 plate‐30
                  Plate              Profile of Long Trench A, Confidence Hills Plate 15                                                 USGS                                 plate‐15
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         9/1/2000 Report               Profile of the Agricultural Chemical, Pesticide, and Fertilizer Industry                          EPA                                  stry_agchem[1]
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        11/1/2002 Report               Profile of the Pulp and Paper Industry 2nd Edition                                                EPA                                  Industry

       11/21/2026 News Paper Article Progress in Industry                                                                                LA Times                             1926_LATimes
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        12/8/2008 Appendix of Report Project Development Report ‐ Volume II G City of Pomona Appendix B                                                                       Treatment Tech Memo ‐ Copy
        12/1/2008 Report             Project Development Report Volume II G City of Pomona                                               Black & Veatch                       Vol II G_Pomona
                                     Public Records Request From ( Request: Chino Basin Wastewater Line: Industries which connected      Environmental Engineering and        LACSD PUBLIC RECORD REVIEW REQUEST
         9/9/2011 Request            to the line prior to 1975)                                                                          Contracting, Inc.                    9‐19‐11
                                     Publicly owned treatment works (POTW) Pretreatment Program Annual Report for Regional
         9/1/1990 Report             Sewerage System 1989‐1990 Fiscal Year                                                               Chino Basin MWD                      89‐90
                                     Publicly owned treatment works (POTW) Pretreatment Program Annual Report for Regional
         9/1/1991 Report             Sewerage System 1990‐1991 Fiscal Year                                                               Chino Basin MWD                      90‐91
                                     Publicly owned treatment works (POTW) Pretreatment Program Annual Report for Regional
         9/1/1992 Report             Sewerage System 1991‐1992 Fiscal Year                                                               Chino Basin MWD                      91‐92
                                     Publicly owned treatment works (POTW) Pretreatment Program Annual Report for Regional
         9/1/1993 Report             Sewerage System 1992‐1993 Fiscal Year                                                               Chino Basin MWD                      92‐93
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        2/15/1961 Report               PYE WACKET Feasibility Test Vehicle Study (Configurations and Autopilot Control) Volume III       Dynamics Corporation                 Convair_1961_PYEFeasibility_325217
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        5/10/1905 Report               Quality of Ground Waters in California                                                            Dept. of Water Resources             6657calirich_bw
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         7/1/1961 Report               Quality of Ground Waters in California 1955‐1956                                                                                       665556calirich_bw[1]
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         9/1/1991 Report               R.E.D. Facts Inorganic Nitrate/Nitrite (Sodium and Potassium Nitrates)                            EPA                                  A8F1
                                                                                                                                         The Librazette For Employees of
        3/23/1967 Article              R.W. Lee Describes Company's Growth in '66                                                        Librascope Group                     670323 Librazette
          12/3/46 Patent               Railroad Fusee                                                                                    United States Patent Office          1946_US2412018
             2010 Presentation         RDT&E for Emerging Contaminants                                                                   Andrea Leeson                        PERCHLORATE ESTCP PRESENTATION

                                                                                                                                         California Regional Water Quality
        1/30/2003 Public Meeting       Recent Developments on Perchlorate Groundwater Pollution within the Los Angeles Region            Control Board ‐ Los Angeles region perchlorate presentation final
                                                                                                                                                                            SOB 2006 Figure 3‐2‐‐Recharge Basin
                   Map                 Recharge Basin Locations                                                                          Wildermuth                         Locations
                                       Reclamation Managing Water in the West Las Vegas Wash Water Quality Monitoring Program 2010       U.S. Department of the Interior
         9/1/2011 Report               Report                                                                                            Bureau of Reclamation              LV Wash 2010 Final Report
                                                                                                                                                                            1921.00.00.USGS_RECORDS OF WATER
                                                                                                                                                                            LEVELS IN WELLS IN SOUTHERN
             1921 Report               Records of Water Levels in Wells in Southern CA                                                   F.C. Ebery / USGS                  CALIFORNIA_wsp_468




11/14/2011                                                                                                          Exhibit C ‐ 29                                                                                                 Exhibit C
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                                                                                                                                                                             Yun_2005_ReducingCostofrDesalting_657
        6/21/2005 Published Paper     Reducing costs for large‐scale desalting plants using large‐diameter, reverse osmosis membranes   Yun, T. , et. Al. / Desalination 189 3
             2001 Published Paper     Reducing fertilizer in sugarbeets can protect water quality California Agriculture                Kalfka, S. R.
        9/21/1995 Report              Regional Sewerage System Pretreatment Program Annual Report 1994‐95                               Chino Basin MWD                      94‐95
        9/24/1998 Report              Regional Sewerage System Pretreatment Program Annual Report 1997‐1998                             Inland Empire Utilities Agency       97‐98
        9/28/1999 Report              Regional Sewerage System Pretreatment Program Annual Report 1998‐1999                             Inland Empire Utilities Agency       98‐99
        9/23/2010 Report              Regional Sewerage System Pretreatment Program Annual Report 2009‐2010                             Inland Empire Utilities Agency       Regional Annual Report 09‐10 FINAL

         9/1/1991 Report              Registration Eligibility Document Inorganic Nitrate/Nitrite (Sodium and Potassium Nitrates)       EPA                                 4052red
        3/27/1997 Report              Report of AWP Completion                                                                                                              ra_
        10/8/2004 Proposal request    Request for Proposals ( Pomona bid document well)                                                 City of Pomona                      Pomona bid document well 37

         7/1/2006 Report              Reregistration Eligibility Decision(RED) for Inorganic Chlorates                                  Environmental Protection Agency 2006_EPA‐inorganicchlorates_red
         1/1/2011 Response            Response of Southern California Edison Company to Protest of Catalina Consortium                                                  oberrlander GW Report

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             2003 Published Paper     Retention and Mobility of Perchlorate in Soils of the Lower Colorado River Regions                Nadim Khandaker, et. Al             soils of the lower Colorado river regions

                                                                                                                                                                            retention and mobility of perchlorate n
             2005 Paper               Retention and Mobility of Perchlorate in soils of the Lower Colorado River Regions              Khandaker, N., et. Al.                soils of the lower Colorado river regions
                                                                                                                                      Defense Metals Information
        8/15/1967 Report              Review of Alloys and Fabricating Methods Used for Tactical Missile Motor Cases                  Center                                1970_missilemotorcases_declassified
                                      Review of Phase I Environmental Site Assessment and Supplemental Environmental Site Assessment, California Regional Water Quality
        1/22/2007 Correspondence      Former Naval Industrial Reserve Ordnance Plant                                                  Control Board                         SCN‐Apr58
                                                                                                                                      Daniel B. Stephens & Associates,
        2/11/2010 Report              Revised Upgradient Wells Report BMI Common Areas(Eastside) Clark County Nevada                  Inc                                   2010_02_11_brc‐upgradient_wells
        1/20/1945 Report              Revocation of Conservation Order 14‐231                                                         National Defense                      M‐231
                                                                                                                                                                            EPA_CH2M Hill Groundwater Modeling
        4/12/2011 Presentation        Rialto‐Colton Groundwater Basin Conceptual Site Model                                             EPA                                 Presentation_04_12_2011
                  Published Paper     Rice Production in California Part 4                                                              Hill, J. E., et al.
        7/16/2001 Report              Rocket Science Perchlorate and the Toxic Legacy of the Cold War                                   Environmental Working Group         perchlorate
                                                                                                                                                                            RWQCB files Copy of SGV_SFV_CaseList (7‐
                  List                RWQCB files Copy of SGV SFV Case List (7‐1‐09)                                                                                        1‐09)
                  Power Point                                                                                                           Alliance for Environmental
             2007 Presentation        Safe Use of Sodium Chlorate and Chlorine Dioxide in Pulp Manufacturing                            Technology                          07epe10
                                                                                                                                        MWD / US Dept. of the Interior      DWR ‐ USDI Salinity Management Study
         6/1/1999 Report              Salinity Management Study ‐ Final Report                                                          (Bureau of Reclamation )            1999
                                                                                                                                        SubTech Substances &
                  Online Article      Salt Bath Heat Treatment                                                                          Technologies                        id=salt_bath_heat_tre
                                                                                                                                        Dept. of Natural Resources/         DivisionofMines_1957_Bulletin175_saltinc
             1957 Report              Salt in California Division of Mines                                                              Bulletin 175                        alifornia00verprich
             1979 Topo                San Dimas Quadrangle                                                                              USGS                                1979_gda_5204241 (Folder)
             1954 Topo                San Dimas Quadrangle, CA                                                                          USGS                                1954_24K_san_dimas_024000
             1966 Topo                San Dimas Quadrangle, CA                                                                          USGS                                1966r81_24K_san dimas_o34117a7
                                                                                                                                        California's Groundwater Bulletin
        2/27/2004 Article             San Gabriel Valley Groundwater Basin                                                              118                                 SG Valley Basins
                                                                                                                                        California's Groundwater Bulletin
        2/27/2004 Article             San Gabriel Valley Groundwater Basin                                                              118                                 DWR_4‐13

         5/1/1943 Map                 Sanborn Map Company Including North Pomona                                                                                            Pomona+June+1928‐Sept.+1950,+Sheet+1
                                                                                                                                        Environmental Data Resources,       Pomona+June+1928‐
         5/1/1943 Maps                Sanborn Map Company Including North Pomona (Sheet 1,1a,1b)                                        Inc.                                Sept.+1950,+Sheet…….




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                                                                    Data and other Documents Considered


      Date               Type                                                        Title                                                   Consultant/ Source/Author                       File Name                         Bates #
         7/1/1969 Report                Sanitary Landfill Studies Appendix A: Summary of Selected Previous Investigations                  Dept. of Water Resources            DWR 147‐5 Sanitary Landfill Study

                                                                                                                                                                               scientific and legal issues raised by a claim
                                        Scientific and Legal Issues Raised by a Claim for Damages Caused by Perchlorate Contamination in                                       for damages caused by perchlorate
             2007 Published Paper       Drinking Water Wells                                                                               David B. Broughel Day Pitney        contamination in drinking water wells

                                                                                                                                                                               scientific and legal issues raised by a claim
                                        Scientific and Legal Issues Raised by a Claim for Damages Caused by Perchlorate Contamination in                                       for damages caused by perchlorate
             2007 Paper                 Drinking Water Wells                                                                               David Broughel                      contamination in drinking water wells

        5/28/2008 Online Article        Searles Valley Timeline                                                                            Searles Valley Historical Society   Searles Lake operations
                  Section of Report     Section 10‐ Implication of Perchlorate Contamination on California's Water Supply                                                      dtsc perchlorate
                  Report                Section 4 Perchlorate Containing Products                                                                                              HWMP_WS_dPerch‐Sec4 (1)
                  Section of Report     Section 4‐ Perchlorate Containing Products                                                                                             HWMP_WS_dPerch‐Sec4
                  Section of Report     Section 4 Perchlorate Containing Products                                                          DTSC                                DTSC ‐ PERCHLORATE

                                                                                                                                                                               DTSC‐Section 3 Perchlorate in the
                    Section of Report   Section 4 Sources of Perchlorate in the Environment                                                DTSC                                Environment ‐HWMP_WS_dPerch‐Sec3

                                                                                                                                                                               DTSC Section 5 Perchlorate Manufacture
                    Section of Report   Section 5 Manufacture and Distribution                                                             DTSC                                and DistributinrsHWMP_WS_dPerch‐Sec5
                                                                                                                                                                               DTSC Chapter 9 ‐ Perchlorate
                    Section of Report   Section 9 Known Perchlorate Sites and Cleanup Operations                                           DTSC                                SourcesHWMP_WS_dPerch‐Sec9

        7/14/1992                       Self‐Monitoring Requirements                                                                       Sanitation Districts of LA County   LACSD_1992
                    Map                 Service Map: IEUA NRW Pipelines                                                                    Inland Empire Utilities Agency      NRW_Service_Map
                    Report              Sewer Projects Five Year Capital Improvement Program 2010/ 2011 Adopted Budget                     City of Pomona                      Pomona CIP 2010‐2011
                                                                                                                                           Office of the Assessor County of
             2004 Map                   Sheet 19                                                                                           Los Angeles                         LA County Assessor Parcel Map
                  List                  Shibley Award Winners                                                                              Tappi                               Shibley‐Award‐Winners‐Listing
        11/7/2006 Map                   Site Location BMI Common Areas(Eastside)                                                           Basic Remediation Company           2006.11.07_brc_site_location
                                                                                                                                           California Department of Toxic
       12/13/2006 Report                Site Screening Assessment                                                                          Substances Control                  DTSC_2006_Site Screening
                                                                                                                                           Three Valleys Municipal Water       116_Packets_1101266BasinsWatermaster
        1/26/2011 Agenda                Six Basin Watermaster Board Meeting                                                                District                            BoardMeetingPacket
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                  Book                  Soil Acidity and Liming                                                                            Emil Truog/ Yearbook                asdfasdf
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                    Published Paper     Soil Nitrogen                                                                                      B.E.Browns/Yearbook                 soil nitrogen
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             2002 Published Paper        Solute Movement in Large Soil Columns Under Different Water Flow Velocities                          H.S. Ozturk & I. Ozkan
             1991 Report                 Some Industrial Mineral Deposit Models: Descriptive Deposit Models                                                                      USGS_MineralDeposits_ofr‐91‐0011a
                  Presentation           Source Water Protection                                                                              Leah Walker                        swptraining‐intro
                                         Source Water Protection Best Management Practices and Other Measures for Protecting Drinking
         8/1/2002 Presentation           Water Supplies                                                                                       EPA                                swpbmp‐CA
                                         Source, distribution, and management of perchlorate in water from wells in the upper Santa Ana
                      Online Article     River Basin, CA                                                                                      USGS                               2010‐07

              1934 Book                  South Coastal Basin Investigation Geology and Ground Water Storage Capacity of Valley Fill           Division of Water Resources        USGS 1934 Bulletin 45
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        4/17/1905 Report                 South Coastal Basin Investigation Geology and Ground Water Storage Capacity of Valley Fill           California Dept. of Public Works   5
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        4/30/1905 Report                 South Costal Basin Investigation Overdraft on Ground Water Basins                                    California Dept. of Public Works   _BASINS_b53
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                                                                                                                                              Three Valleys Municipal Water      146_Packets_110601Packet‐
         6/1/2011 Agenda                 Special Board Meeting                                                                                District                           SpecialBoardMeeting

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              2009 Published Paper       Specialty Crop Profile. Virginia Cooperative Extension. publication 438‐108Globe Artichoke           Bratsch, A.

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              1990 Published Paper       Spring and Summer Nitrogen Applications to Vina Walnut                                               Richardson, W.F., and Meyer, R.D.
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                      Published Paper    Stable Isotope Analysis for Perchlorate Fate and Transport Evaluation                                Carolyn Ohart ,et. Al.             fate and transport evaluation

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        8/13/1996 Published Paper        southern California, USA                                                                             K. / Chemical Geology 136             2005
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                  Presentation           State of CA Department of Agriculture                                                                                                   Ca_Citrus_Stats




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         9/1/1971 Report             Structural Dynamic Properties of Tactical Missile Joints‐Phase 2                                    Dynamics, Inc.                  GetTRDoc
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        10/1/1999 Published Paper    Study Finding Perchlorate in Fertilizer Rattles Industry                                            Technology
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         5/1/1974 Report             and Intermediate Energy Gas From Coal                                                               Center                          EPA_1974_2000Z52J
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        4/21/1966 Report             Study of Stability of Unpressurized Shell Structures Under Static Loading Final Report Volume I     Division                        19660021460_1966021460
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       12/15/2008 Report             Program (To: Chino Basin Watermaster)                                                               Wildermuth                        Wildermuth_00002176                         00002247
                                     Subject: National Aeronautics and Space Administration (NASA) Jet propulsion Laboratory (JPL)
        1/31/2007 Correspondence     Technical Memorandum: Additional Investigation Results                                              NASA                              RaymondBasin_TM‐1‐31‐07

       11/30/2001 Memo               Subject: Transmittal of Perchlorate Maps and Table                                                  United States Protection Agency   US Rockets ‐ USEPA memo (2)
         6/2/2011 Opinion on Case    Suit GE Plastics 08‐633                                                                                                               Suit_GE_Plastics_08‐633
                  Report             Summary and Risk Evaluation of the Chemicals Detected in Water                                      McLaren/Hari                      RFI Addendum Report Part 2
       10/31/2007 Report             Summary of Historical Groundwater Studies Xerox Pomona Former PWB Facility                          Haley & Aldrich, Inc.             Haley&Aldrich_2007_SL603798495
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         6/1/1981 Report             Summary Report Control and Treatment for the Metal Finishing Industry ion Exchange                  EPA                               FinishingIndustry
                                                                                                                                         Hydrodynamics Laboratory
                                                                                                                                         Karman Laboratory of Fluid
         7/1/1964 Report             Super ventilated Flow Past Delta Wings                                                              Mechanics and Jet Propulsion      Report_No_E‐101.5

                  Appendix of Report Superior Plating                                                                                                                      Appendix A ‐ Site Plan
                                                                                                                                          Hydrodynamics Laboratory
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         7/1/1964 Report             Superventilated Flow Past Delta Wings                                                                Mechanics and Jet Propulsion     Report_No_E‐101.5
      10/10/1989‐                    Supplying Quality Multinutrient Fertilizers in the Latin American and Caribbean Region ‐ Emphasizing International Fertilizer
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                                     Survey Examines the Adoption of Perceived Best Management Practices for Almond Production.
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         3/1/1924 Article            Survey of California Citrus Industry Covering Orchard Practices                                      (Vol. 3)                         Webber_1924_ Citrus leaves

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                                     Survey Report Southern California Regional Brine‐ Concentrate Management Study ‐ Phase I Lower      Reclamation / US Dept. of the     BureauOfReclamation_2009_brine
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                  Deliveries         SWP Annual Water Deliveries                                                                                                           SWP_annualdeliveries
                  Timeline           SWP Timeline of SWP Development                                                                                                       SWR_Timeline
                  Contractors        SWP Water Contractors                                                                                                                 SWP_contractors
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                  Table              Table ES‐1 Summary of Work Conducted and Current Status at the NIROP                                                                  Executive Summary
                  Non‐Reclaimable
                  list               Table II‐1 Industries Using Non‐reclaimable System                                                                                    SKMBT_C652D11072709210
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                                      Technical Manual/Engineering Series for Aircraft Repair/Aerospace Metals ‐ General Data and Usage Direction of the Chief of the Naval
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         9/1/2005 Report              Technology Overview Perchlorate: Overview of Issues, Status, and Remedial Options                  Regulatory Council                 ITRC_2005_PERC‐1
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         8/1/1977 Published Paper     The Changing U.S Fertilizer Industry                                                               Economic Report No. 378              The Changing US Fertilizer Industry
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              1968                    The Citrus Industry Volume II: Anatomy, Physiology, Genetics, and Reproduction                     Regents                              Chapman_1968_Chapter2_3

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                   Case Study         The City of Pomona, California                                                                    Envirogen Technologies              Pomona‐Case Study‐ETI
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                  Article            The History of Nitrate Mining in Chile ‐Word doc.                                                   U.S. Dept. of the Interior/ USGS The History of Nitrate Mining in Chile
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             1928 Book               The Magic Desert The Romance of a Great Discovery                                                    Chilean Nitrate of Soda
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             1938 Article            The Nature and Use of Organic Amendments                                                             Irvin C. Feustel/Yearbook          xxx
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         8/1/2005 Document           The Occurrence and Sources of Perchlorate in Massachusetts                                           Environmental Protection           2006_MA_DEP
             1890 Book               The Orange ‐ From Seed to Grove                                                                      B.M. Lelong                        The Orange from seed to grove

         1/1/1903 Book               The Orange in Northern and Central California                                                        California State Board of Trade    The Orange in Northern and Central CA
             1885 Book               The Orange: Its Culture in California                                                                WM. A. Spalding                    The Orange ‐ its culture in CA
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             2005 Published Paper    The Origin of Naturally Occurring Perchlorate: The Role of Atmospheric Process                       Technology Vol. 39, No.6           es048612x

       11/14/1957 Published Paper    The Oxygen Exchange Between Oxy‐anions and Water. II Chlorite, Chlorate and Perchlorate Ions         Hoering, T.C. , et. Al.            ja01548a020
                                     The Rise and Fall of Chile's Saltpeter Industry Trade in Nitrate Fertilizers Led to Mining in the
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             1957 Book               The World Fertilizer Economy                                                                         Press                              the world fertilizer economy
         8/1/1942 Correspondence     Timely Turf Topics Issued by the United States Golf Association Green Section                        Benjamin Staton                    golf turf
        1/20/1945 Report             To Conserve the Supply and Direct the Distribution of Sodium Nitrate                                 National Defense                   M‐62
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        11/3/2003 Correspondence     Reclaimable Wastewater System (NRWS)                                                                 Inland Empire Utilities Agency     2003
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         6/3/1997 Correspondence     Districts of Los Angeles County and Chino Basin Municipal Water District                             Marsh Knapp, Jones & Doran, LLP LEGAL OPINION, 060397
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        5/20/2003 Correspondence     To: Jim Taylor, From: Suzanne Wienke; Subject: Deficient Self Monitoring Report                      Angeles                            LACSD_2003
        4/17/1998 Correspondence     To: John Kemmerer Re: To your Request of March 11, 1998                                              Covington & Burling                TheLawFirmCovington&Burling_1998
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                                     To: Larry Miller, From: Charles Carry. Subject: Amended Permit Requirements for Industrial
        10/9/1987 Correspondence     Wastewater Discharge                                                                               County Sanitation Districts        10‐9‐87
                                     To: Mark Adelson, From: Parivash Dezham. Subject: Non‐Reclaimable Wastewater System Pipeline
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                                     To: Mr. Ju‐Tseng Liu From: G. Hoehn & A. McGrath; Re: Transmittal of the Final Interim Measures
        7/16/2009 Correspondence     Work Plan Embee Incorporated                                                                       Stantec                            imwp 071409_rev fnl
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                                     To: Pete Cooke, From: Kenneth Lister. Subject: Off‐Site Groundwater Investigation, Additional Water                                   Calsol%202010‐11‐
        11/9/2011 Correspondence     Level Data and Work plan Addendum, Calsol Inc.                                                       SCS Engineers                    09%20GW%20WP%20Addendum
                                     To: Project Team, From: Neil Sturchio. Subject: Interpretation of Results of Stable Isotope Analyses                                  Sturchio_2007_Memo_JPL_Isotopes_NAS
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       12/21/2010 Correspondence     Perchlorate Facility                                                                                 City of Pomona                   S1602.3_RFP
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        7/28/2011 Correspondence     To: Raymond Campbell From:David T. Matsumoto Subject: Superior Plating Co.                           Control                          2011

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         3/1/2011 Correspondence     Engineering Report Update for the Chino Basin Recycled Water Groundwater Recharge Program          Inland Empire Utilities Agency     March 2011

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        8/28/1997 Correspondence     Mutual Release                                                                                     Sanitation District of LA County   AGREEMENT & MUTUAL RELEASE 063097
                                     To: Six Basins Watermaster Board of Directors; From: Richard Hansen. Subject: Xerox Groundwater
        1/26/2011 Correspondence     Remediation and Assessment Project in the Pomona Basin                                             Watermaster Services               Hansen_2011
                                     To: Steve Mayville, From: John Gundlach. Subject: Non‐reclaimable Wastewater System Pipeline
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                                     To: The Honorable Board of Directors; From: Thomas Love. Subject: GenOn Energy, Inc. NRWS                                             IEUA_2011_11167 Gen‐On Capacity Right
        6/15/2011 Correspondence     Capacity Right Agreement Expiration                                                                Inland Empire Utilities Agency     Agreement Renewal 6‐15‐11
                                     To: The Honorable Board of Directors; From: Thomas Love. Subject: GenOn Energy, Inc. NRWS                                             IEUA_2007_11167 Gen‐On Capacity Right
        7/15/2011 Correspondence     Capacity Right Agreement Expiration                                                                Inland Empire Utilities Agency     Agreement Renewal 6‐15‐11
                                     To: Tim Hampton, From: Daniel Lee. Subject Pomona Perchlorate Water Treatment Plant‐ Existing
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         9/1/2008 Report             Toxicological Profile for Perchlorates                                                             Service                            2008_ASTDR_tp162
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        11/1/2004 Article            Tracing the Orgin of Perchlorate                                                                   Analytical Chemistry               e
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         9/1/2001 Published Paper    Tracking Mercury in Landfill Gas                                                                   Technology
             1884 Handbook           Treatise and Handbook of Orange Culture in Florida, Louisiana and California                       Rev. Moore                         Orange Culture in FL, LO and CA
                                     Treatment Options for Hexavalent Chromium, Perchlorate, and Nitrate 2011 Groundwater Quality                                          Blute_2011_wrd 110620 Treatment
        6/29/2011 Presentation       Workshop                                                                                       Malcolm Pirine/ Arcadis                Technology Blute_4
                                     Twentieth Annual Report of the Chino Basin Watermaster Fiscal Year 1996‐1997 Case No RCV 51010                                                                                Wildermuth 00003216‐
                  Report             Chino Basin Municipal Water District v. City of Chino et al                                    Wildermuth                             Wildermuth_00003216                     00003271
                                     Twenty Fifth Annul Report Chino Basin Watermaster Annual Report Fiscal Year 2001‐02 Case No.                                                                                  Wildermuth 00003479‐
                  Report             RCV 51010 Chino Basin Municipal Water District v. City of Chino, et al.                        Wildermuth                             Wildermuth_00003479                     00003568




11/14/2011                                                                                                        Exhibit C ‐ 36                                                                                                    Exhibit C
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                                                                    Data and other Documents Considered


      Date                    Type                                                    Title                                               Consultant/ Source/Author                       File Name                         Bates #
                                       Twenty First Annual Report of the Chino Basin Watermaster Fiscal Year 1997‐1998 Case No. RCV                                                                                   Wildermuth 00003272‐
         3/1/1999 Report               51010 Chino Basin Municipal Water District V. City of Chino, et. Al.                            Wildermuth                          Wildermuth_00003272                        00003317
                                       Twenty Fourth Annual Report Fiscal Year 2000‐2001 Case No. RCV 51010 Chino Basin Municipal                                                                                     Wildermuth 00003403‐
        2/28/2002 Report               Water District v. City of Chino, ET. AL.                                                        Wildermuth                          Wildermuth_00003403                        00003478
                                       Twenty Second Annual Report of the Chino Basin WaterMaster Fiscal Year 1998‐1999 Case No. RCV                                                                                  Wildermuth 00003318‐
                     Report            51010 Chino Basin Municipal Water District V. City of Chino, et. Al                             Wildermuth                          Wildermuth_00003318                        00003358
                                       Twenty Third Annual Report Fiscal year 1999‐2000 Case No. RCV 51010 Chino Basin Municipal Water                                                                                Wildermuth 00003359‐
                     Report            District v. City of Chino, ET. AL.                                                              Wildermuth                          Wildermuth_00003359                        00003402

        10/2/1961 News Paper Article Twenty‐One Companies get Defense Contracts                                                       LA Times                             1961_LATimes_GDArmyContract
             1953 Published Paper    Two Uranium‐Bearing Pegmatite Bodies in San Bernardino County, CA                                D.F. Hewett & J.J. Glass             PomonaTileQuarry_AM38_1040
                  Online Article     U.S. v. Penn‐Olin Chemical Company                                                               BowenJohn                            pen‐olin
                  Report             UC Pest Management Guidelines for Nitrogen Budget on Dry Beans                                   UCIMPM
                                                                                                                                      Pacific Coast Association of Pulp    1946_UnionAgreement_bk0003z7n02‐
         6/1/1950 Report               Uniform Labor Agreement of 1950                                                                and Paper Manufacturers              FID1
                                                                                                                                                                           FindACase™ _ UNION LIVE STOCK SALES
             2/12/76 Online Article    Union Live Stock Sales Co. v. Baltimore & Ohio R.R.                                            FindACase                            CO. v. BALTIMORE & OHIO R.R
                     Patent            United States Patent                                                                                                                Patent unknown
                                                                                                                                                                           4286498_Decoy_rounds_and_their_meth
         9/1/1981 Patent               United States Patent Block et al. Decoy Rounds and Their Method of Fabrication                                                      od_of (1)
                                                                                                                                                                           1960.00.00_DWR_Upper_Santa_Ana_Rive
                                                                                                                                      Bulletin No. 71 / Dept. of Water     r_Drainage_Area_Land_Water_Use_Surve
         5/1/1960 Report               Upper Santa Ana River Drainage Area Land and Water Use Survey, 1957                            Resources                            y_1957
                                                                                                                                                                           1966.00.00_DWR_Upper_Santa_Ana_Rive
                                                                                                                                      Bulletin No. 71‐64 / Dept. of        r_Drainage_Area_Land_Water_Use_Surve
         7/1/1966 Report               Upper Santa Ana River Drainage Area Land and Water Use Survey, 1964                            Water Resources                      y_1964_b71‐64
                                                                                                                                      California's Groundwater Bulletin
        1/20/2006 Article              Upper Santa Ana Valley Groundwater Basin Chino Subbasin                                        118                               DWR_8‐2.01
                                                                                                                                      California's Groundwater Bulletin
        1/10/2006 Article              Upper Santa Ana Valley Groundwater Basin, Chino Subbasin                                       118                               DWR_Bulletin118_8‐2.01
                                       Urban Water Management Plan ‐ Volume 1 of 2 Report (Final Draft) Upper San Gabriel Valley                                        USGVMWDFinalDRAFTUWMPVolume1of2
         3/1/2011 Report               MWD                                                                                            Stetson Engineers Inc.            _001
                                                                                                                                                                        2010.06.01_TVWD‐
                                                                                                                                      Three Valley's Municipal Water    UrbanWaterManagementPlanDRAFT2010
         6/1/2011 Report               Urban Water Management Plan 2010                                                               District                          UrbanWaterManagementPlan
                                       US Citrus Production
         8/1/1963 Brochure             USAF Atlas… Free World's First ICBM                                                            General Dynamics Astronautics        Atlas_Brochure_1963
                  Published Paper      Use and Characteristics of Herbicides for Non‐crop Weed Control                                Art Gover                            Herbicides_in_Non‐Crop

        7/26/1964 News Paper Article Valley Space Workers Their Eyes on the Moon                                                      LA Times                           1962_LATimes_Aerospace
                                     Views of the Chilean Nitrate Works and Photographs of Results of What Nitrate Has Done in the    William S. Myers / Chilean Nitrate
                  Book               Growers' own Hands                                                                               Committee
                                                                                                                                      Bela Gold / Studies in History,
                1949 Book              Wartime Economic Planning in Agriculture ( only some sections included)                        Economics and Public Law

         5/2/1905 Published Paper      Wartime Economic Planning in Agriculture A Study in the Allocation of Resources                Bela Gold                            wartime economic planning in agriculture
                                                                                                                                                                           CADHS_1990_WasteAuditStudy_Thermal
                1990 Report            Waste Audit Study/Thermal Metal Working Industry                                               Jacobs Engineering Group Inc.        MetalWorkingIndustry_22281

                                                                                                                                                                           EPA_1977_Pomona Wastewater
                                                                                                                                      County Sanitation Districts of Los   Demineralization by Continuous Counter‐
         9/1/1977 Report               Waste Demineralization by Continuous Counter‐Current Ion Exchange Process                      Angeles County / EPA                 Current Ion Exchange Process




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      Date                  Type                                                     Title                                              Consultant/ Source/Author                       File Name                          Bates #

                                                                                                                                     California Regional Water Quality
         5/4/2006 Fact Sheet         Waste Discharge Requirements fro City of La Verne                                               Control Board ‐ Los Angeles region City of La Verne GW Treatment Plant
                                                                                                                                     Dept. of Water Resources /
         3/1/1973 Report             Waste Water Reclamation State of the Art                                                        Bulletin No.189                    gt3wastewaterreclam189calirich
                                     Water Control Manual San Antonio Dam Los Angeles County and San Bernardino County San
         5/1/1991 Report             Antonio Creek, CA                                                                               US Army Corps of Engineers         SntoEntireWCM_External
                                                                                                                                                                        Water Quality Data ‐ Chino Hills ‐ DRAFT
        10/4/2011 Well Summary       Water Quality Data ‐ Chino Hills (Draft)                                                                                           10‐4‐11
                                                                                                                                                                        Water Quality Data ‐ City of Chino ‐ DRAFT
        10/4/2011 Well Summary       Water Quality Data ‐ City of Chino (Draft)                                                                                         10‐4‐11
                                                                                                                                                                        Water Quality Data ‐ City of Ontario ‐
        10/4/2011 Well Summary       Water Quality Data ‐ City of Ontario (Draft)                                                                                       DRAFT 10‐4‐11
                                                                                                                                                                        Water Quality Data ‐ Cucamonga Water
        10/4/2011 Well Summary       Water Quality Data ‐ Cucamonga Water District (Draft)                                                                              District ‐ DRAFT 10‐4‐11
                                                                                                                                                                        Water Quality Data ‐ La Verne ‐ DRAFT 10‐
        10/4/2011 Well Summary       Water Quality Data ‐ La Verne (Draft)                                                                                              4‐11
                                                                                                                                                                        Water Quality Data ‐ Monte Vista Water
        10/4/2011 Well Summary       Water Quality Data ‐ Monte Vista Water District (Draft)                                                                            District ‐ DRAFT 10‐4‐11

             2008 Report             Water Quality Table                                                                             City of Pomona                     CityofPomona_2009AnnWaterQualRpt

                                                                                                                                                                        1998.00.00_USGS_Water‐quality trends in
                                                                                                                                                                        the Santa Ana River at MWD Crossing and
                                     Water Quality Trends in the Santa Ana River at MWD Crossing and below Prado Dam , Riverside                                        below Prado Dam, Riverside County,
             1998 Report             County, CA                                                                                      USGS                               California_WRI97‐4173t
                                                                                                                                     United State Department of the
             1976 Report             Water Resources Bulletin No.44 Pumping and Ground‐Water Storage Depletion in Las Vegas          laterior                           1976_NVGeologicalSurvey_Bulletin44
                                                                                                                                                                        1964.00.00_DWR_Water_Supply_Conditio
                                                                                                                                     Bulletin No. 39‐62 / Dept. of      ns_in_Southern_California_during_1961‐
         7/1/1964 Report             Water Supply Conditions in Southern California During 1961‐62 Volume 1                          Water Resources                    1962_b39‐62
                                                                                                                                                                        1964.00.00_DWR_Water_Supply_Conditio
                                                                                                                                     Bulletin No. 39‐62 / Dept. of      ns_in_Southern_California_during_1961‐
         7/1/1964 Report             Water Supply Conditions in Southern California During 1961‐62 Volume II                         Water Resources                    1962_b39‐62v2
                  Map                West Chino Basin Area                                                                                                              West Chino Basin Area ‐ Enlarged
                                                                                                                                                                        West Chjino Basin Area perchlorate
                  Map                West Chino Basin Area (Duplicate)                                                                                                  LA_Basin_EPA
                                     Western Municipal Water District ( Volume II J) DYY Program Expansion‐ Project Development
        12/1/2008 Report             Report                                                                                          BV                                 Western Municipal Water District Vol II J
                  Forum              What did jerry Irvine do?                                                                       Premier Rocketry Forum             jerry Irvine
             1977 Published Paper    Wheat and Barley Response to Nitrogen                                                           California Agriculture
                                                                                                                                     Rao, B., et. Al. / Environmental
                                                                                                                                     Science & Technology Vol. 41,
             2007 Published Paper    Widespread Natural Perchlorate in Unsaturated Zones of the Southwest United States              No.13                              Rao_2007_PerchlorteinUS_es062853i

             2006 Report             Widespread Presence of Naturally Occurring Perchlorate in High Plains of Texas and New Mexico   USGS                               Perchlorate Texas Study
                                                                                                                                     U.S. Department of the Interior
                  Article            World War II Desert Training Center California‐Arizona Maneuver Area                            Bureau of Reclamation              Patton
                                                                                                                                                                                                                     Wildermuth 00003569‐
                                     Wouldn't Open Correctly                                                                         Wildermuth                         Wildermuth_00003569                          00003628
                                                                                                                                                                                                                     Wildermuth 00003629‐
                                     Wouldn't Open Correctly                                                                         Wildermuth                         Wildermuth_00003629                          00003692




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                                  EXHIBIT D

       ENVIRONMENTAL DATA RESOURCES INC. REPORT 3170148.1S




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                                   #:15909




1375 E 3rd Street
1375 E 3rd Street
Pomona, CA 91766

Inquiry Number: 3170148.1s
September 21, 2011




   The EDR Radius Map™ Report with GeoCheck®




                                                              440 Wheelers Farms Road
                                                              Milford, CT 06461
                                                              Toll Free: 800.352.0050
                                                              www.edrnet.com




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                                                                                FORM-NULL-SXS
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                                   #:15910

                                          EXECUTIVE SUMMARY



   A search of available environmental records was conducted by Environmental Data Resources, Inc (EDR).
   The report was designed to assist parties seeking to meet the search requirements of EPA’s Standards
   and Practices for All Appropriate Inquiries (40 CFR Part 312), the ASTM Standard Practice for
   Environmental Site Assessments (E 1527-05) or custom requirements developed for the evaluation of
   environmental risk associated with a parcel of real estate.

   TARGET PROPERTY INFORMATION

   ADDRESS

               1375 E 3RD STREET
               POMONA, CA 91766

   COORDINATES

               Latitude (North):             34.057500 - 34˚ 3’ 27.0’’
               Longitude (West):             117.728800 - 117˚ 43’ 43.7’’
               Universal Tranverse Mercator: Zone 11
               UTM X (Meters):               432740.1
               UTM Y (Meters):               3768576.5
               Elevation:                    888 ft. above sea level

   USGS TOPOGRAPHIC MAP ASSOCIATED WITH TARGET PROPERTY

               Target Property Map:            34117-A6 ONTARIO, CA
               Most Recent Revision:           1981

   AERIAL PHOTOGRAPHY IN THIS REPORT

               Portions of Photo from:         2006, 2005
               Source:                         USDA


   TARGET PROPERTY SEARCH RESULTS


   The target property was not listed in any of the databases searched by EDR.




   DATABASES WITH NO MAPPED SITES
   No mapped sites were found in EDR’s search of available ("reasonably ascertainable ") government
   records either on the target property or within the search radius around the target property for the
   following databases:


   STANDARD ENVIRONMENTAL RECORDS


   Federal NPL site list
   NPL                           National Priority List




                                                                                 TC3170148.1s EXECUTIVE SUMMARY 1


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